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                                                                                     Privileged & Confidential
                                                                                            Subject to FRE 408
           THIS DISCLOSURE STATEMENT HAS NOT BEEN APPROVED BY THE
          BANKRUPTCY COURT AS CONTAINING “ADEQUATE INFORMATION”
        WITHIN THE MEANING OF SECTION 1125(A) OF THE BANKRUPTCY CODE.
          ACCORDINGLY, THIS IS NOT A SOLICITATION OF ACCEPTANCE OR
        REJECTION OF THE PLAN. ACCEPTANCES OR REJECTIONS MAY NOT BE
       SOLICITED UNTIL THE BANKRUPTCY COURT APPROVES THIS DISCLOSURE
          STATEMENT. IN ADDITION, THIS DISCLOSURE STATEMENT MAY BE
        REVISED TO REFLECT EVENTS THAT OCCUR AFTER THE DATE HEREOF
            BUT PRIOR TO THE BANKRUPTCY COURT’S APPROVAL OF THIS
                            DISCLOSURE STATEMENT.


                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       :    Chapter 11
                                                             :
IMERYS TALC AMERICA, INC., et al.,1                          :    Case No. 19-10289 (LSS)
                                                             :
                    Debtors.                                 :    (Jointly Administered)
                                                             :
------------------------------------------------------------ :
In re:                                                       :    Chapter 11
                                                             :
IMERYS TALC ITALY S.P.A.,                                    :    Case No. [Not yet filed]
                                                             :
                   Potential Debtor.                         :    [Joint Administration To Be Requested]
                                                             :
------------------------------------------------------------ x

       DISCLOSURE STATEMENT FOR FOURTH AMENDED JOINT CHAPTER 11 PLAN
        OF REORGANIZATION OF IMERYS TALC AMERICA, INC. AND ITS DEBTOR
             AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE




   1
            The Debtors in these cases, along with the last four digits of each Debtor’s federal tax
   identification number, are: Imerys Talc America, Inc. (6358), Imerys Talc Vermont, Inc. (9050) and
   Imerys Talc Canada Inc. (6748). The Debtors’ address is 100 Mansell Court East, Suite 300, Roswell,
   Georgia 30076. This solicitation is also being conducted by Imerys Talc Italy S.p.A. pursuant to sections
   1125(g) and 1126(b) of the Bankruptcy Code and Bankruptcy Rule 3018. If the Plan is accepted by the
   requisite number of claimants in Class 4, Imerys Talc Italy S.p.A. will commence a bankruptcy case that
   will be, pending entry of an order by the Bankruptcy Court, jointly administered under Case No. 19-
   10289 (LSS).


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Exhibit B:        Financial Projections – North American Debtors

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                                            IMPORTANT DATES

                      Event2                                                     Date3
Disclosure Statement Hearing / Voting Record
Date                                                  December 17, 2020

Deadline to Mail Solicitation Packages and
Related Notices                                       December 21, 2020

Deadline to Identify Expert Witnesses                 December 22, 2020

Deadline to Serve Written           Discovery    in
Connection with Confirmation                          December 28, 2020

                                                      The later of (a) fourteen (14) days after receipt of a Sale
                                                      Cure Notice (for North American Debtor counterparties
                                                      only) or January 4, 2021 (for ITI counterparties only) and
                                                      (b) fourteen (14) days after (for all counterparties) (i) the
Deadline for Cure Objections                          Debtors serve a counterparty with notice of any amendment
                                                      or modification to such counterparty’s proposed cure cost
                                                      or (ii) the Debtors serve a counterparty with notice of a
                                                      supplement to the list of contracts to be assumed pursuant
                                                      to the Plan
                                                      The later of (a) January 4, 2021 and (b) fourteen (14) days
Deadline for Assumption Objections                    after the Debtors serve a counterparty with notice of a
                                                      supplement to the list of contracts to be assumed
Deadline to File Plan Supplement                      January 5, 2021

Deadline for Plaintiffs’ Attorneys to Return
Directive and Client List                             January 7, 2021

Fact Depositions                                      January 6, 2021 – January 19, 2021

Deadline to File Rule 3018 Motions                    [Two (2) weeks before January hearing]

Affirmative Expert Reports Due                        January 25, 2021

Deadline to Reply to 3018 Motions                     [Three (3) days before January hearing]

Hearing on 3018 Motions                               [January [__], 2021]

Voting Deadline                                       February 15, 2021 at 4:00 p.m. (Prevailing Eastern Time);
                                                      provided that the Debtors are authorized to extend the


2
         Capitalized terms used in this summary of “Important Dates” and not otherwise defined herein or
in the Plan shall have the meaning ascribed to them in the Voting Procedures (as defined below).
3
        [NTD: We request that the dates in this chart conform to the dates Ted Tsekerides sent on
December 13, 2020, adjusted for the new disclosure statement hearing date and plan confirmation hearing
date. In particular, the new dates do not appear to provide sufficient time between the end of discovery
and the deadline for objections to confirmation of the plan.]


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                      Event2                                                     Date3
                                                      Voting Deadline for any party entitled to vote on the Plan
Responsive Expert Reports Due                         February 19, 2021

Expert Depositions                                    February 26, 2021 – March 5, 2021

Confirmation Objection Deadline                       [Three (3) weeks before Confirmation Hearing]

Deadline to File Voting Certification34               February 22, 2021, at 4:00 p.m. (Prevailing Eastern Time)

Confirmation Reply Deadline and Deadline to File
Form of Confirmation Order                            [One (1) week before Confirmation Hearing]

Confirmation Hearing                                  [March __, 2021]




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         In addition to tabulating the votes from Class 4 to accept or reject the Plan, the Voting
Certification shall also include a list of Class 4 creditors who opted out of the releases contained in the
Plan, as well as those Class 4 creditors whose solicitation packages were returned as undeliverable, or
who were not served with a solicitation package pursuant to paragraph 10 of the order of the Bankruptcy
Court approving the Voting Procedures [Docket No. [__]].

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        IMPORTANT ACRONYMS, ABBREVIATED NAMES, AND DEFINITIONS

   “FCR” means James L. Patton (or any Bankruptcy Court-appointed successor), in his
    capacity as the legal representative for any and all persons who may assert Talc Personal
    Injury Demands in the future, but who are currently unknown. “FCR” stands for Future
    Claimants’ Representative.

   “Imerys Affiliated Parties” means, in each case during the times the Debtors were direct or
    indirect subsidiaries of Imerys S.A. and solely in their capacities as such: (i) direct or indirect
    shareholders of Imerys S.A.; (ii) current and former officers, directors, principals, members,
    partners, managers, employees, agents, advisory board members, financial advisors,
    attorneys, accountants, investment bankers, consultants, representatives, experts, and other
    professionals of the Imerys Corporate Parties and/or the Debtors; and (iii) with respect to
    each of the foregoing Persons in clauses (i) and (ii), each such Persons’ respective heirs,
    executors, estates, and nominees, as applicable. For the avoidance of doubt, the Imerys
    Affiliated Parties exclude J&J, the Rio Tinto Corporate Parties, and Cyprus.

   “Imerys Corporate Parties” means Imerys S.A. and all Persons listed on Schedule I
    attached to the Plan, each of which are or were Affiliates of Imerys S.A. during the time that
    the Debtors were owned or controlled by Imerys S.A., hereto, and the successors and assigns
    of such Persons, solely in their capacity as such. Schedule I attached to the Plan is an
    exclusive list and does not include, among others, J&J, the Rio Tinto Corporate Parties, or
    Cyprus.

   “Imerys Non-Debtors” means Imerys S.A. and its Affiliates, excluding the Debtors.

   “Imerys Plan Proponents” means Imerys S.A., on behalf of itself and all Persons listed on
    Schedule II attached to the Plan, each of which Imerys S.A. has direct or indirect ownership
    or other control over.

   “Imerys Protected Parties” means the Imerys Corporate Parties and the Imerys Affiliated
    Parties.

   “Imerys S.A.” means Imerys S.A., the Debtors’ parent entity. For the avoidance of doubt,
    Imerys S.A. is a non-debtor.

   “Imerys USA” means Imerys USA, Inc., a Non-Debtor Affiliate. For the avoidance of
    doubt, Imerys USA is a non-debtor.

   “ITA” means Imerys Talc America, Inc., a Delaware corporation, and a Debtor in the
    Chapter 11 Cases.

   “ITC” means Imerys Talc Canada Inc., a Canadian corporation, and a Debtor in the Chapter
    11 Cases.




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   “ITI” means Imerys Talc Italy S.p.A., an Italian corporation, and a potential Debtor in the
    Chapter 11 Cases.

   “ITV” means Imerys Talc Vermont, Inc., a Vermont corporation, and a Debtor in the
    Chapter 11 Cases.

   “Mircal” means Mircal S.A., a Non-Debtor Affiliate. For the avoidance of doubt, Mircal is
    a non-debtor.

   “Mircal Italia” means Mircal Italia S.p.A., a Non-Debtor Affiliate. For the avoidance of
    doubt, Mircal Italia is a non-debtor.

   “Plan Proponents” means, collectively, the Debtors, the Tort Claimants’ Committee, the
    FCR, and the Imerys Plan Proponents.

   “Reorganized Debtors” means the Reorganized North American Debtors and Reorganized
    ITI.

   “Reorganized ITA” means ITA, renamed Ivory America, Inc., on and after the Effective
    Date.

   “Reorganized ITC” means ITC, renamed Ivory Canada, Inc., on and after the Effective
    Date.

   “Reorganized ITI” means ITI, on and after the Effective Date.

   “Reorganized ITV” means ITV, renamed Ivory Vermont, Inc., on and after the Effective
    Date.

   “Reorganized North American Debtors” means Reorganized ITA, Reorganized ITV, and
    Reorganized ITC.

   “Tort Claimants’ Committee” means the official committee of tort claimants in the
    Debtors’ Chapter 11 Cases appointed by the United States Trustee, as such committee is
    reconstituted from time to time.




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                                       DISCLAIMER
     THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT IS
INCLUDED HEREIN FOR PURPOSES OF SOLICITING ACCEPTANCES TO, AND
CONFIRMATION OF, THE PLAN AND MAY NOT BE RELIED UPON FOR ANY OTHER
PURPOSE.

     THIS SOLICITATION IS BEING CONDUCTED NOT ONLY WITH RESPECT TO
THE DEBTORS IN THE ABOVE-CAPTIONED BANKRUPTCY CASES, BUT ALSO BY
IMERYS TALC ITALY S.P.A. PRIOR TO ITS FILING OF A VOLUNTARY PETITION
UNDER CHAPTER 11 OF TITLE 11 OF THE UNITED STATES CODE. BECAUSE NO
CHAPTER 11 CASE HAS YET BEEN COMMENCED FOR IMERYS TALC ITALY S.P.A.,
THIS DISCLOSURE STATEMENT HAS NOT BEEN APPROVED BY THE
BANKRUPTCY COURT AS CONTAINING “ADEQUATE INFORMATION” WITHIN
THE MEANING OF SECTION 1125(a) OF THE BANKRUPTCY CODE WITH RESPECT
TO IMERYS TALC ITALY S.P.A. FOLLOWING COMMENCEMENT OF ITS CHAPTER
11 CASE, IMERYS TALC ITALY S.P.A. EXPECTS TO PROMPTLY SEEK AN ORDER
OF THE BANKRUPTCY COURT APPROVING THIS DISCLOSURE STATEMENT AND
THE SOLICITATION OF VOTES. THE ASSETS AND LIABILITIES OF IMERYS TALC
ITALY S.P.A. ARE DESCRIBED IN DETAIL IN THIS DISCLOSURE STATEMENT.


      ALL CREDITORS ARE ENCOURAGED TO READ THIS DISCLOSURE
STATEMENT AND ITS ATTACHED EXHIBITS INCLUDING THE PLAN IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN. PLAN SUMMARIES
AND STATEMENTS MADE IN THIS DISCLOSURE STATEMENT ARE QUALIFIED IN
THEIR ENTIRETY BY REFERENCE TO THE PLAN AND THE EXHIBITS AND
SCHEDULES ATTACHED TO THE PLAN AND THE PLAN SUPPLEMENT, WHICH
CONTROL OVER THE DISCLOSURE STATEMENT IN THE EVENT OF ANY
INCONSISTENCY OR INCOMPLETENESS. THE STATEMENTS CONTAINED IN THIS
DISCLOSURE STATEMENT ARE MADE ONLY AS OF THE DATE OF THIS
DISCLOSURE STATEMENT, AND THERE CAN BE NO ASSURANCE THAT THE
STATEMENTS CONTAINED HEREIN WILL BE CORRECT AT ANY TIME AFTER THIS
DATE.

     ANY STATEMENTS IN THIS DISCLOSURE STATEMENT CONCERNING THE
PROVISIONS OF ANY DOCUMENT ARE NOT NECESSARILY COMPLETE, AND IN
EACH INSTANCE REFERENCE IS MADE TO SUCH DOCUMENT FOR THE FULL TEXT
THEREOF.

     THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE
WITH SECTION 1125 OF THE BANKRUPTCY CODE AND RULE 3016 OF THE
BANKRUPTCY RULES AND NOT NECESSARILY IN ACCORDANCE WITH FEDERAL
OR STATE SECURITIES LAWS OR OTHER NON-BANKRUPTCY LAW.

     PERSONS OR ENTITIES TRADING IN OR OTHERWISE PURCHASING, SELLING,
OR TRANSFERRING CLAIMS OR EQUITY INTERESTS AGAINST THE DEBTORS


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SHOULD EVALUATE THIS DISCLOSURE STATEMENT AND THE PLAN IN LIGHT OF
THE PURPOSE FOR WHICH THEY WERE PREPARED.

     THIS DISCLOSURE STATEMENT AND ANY ACCOMPANYING LETTERS ARE
THE ONLY DOCUMENTS TO BE USED IN CONNECTION WITH THE SOLICITATION
OF VOTES ON THE PLAN. NO SOLICITATION OF VOTES MAY BE MADE EXCEPT
AFTER DISTRIBUTION OF THIS DISCLOSURE STATEMENT. NO PERSON HAS BEEN
AUTHORIZED TO DISTRIBUTE ANY INFORMATION CONCERNING THE PLAN
OTHER THAN THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT
AND ANY ACCOMPANYING LETTERS.

     CERTAIN OF THE INFORMATION CONTAINED IN THIS DISCLOSURE
STATEMENT IS BY ITS NATURE FORWARD LOOKING AND CONTAINS ESTIMATES,
ASSUMPTIONS, AND PROJECTIONS THAT MAY BE MATERIALLY DIFFERENT FROM
ACTUAL FUTURE RESULTS. THE WORDS “BELIEVE,” “MAY,” “WILL,” “ESTIMATE,”
“CONTINUE,” “ANTICIPATE,” “INTEND,” “EXPECT,” AND SIMILAR EXPRESSIONS
IDENTIFY THESE FORWARD-LOOKING STATEMENTS. THESE FORWARD-LOOKING
STATEMENTS ARE SUBJECT TO A NUMBER OF RISKS, UNCERTAINTIES, AND
ASSUMPTIONS, INCLUDING THOSE DESCRIBED IN ARTICLE IX, “CERTAIN
FACTORS TO BE CONSIDERED.” IN LIGHT OF THESE RISKS AND UNCERTAINTIES,
THE FORWARD-LOOKING EVENTS AND CIRCUMSTANCES DISCUSSED IN THIS
DISCLOSURE STATEMENT MAY NOT OCCUR, AND ACTUAL RESULTS COULD
DIFFER MATERIALLY FROM THOSE ANTICIPATED IN THE FORWARD-LOOKING
STATEMENTS. THE DEBTORS AND THE REORGANIZED DEBTORS DO NOT
UNDERTAKE ANY OBLIGATION TO PUBLICLY UPDATE OR REVISE ANY
FORWARD-LOOKING STATEMENTS, WHETHER AS A RESULT OF NEW
INFORMATION, FUTURE EVENTS, OR OTHERWISE.

     EXCEPT WHERE SPECIFICALLY NOTED, THE FINANCIAL INFORMATION
CONTAINED IN THIS DISCLOSURE STATEMENT HAS NOT BEEN AUDITED BY A
CERTIFIED PUBLIC ACCOUNTANT AND HAS NOT BEEN PREPARED IN
ACCORDANCE WITH GENERALLY ACCEPTED ACCOUNTING PRINCIPLES. THE
HISTORICAL INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT HAS
BEEN OBTAINED FROM SUCH REPORTS AND OTHER SOURCES OF INFORMATION
AS ARE AVAILABLE TO THE DEBTORS.

     AS TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS, AND OTHER
ACTIONS OR THREATENED ACTIONS, THIS DISCLOSURE STATEMENT SHALL NOT
CONSTITUTE OR BE CONSTRUED AS AN ADMISSION OF ANY FACT OR LIABILITY,
STIPULATION OR WAIVER, BUT RATHER AS A STATEMENT MADE IN SETTLEMENT
NEGOTIATIONS. THIS DISCLOSURE STATEMENT SHALL NOT BE CONSTRUED TO
BE CONCLUSIVE ADVICE ON THE TAX OR OTHER LEGAL EFFECTS OF THE PLAN
AS TO HOLDERS OF CLAIMS AGAINST, OR EQUITY INTERESTS IN, EITHER THE
DEBTORS OR THE REORGANIZED DEBTORS.




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                                                      ARTICLE I.

                                               INTRODUCTION

        This Disclosure Statement4 5 is being furnished by the Plan Proponents5 6 as co-
proponents of the Fourth Amended Joint Chapter 11 Plan of Reorganization of Imerys Talc
America, Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code, dated
December 10, 2020, pursuant to section 1125 of the Bankruptcy Code, and in connection with
the solicitation of votes for acceptance or rejection of the Plan.

        ITA, ITV, and ITC are debtors in the Chapter 11 Cases6 7 pending in the Bankruptcy
Court. ITI, an affiliate of the North American Debtors,7 8 may file (but has not yet filed) a
chapter 11 case. If and when ITI files a chapter 11 case, the Debtors will ask the Bankruptcy
Court to enter an order jointly administering ITI’s chapter 11 case with the Chapter 11 Cases
under lead case number 19-10289 (LSS). The contemplated filing of ITI is designed to address
the Talc Personal Injury Claims against ITI, and ITI’s filing is contingent upon acceptance of the
Plan by the holders of such Claims, as described more fully below. As a result, certain holders
of Claims against ITI are being solicited through this Disclosure Statement to vote on the Plan
prior to ITI’s contemplated chapter 11 filing.

       This Disclosure Statement is being transmitted in order to provide adequate information
to enable holders of Claims in Class 4 (Talc Personal Injury Claims) who are the sole Impaired
Class entitled to vote on the Plan to make an informed judgment in exercising their right to vote
to accept or reject the Plan.

        By order dated [_____], 2020, the Bankruptcy Court approved this Disclosure Statement
as to the North American Debtors in accordance with section 1125 of the Bankruptcy Code, and
found that it contained “adequate information” sufficient to enable a hypothetical investor of the
relevant class to make an informed judgment about the Plan, and authorized its use in connection
with the solicitation of votes with respect to the Plan. Approval of this Disclosure Statement
does not, however, constitute a determination by the Bankruptcy Court as to the fairness



45
        Capitalized terms used but not defined in this Disclosure Statement have the meanings ascribed to
them in Article I of the Plan. To the extent that a term is defined in this Disclosure Statement and is
defined in the Plan, the definition contained in the Plan controls.
56
         Each of the Debtors, the Tort Claimants’ Committee, the FCR, and Imerys S.A., on behalf of
itself and all Persons listed on Schedule II attached to the Plan, each of which Imerys S.A. has direct or
indirect ownership or other control over (the “Imerys Plan Proponents”) are Plan Proponents. For the
avoidance of doubt, ITI will be a Plan Proponent as a Debtor to the extent it commences a proceeding
under the Bankruptcy Code, otherwise, ITI will be a Plan Proponent as an Imerys Plan Proponent.
67
       As the context requires, Chapter 11 Cases includes the case to be commenced in the Bankruptcy
Court under chapter 11 of the Bankruptcy Court for ITI.
78
         The term “Debtors” refers to ITA, ITV, and ITC, and to the extent ITI commences a proceeding
under the Bankruptcy Code, the term “Debtors” also refers to ITI. The term “North American Debtors”
refers to ITA, ITV, and ITC.


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or merits of the Plan. No solicitation of votes may be made except pursuant to this Disclosure
Statement and section 1125 of the Bankruptcy Code.

        Because no chapter 11 case has yet been commenced for ITI, this Disclosure Statement
has not been approved by the Bankruptcy Court as containing “adequate information” within the
meaning of section 1125(a) of the Bankruptcy Code with respect to ITI. If the requisite votes are
obtained, following commencement of its chapter 11 case, ITI expects to promptly seek an order
of the Bankruptcy Court approving this Disclosure Statement and the solicitation of votes with
respect to ITI.

1.1     Voting and Confirmation.

        Article X of this Disclosure Statement specifies the deadlines, procedures, and
instructions for voting to accept or reject the Plan, as well as the applicable standards for
tabulating Ballots (as defined below). The following is an overview of certain information
related to voting that is contained in Article X of this Disclosure Statement and elsewhere
in this Disclosure Statement.

        Each holder of a Claim in Class 4 is entitled to vote to accept or reject the Plan. Class 4
shall have accepted the Plan pursuant to the requirements of sections 1126(c) and 524(g) of the
Bankruptcy Code if at least two-thirds (2/3) in amount and seventy-five percent (75%) in
number of those voting Claims in Class 4 (Talc Personal Injury Claims) voted to accept the Plan.
Assuming the requisite acceptances are obtained, the Plan Proponents intend to seek
confirmation of the Plan at the Confirmation Hearing scheduled for [______], 2021, at 10:00
a.m. (Prevailing Eastern Time) before the Bankruptcy Court. For the avoidance of doubt,
though proposed jointly, the Plan constitutes a separate Plan for each Debtor.
Accordingly, a vote cast either to accept or reject the Plan by holders of Claims in Class 4
will be applied in the same manner and in the same amount against each Debtor.

      The Debtors have engaged Prime Clerk LLC (the “Solicitation Agent” or “Claims
Agent”) to assist in the voting process.

        The Solicitation Agent will provide additional copies of all materials and process and
tabulate Ballots for Class 4.

       To be counted, your Ballot indicating acceptance or rejection of the Plan must be
received by the Solicitation Agent no later than 4:00 p.m. (prevailing Eastern Time) on
February 15, 2021 (the “Voting Deadline”), unless the Plan Proponents, in their sole discretion,
extend the period during which votes will be accepted on the Plan, in which case the term
“Voting Deadline” shall mean the last date on, and time by which, such period is extended. Any
executed Ballot that does not indicate either an acceptance or rejection of the Plan or
indicates both an acceptance and rejection of the Plan will not be counted as an acceptance
or rejection and will not count toward the tabulations required pursuant to either sections
524(g) or 1129 of the Bankruptcy Code.

        Prior to deciding whether and how to vote on the Plan, each holder of a Claim entitled to
vote should consider carefully all of the information in this Disclosure Statement, including
Article IX entitled “Certain Factors to be Considered.” You should read this Disclosure

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Statement and the Plan with care in evaluating how the Plan will affect your Claim(s)
before voting to accept or reject the Plan.

       The Plan Proponents are the Debtors, the Tort Claimants’ Committee, the FCR,
and the Imerys Plan Proponents. The Plan Proponents believe that the Plan is in the best
interests of all creditors of the Debtors. The Plan Proponents recommend that all holders
of Claims against the Debtors, whose votes are being solicited, submit Ballots to accept the
Plan.

                                             ARTICLE II.

                                    OVERVIEW OF THE PLAN

       The following is a general overview of how the Plan treats all holders of Claims against,
and Equity Interests in, the Debtors. It is qualified in its entirety by, and should be read in
conjunction with, the more detailed discussions, information, financial statements, and notes
appearing elsewhere in this Disclosure Statement and in the Plan. For a more detailed
description of the terms and provisions of the Plan, please refer to Article VII of this Disclosure
Statement titled “The Plan of Reorganization.”

        Each of the Debtors is a proponent of the Plan within the meaning of section 1129 of the
Bankruptcy Code. The Plan does not contemplate the substantive consolidation of the Debtors’
Estates. Instead, the Plan, although proposed jointly, constitutes a separate chapter 11 plan for
each of ITA, ITV, ITC, and ITI (to the extent ITI commences a proceeding under the Bankruptcy
Code).

        In developing the Plan, the Debtors engaged in good-faith, arms’-length negotiations
with Imerys S.A., the Tort Claimants’ Committee, and the FCR. The Debtors are pleased to
report that, subject to the terms of the letters accompanying this Disclosure Statement, both the
Tort Claimants’ Committee and the FCR support the Plan and are Plan Proponents.

2.1     General Overview

        The North American Debtors commenced their Chapter 11 Cases in order to manage the
significant potential liabilities arising from claims by plaintiffs alleging personal injuries caused
by exposure to talc mined, processed and/or distributed by one or more of the North American
Debtors. As of the Petition Date, one or more of the North American Debtors had been sued by
approximately 14,650 claimants seeking damages for personal injuries allegedly caused by
exposure to the North American Debtors’ talc products, with the vast majority of such claims
(approximately 98.6%) based on alleged exposure to cosmetic talc products.

       The Debtors’ stated purpose of the Chapter 11 Cases is to confirm a plan of
reorganization that will maximize the value of the Debtors’ assets for the benefit of all
stakeholders and, pursuant to sections 524(g) and 105(a) of the Bankruptcy Code, will include a
trust mechanism to address Talc Personal Injury Claims in a fair and equitable manner. The Plan
Proponents believe that the Plan accomplishes these goals. Indeed, the Plan embodies a global
settlement of issues (the “Imerys Settlement”) among the Plan Proponents, and implements a
comprehensive settlement among the Debtors, on the one hand, and Rio Tinto America Inc.

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(“Rio Tinto”), on behalf of itself and the Rio Tinto Captive Insurers (as defined below), and for
the benefit of the Rio Tinto Protected Parties, and Zurich American Insurance Company, in its
own capacity and as successor-in-interest to Zurich Insurance Company, U.S. Branch
(“Zurich”), on behalf of itself and for the benefit of the Zurich Protected Parties, on the other
hand, and consented to by the Tort Claimants’ Committee and the FCR (the “Rio Tinto/Zurich
Settlement”). The Rio Tinto/Zurich Settlement finally resolves disputes over (i) alleged
liabilities relating to the Rio Tinto Corporate Parties’ (as defined below) prior ownership of the
Debtors, (ii) alleged indemnification obligations of the Rio Tinto Corporate Parties, and (iii) the
amount of coverage to which the Debtors claim to be entitled under the Talc Insurance Policies
issued by the Zurich Corporate Parties and the Rio Tinto Captive Insurers. The Imerys
Settlement and the Rio Tinto/Zurich Settlement will generate substantial recoveries for the
holders of Talc Personal Injury Claims.

        Pursuant to the Plan, a Talc Personal Injury Trust will be established that will comply in
all respects with the requirements of section 524(g)(2)(B)(i) of the Bankruptcy Code, and
assume all Talc Personal Injury Claims. The Talc Personal Injury Trust will be funded with the
Talc Personal Injury Trust Assets in order to resolve Talc Personal Injury Claims in accordance
with the Talc Personal Injury Trust Documents. Moreover, remaining proceeds from the Sale
(as defined below) will be used to fund the Talc Personal Injury Trust in accordance with the
terms of the Plan. As further described in this Disclosure Statement, the Talc Personal Injury
Trust will manage the Talc Personal Injury Trust Assets, and liquidate such assets to enable it to
resolve Talc Personal Injury Claims pursuant to the Trust Distribution Procedures.

       Under the Plan, holders of Allowed Unsecured Claims against the North American
Debtors that are not Talc Personal Injury Claims will be paid in full.

        Although ITI is not currently in bankruptcy, ITI will solicit acceptance of the Plan as a
“prepackaged plan of reorganization” and if the Plan is approved by the requisite number and
amount of holders of Talc Personal Injury Claims, it would provide for the permanent settlement
of Talc Personal Injury Claims against ITI contemporaneously with the Talc Personal Injury
Claims against the North American Debtors. Holders of Equity Interests in and Claims against
ITI (other than holders of Talc Personal Injury Claims and Non-Debtor Intercompany Claims)
will be Unimpaired, or otherwise “ride through,” the Chapter 11 Cases.

        (a)      The Channeling Injunction

        The Channeling Injunction to be issued as part of the Plan will permanently and forever
stay, bar, and enjoin holders of Talc Personal Injury Claims from taking any action for the
purpose of directly or indirectly or derivatively collecting, recovering, or receiving payment of,
on, or with respect to any Talc Personal Injury Claim other than from the Talc Personal Injury
Trust pursuant to the Talc Personal Injury Trust Agreement and the Trust Distribution
Procedures, or as otherwise set forth in the Trust Distribution Procedures. Each holder of a Talc
Personal Injury Claim will have no right whatsoever at any time to assert its Talc Personal Injury
Claim against any Protected Party or any property or interest in property of any Protected Party.
The Protected Parties include: (i) the Debtors and any Person who served as a director or officer
of either Debtor at any time during the Chapter 11 Cases, but solely in such Person’s capacity as
such; (ii) the Reorganized Debtors; (iii) the Imerys Protected Parties; (iv) any Person, except for

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the Talc Personal Injury Trust, that, pursuant to the Plan or otherwise, after the Effective Date,
becomes a direct or indirect transferee of, or successor to, the Debtors, the Reorganized Debtors,
or any of their respective assets (but only to the extent that liability is asserted to exist as a result
of its becoming such a transferee or successor); (v) the Buyer (as defined below) (but only to the
extent that liability is asserted to exist as a result of its becoming a transferee or successor to the
Debtors); (vi) the Settling Talc Insurance Companies; and (vii) the Rio Tinto Protected Parties.

        The effect of “channeling” Talc Personal Injury Claims to the Talc Personal Injury Trust
is that Talc Personal Injury Claims may only be pursued against, and resolved by, the Talc
Personal Injury Trust and in connection with the Trust Distribution Procedures, or as otherwise
set forth in the Trust Distribution Procedures. Following the Effective Date of the Plan, Talc
Personal Injury Claims may not be asserted against the Debtors, the Reorganized Debtors, or any
other Protected Party. For the avoidance of doubt, Talc Personal Injury Claims include Indirect
Talc Personal Injury Claims and Talc Personal Injury Demands.

        (b)      Imerys Settlement

       To resolve the Debtors’ Talc Personal Injury Claims the Plan incorporates a global
settlement between the Plan Proponents that provides that, inter alia:

                         the Debtors will commence a 363 sale process to sell substantially all
                          assets of the North American Debtors (the “Sale”) to one or more
                          purchaser(s) (the “Buyer”), in which Imerys S.A. or its non-debtor
                          affiliates (each, a “Non-Debtor Affiliate”, and together with Imerys S.A.,
                          the “Imerys Non-Debtors”) may participate in any auction as bidder, but
                          will not be designated as a stalking horse purchaser (if any is selected);8 9

                         in the event the Plan is properly accepted by holders of Talc Personal
                          Injury Claims, ITI will commence a chapter 11 bankruptcy proceeding to
                          be jointly administered (subject to Bankruptcy Court approval) with the
                          North American Debtors’ Chapter 11 Cases prior to the Confirmation
                          Hearing;

                         the equity interests in the North American Debtors will be canceled, and
                          on the Effective Date, equity interests in the Reorganized North American
                          Debtors will be authorized and issued to the Talc Personal Injury Trust;
                          and

                         the equity interests in ITI will be reinstated following the Effective Date,
                          with approximately 99.66% of such equity interests retained by Mircal
                          Italia S.p.A. (“Mircal Italia”), a Non-Debtor Affiliate.


89
        As discussed in Section 6.3 of this Disclosure Statement, the Bankruptcy Court approved the Sale
of substantially all of the Debtors’ assets on November 17, 2020 to the Buyer pursuant to the Sale Order,
for a purchase price consisting of: (i) $223,000,000 in cash consideration, and (ii) the assumption of the
Assumed Liabilities (as defined in the Asset Purchase Agreement (as defined below)).

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        The Imerys Non-Debtors have agreed to make, or cause the Imerys Contribution to be
made in exchange for the releases and channeling injunction benefiting the Imerys Protected
Parties as contemplated pursuant to the Plan. As further described below, the Imerys
Contribution consists of four components, which include (i) the Imerys Settlement Funds, (ii) the
Imerys Cash Contribution, (iii) the Talc Trust Contribution, and (iv) the Additional Contribution
(each as defined below). For the avoidance of doubt, the releases and the Channeling Injunction,
if granted, would not release direct claims against the Imerys Protected Parties held by third
parties that are unrelated to the Debtors’ alleged talc liabilities.

        Each of the Debtors, the Tort Claimants’ Committee, and the FCR conducted extensive
investigations into potential claims against Imerys S.A. and other entities for which Imerys S.A.
is either a direct or indirect parent. This investigation included, among other things, the review
of tens of thousands of documents and numerous meetings over several months. The Imerys
Settlement is the result of that investigation and in the view of each of the Debtors, the Tort
Claimants’ Committee, and the FCR is fair and equitable and in the best interest of the Debtors,
their Estates, and creditors.

        Imerys Settlement Funds

       On, prior to, or as soon as reasonably practicable after the Effective Date, the Imerys
Non-Debtors will contribute, or cause to be contributed, the Imerys Settlement Funds to the
Debtors or the Reorganized Debtors, as applicable, which the Debtors or the Reorganized
Debtors, as applicable, will contribute to the Talc Personal Injury Trust upon receipt.

        The Imerys Settlement Funds consist of (i) $75 million, consisting of $74.5 million Cash
and the Talc PI Note,9 10 plus (ii) the Sale Proceeds, plus (iii) a contingent purchase price
enhancement of up to $102.5 million, subject to the Cash value of the Sale Proceeds provided
that in the event the Sale contemplated by and pursuant to the Sale Order closes, no contingent
purchase price enhancement shall be payable, less (iv) if the DIP Order is entered, amounts
required to pay the DIP Facility Claims pursuant to the terms of the DIP Loan Documents and
Allowed by the DIP Order, less (v) if the DIP Order is not entered, Imerys S.A.’s reasonable and
documented out-of-pocket costs and expenses of negotiation and preparation of the DIP Loan
Documents estimated to be $400,000 as of December 10, 2020. The contingent purchase price
enhancement is described in Section 6.3(b) of this Disclosure Statement.

        Imerys Cash Contribution

       As provided in the Plan, on or prior to the Effective Date, the Imerys Non-Debtors have
agreed to contribute, or cause to be contributed, the following to the Debtors or the Reorganized
Debtors, as applicable (the “Imerys Cash Contribution”):

                 (1)      the balance of the Intercompany Loan (as defined in Section 3.1(d)(2) of
                          this Disclosure Statement) totaling approximately $14.1 million as of
                          October 31, 2020, for the purpose of funding administrative expenses



910
        The value of the Talc PI Note is $500,000.

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                          during the pendency of the Chapter 11 Cases, as well as certain of the
                          Reserves;1011

                 (2)      $5 million (less any amounts already paid and noted in an accounting to
                          the Tort Claimants’ Committee and the FCR) for payment of Allowed
                          Claims in Class 3a through inclusion in the Reorganized North American
                          Debtor Cash Reserve or the Disputed Claims Reserve, as applicable; and

                 (3)      the lesser of (x) $15 million and (y) fifty percent (50%) of the sum of (I)
                          any administrative expenses paid by the Debtors with the proceeds of the
                          DIP Facility plus (II) any administrative expenses paid by the Debtors
                          from the Sale Closing Date through the Effective Date plus (III) any
                          amounts necessary to fund all reserves, costs or expenses required in
                          connection with the Debtors’ emergence from bankruptcy separate from
                          the Unsecured Claim Contribution (the “Contingent Contribution”);
                          provided that if the Plan is confirmed before May 31, 2021 and the Sale
                          does not close before the Effective Date (such that the DIP Facility Claims
                          have been satisfied in full from the Sale Proceeds and discharged in
                          accordance with the DIP Loan Documents), then (A) the outstanding
                          principal amount of any DIP Loans (excluding any PIK Interest (as
                          defined in the DIP Loan Documents)) shall be applied as a dollar-for-
                          dollar reduction of the amount of the Contingent Contribution required to
                          be contributed by Imerys S.A. to the Debtors or the Reorganized Debtors
                          (in an amount not to exceed $15,000,000), and (B) the remaining
                          outstanding principal amount of any DIP Loans (excluding any PIK
                          Interest), after giving effect to the application in clause (A) above, shall be
                          applied as a dollar-for dollar reduction of the $75 million in Cash that is
                          part of the Imerys Settlement Funds.

        Talc Trust Contribution

       In addition to the Imerys Cash Contribution, the Imerys Non-Debtors have agreed to
contribute, or cause to be contributed, the following to the Talc Personal Injury Trust (the “Talc
Trust Contribution”) on or prior to the Effective Date:

                 (1)      rights and interests of the Debtors to the proceeds of the Shared Talc
                          Insurance Policies and all rights against third parties held by the Imerys
                          Non-Debtors relating to Talc Personal Injury Claims, including any
                          related indemnification rights, which for the avoidance of doubt include
                          the J&J Indemnification Obligations, each of which is to be identified in




1011
       In connection with the contribution of the balance of the Intercompany Loan, the Imerys Non-
Debtors have agreed to waive certain setoff rights in the amount of $13,672,414.39.



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                          the Plan Supplement12 (the “Contributed Indemnity and Insurance
                          Interests”); and

                 (2)      a Pledge Agreement to be issued by Mircal Italia pursuant to which the
                          Talc Personal Injury Trust will be granted an Encumbrance entitling the
                          Talc Personal Injury Trust to fifty-one percent (51%) of the common stock
                          of ITI in the event of a default under the Talc PI Note (the “Talc PI
                          Pledge Agreement”).

        The Additional Contribution

        Finally, in addition to the Imerys Cash Contribution and the Talc Trust Contribution, on
or prior to the Effective Date, the Imerys Non-Debtors have agreed to take the following actions
(the “Additional Contribution”):

                 (1)      waive all Non-Debtor Intercompany Claims against the Debtors; and

                 (2)      unless otherwise assumed by the Buyer, assume any Pension Liabilities of
                          the North American Debtors through and after the Effective Date of the
                          Plan.

       The Imerys Settlement is further described in Articles VI and VII of this Disclosure
Statement.

        (c)      Rio Tinto/Zurich Settlement

        The Plan incorporates the Rio Tinto/Zurich Settlement, a comprehensive settlement
among the Debtors, on the one hand, and Rio Tinto, on behalf of itself and the Rio Tinto Captive
Insurers, and for the benefit of the Rio Tinto Protected Parties, and Zurich, on behalf of itself and
for the benefit of the Zurich Protected Parties, on the other hand, and consented to by the Tort
Claimants’ Committee and the FCR, to resolve Talc Personal Injury Claims and the Rio
Tinto/Zurich Released Claims (as defined below) against the Rio Tinto Protected Parties, the Rio
Tinto Captive Insurers, and the Zurich Protected Parties (as applicable, and subject to the
limitations provided in the Plan). The Rio Tinto/Zurich Settlement provides, inter alia, that:

                         Zurich will buy back any and all of the Debtors’ rights under Talc
                          Insurance Policies issued by the Zurich Corporate Parties, free and clear
                          of any rights of third parties, pursuant to section 363 of the Bankruptcy
                          Code, and Three Crowns Insurance Company Limited, Metals & Minerals
                          Company Pte. Ltd., and Falcon Insurance Ltd. (collectively, or
                          individually, as appropriate, the “Rio Tinto Captive Insurers”) will buy
                          back any and all of the Debtors’ rights under Talc Insurance Policies
                          issued by the Rio Tinto Captive Insurers, free and clear of any rights of
                          third parties, pursuant to section 363 of the Bankruptcy Code, as set out in


12
        [NTD: These should be disclosed now, as there is no reason to wait for Plan Supplement given
the delays.]

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                          the Plan and in the Rio Tinto/Zurich Settlement Agreement that will be
                          part of the Plan Supplement;11 13 and

                         the Rio Tinto Protected Parties and the Zurich Protected Parties will be
                          released from the Rio Tinto/Zurich Released Claims and the Rio Tinto
                          Protected Parties, the Rio Tinto Captive Insurers, and the Zurich Protected
                          Parties will receive the benefit of the Channeling Injunction and related
                          injunctive protections under the Plan, which will be effective after the Rio
                          Tinto/Zurich Contribution (as defined below) is made to the Talc Personal
                          Injury Trust.

       Rio Tinto (on behalf of itself and the Rio Tinto Captive Insurers and for the benefit of the
Rio Tinto Protected Parties) and Zurich (on behalf of itself and for the benefit of the Zurich
Protected Parties) will collectively contribute $340 million in cash, along with certain rights of
indemnification, contribution, and/or subrogation against third parties, to the Talc Personal
Injury Trust, as follows:

                         On or prior to the date that is thirty (30) days after the Rio Tinto/Zurich
                          Trigger Date,12 14 Zurich will contribute, or cause to be contributed, $260
                          million in Cash to the Talc Personal Injury Trust.

                         On or prior to the date that is fourteen (14) days after the Rio Tinto/Zurich
                          Trigger Date, Rio Tinto will contribute $80 million in Cash to the Talc
                          Personal Injury Trust.

                         On the Rio Tinto/Zurich Trigger Date, or as soon as reasonably
                          practicable thereafter (not to exceed three (3) Business Days), the
                          appropriate Rio Tinto Corporate Parties and the appropriate Zurich
                          Corporate Parties shall each execute and deliver to the Talc Personal
                          Injury Trust, in a form reasonably acceptable to the Talc Personal Injury
                          Trust, an assignment to the Talc Personal Injury Trust of (i) all of their
                          rights to or claims for indemnification, contribution (whether via any
                          “other insurance” clauses or otherwise), or subrogation against any Person
                          relating to the payment or defense of any Talc Personal Injury Claim or
                          any past talc-related claim against the Debtors prior to the Effective Date,
                          and (ii) all of their other rights to or claims for indemnification,
                          contribution (whether via any “other insurance” clauses or otherwise), or
                          subrogation against any Person relating to any Talc Personal Injury Claim.



1113
        The Zurich Policies and the Rio Tinto Captive Insurer Policies (each as defined below), including
the amount of available insurance remaining under those policies, are further discussed in Article IV of
this Disclosure Statement.
1214
         The “Rio Tinto/Zurich Trigger Date” is the date that the Tort Claimants’ Committee or the Talc
Personal Injury Trust provides Rio Tinto and/or Zurich (as applicable) with notice of the occurrence of
the later of (a) the Effective Date, or (b) the date the Affirmation Order becomes a Final Order.

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       The Rio Tinto/Zurich Settlement is further described in Articles VI and VII of this
Disclosure Statement.

        (d)      Talc Personal Injury Trust

        The Plan contemplates the establishment of a Talc Personal Injury Trust that will assume
all Talc Personal Injury Claims and resolve Talc Personal Injury Claims in accordance with the
Talc Personal Injury Trust Documents. The Talc Personal Injury Trust Documents include the
Talc Personal Injury Trust Agreement, the Trust Distribution Procedures, the Cooperation
Agreement, and all other agreements, instruments, and documents governing the establishment,
administration, and operation of the Talc Personal Injury Trust. The Trust Distribution
Procedures are attached to the Plan as Exhibit A, the Talc Personal Injury Trust Agreement is
attached to the Plan as Exhibit B, and the Cooperation Agreement and other Talc Personal Injury
Trust Documents will be included in the Plan Supplement.

       On the Effective Date (unless otherwise noted below), the Talc Personal Injury Trust will
receive the Talc Personal Injury Trust Assets, which include:

                the Imerys Settlement Funds;
                the right to receive the Rio Tinto/Zurich Contribution pursuant to the Rio
                 Tinto/Zurich Settlement;
                the balance of the Intercompany Loan not otherwise used to fund the Reserves or
                 pay administrative expenses during the pendency of the Chapter 11 Cases;
                the balance of the $5 million used for the payment of Allowed Claims in Class 3a
                 not otherwise used to fund the (i) Reorganized North American Debtor Cash
                 Reserve or (ii) the Disputed Claims Reserve;
                all non-Cash assets included in the Imerys Contribution, including the
                 Contributed Indemnity and Insurance Assets;
                all Cash held by the North American Debtors on the Effective Date, not including
                 the Cash used to fund the Reserves;
                all Cash remaining in the Reserves to the extent required by the Plan, if any (to be
                 distributed to the Talc Personal Injury Trust in accordance with the Plan);1315
                the Talc Personal Injury Trust Causes of Action14        16
                                                                               and any and all proceeds
                 thereof;
                the Talc Insurance Actions and the Talc Insurance Action Recoveries;




1315
       Subject to the foregoing, all excess Cash balances in the Reserves will be disbursed to the Talc
Personal Injury Trust pursuant to the terms of the Plan.
1416
        Talc Personal Injury Trust Causes of Action include certain claims and causes of action held or
assertable by the Debtors that will be transferred to the Talc Personal Injury Trust pursuant to the Plan.

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                the rights of the Debtors with respect to the Talc Insurance Policies, the Talc
                 Insurance CIP Agreements, the Talc Insurance Settlement Agreements, and
                 Claims thereunder;
                the Reorganized North American Debtor Stock;15 17
                any and all other funds, proceeds, or other consideration otherwise contributed to
                 the Talc Personal Injury Trust pursuant to the Plan and/or the Confirmation Order
                 or other order of the Bankruptcy Court;

                the rights of the Debtors with respect to the J&J Indemnification Obligations;16 18
                 and

                the income or earnings realized or received in respect of the foregoing.

        For the reasons detailed in this Disclosure Statement, the Plan Proponents believe that
there will be substantially more assets available to resolve Talc Personal Injury Claims under the
Plan than would be the case if there were a chapter 7 liquidation. As a result of the Imerys
Settlement and the Rio Tinto/Zurich Settlement, the Imerys Non-Debtors, Rio Tinto, and Zurich,
respectively, are contributing substantial assets to the Talc Personal Injury Trust, which would
not be otherwise available for holders of Talc Personal Injury Claims, as it is unlikely that any of
those entities would proceed with the settlements set forth in the Plan and Disclosure Statement
in the absence of the Injunctions. Also, pursuing litigation with such entities would be costly
and time consuming for the Debtors’ Estates and would carry litigation risk. In addition, the
Imerys Settlement paved the way for a value-maximizing sale process that, pending the close of
the Sale, will fund these cases and allow for remaining proceeds to be available for distribution
to holders of Talc Personal Injury Claims. The Plan Proponents also believe that conversion of
the Chapter 11 Cases to chapter 7 liquidation proceedings would substantially impact the costs
and efficiency of administering the Talc Personal Injury Claims compared to the Talc Personal
Injury Trust. For these and other reasons explained in detail herein, the Plan Proponents believe
that all holders of Talc Personal Injury Claims, the only Class entitled to vote, should vote to
accept the Plan.

2.2     Summary Description of Classes and Treatment



1517
        The value of the Reorganized North American Debtor Stock will be dependent upon the value of
the property held by the Reorganized North American Debtors following the Effective Date, which is
anticipated to primarily consist of the post-Effective Date balances of the Reserves and the North
American Debtor Causes of Action. Furthermore, it is contemplated that certain of the North American
Debtor Causes of Action may be included in the Sale. For the avoidance of doubt, the North American
Debtor Causes of Action do not include Talc Personal Injury Trust Causes of Action. The Debtors do not
believe that the North American Debtor Causes of Action have significant value.
1618
         As further described in Article XII of this Disclosure Statement, the ability of the Debtors to
transfer the J&J Indemnification Obligations to the Talc Personal Injury Trust is disputed by J&J, and J&J
believes it has substantial defenses to the J&J Indemnification Obligations. Each of the Plan Proponents
disagrees that J&J has any defenses to its indemnification obligations to the Debtors.

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        Except for Administrative Claims, DIP Facility Claims, and Priority Tax Claims, which
are not required to be classified, all Claims and Equity Interests are divided into classes under
the Plan. The following chart summarizes the treatment of such classified and unclassified
Claims and Equity Interests under the Plan. This chart is only a summary of such classification
and treatment and reference should be made to the entire Disclosure Statement and the Plan for a
complete description of the classification and treatment of Claims and Equity Interests. The Plan
Proponents reserve the right to modify the Plan consistent with section 1127 of the Bankruptcy
Code and Bankruptcy Rule 3019.

       The summary of classification and treatment of Claims against and Equity Interests in the
Debtors is as follow:

                                                                                 Impairment
                  17 Applicable                                                      and
Class Designation
           19                                       Treatment                                      Estimated
                     Debtor(s)                                                   Entitlement       Recovery
                                                                                   to Vote

                                                                                  Unimpaired
                            North       Each holder of an Allowed Priority
         Priority Non-     American     Non-Tax Claim shall receive Cash         Not Entitled to
  1                                                                                  Vote            100%
          Tax Claims      Debtors and   equal to the Allowed Amount of
                             ITI        such Priority Non-Tax Claim.             (Presumed to
                                                                                    Accept)

                                        All Allowed Secured Claims in
                                        Class 2 shall be treated pursuant to
                                        one of the following alternatives on
                                        the Distribution Date: (i) payment in
                                        full in Cash in accordance with           Unimpaired
                            North
                                        section 506(a) of the Bankruptcy         Not Entitled to
            Secured        American
  2                                     Code; (ii) reinstatement pursuant to         Vote            100%
            Claims        Debtors and
                                        section 1124 of the Bankruptcy           (Presumed to
                             ITI
                                        Code; (iii) such other treatment as         Accept)
                                        the Debtor and the holder shall
                                        agree; or (iv) such other treatment as
                                        may be necessary to render such
                                        Claim Unimpaired.




1719
       The Plan Proponents reserve the right to eliminate any Class of Claims in the event they
determine that there are no Claims in such Class.

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                                                                               Impairment
                  17 Applicable                                                    and
Class Designation
           19                                      Treatment                                     Estimated
                     Debtor(s)                                                 Entitlement       Recovery
                                                                                 to Vote

                                       Each holder of an Allowed
                                       Unsecured Claim against the North
                                       American Debtors shall be paid the
                                       Allowed Amount of its Unsecured
                                       Claim on the Distribution Date.
          Unsecured                    Such payment shall be (i) in full, in    Unimpaired
        Claims Against        North    Cash, plus post-petition interest at    Not Entitled to
 3a        the North        American   the federal judgment rate in effect         Vote            100%
          American           Debtors   on the Petition Date, or (ii) upon      (Presumed to
            Debtors                    such other less favorable terms as         Accept)
                                       may be mutually agreed upon
                                       between the holder of the Unsecured
                                       Claim and the applicable North
                                       American Debtor or Reorganized
                                       North American Debtor.

                                       The legal, equitable, and contractual
                                       rights of the holders of Unsecured
                                       Claim against ITI are unaltered by
                                       the Plan. Except to the extent that a    Unimpaired
                                       holder of an Unsecured Claim
          Unsecured                                                            Not Entitled to
                                       against ITI agrees to a different
 3b     Claims Against         ITI                                                 Vote            100%
                                       treatment, on and after the Effective
             ITI                                                               (Presumed to
                                       Date, Reorganized ITI will continue
                                       to pay or dispute each Unsecured           Accept)
                                       Claim in the ordinary course of
                                       business in accordance with
                                       applicable law.




                                                     13
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                                                                                Impairment
                  17 Applicable                                                     and
Class Designation
           19                                       Treatment                                     Estimated
                     Debtor(s)                                                  Entitlement       Recovery
                                                                                  to Vote

                                        On the Effective Date, liability for
                                        all Talc Personal Injury Claims shall
                                        be channeled to and assumed by the
                                        Talc Personal Injury Trust without
                                        further act or deed and shall be
                                        resolved in accordance with the
                                        Trust Distribution Procedures.
                                        Pursuant to the Plan and the Trust
                                        Distribution Procedures, each holder
                                        of a Talc Personal Injury Claim shall
                                        have its Claim permanently
                            North                                                 Impaired
                                        channeled to the Talc Personal
          Talc Personal    American                                                               Unknown1820
     4                                  Injury Trust, and such Claim shall       (Entitled to
          Injury Claims   Debtors and                                                                 21
                                        thereafter be resolved in accordance       Vote)
                             ITI
                                        with     the    Trust    Distribution
                                        Procedures. Foreign Claims are a
                                        subset of Talc Personal Injury
                                        Claims that will be channeled to and
                                        assumed by the Talc Personal Injury
                                        Trust and subject to the Channeling
                                        Injunction; however, the Trust
                                        Distribution Procedures provide that
                                        Foreign Claims will not receive any
                                        distributions from the Talc Personal
                                        Injury Trust.

                                        On or after the Effective Date, all
                                        Non-Debtor Intercompany Claims
                                        (i.e., a Claim held by a Non-Debtor
                                        Affiliate against a Debtor) shall be
                                        canceled, discharged, or eliminated.      Impaired
                            North
           Non-Debtor                   Although Non-Debtor Intercompany        Not Entitled to
                           American
     5a   Intercompany                  Claims are Impaired, each holder of         Vote              0%
                          Debtors and
              Claims                    an Allowed Claim in Class 5a has        (Presumed to
                             ITI
                                        consented to its treatment under the       Accept)
                                        Plan as a Plan Proponent and is
                                        therefore presumed to accept the
                                        Plan pursuant to section 1126(f) of
                                        the Bankruptcy Code.




21
         [NTD: Given statements of counsel at the discovery hearing on December 8, 2020, that the
payment percentage “will be in the single digits,” and that for “ovarian cancer claims it is very likely that
it will be less than five percent,” the Debtors should be able to provide the ranges of estimated recoveries
to the creditors at this point.]

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                                                                                    Impairment
                  17 Applicable                                                         and
Class Designation
           19                                          Treatment                                      Estimated
                     Debtor(s)                                                      Entitlement       Recovery
                                                                                      to Vote

                                          At the election of the applicable
                                          Debtor, each Debtor Intercompany
                                          Claim (i.e., a Claim held by a Debtor
                                          against another Debtor) shall (i) be
                                          reinstated, (ii) remain in place,          Unimpaired
                              North       and/or (iii) with respect to certain
             Debtor                                                                 Not Entitled to
                             American     Debtor Intercompany Claims in
 5b      Intercompany                                                                   Vote            100%
                            Debtors and   respect of goods, services, interest,
             Claims                                                                 (Presumed to
                               ITI        and other amounts that would have
                                          been satisfied in Cash directly or           Accept)
                                          indirectly in the ordinary course of
                                          business had they not been
                                          outstanding as of the Petition Date,
                                          be settled in Cash.

                                          On the Effective Date, all Equity
                                          Interests in the North American
                                          Debtors shall be canceled, annulled,
                                          and extinguished.
             Equity                                                                   Impaired
                                          Although Equity Interests in the
         Interests in the      North      North American Debtors are                Not Entitled to
  6           North          American     Impaired, each holder of an Allowed           Vote          Cancelled
           American           Debtors     Equity Interest in Class 6 has            (Presumed to
             Debtors                      consented to its treatment under the         Accept)
                                          Plan as a Plan Proponent and is
                                          therefore presumed to accept the
                                          Plan pursuant to section 1126(f) of
                                          the Bankruptcy Code.

                                          On the Effective Date, all Equity
                                          Interests in ITI shall be reinstated       Unimpaired
                                          and the legal, equitable, and             Not Entitled to
             Equity
  7                             ITI       contractual rights to which holders           Vote          Reinstated
         Interests in ITI
                                          of Equity Interests in ITI are entitled   (Presumed to
                                          shall remain unaltered to the extent         Accept)
                                          necessary to implement the Plan.


2.3     The Plan Supplement

       Unless otherwise ordered by the Bankruptcy Court, the Plan Proponents will file the Plan
Supplement with the Bankruptcy Court no later than January 5, 2021. The Plan Supplement will
include: (a) the list of Executory Contracts and Unexpired Leases to be assumed by the North
American Debtors, together with the Cure Amount for each such contract or lease; (b) the list of
Executory Contracts and Unexpired Leases to be assumed by ITI, together with the Cure
Amount for each such contract or lease; (c) a list of the Executory Contracts and Unexpired
Leases to be rejected by ITI; (d) a list of the Settling Talc Insurance Companies; (e) a list of the
North American Debtor Causes of Action; (f) a list of the ITI Causes of Action; (g) a list of the

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Contributed Indemnity and Insurance Interests; (h) the Cooperation Agreement; (i) the Amended
Charter Documents; (j) the list of officers and directors of the Reorganized North American
Debtors; (k) the Talc PI Note; (l) the Talc PI Pledge Agreement; (m) the identity of the initial
Talc Trustees and their compensation; (n) a list of the initial members of the Talc Trust Advisory
Committee; (o) a list of the Talc Insurance Policies; (p) the Rio Tinto/Zurich Settlement
Agreement; (q) the identity of the post-Effective Date FCR and his or her compensation; and (r)
the Initial Payment Percentages (as defined in the Trust Distribution Procedures). The Plan
Supplement will be served only on those parties that have requested notice in the Chapter 11
Cases pursuant to Bankruptcy Rule 2002 and any party in interest who requests in writing a copy
from counsel for the Debtors. In addition, copies of all Executory Contract and Unexpired Lease
exhibits will be served on the applicable counterparties to such Executory Contracts and
Unexpired Leases. Once the Plan Supplement is filed, a copy will also be available for review
on the Claims Agent’s website free of charge at https://cases.primeclerk.com/ImerysTalc/ by
clicking the link for “Plan & Disclosure Statement.”

         As provided in the Plan, certain documents included in the Plan Supplement may be
revised prior to Confirmation. For example, the list of Executory Contracts and Unexpired
Leases to be assumed by the North American Debtors will be revised as needed to take into
account additional Executory Contracts and Unexpired Leases to be assumed in advance of the
Confirmation Hearing. On or before January 5, 2021, the Debtors shall serve copies of the lists
of Executory Contracts and Unexpired Leases provided for in the Plan Supplement on the
applicable counterparties. Additionally, the Debtors will serve any revised Executory Contract
and Unexpired Lease list on affected counterparties within two (2) days of filing such lists,
provided that each counterparty to an Executory Contract or Unexpired Lease that (i) is later
added to the list and/or (ii) has its Cure Amount modified by the Debtors shall have until the date
that is fourteen (14) days after the Debtors serve such counterparty with notice thereof to object
to the assumption of its Executory Contract or Unexpired Lease pursuant to the Plan, including
any objection as to adequate assurance of future performance under section 365(b)(1) of the
Bankruptcy Code, and, if the proposed Cure Amount has been modified, exclusively to the
proposed Cure Amount.

                                            ARTICLE III.

                                    GENERAL INFORMATION

        This Article III provides a general overview of the North American Debtors’ and ITI’s
corporate history, business operations, organizational structures, and assets. It also discusses the
events leading to the filing of the Chapter 11 Cases.

3.1    History and Business, Organizational Structure, and Assets of the North American
Debtors

        (a)      Corporate History




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        The Debtors were acquired in 2011 (the “2011 Purchase”) by an Imerys Group19 22
holding company, Mircal S.A. (“Mircal”). Mircal entered into an agreement with Rio Tinto to
purchase the stock of the Rio Tinto Corporate Parties’ talc operations,20 23 including the stock of
Luzenac America, Inc. (“Luzenac America”) and Windsor Minerals, Inc. (“Windsor”).21 24
The stock purchase agreement entitled Mircal to substitute other members of the Imerys Group
to acquire individual talc-related entities from the Rio Tinto Corporate Parties, and Mircal
exercised that right to cause Imerys Minerals Holding Limited (UK), an indirect, non-debtor
subsidiary of Imerys S.A., to acquire the outstanding shares of Luzenac America. At the same
time, Mircal also acquired the stock of Luzenac, Inc. (“Luzenac”), which is now known as ITC,
from another member of the Rio Tinto Corporate Parties, QIT Fer & Titane, Inc. Mircal remains
the direct parent entity of ITC. Luzenac America, Windsor, and Luzenac subsequently changed
their names to ITA, ITV, and ITC, respectively.22 25

         At the time of the 2011 Purchase there were only approximately eight Talc Personal
Injury Claims pending against one or more of the Debtors, each of which was in the early stages
of litigation. Since then, the number of suits has increased significantly, with over 16,000 on or
prior to Petition Date.

        (b)      North American Debtors’ Operations

        The Debtors are in the business of mining, processing, selling, and/or distributing talc.
Talc is mined from talc deposits, which were geologically formed through the transformation of
existing rocks under the effect of hydrothermal fluids carrying one or several of the components
needed to form the mineral. There are many types of talc and each ore body has its own features
and geology. Accordingly, the mining and processing of talc requires highly-technical and
specialized knowledge. Talc is used in the manufacturing of dozens of products in a variety of
sectors, including coatings, rubber, paper, polymers, cosmetics, food, and pharmaceuticals.



1922
         The Imerys Group is a French multinational corporation comprised of over 360 affiliated entities
directly and indirectly owned by Imerys S.A.
2023
        As used herein, “Rio Tinto Corporate Parties” means Rio Tinto plc, Rio Tinto Limited, and the
Persons listed on Schedule IV attached to the Plan, each of which is directly or indirectly controlled by
Rio Tinto plc and/or Rio Tinto Limited, and the future successors or assigns of Rio Tinto plc, Rio Tinto
Limited, and/or the Persons listed on Schedule IV attached to the Plan, solely in their capacity as such.
2124
         The Debtors have been owned by various entities over their 100-year history. In 1989, Johnson
& Johnson sold the stock of Windsor, which is now known as ITV, to Cyprus Mines Corporation
(“Cyprus Mines”). In 1992, Cyprus Mines and its affiliates transferred such stock and all of their other
assets in the talc business to a newly formed subsidiary, Cyprus Talc Corporation (“CTC”). As a result
of this transaction, Windsor became a wholly-owned subsidiary of CTC. Contemporaneously with the
1992 transfer, RTZ America, Inc. purchased the outstanding shares of CTC. Also in 1992, CTC was
renamed Luzenac America, which is now known as ITA. Windsor continued to remain a wholly-owned
subsidiary of Luzenac America.
2225
        A timeline of the ownership history of each of the North American Debtors is included in the
Declaration of Alexandra Picard, Chief Financial Officer of the Debtors in Support of Chapter 11
Petitions and First Day Pleadings [Docket No. 10] (the “First Day Declaration”).

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        The operations of the North American Debtors include talc mines, plants, and
distribution facilities located in: Montana (Yellowstone, Sappington, and Three Forks); Vermont
(Argonaut and Ludlow); Texas (Houston); and Ontario, Canada (Timmins, Penhorwood, and
Foleyet). Talc sold by the North American Debtors is utilized in numerous products, including,
but not limited to: polymers; paper; paints and coatings; specialties; rubber; personal
care/cosmetics; building materials; and others. ITA and ITV sell talc directly to their customers
as well as to third party and affiliate distributors. ITC exports the vast majority of its talc into
the United States almost entirely on a direct basis to its customers.

        As of the Petition Date, approximately 5% of the North American Debtors’ revenues
were from talc sales in the United States for personal care/cosmetic applications. In addition, as
of the Petition Date, the North American Debtors’ top customers in the personal care/cosmetic
sector were manufacturers of baby powder (50% of personal care sales), makeup (30% of
personal care sales), and soap (20% of personal care sales). Although there are other talc
suppliers in the market, the North American Debtors were historically the sole supplier of
cosmetic talc to J&J.23 26 The Debtors report that although personal care/cosmetic sales make up
only a minor percentage of the North American Debtors’ revenue, nearly all of the pending Talc
Personal Injury Claims allege injuries based on use of cosmetic products containing talc, though
some claims also allege injuries based on exposure to talc in an industrial setting.

        Together, the North American Debtors are the market leader with respect to talc
production in North America, representing nearly 50% of the market. Their main competitors
are the following companies: Mineral Technologies Inc., American Talc Company, Inc., IMI
Fabi, and Cimbar.

        (c)      Existing Organizational Structure and Ongoing Businesses

       The North American Debtors continue to mine, process, and distribute talc, utilizing a
core group of executives and staff personnel who are assisted by specialized outside
professionals and consultants.

        As of October 31, 2020, the North American Debtors employed approximately 277
employees – 177 by ITA, 28 by ITV, and 72 by ITC. These employees are located at the North
American Debtors’ offices in Roswell, Georgia, and talc mines, plants, and distribution facilities
in Montana, Vermont, Texas, and Ontario, Canada.24 27 Approximately 98 of the employees are
salaried employees and approximately 179 of the employees are hourly employees. In addition,
the North American Debtors’ workforce also includes approximately 4 part-time employees and




2326
        “J&J” means Johnson & Johnson, Johnson & Johnson Baby Products Company, Johnson &
Johnson Consumer Companies, Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer
Products, Inc., and each of their past and present parents, subsidiaries and Affiliates, direct and indirect
equity holders, and the successors and assigns of each, excluding the Debtors and the Imerys Non-
Debtors.
2427
        Certain of the North American Debtors’ officers conduct operations from a rented office located
in San Jose, California.

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approximately 29 independent contractors.25 28 The North American Debtors also rely on
services provided by Imerys S.A. and certain Non-Debtor Affiliates under various shared
services arrangements, as further described in the First Day Declaration and the Cash
Management Motion (as defined below).

        The officers (with position) of each of the North American Debtors as appointed by their
respective boards of directors are: Giorgio La Motta (President), Anthony Wilson (Treasurer),
and Ryan J. Van Meter (Secretary). In addition, the boards of directors of ITA and ITV consist
of Kevin Collins, Giorgio La Motta, and Douglas Smith, and the board of directors of ITC
consists of Kevin Collins, Giorgio La Motta, Douglas Smith, and Matthias Reisinger.

        (d)      Description of the North American Debtors’ Assets

       The North American Debtors’ assets consist primarily of cash on hand, parent loan
receivables, insurance assets and indemnification rights, inventory, machinery and equipment,
mineral reserves, land and buildings, and accounts receivable. Each of these asset categories is
described below.

                 (1)      Cash and Investments

       As of October 31, 2020, the North American Debtors held approximately $11.7 million
in Cash in the aggregate. The Cash is maintained, in part, in various accounts maintained by the
North American Debtors. ITA maintains a lockbox account and an EFT account, as well as an
adequate assurance account in accordance with the order approving the Utilities Motion [Docket
No. 296] (as defined below), each of which are located at SunTrust Bank. ITC has two operating
accounts (one for U.S. Dollars and one for Canadian Dollars) held at the Royal Bank of Canada
and a deposit account held at SunTrust Bank. ITC’s deposit account was opened post-petition at
the request of the United States Trustee. ITA and ITC also maintain interest bearing savings
accounts with Signature Bank that were opened in January 2020. ITV does not hold any bank
accounts.

       As of October 31, 2020, the North American Debtors also had an accounts receivable
balance totaling approximately $28.2 million. This balance primarily corresponds to receivables
due from third party customers incurred in the ordinary course of sales.

                 (2)      Cash Management System and Intercompany Loans

        The North American Debtors are not party to any secured financing arrangements or any
third party credit facilities, and instead have relied on the positive cash flows generated by their
operations to run their businesses and fund the Chapter 11 Cases. However, and as described in
Section 5.8 of this Disclosure Statement, on November 2, 2020, the Debtors filed the DIP
Motion (as defined below) seeking authority to obtain debtor-in-possession financing in an
amount not to exceed $30 million (the “DIP Facility”). The DIP Loans would be secured by a
lien on substantially all of the Debtors’ assets. A hearing on the DIP Motion was held on


2528
         Included as hourly employees are approximately 111 employees who are covered by various
collective bargaining agreements.

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November 16, 2020 (the “DIP Hearing”). At the hearing, the Bankruptcy Court requested
additional information from the Debtors with respect to the DIP Facility. Currently, an order
approving the DIP Facility has not yet been entered by the Bankruptcy Court.

        Prior to the Petition Date, and as further described in the First Day Declaration, ITA and
ITV participated in a zero balance accounting cash management system with their non-debtor,
indirect parent, Imerys USA, Inc. (“Imerys USA”).26 29 Under such system, at the end of each
business day, funds remaining in certain of ITA’s bank accounts were automatically swept to
Imerys USA. The amount swept to Imerys USA less any payments made by Imerys USA on
account of expenses incurred by ITA or ITV was recorded in ITA’s and Imerys USA’s books as
an interest-bearing intercompany loan in favor of ITA pursuant to (i) that certain Intercompany
Loan and Investment Agreement, dated as of June 2018, by and between ITA and Imerys USA
(the “ITA Loan Agreement”) and (ii) that certain Intercompany Loan and Investment
Agreement, dated as of June 2018, by and between ITV and Imerys USA (the “ITV Loan
Agreement” and, together with the ITA Loan Agreement, the “Intercompany Loan
Agreement”).27 30 Prior to the Petition Date, ITA and ITV modified certain aspects of their cash
management system and eliminated the practice of automatically sweeping funds to Imerys
USA. As of the date hereof, (i) ITA has an outstanding loan receivable from Imerys USA in the
amount of approximately $8,500,000 (the “ITA Loan”) and (ii) ITV has an outstanding loan
receivable from Imerys USA in the amount of approximately $3,000,000 (the “ITV Loan”).

        ITC operates under a separate cash management system from the other North American
Debtors. Historically, excess cash generated by ITC’s operations was periodically swept to
Imerys S.A. at the discretion of ITC. All transfers of cash that were made to Imerys S.A. (net of
any cash transfers made from Imerys S.A. to ITC) were recorded as an intercompany interest-
bearing loan on the books of Imerys S.A. and ITC pursuant to (i) that certain Intra-Group
Treasury Agreement (the “Treasury Agreement”), by and between Imerys S.A. and certain of
its subsidiaries, including the North American Debtors, and (ii) that certain Intercompany Loan
and Investment Agreement by and between Imerys S.A. and ITC. As of the date hereof, ITC
holds an outstanding loan due and payable from Imerys S.A. in the amount of approximately
$2,600,000 (the “ITC Loan” and, together with the ITA Loan and the ITV Loan, the
“Intercompany Loan”).

                 (3)      Insurance Policies, Indemnity Rights, and Settlement Agreements

      The North American Debtors are insureds, or otherwise have rights to coverage, under
numerous Talc Insurance Policies covering, among other things, liability for Talc Personal

2629
         A description of the Debtors’ cash management system, deposit practices, and intercompany
transactions is found in Debtors’ Motion for Orders Under 11 U.S.C. §§ 105(a), 345, 363, 503(b), and
507(a), Fed. R. Bankr. P. 6003 and 6004, and Del. Bankr. L.R. 2015-2 (I) Authorizing Continued Use of
Existing Cash Management System, Including Maintenance of Existing Bank Accounts, Checks, and
Business Forms, (II) Authorizing Continuation of Existing Deposit Practices, (III) Approving the
Continuation of Intercompany Transactions, and (IV) Granting Superpriority Administrative Expense
Status to Certain Postpetition Intercompany Claims [Docket No. 11] (the “Cash Management Motion”).
2730
       The Intercompany Loan Agreements were amended by that certain Letter Agreement, dated as of
February 11, 2019.

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Injury Claims. Although the Debtors estimate that the amount of the aggregate insurance
available is material, the realizable value of such coverage is subject to any number of factors,
including, without limitation, the solvency of the insurers and the outcome of existing and any
future coverage disputes. As further described in Article V of this Disclosure Statement,
prepetition, the North American Debtors were actively pursuing claims against certain insurers
for substantial insurance coverage and collections against these insurers, and were engaged in
disputes with certain of their predecessors in interest regarding who has the right to access
certain Talc Insurance Policies.

        In addition, the Debtors believe that (i) Talc Personal Injury Claims related to the North
American Debtors’ sale of talc to J&J are subject to uncapped indemnity rights against J&J
under certain stock purchase and supply agreements and (ii) one or more of the North American
Debtors (e.g., ITV f/k/a Windsor Minerals, Inc.) have the rights to the proceeds of insurance
policies issued to J&J. J&J has historically disputed the existence and extent of any indemnity
obligations owed to the Debtors or the Imerys Non-Debtors, and has disputed that the North
American Debtors have any rights to the proceeds of insurance policies issued to J&J. In
particular, J&J has stated that it does not believe it owes the Debtors any indemnity obligations
after December 31, 2000. J&J has also stated that it believes that it has strong defenses against
any indemnification obligations asserted by the Debtors or their successors and that the Debtors
have materially breached their contractual indemnity agreements and common law duties.28 31
The Plan Proponents disagree with J&J’s assertions.

      As of the date hereof, the North American Debtors have identified various insurance and
indemnity assets, including:

                remaining aggregate limits under the Talc Insurance Policies with solvent insurers
                 (not otherwise subject to a Bankruptcy Court-approved settlement agreement)
                 having an estimated realizable value of approximately $830 million available to
                 pay claims covered under such agreements, which estimate excludes any estimate
                 for anticipated recoveries on account of the coverage provided by insurers who
                 are subject to settlement agreements;

                the right to access certain shared insurance policies issued to J&J and its
                 subsidiaries with estimated total aggregate limits of approximately $2 billion;
                 provided, however, that J&J disputes that the Debtors are entitled to such
                 proceeds;

                the right to seek the proceeds of policies issued to Standard Oil (Indiana) and its
                 subsidiaries with total aggregate limits of approximately $1.2 billion; and

                indemnity rights against J&J, which are disputed by J&J.




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        These and other arguments made by J&J against the applicability of the indemnity obligations
and the availability of the insurance proceeds are discussed in Article XII of this Disclosure Statement.

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As described in Articles IV, VI, and VII of this Disclosure Statement, the Debtors’ ability to
access certain of these insurance and indemnity assets is affected by the Rio Tinto/Zurich
Settlement.

                 (4)      Other Assets

        As of October 31, 2020, the North American Debtors also had the following core assets:

                Inventory with an approximate value of $27.3 million. The inventory includes
                 raw materials, finished goods, and other inventory or supplies. Raw materials
                 represent the largest component of total inventory for ITA and ITV, totaling
                 approximately $13.3 million and $1.9 million, respectively, and include, among
                 other things, purchased crude ore and mined ore. Finished goods represent the
                 largest component of total inventory for ITC, totaling approximately $2.2 million,
                 and include, among other things, products that have been packaged but are
                 awaiting distribution.

                Machinery, fixtures, and equipment with an approximate value of $36.0 million.

                Mining assets with a value of approximately $14.0 million. Mineral reserves and
                 overburden represent approximately $5.3 million and $8.7 million of the mining
                 assets, respectively. Moreover, the North American Debtors’ mineral reserves are
                 comprised of the unmined portion of the ore deposits at the North American
                 Debtors’ mines.

                Land and buildings with an approximate value of $5.7 million (after accumulated
                 depreciation), primarily consisting of industrial buildings and related
                 improvements, including infrastructure, and the land under and surrounding the
                 buildings and production facilities.

3.2     History and Business, Organizational Structure, and Assets of ITI

        (a)      Corporate History

        In 1895, the Società Talco e Grafite Val Chisone (“Società”) was organized for the
purpose of mining minerals, including talc, from the Val Chisone and Valle Germanasca valleys
in the Piedmont region of Italy. In July of 1907, Talco e Grafite Val Chisone S.V.C. (“Talco e
Grafite”) was incorporated in Pinerolo, Italy, and subsequently acquired all of the tangible and
intangible assets of Società. Thereafter, on April 5, 1990, Finanziaria Minerario Industriale was
organized in the Piedmont region of Italy, and on August 31, 1990, Finanziaria Minerario
Industriale was merged with Talco e Grafite and renamed Talco Val Chisone S.p.A.

       Talco Val Chisone S.p.A. changed its name to Luzenac Val Chisone S.p.A. after it was
acquired by Rio Tinto Talc Limited. Then, as with the predecessor entities of the North
American Debtors, Luzenac Val Chisone S.p.A. was acquired by the Imerys Group as part of the




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2011 Purchase. Luzenac Val Chisone S.p.A. was then renamed Imerys Talc Italy S.p.A. ITI is a
majority-owned subsidiary of Mircal Italia, which in turn is an indirect subsidiary of Imerys S.A.

        (b)      ITI’s Operations

       Like the North American Debtors, ITI is in the business of mining, processing, selling,
and/or distributing talc to a variety of end markets. ITI’s talc operations include a talc mine in
Rodoretto, and a plant and office in Porte. Talc that is mined in Rodoretto is sent to the plant in
Porte where it is processed, refined into various talc products, and packaged for distribution.
The office in Porte houses ITI’s general management administrative operations.

       ITI sells its talc through internal sales channels as well as through third party distributors.
Talc sold by ITI is utilized in numerous products, including, but not limited to: specialties
(39%); polymers (23%); personal care (22%); paints and coatings (10%); and other (6%).29 32
ITI has a leading market share for its products in Europe, the Middle East, and Africa. In
addition, ITI also sells talc to purchasers in North America. Approximately 4% of ITI’s current
revenues arise from talc sales to the United States for cosmetic/personal care applications.

        (c)      Existing Organizational Structure and Ongoing Businesses

       ITI continues to mine, process, and distribute talc, utilizing a core group of executives
and personnel. ITI currently employs 83 full-time employees and one part-time employee.
Specifically, 49 of ITI’s employees are located at the Rodoretto mine, 23 are located at the
Malanaggio plant, and 12 are located at the Porte office. ITI also benefits from certain shared
services arrangements with Imerys S.A. and Imerys Talc Europe. Specifically, ITI pays an
aggregate annual fee to Imerys Talc Europe for services related to, among other things:
information systems and technology, research and application, general management and
communications, industrial production, geology, process engineering, marketing, finance, human
resources, health, safety and environment, and logistics. ITI also pays an annual fee to Imerys
S.A. on account of certain group-level executive management, legal, and other corporate
overhead services provided by Imerys S.A. to ITI. These services include, among other things:
business administration, management, marketing and sales, legal, internal and external
communications, accounting, finance, taxation, treasury, information technology, technology,
transport, insurance, purchasing, and product safety and stewardship services.

        The officers (with position) and Statutory Auditors of ITI are: Kosman Rivolti (CEO),
Laura Campanini (Board of Statutory Auditors Chairman), Giorgio Monetti (Statutory Auditor),
and Anna Angela De Benedittis (Statutory Auditor). In addition, the board of directors of ITI
consists of Vincenzo Walter Gentile, Kosman Rivolti, and Kevin Collins.

        (d)      Description of ITI’s Assets

                 (1)      Cash, Cash Management System and Intercompany Loan

        ITI has relied on the positive cash flows generated by its operations to run its business.


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        The foregoing percentages are based on total sales in 2019.

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       As of October 31, 2020, ITI held approximately $1,500,000. ITI has an operating
account located at Société Générale Italy and a tax disbursement account located at Intesa
Sanpaolo S.p.A. Each of these accounts are maintained in ITI’s name.

        ITI operates under a separate cash management system from the North American
Debtors. Historically, excess cash generated by ITI’s operations was swept on a daily basis to a
bank account in the name of Imerys Talc Europe, where it was pooled in an operating account
held by Imerys Talc Europe with funds from other European affiliates and eventually
upstreamed to Imerys S.A. ITI also periodically transferred funds to Imerys S.A. as
compensation for intercompany transactions, which were historically consolidated and settled
with Imerys S.A. pursuant to an intercompany netting system and recorded on the relevant
entity’s books as a payable or receivable, as applicable. All transfers that were made to Imerys
Talc Europe or Imerys S.A. (net of any cash transfers made from Imerys Talc Europe or Imerys
S.A. to, or on behalf of, ITI) were recorded as an intercompany interest-bearing loan on the
books of ITI and Imerys Talc Europe or Imerys S.A., as applicable.

        As of the date of this Disclosure Statement, excess funds are no longer swept from ITI to
Imerys Talc Europe or Imerys S.A. Instead, all funds generated from ITI’s operations are
retained in ITI’s bank accounts. Moreover, ITI now satisfies all intercompany obligations on
account of intercompany purchases or services as they come due in cash. Notwithstanding the
foregoing, payables and receivables between ITI and the Debtors may continue to accumulate,
with such obligations to be settled on a cash basis at the discretion of the Debtors and ITI.

        As of October 31, 2020, ITI holds an outstanding loan receivable (i) from Imerys Talc
Europe in the amount of approximately $21.9 million and (ii) from Imerys S.A. in the amount of
approximately $160,000. ITI also had an accounts receivable balance totaling approximately
$4,500,000 as of October 31, 2020. This balance primarily corresponds to receivables due from
third party customers incurred in the ordinary course of sales.

                 (2)      Other Assets

        As of October 31, 2020, ITI maintained the following other core assets:

                Inventory with an approximate value of $2,000,000. The inventory includes raw
                 materials, spare parts, work in progress, and finished goods. Raw materials
                 represent the largest component of total inventory, totaling approximately
                 $1,400,000, and include, among other things, crude ore, bag stops, and pallets.

                Mineral reserves with a value of approximately $1,000,000. The mineral reserves
                 represent the unmined portion of the ore deposits at the mine.

                Land and buildings with an approximate value of $3,500,000 (after accumulated
                 depreciation), primarily consisting of industrial buildings and related
                 improvements, including infrastructure, and the land under and surrounding the
                 buildings and production facilities.




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3.3     Filing of the Chapter 11 Cases and Plan Discussions

        (a)      Events Leading to the Chapter 11 Cases

        In June 2018, as a result of the increasing number of talc claims being asserted against
the North American Debtors in the tort system and the unwillingness of the North American
Debtors’ insurers and indemnitors to provide coverage for the Debtors’ mounting defense costs,
the North American Debtors retained Latham & Watkins LLP (“Latham”) to assist them in
evaluating a number of strategic options to manage their talc-related liabilities. The North
American Debtors and Latham worked with the North American Debtors’ litigation defense
counsel, Alston & Bird LLP (“Alston”) and Gordon Rees Scully Mansukhani LLP, and
insurance coverage counsel, Neal, Gerber & Eisenberg LLP (“NGE”), to identify and assess
alternatives to resolve the North American Debtors’ talc-related liabilities, including evaluating
the costs and benefits associated with continuing to litigate talc-related claims in the tort system.

         At the same time, the North American Debtors explored the viability of using a chapter
11 bankruptcy filing to address their talc liabilities by channeling them to a trust created under
sections 105 and 524(g) of the Bankruptcy Code that would be structured to ensure the fair and
equitable treatment of present and future claimants. As part of this exploratory effort and to
facilitate the implementation of this potential chapter 11 strategy if and when authorized by their
boards of directors, the North American Debtors entered into an engagement letter with James L.
Patton, Jr. of Young Conaway Stargatt & Taylor, LLP (“Young Conaway”) on September 25,
2018 to serve as a proposed future claims representative to represent the interests of individuals
who may in the future assert talc-related demands against the Debtors. Mr. Patton retained
Young Conaway as his legal counsel and Ankura Consulting Group, LLC (“Ankura”) as his
claims analyst to provide advice in connection with such representation. Together with his
advisors, Mr. Patton initiated an extensive diligence process into the North American Debtors’
businesses and the pending talc litigation, subject to a confidentiality agreement.

       The North American Debtors worked constructively with Mr. Patton and his advisors
throughout the prepetition process by providing access to relevant documents and responses to
numerous information requests, as well as by attending multiple in-person diligence meetings,
among other things. The North American Debtors hoped to engage with plaintiffs’ firms prior to
the commencement of the Chapter 11 Cases to determine if a pre-arranged chapter 11 plan could
be achieved. The North American Debtors did not have sufficient time, however, to conduct the
diligence process that would be necessary for the parties to engage in meaningful discussions
given the pending trial calendar (and risk of incurring a judgment for which the North American
Debtors could not post an appeal bond) and the ever-increasing costs of settlement and defense.
Nevertheless, the constructive discussions with Mr. Patton confirmed, from the Debtors’
perspective, the viability of using chapter 11 to resolve the Talc Personal Injury Claims in a
manner that would maximize the distributable value for all stakeholders and provide fair and
equitable treatment of the Talc Personal Injury Claims.

        (b)      Filing the Chapter 11 Cases, Continuation of Diligence, and Plan Discussions

       After extensive discussions with their advisors, the North American Debtors ultimately
determined that, due to the increasing number of Talc Personal Injury Claims being asserted


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against them in the tort system and the prospect of diminishing readily accessible insurance/third
party indemnitor coverage, continued litigation in the tort system was not a viable option and
that the commencement of the Chapter 11 Cases was in the best interests of the North American
Debtors, their Estates, and their stakeholders. Accordingly, on February 13, 2019, the North
American Debtors’ boards of directors authorized the filing of these Chapter 11 Cases.

        Following the Petition Date, as described more fully in Article V, the FCR and the Tort
Claimants’ Committee were each appointed in the Chapter 11 Cases. Plan discussions between
the Tort Claimants’ Committee, the FCR, and the North American Debtors (and related due
diligence) progressed after the bankruptcy filing. The plan discussion process included, among
other things, in-person meetings and conference calls between counsel to the North American
Debtors and counsel to the Tort Claimants’ Committee and the FCR, written responses to
information requests from counsel to the Tort Claimants’ Committee and the FCR, and a
comprehensive document production, wherein the North American Debtors produced, and
counsel to the Tort Claimants’ Committee and the FCR reviewed, documents and electronic files
relating to the Debtors, their affiliates, and predecessors.

       As discussions matured, the North American Debtors, the Tort Claimants’ Committee,
and the FCR focused on the possibility of a comprehensive settlement involving Imerys S.A.,
ITI, and the other Non-Debtor Affiliates. In furtherance of such a settlement, Imerys S.A.
provided certain information and documents related to diligence requests from the Tort
Claimants’ Committee and the FCR. Such diligence informed the parties’ views on a potential
contribution that could be made to the Talc Personal Injury Trust by or on behalf of the Imerys
Non-Debtors in return for protection under the Channeling Injunction.

        In light of the foregoing developments, Imerys S.A. and its counsel became more directly
involved in the plan negotiations in the months leading up to the filing of the Plan.
Representatives of the North American Debtors, the Tort Claimants’ Committee, the FCR, and
Imerys S.A. spent considerable time negotiating over the terms of a framework for a plan of
reorganization for the Debtors that would include a chapter 11 filing for ITI. In particular, the
parties focused on the funding for the Talc Personal Injury Trust via the Imerys Contribution,
and the terms of the Channeling Injunction. Ultimately, the parties reached an agreement on the
key terms for a proposed plan of reorganization and global settlement, which are embodied in the
Plan.

        (c)      ITI

        The global settlement encompassed in the Plan contemplates that ITI will file a voluntary
petition for relief under chapter 11, provided that the requisite number of votes to accept the Plan
are received from the holders of Talc Personal Injury Claims against the Debtors (including, for
the avoidance of doubt, ITI).30 33 ITI, like certain of the North American Debtors, has been
named as a defendant in litigation asserting Talc Personal Injury Claims. Specifically, ITI has
been named in eight lawsuits asserting Mesothelioma Claims, each of which has been filed by a
single firm. In light of the potential chapter 11 filing of ITI contemplated under the Plan, the

3033
        ITI has retainers with certain of its retained professionals in the United States, which provide it
with sufficient property in the United States for purposes of commencing a chapter 11 case.

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cases against ITI were dismissed without prejudice as to ITI pursuant to an agreement between
ITI and the plaintiffs in those suits.

         As a result of the foregoing, and given the potential for ITI to face increasing talc-related
litigation if it remains in the tort system, ITI has determined that the commencement of a chapter
11 case in order to similarly resolve its talc-related liabilities, pending a vote to accept the Plan
by holders of Claims in Class 4, is in the best interests of ITI and its stakeholders. The
commencement of a chapter 11 case by ITI is a negotiated for and essential component of the
Imerys Settlement, which aims to fully resolve the Talc Personal Injury Claims against the
Debtors.

        (d)      J&J Negotiations

        For nearly four years prior to the Petition Date, the Debtors and J&J engaged in
negotiations to resolve disputes related to indemnification rights and obligations, which involved
complicated issues of allocation of indemnification obligations, purported “gap years” not
covered by contractual indemnity, cross claims for indemnification between the parties, and
coverage under various insurance agreements. During those years, the parties engaged in
multiple conversations, including in-person meetings and letter writing, as well as mediation
sessions on July 24, 2018 and September 25, 2018, in an attempt to resolve these issues. The
parties were unable to reach a resolution in the mediation, but continued to engage in settlement
discussions after the conclusion of the formal mediations. The Debtors, the Tort Claimants’
Committee, the FCR, the Imerys Non-Debtors and J&J also engaged in mediation sessions on
September 18 and September 21, 2020 in an attempt to resolve issues related to the J&J Stay
Motion (as defined below). However, the parties were unable to resolve these issues. As of the
date of this Disclosure Statement, the Plan Proponents remain engaged in ongoing settlement
discussions with J&J related to the Debtors’ Chapter 11 Cases, and the Plan Proponents have
made clear that they are willing to continue to engage with J&J on issues regarding J&J’s
indemnification obligations. However, the Debtors and the Tort Claimants’ Committee are not
willing to agree to a resolution along the lines of the Alternate Proposed Lift Stay Order, filed by
J&J on September 23, 2020 [Dkt. No. 2247].

                                             ARTICLE IV.

      SUMMARY OF LIABILITIES AND RELATED INSURANCE OF THE DEBTORS

4.1     Description of Talc Personal Injury Liabilities

        The Debtors’ most significant liabilities are the numerous Talc Personal Injury Claims
asserted against them, which are described in detail below. The Debtors maintain that their talc
is safe, that the Talc Personal Injury Claims are without medical or scientific merit, and that
exposure to their talc products has not caused personal injuries. The Debtors also contend that
the safety of their talc has been confirmed by dozens of peer-reviewed studies and multiple
regulatory and scientific bodies, including five of the largest real world studies ever conducted.
The Tort Claimants’ Committee and the FCR disagree with the Debtors’ position, and dispute
the validity of the studies relied upon by the Debtors. In support of their position, the Tort
Claimants’ Committee and the FCR assert, among other things, the relatively nascent


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development of this tort and the existence of new or better testing methodologies than those cited
in the studies on which the Debtors rely.

        As described in the First Day Declaration, it is the Debtors’ view that they have had
significant success defending against Talc Personal Injury Claims in the tort system and no final,
unappealable verdict has been issued against any Debtor in any lawsuit asserting talc related
claims. The Debtors assert that they have been and continue to be committed to the quality and
safety of their products above all else. Nevertheless, the substantial increase in alleged talc-
related claims in the last few years, combined with the current state of the U.S. tort system, has
led to overwhelming projected litigation costs (net of insurance) that the Debtors were unable to
sustain over the long-term, leading to the chapter 11 filings.

        To be clear, though they are each Plan Proponents, neither the Tort Claimants’
Committee nor the FCR accept the Debtors’ position regarding the safety of their talc or the
safety of any products into which talc is incorporated.

        (a)      Overview

        As of the Petition Date, one or more of the Debtors were among the defendants in
thousands of actions brought before various U.S. federal and state courts by multiple plaintiffs
asserting Talc Personal Injury Claims. Plaintiffs have historically asserted two types of Talc
Personal Injury Claims: (1) claims alleging ovarian cancer or other related gynecological
diseases arising as a result of talc exposure (the “OC Claims”) and (2) claims alleging
respiratory cancers or other asbestos-related diseases arising as a result of talc exposure
(“Mesothelioma Claims”). As of the Petition Date, there were approximately 13,800 pending
lawsuits asserting OC Claims and approximately 850 pending lawsuits asserting Mesothelioma
Claims against one or more of the North American Debtors. ITI has also been named as a
defendant in litigation asserting Talc Personal Injury Claims. As noted above, ITI has been
named in eight lawsuits asserting Mesothelioma Claims, and it is possible that ITI may presently
be a named defendant in other cases in which it has not been served or otherwise been made
aware of such proceedings.

        Approximately 98.6% of the pending lawsuits asserting Talc Personal Injury Claims
allege injuries based on the use of cosmetic products containing talc. As described above,
personal care/cosmetic sales into the United States make up approximately 5% of the North
American Debtors’ annual revenues and 2% of ITI’s annual revenues. In addition, the Debtors
historically supplied and at times were the sole supplier of, talc to J&J, and have been routinely
named as a co-defendant with J&J in litigation related to the Talc Personal Injury Claims.
Approximately 99.8% of the pending and closed lawsuits asserting OC Claims against the
Debtors named J&J as a co-defendant, and approximately 80.1% of the pending lawsuits
asserting Mesothelioma Claims against the Debtors named J&J as a co-defendant. The pending
and completed lawsuits asserting Talc Personal Injury Claims also routinely name third parties
other than or in addition to J&J.

        (b)      Proliferation of Talc Claims




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       At the time of the Imerys Group’s acquisition of the Debtors, there was only one OC
Claim pending against ITA, which was in the early stages of litigation.31 34 In 2014, following a
judgment against J&J, the number of suits filed involving OC Claims began to increase.
Approximately 16,500 OC Claims have been filed since 2014 and, as of the Petition Date,
approximately 13,800 OC Claims were pending against one or more of the Debtors.

        Similarly, when the Debtors were acquired in 2011, there were only approximately seven
pending Mesothelioma Claims, which were all in the early stages of litigation. As with OC
Claims, however, plaintiffs began filing Mesothelioma Claims at an increasing pace in 2014, and
in early 2016, one of the Mesothelioma Claims reached trial. Since 2014, approximately 1,200
Mesothelioma Claims have been filed against one or more of the Debtors, of which
approximately 850 were still pending as of the Petition Date.32 35

        (c)      OC Claims

        Plaintiffs asserting OC Claims generally allege that they have developed ovarian cancer
or other related gynecological cancers as a result of their use of certain cosmetic products,
primarily J&J body powders (which were historically comprised almost entirely of talc) for
feminine hygiene purposes. Historically, plaintiffs have asserted that talc itself causes ovarian
cancer and have not asserted that talc contained in the body powder was contaminated with trace
amounts of asbestos. In 2017, however, some plaintiffs asserting OC Claims began to allege that
their personal injuries may also have been caused by trace asbestos contamination of the talc.
The Debtors dispute all of these allegations.

        (d)      Mesothelioma Claims

        Plaintiffs asserting Mesothelioma Claims generally allege they have developed non-
ovarian cancer personal injuries based on some form of asbestos exposure. Some of these
plaintiffs assert that they were only exposed to talc that was contaminated with trace amounts of
asbestos, while others allege additional non-talc exposure to asbestos. It is the Debtors’ view
that in many cases plaintiffs have made insufficient allegations for the Debtors to determine
whether the Mesothelioma Claims are based on cosmetic talc exposure, industrial talc exposure,
or both. For those pending cases where the plaintiff’s exposure to talc has been identified with
specificity, approximately 63% percent of plaintiffs allege exposure to asbestos through the use
of cosmetics, while approximately 24% of plaintiffs allege exposure in industrial occupational
settings (the approximately remaining 13% of plaintiffs allege both cosmetic and industrial
exposure).

4.2     Description of Talc Insurance Coverage

        (a)      Talc Insurance Coverage



3134
        ITA subsequently obtained summary judgment in its favor in that case.
3235
       The Debtors do not intend to seek a formal estimation of the Debtors’ total liability for Talc
Personal Injury Claims, but they reserve the right to seek such a formal estimation in the future.

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        The North American Debtors have access to, and rights under, various Talc Insurance
Policies with Talc Insurance Companies that cover, among other things, certain talc-related
personal injury liabilities and related litigation costs (including, in certain instances, defense
costs).33 36 Specifically, one or more of the North American Debtors have the right to the
proceeds of insurance policies for both the OC Claims and the Mesothelioma Claims.34 37 As
further discussed below, the Debtors are informed and believe that the total amount of insurance
available for the OC Claims and the Mesothelioma Claims is at least $670 million and $160
million, respectively.35 38 Notwithstanding the foregoing, the amounts available for OC Claims
that the Debtors believe are attributable to the Zurich Policies (as defined below) (in excess of
$630 million) will be released pursuant to the Rio Tinto/Zurich Settlement in exchange for the
Rio Tinto/Zurich Contribution. Moreover, the Debtors also believe that ITA has rights to seek
the proceeds from certain other insurance policies with total aggregate limits of approximately
$1.2 billion to resolve Mesothelioma Claims.

        The Debtors have reviewed each of the available Talc Insurance Policies referred to
herein, as well as secondary evidence. Based on the Debtors’ review, the Debtors believe that
each of the Talc Insurance Policies provides coverage for bodily injury allegedly caused by
exposure to talc or talc-containing products during the applicable policy period. Based on the
Debtors’ review and communications with certain Talc Insurance Companies, the Debtors
understand that each of the Talc Insurance Companies that issued the Talc Insurance Policies
included within the available limits (as further described below) is solvent and able to pay
covered claims. The Debtors base their belief that the Talc Insurance Policies have realizable
value as stated herein on their review of the Talc Insurance Policies, review of secondary
evidence, and communications with certain Talc Insurance Companies.36 39

       Several Talc Insurance Companies have asserted coverage defenses, including but not
limited to defenses based on exclusions and other limitations contained in the policies. The
Debtors have evaluated these purported defenses and believe that such defenses do not preclude
insurance coverage, but may impact the scope of available coverage on a claim by claim basis.

                 (1)      Insurance Coverage Containing Asbestos Exclusions



3336
        ITI has not identified any insurance coverage for Talc Personal Injury Claims asserted against it
and has been paying the defense costs of talc-related personal injury litigation directly.
3437
        The payment of defense costs by certain of the Talc Insurance Companies under certain Talc
Insurance Policies does not erode the limits of liability available to satisfy talc-related liabilities.
3538
       ITA currently is involved in coverage litigation in California state court regarding the scope and
amount of available coverage for Mesothelioma Claims under certain Talc Insurance Policies. This
coverage dispute is further discussed below.
3639
        For example, a review of the Zurich Policies shows that the total limits are in excess of $650
million, and communications with Zurich confirmed that there is in excess of $630 million in remaining
limits. Likewise, a review of available Cyprus Historical Policies (as defined below) showed that the total
limits were approximately $175 million, and communications with certain insurers that issued certain
Cyprus Historical Policies confirmed approximately $160 million in remaining limits.

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        Zurich and Rio Tinto Captive Insurer Policies. One or more of the North American
Debtors has asserted the right to insurance coverage under certain primary liability policies
issued by a Zurich Corporate Party (the “Zurich Policies”).37 40 Zurich issued primary liability
policies to Luzenac America from May 1997 to May 2001 with total aggregate limits of liability
of $20 million. Zurich also issued primary liability policies to certain of the Rio Tinto Corporate
Parties from May 2001 to May 2012 with total aggregate limits of $630 million. The Debtors
are informed and believe that the Zurich Policies have been eroded by at least $17 million,
resulting in remaining limits of in excess of $630 million. Pursuant to various agreements with
Zurich and certain of the Rio Tinto Corporate Parties, the North American Debtors owe no
further deductibles on the Zurich Policies. The Debtors are unaware of any excess policies
issued to the Rio Tinto Corporate Parties or to the North American Debtors above the Zurich
Policies. Each of the Zurich Policies contains an endorsement that purports to exclude coverage
for injuries caused by exposure to asbestos.38 41

        Zurich and the Rio Tinto Corporate Parties have disputed the North American Debtors’
rights to the proceeds of the Zurich Policies on several grounds, including that (1) there is a lack
of scientific evidence to support the theory that talc exposure, in and of itself, causes ovarian
cancer, thus rendering the Debtors’ liability for ovarian-cancer claims uncertain and speculative;
(2) the Zurich Policies contain exclusions for asbestos-related liabilities; (3) there is a lack of
relevant settlement history; (4) the Debtors have successfully asserted defenses to liability in the
tort system; (5) the Debtors have substantial insurance assets other than the Zurich Policies that
are available to them; and (6) under the terms of the 2011 Purchase, the Debtors are not entitled
to access any Zurich Policies other than ten policies issued by Zurich between May 31, 2001 and
May 31, 2011, under which Luzenac America was an insured.

        In addition, the Rio Tinto Captive Insurers issued certain policies (the “Rio Tinto
Captive Insurer Policies”) that originally named Luzenac America and certain Rio Tinto
Corporate Parties as insureds, and afforded difference-in-limits coverage for sums that exceeded
the limits of the Zurich Policies, up to the policy limits of the Rio Tinto Captive Insurer Policies,
and the Rio Tinto Corporate Parties purchased certain excess policies above those limits.39 42
Each of these policies contains an exclusion for injuries caused by exposure to asbestos. Rio
Tinto contends that, under the terms of the 2011 Purchase, the Debtors no longer have access to
coverage under any of these policies.

        The Rio Tinto/Zurich Settlement, including the Rio Tinto/Zurich Settlement Agreement,
finally resolves all disputes regarding the Debtors’ alleged rights to coverage under the above
policies and releases the Zurich Protected Parties and the Rio Tinto Protected Parties from any

3740
         The Zurich Policies include any and all Talc Insurance Policies issued by the Zurich Corporate
Parties, including but not limited to the Talc Insurance Policies listed on Schedule VI to the Plan. For the
avoidance of doubt, the Zurich Policies shall not include any policy to the extent such policy provides
reinsurance to any Rio Tinto Captive Insurer.
3841
        J&J contends that it qualifies as an additional insured under certain of the Zurich Policies.
3942
         The Rio Tinto Captive Insurance Policies include any and all Talc Insurance Policies issued by
the Rio Tinto Captive Insurers, including, but not limited to the Talc Insurance Policies listed on Schedule
III attached to the Plan. For the avoidance of doubt, the Rio Tinto Captive Insurer Policies shall not
include any policy to the extent such policy provides reinsurance to any Zurich Protected Party.

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claims directly or indirectly arising out of or related to those policies, in return for the substantial
contributions to be made by Zurich and Rio Tinto to the Talc Personal Injury Trust.

         XL Policies. One or more of the North American Debtors have the right to insurance
coverage under four primary general liability policies and four umbrella polices issued by XL
Insurance America, Inc. (“XL”) to Imerys USA and its subsidiaries. XL issued primary general
liability policies for the period of January 2011 to February 2015 with total aggregate limits of
$4 million (the “XL Primary Policies”). XL also issued umbrella liability policies for the
period of January 2011 to February 2015 with total aggregate limits of $34 million (the “XL
Umbrella Policies,” and together with the XL Primary Policies, the “XL Policies”). The
Debtors are informed and believe that the XL Policies have total remaining limits of
approximately $37 million. Each of the XL Policies contains an endorsement that purports to
exclude coverage for injuries caused by exposure to asbestos.

        As described in Section 5.9 of this Disclosure Statement, the Debtors are currently
participating in mediation with XL to resolve certain disputes regarding the Debtors’ rights to
coverage under the XL Policies.

                 (2)      Insurance Coverage Not Containing Asbestos Exclusions

         As a result of the various transactions involving the talc business of Cyprus Mines (as
discussed in Article V below), ITA believes it has the right to seek proceeds from insurance
policies that provide coverage for liabilities arising out of the talc business of Cyprus Mines
and/or its affiliates or predecessors (the “Cyprus Historical Policies”). Specifically, the Cyprus
Historical Policies consist of numerous primary, excess, and umbrella comprehensive general
liability insurance policies issued, or otherwise providing coverage, to Cyprus Mines and/or its
affiliates or predecessors between 1961 and 1986. The policies provide coverage for bodily
injury that occurs during the respective policy periods. The Debtors are informed and believe
that all of the primary liability policies that could provide coverage for asbestos-related liabilities
arising out of the talc business of Cyprus Mines and/or its affiliates or predecessors have been
exhausted, except four primary liability policies issued by The American Insurance Company
from May 1961 to October 1964. The remaining coverage consists of umbrella and excess
policies issued by various insurers from April 1962 to July 1986 with total aggregate limits of
approximately $160 million. In addition, the Debtors are informed and believe that ITA also has
rights to seek the proceeds from insurance policies issued to Standard Oil (Indiana) from 1980 to
1985 with total aggregate limits of approximately $1.2 billion. As further discussed below, the
North American Debtors are presently litigating their rights to these policies in the Cyprus
Insurance Adversary Proceeding (as defined below). The rights to these policies will be
resolved pursuant to the Cyprus Insurance Adversary Proceeding or otherwise.

        (b)      J&J

                 (1)      J&J Insurance and Indemnity Obligations

        J&J Insurance. The Debtors have asserted that one or more of the Debtors have the
right to insurance coverage from various Talc Insurance Policies issued to J&J (including, for
the purpose of this section, policies issued to J&J’s corporate predecessors or subsidiaries) with


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total aggregate limits of approximately $2 billion. For example, ITV (f/k/a Windsor Minerals,
Inc.) was a wholly-owned J&J subsidiary during the applicable policy periods of the J&J Talc
Insurance Policies and therefore entitled to coverage. The Debtors presently are unaware of the
total remaining and available limits of the Talc Insurance Policies issued to J&J. J&J disputes
that the Debtors or any third parties are entitled to the proceeds of any insurance coverage from
various insurance policies issued to J&J.40 43

          J&J Indemnification Obligations. The Debtors also have asserted that one or more of
the Debtors, the Protected Parties, and the Imerys Non-Debtors also have certain, uncapped
indemnity rights against J&J for J&J Talc Claims arising under the following agreements: (i)
that certain Agreement, between Cyprus Mines Corporation and Johnson & Johnson, dated as of
January 6, 1989 (the “1989 SPA”); (ii) that certain Talc Supply Agreement, between Windsor
Minerals Inc. and Johnson & Johnson Baby Products Company, a division of Johnson &
Johnson Consumer Products, Inc., dated as of January 6, 1989 (the “1989 Supply Agreement”);
(iii) that certain Supply Agreement between Johnson & Johnson Consumer Companies, Inc. and
Luzenac America, Inc., dated as of April 15, 2001 (the “2001 Supply Agreement”); (iv) that
certain Material Purchase Agreement, between Johnson & Johnson Consumer Companies, Inc.
and Luzenac America, Inc., dated as of January 1, 2010; and (v) that certain Material Purchase
Agreement, between Johnson & Johnson Consumer Companies, Inc. and Luzenac America, Inc.,
dated as of January 1, 2011 (the “2011 Material Purchase Agreement” and, together with (i),
(ii), (iii), and (iv), the “J&J Agreements”).41 44

        J&J has previously disputed that the indemnification obligations arising out of these
agreements in favor of the Debtors are uncapped or that they relate to future claimants. J&J has
also previously disputed that it has any indemnification obligations under the 1989 Supply
Agreement to the extent any Talc Personal Injury Claims allege exposure to talc used by J&J
that did not conform to J&J’s specifications, and has contended that certain periods of time are
not covered by any supply agreement between the Debtors and J&J. Moreover, J&J claims that
the Debtors have certain obligations to indemnify J&J under the 2001 Supply Agreement.4245

       More recently, J&J has acknowledged that indemnification obligations exist, but it has
contested the scope of its obligations to the Debtors and has asserted that it has defenses to the
Debtors’ indemnity claims and claims against the Debtors for indemnity.43 46 While neither J&J


4043
          Certain Talc Insurance Policies issued or allegedly issued to J&J are the subject of an active
coverage litigation in New Jersey state court, styled as Atlanta Int’l Ins. Co. v. Johnson & Johnson, et al.,
Case No. MID-L-3563-19. The Debtors, the Tort Claimants’ Committee, and the FCR are not parties to
this litigation and have not intervened.
4144
        For the avoidance of doubt, these indemnification obligations include any and all indemnity
rights of the Debtors, the Protected Parties, and the Imerys Non-Debtors against J&J for Talc Personal
Injury Claims pursuant to any other applicable agreement, order, or law.
4245
        Each of these agreements are described in Article XII of this Disclosure Statement.
4346
        See generally Johnson & Johnson’s and Johnson & Johnson Consumer Inc.’s Motion [For] An
Order Pursuant to Bankruptcy Rule 2004 [Docket No. 750]; Memorandum of Law in Support of Johnson
& Johnson’s and Johnson & Johnson Consumer Inc.’s Motion to Fix Venue for Claims Related to
Imerys’s Bankruptcy Under 28 U.S.C. §§ 157(b)(5) and 1334(b), Civ. Action No. 19-mc-00103 (MN) (D.

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nor the Debtors have initiated litigation relating to these indemnity obligations, on June 6, 2019,
a lawsuit was brought by National Union Fire Insurance Company of Pittsburgh, Pa. (“National
Union”) against Johnson & Johnson Consumer Companies, Inc., Johnson & Johnson Baby
Products Company, and Johnson & Johnson (collectively, the “J&J Defendants”) in the
Superior Court of the State of Vermont, Chittenden Unit, styled as National Union Fire
Insurance Company of Pittsburgh, PA. as Subrogee of Cyprus Mines Corporation v. Johnson &
Johnson Consumer Companies, Inc. et al., Case No. 495-6-19-CNEV (the “Subrogation
Proceeding”). In the Subrogation Proceeding, National Union sought, among other things, to
recover from the J&J Defendants, as the putative subrogee of ITA and Cyprus Mines, the
amounts National Union allegedly incurred defending ITA and Cyprus Mines in various
asbestos-related bodily injury product liability lawsuits. In response, on October 8, 2019, the
Debtors filed a motion to enforce the automatic stay in the Bankruptcy Court in order to enjoin
National Union from continuing the Subrogation Proceeding (the “Motion to Enforce”) [Docket
No. 1117]. Prior to the filing of the Motion to Enforce, the J&J Defendants also filed an answer
to National Union’s complaint in the Subrogation Proceeding. On October 18, 2019, shortly
after the North American Debtors filed the Motion to Enforce, National Union agreed to dismiss
the Subrogation Proceeding without prejudice, and the Debtors withdrew the Motion to Enforce.

         In addition, as further discussed below, the North American Debtors are presently
litigating their rights to certain of these indemnification obligations in the Cyprus Indemnity
Adversary Proceeding (as defined below).

                 (2)      J&J Removal Attempt

        In addition to the foregoing, on April 18, 2019, Johnson & Johnson and Johnson &
Johnson Consumer Inc. (collectively, the “J&J Removal Parties”) commenced a civil action in
the U.S. District Court for the District of Delaware (the “District Court”) and moved to fix
venue in the District Court for all pending talc-related personal injury and wrongful death claims
(the “Venue Motion”).44 47 The Venue Motion sought to transfer the 2,400 lawsuits under 28
U.S.C. §§ 157(b)(5) and 1334(b), which authorize the federal district court in which a
bankruptcy case is pending to hear claims “related to” a debtor’s bankruptcy case.
Contemporaneously with that filing, the J&J Removal Parties began filing notices of removal in
state court actions in order to remove such actions to federal court where they would be subject
to transfer under the Venue Motion. On May 3, 2019, the J&J Removal Parties filed a motion in
the Bankruptcy Court to extend the deadline to file such notices of removal in state court actions
[Docket No. 486]. On June 27, 2019, the Bankruptcy Court granted the J&J Removal Parties’
request to extend the removal deadline [Docket No. 755].




Del. 2019) [Docket No. 2]; Reply Memorandum of Law in Further Support of Johnson & Johnson’s and
Johnson & Johnson Consumer Inc.’s Motion to Fix Venue for Claims Related to Imerys’s Bankruptcy
Under 28 U.S.C. §§ 157(b)(5) and 1334(b), Civ. Action No. 19-mc-00103 (MN) (D. Del. 2019) [Docket
No. 81].
4447
        Johnson & Johnson and Johnson & Johnson Consumer Inc.’s Motion to Fix Venue for Claims
Related to Imerys’s Bankruptcy Under 28 U.S.C. §§ 157(b)(5) and 1334(b), Civ. Action No. 19-mc-
00103 (MN) (D. Del. 2019) [Docket No. 1].

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        Numerous parties, including the Tort Claimants’ Committee, the FCR, and a myriad of
plaintiffs’ personal injury counsel around the country, filed oppositions in response to the J&J
Removal Parties’ Venue Motion in the District Court.45 48 On July 19, 2019, the District Court
denied the J&J Removal Parties’ Venue Motion.46 49 Upon entry of the order, the District Court
closed the civil case.47 50

                 (3)      J&J Motion to Modify the Automatic Stay

        On March 27, 2020, J&J filed the Motion Pursuant to 11 U.S.C. § 362(d)(1), Fed. R.
Bankr. P. 4001, and Local Bankruptcy Rule 4001-1 for Entry of Order Modifying Automatic Stay
to Permit J&J to Send Notice Assuming Defense of Certain Talc Claims and to Implement Talc
Litigation Protocol [Docket No. 1567] (the “J&J Stay Motion”). Pursuant to the J&J Stay
Motion, J&J sought to modify the automatic stay to (i) permit holders of certain J&J Talc Claims
to pursue those claims against the Debtors, (ii) permit J&J to send notices of assumption of the
defense of certain J&J Talc Claims, and (iii) take certain other actions set forth in a prior version
of the J&J Protocol (the “Initial J&J Protocol”) to assume the defense of and indemnify the
Debtors for certain J&J Talc Claims.

        The Debtors, the Tort Claimants’ Committee, and the FCR each opposed the J&J Stay
Motion [Docket Nos. 1731, 1732, and 1734], and on May 28, 2020, J&J filed Johnson &
Johnson’s Omnibus Reply in Support of J&J’s Motion for Entry of Order Modifying Automatic
Stay to Implement Talc Litigation Protocol [Docket No. 1769] (the “J&J Reply”). In the J&J
Reply, J&J agreed to certain modifications to the Initial J&J Protocol in an attempt to partially
resolve certain deficiencies highlighted by the Debtors, the Tort Claimants’ Committee, and the
FCR in their objections to the J&J Stay Motion. On July 10, 2020, the Tort Claimants’
Committee and the FCR filed the Joint Response of the Official Committee of Tort Claimants
and Future Claimants’ Representative to Johnson & Johnson’s Omnibus Reply in Support of
J&J’s Motion for Entry of Order Modifying Automatic Stay to Implement Talc Litigation
Protocol [Docket No. 1976] (the “Committee’s Response”) and the Debtors filed the Debtors’
Response to the Joint Response of the Official Committee of Tort Claimants and Future
Claimants’ Representative to Johnson & Johnson’s Omnibus Reply in Support of J&J’s Motion
for Entry of Order Modifying Automatic Stay to Implement Talc Litigation Protocol [Docket No.
1978]. Attached as Exhibit A to the Committee’s Response was a revised proposed order
seeking approval of certain revisions to the Initial J&J Protocol, as amended by the J&J Reply
(the “Revised Proposed J&J Order”). The Plan Proponents believe that these revisions
wcould have resolved the open issues with the Initial J&J Protocol that could have otherwise had
a substantial detrimental effect on the Debtors’ Estates. J&J refused todid not agree to the
proposed revisions, because J&J believed the revisions would unfairly and unduly impact J&J’s
rights and defenses.




4548
         See Civ. Action No. 19-mc-00103 (MN) (D. Del. 2019) [Docket Nos. 37, 45, 46, 48, 49, 50, 53,
55, 56, 57, and 58].
4649
        See Memorandum Opinion, Civ. Action No. 19-mc-00103 (MN) (D. Del. 2019) [Docket No. 96].
4750
        See Order, Civ. Action No. 19-mc-00103 (MN) (D. Del. 2019) [Docket No. 97].

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        Instead, on September 10, 2020, J&J filed Johnson & Johnson’s Reply to (I) the Joint
Response of the Official Committee of Tort Claimants and Future Claimants’ Representative to
Johnson & Johnson’s Omnibus Reply in Support of Johnson & Johnson’s Motion for Entry of
Order Modifying Automatic Stay to Implement Talc Litigation Protocol and (II) the Debtors’
Response Thereto [Docket No. 2181] in response to the Revised Proposed J&J Order. J&J also
filed a further modified proposed order granting the relief requested in the J&J Stay Motion
[Docket No. 2247] (the “Revised J&J Protocol”). However, the Revised J&J Protocol still did
not address key deficiencies identified by the Debtors, the Tort Claimants’ Committee, and the
FCR. J&J unilaterally continued the J&J Stay Motion a number of times before being compelled
to go forward by the Bankruptcy Court. In an attempt to address the Plan Proponents’ objections,
J&J filed an Alternate Proposed Lift Stay Order [Dkt. 2247]. In this Alternate Proposed Lift Stay
Order, J&J proposed to fully indemnify the Debtors for J&J Talc Claims in accordance with the
terms of the contract.

       Ultimately, the Bankruptcy Court determined that the relief requested by J&J in the J&J
Stay Motion, as revised pursuant to the Revised J&J Protocol, could not be approved, and, on
September 25, 2020, the Bankruptcy Court entered the Order Denying Motion for Order
Modifying Automatic Stay [Docket No. 2253].

        (c)      Status of Insurance Assets

                 (1)      Prepetition Claims Cost Receivables

        Prior to and after the Petition Date, the North American Debtors (or their counsel and
vendors) sent regular billings to various insurers for reimbursement of costs and expenses paid
by the Debtors prior to the Petition Date on account of Talc Personal Injury Claims
(“Prepetition Claims Cost Receivables”). As of the date of this Disclosure Statement, the
Debtors are in the process of reconciling the amounts to be collected in respect of unpaid
Prepetition Claims Cost Receivables.

                 (2)      Insurance Settlement Agreements and Coverage Disputes

        The Bankruptcy Court approved two post-petition settlement agreements by and between
the North American Debtors and certain Talc Insurance Companies. These settlements, which
are described in Article V of this Disclosure Statement, provide for payments to certain of the
North American Debtors’ defense counsel and their vendors and experts (as applicable under the
respective agreements) for prepetition claims in the aggregate amount of $9,695,159.20.
Moreover, as discussed above and further discussed in Articles VI and VII of this Disclosure
Statement, the Plan incorporates the Rio Tinto/Zurich Settlement.

        The North American Debtors are also party to coverage disputes with certain Talc
Insurance Companies and Cyprus (as defined below), which are further described in Article V of
this Disclosure Statement. As discussed herein, these disputes may impact the North American
Debtors’ ability to utilize certain insurance proceeds, which will reduce the value of total assets
available to holders of Talc Personal Injury Claims.




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        Furthermore, and as discussed in Section 5.9 of this Disclosure Statement, the Debtors
are participating in mediation with XL, the Chubb Insurers (as defined below), and Truck (as
defined below) to resolve coverage disputes.

        Past experience indicates that certain insurers that entered into the Talc Insurance
Policies may still raise objections, contract issues, and otherwise dispute their obligation to pay
claims in the future. The North American Debtors are attempting to determine the existence,
nature, and scope of any such disputes and, if possible and as appropriate, resolve certain
disputes before the Effective Date through negotiation and/or litigation.

4.3     Description of Non-Talc Liabilities of the Debtors

        (a)      Claims Filed Against or Scheduled By the North American Debtors

        The North American Debtors believe that they were generally current on their known
prepetition trade payables as of the Petition Date. In addition, the North American Debtors are
not currently party to any secured financing arrangements (although, as discussed in Section 5.8
of this Disclosure Statement, the Debtors have filed the DIP Motion and are seeking authority to
obtain the DIP Facility), and they do not have outstanding public debt.

        As described in Article V of this Disclosure Statement, on July 25, 2019, the Bankruptcy
Court entered the General Bar Date Order (as defined below), establishing October 15, 2019 as
the General Bar Date (as defined below). The General Bar Date did not apply to “Talc Claims”
(as defined in the General Bar Date Order). On November 22, 2019, the Bankruptcy Court
entered an order establishing January 9, 2019 as the Indirect Talc Claim Bar Date (as defined
below), which solely applied to Indirect Talc Claims (as defined below).

        The Non-Talc Claims filed against the North American Debtors include, without
limitation, (i) trade claims; (ii) employee/pension claims; (iii) intercompany claims (asserted by
Non-Debtor Affiliates); (iv) claims for professional fees that are not Fee Claims; (v) tax claims;
(vi) insurance claims; and (vii) surety bond claims. In addition, numerous Non-Talc Claims
were included in the North American Debtors’ Schedules (as defined below). The scheduled
claims fall into categories, including, but not limited to, contract claims, customer claims, trade
claims, and intercompany claims.

        The Debtors continue to review and analyze the proofs of claim filed to date, and
reconcile these proofs of claim with the North American Debtors’ scheduled claims. To this
end, the Debtors or the Reorganized Debtors, as applicable, have filed and will file objections
and seek stipulations with respect to certain Claims. Moreover, certain parties may attempt to
file additional Claims notwithstanding the passage of the General Bar Date and the Indirect Talc
Claim Bar Date and seek allowance of such Claims by the Bankruptcy Court. In addition,
certain existing Claims may be amended to seek increased amounts. Accordingly, the Debtors
do not presently know and cannot reasonably determine the actual number and aggregate amount
of the Claims that will ultimately be Allowed against the North American Debtors.




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        (b)      Claims Against and Equity Interests in ITI

         As contemplated by the Plan, all holders of Equity Interests in and Claims against ITI
other than holders of Talc Personal Injury Claims and Non-Debtor Intercompany Claims will be
Unimpaired (in other words, unaffected) by ITI’s reorganization process. Generally, this means
that all holders of such Claims against ITI will be paid in full in the ordinary course of business
or otherwise permitted to pass through the reorganization process without their rights being
affected. Similarly, the rights of holders of Equity Interests in ITI will be left unaltered by the
implementation of the Plan.

                                             ARTICLE V.

                           EVENTS DURING THE CHAPTER 11 CASES

       The following is a general description of the major events occurring during the course of
these Chapter 11 Cases. Because ITI has not filed for bankruptcy protection, the following
discussion and the use of the term “Debtors” does not apply to ITI.

5.1     Commencement of the Chapter 11 Cases and First Day Motions

       The Debtors have continued to operate their businesses and manage their affairs as
debtors-in-possession pursuant to sections 1107 and 1108 of the Bankruptcy Code since the
commencement of the Chapter 11 Cases on February 13, 2019.

         On the Petition Date, the Debtors filed a number of motions seeking typical “first-day”
relief in chapter 11 cases (the “First Day Motions”). The Debtors’ stated purpose of the First
Day Motions was to ensure that the Debtors were able to transition into the chapter 11 process
and maintain their operations in the ordinary course so as to function smoothly while their cases
were progressing.

        The First Day Motions sought authority to: (i) pay prepetition wages and other benefits to
employees; (ii) pay prepetition insurance obligations and maintain post-petition insurance
coverage; (iii) pay prepetition claims of critical vendors, foreign vendors, and certain
lienholders; (iv) approve certain notice procedures for holders of Talc Personal Injury Claims;
(v) authorize ITC to act as foreign representative of the Debtors in any judicial or other
proceeding in Canada; (vi) pay prepetition taxes and fees; (vii) continue use of the existing cash
management system and bank accounts and waive the requirements of section 345 of the
Bankruptcy Code; (viii) retain a claims agent to assist in the Chapter 11 Cases; (ix) honor
prepetition obligations to customers under certain customer programs; (x) prohibit utility
companies from altering or discontinuing service on account of prepetition invoices
(the “Utilities Motion”); and (xi) enforce the protections of the automatic stay. A description of
the First Day Motions is set forth in the First Day Declaration.

        On the Petition Date, the Bankruptcy Court entered an order jointly administering the
Debtors’ Chapter 11 Cases. The Debtors have not sought substantive consolidation of their
respective Estates and no substantive consolidation is sought in the Plan.



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5.2     Commencement of Canadian Proceeding

        The Chapter 11 Cases have been recognized in Canada in a proceeding commenced
before the Ontario Superior Court of Justice (Commercial List) (the “Canadian Court”)
pursuant to the Companies’ Creditors Arrangement Act, R.S.C. 1985, c. C-36 (as amended, the
“CCAA”). Recognition of the Chapter 11 Cases was sought to provide for a stay of proceedings
against the Debtors, to keep Canadian creditors informed regarding the Chapter 11 Cases, and to
seek to bind Canadian creditors to orders issued in the Chapter 11 Cases for which recognition is
sought in Canada. Recognition of the Chapter 11 Cases was sought and obtained from the
Canadian Court on February 20, 2019.48 51

        The orders issued by the Canadian Court on February 20, 2019, April 3, 2019, May 24,
2019, August 7, 2019, October 28, 2019, December 3, 2019, April 1, 2020, July 3, 2020,
November 3, 2020, and November 25, 2020, among other things, (i) recognized the Chapter 11
Cases as “foreign main proceedings” under the CCAA; (ii) stayed all existing proceedings
against the Debtors in Canada; (iii) appointed Richter Advisory Group Inc. as information
officer (the “Information Officer”) to report to the Canadian Court, creditors, and other
stakeholders in Canada on the status of the Chapter 11 Cases; (iv) recognized certain interim and
finals orders (as applicable) entered by the Bankruptcy Court permitting the Debtors to, among
other things, continue operating their respective businesses during the course of the Chapter 11
Cases, employ certain professionals, establish the General Bar Date and the Indirect Talc Claim
Bar Date, make payments pursuant to their key employee retention plan, implement bidding
procedures in connection with the Sale, designate Magris Resources (as defined below) as
stalking horse bidder and provide Magris Resources with bid protections, and sell their assets to
Magris Resources pursuant to section 363 of the Bankruptcy Code; (v) recognized certain orders
entered by the Bankruptcy Court approving the retention of the FCR and various professionals
employed by the Debtors, the Tort Claimants’ Committee, and the FCR; and (vi) recognized the
Bankruptcy Court’s order approving the ITC Stipulation (as defined below).

5.3     Appointment of the Tort Claimants’ Committee

     On March 5, 2019, the Office of the United States Trustee appointed the Tort Claimants’
Committee in the Chapter 11 Cases. Those individuals comprising the Tort Claimants’
Committee are (listed with the law firm representing each member):

         Committee Member                        Law Firm / Attorney

         Robin Alander                           The Lanier Law Firm
         Nolan Zimmerman, as representative
                                                 Levy Konigsberg LLP
         of the estate of Donna M. Arvelo
         Christine Birch                         The Gori Law Firm

         Bessie Dorsey-Davis                     Burns Charest LLP

4851
       Initial Recognition Order (Foreign Main Proceeding), Ct. File No. CV-19-614614-00 CL (Can.
Ont. Sup. Ct. J. Feb. 20, 2019).

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         Committee Member                           Law Firm / Attorney

         Lloyd Fadem, as representative of the
                                                    Baron & Budd, P.C.
         estate of Margaret Ferrell
         Timothy R. Faltus, as representative of
                                                    OnderLaw, LLC
         the estate of Shari C. Faltus
                                                    Beasley, Allen, Crow, Methvin, Portis
         Deborah Giannecchini
                                                    & Miles, P.C.
         Kayla Martinez                             Simon Greenstone Panatier, P.C.

         Lynne Martz                                Ashcraft & Gerel, LLP

         Nicole Matteo                              Cohen, Placitella & Roth, P.C.
         Charvette Monroe, as representative of
                                                    The Barnes Law Group, LLC
         the estate of Margie Evans

       The Tort Claimants’ Committee retained Robinson & Cole LLP as lead counsel and
Willkie Farr & Gallagher LLP in the role of special litigation and corporate counsel. The Tort
Claimants’ Committee has also retained Gilbert LLP, as special insurance counsel, Analysis
Systems, Inc., as tort liability consultant, Ducera Partners LLC and Ducera Securities LLC
(together “Ducera”), as investment banker, and GlassRatner Advisory & Capital Group, LLC, as
financial advisor.

        The Tort Claimants’ Committee and the FCR collectively have fiduciary obligations to
represent the interests of holders of Direct Talc Personal Injury Claims and not holders of
Indirect Talc Personal Injury Claims or any other creditor. Though purported holders of Indirect
Talc Personal Injury Claims are not represented by an official committee in the Chapter 11
Cases, they have appeared through sophisticated counsel and have been active throughout the
Chapter 11 Cases.

5.4     Appointment of the Legal Representative for Future Claimants

         On June 3, 2019, the Bankruptcy Court entered an order appointing Mr. James L. Patton,
Jr. as legal representative for future talc personal injury claimants in the Chapter 11 Cases. The
FCR has retained the law firm of Young Conaway, as counsel, Ankura, as claims evaluation and
financial valuation consultants, and, has co-retained with the Tort Claimants’ Committee, Gilbert
LLP as special insurance counsel and Ducera, as investment banker.




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        On June 18, 2019, certain of the Debtors’ insurers (the “Certain Excess Insurers”)49 52
appealed Mr. Patton’s appointment as the FCR (the “FCR Appeal”). The FCR Appeal is
pending before the Delaware District Court in the cases styled as In re: Imerys Talc America,
Inc., Civ. A. Nos. 19-00944, 19-01120, 19-01121 and 19-01122 (MN) (D. Del.). On August 2,
2019, the District Court entered an order approving a briefing schedule, which was subsequently
amended on August 22, 2019.50 53 The Certain Excess Insurers’ opening brief was filed on
October 16, 2019.51 54 On December 16, 2019, the Debtors and the FCR filed their responsive
briefs, which were joined by the Tort Claimants’ Committee.52 55 On December 20, 2019, the
parties to the FCR Appeal met and conferred regarding extending the Certain Excess Insurers’
time to file a reply brief.53 56 On January 7, 2020, the District Court approved a stipulation
extending the Certain Excess Insurers’ time to file a reply brief, and on February 14, 2020, the
Certain Excess Insurers filed their reply brief [Docket No. 29].

         On November 24, 2020, the District Court issued an opinion54 57 and entered an order55 58
(i) affirming the Bankruptcy Court’s appointment of Mr. Patton as the FCR, (ii) denying a
motion compelling the Debtors to respond to certain discovery requests, and (iii) affirming the
Bankruptcy Court’s order authorizing the FCR to retain Young Conaway as his counsel. On
December 8, 2020, the Certain Excess Insurers filed a Notice of Appeal indicating their intent to



4952
        The Certain Excess Insurers include: Columbia Casualty Company, Continental Casualty
Company, the Continental Insurance Company, as successor to CNA Casualty of California and as
successor in interest to certain insurance policies issued by Harbor Insurance Company, Lamorak
Insurance Company (formerly known as OneBeacon America Insurance Company), as successor to
Employers’ Surplus Lines Insurance Company, Stonewall Insurance Company (now known as Berkshire
Hathaway Specialty Insurance Company), and National Union, to the extent that they issued policies to
Cyprus Mines Corporate prior to 1981. In certain instances Lexington Insurance Company and National
Union are not included as Certain Excess Insurers.
5053
       Order Adopting Report and Recommendations, Civ. A. No. 19-00944 (D. Del. August 2, 2019)
[Docket No. 11].
5154
        Appellants’ Certain Excess Insurers’ Opening Brief on Appeal From a Bankruptcy Court Order
Appointing James Patton of Young Conaway as Future Claimants’ Representative, Civ. A. No. 19-00944
(D. Del. Oct. 16, 2019) [Docket No. 14].
5255
        Brief of Appellees Imerys Talc America, Inc., Imerys Talc Vermont, Inc., and Imerys Talc
Canada, Inc. [Docket No. 22]; Joinder and Response Brief of Appellee James L. Patton, Jr. in His
Capacity as the Future Claimants’ Representative [Docket No. 24]; Joinder of the Official Committee of
Tort Claimants in the Briefs Filed By Each of: (I) Appellees Imerys Talc America, Inc., Imerys Talc
Vermont, Inc., and Imerys Talc Canada, Inc.; and (II) Appellee James L. Patton Jr., in His Capacity as
the Future Claimants’ Representative [Docket No. 25], Civ. A. No. 19-00944 (D. Del. Dec. 16, 2019).
5356
        Appellants’ Certain Excess Insurers’ Reply Brief on Appeal From a Bankruptcy Court Order
Appointing James Patton of Young Conaway as Future Claimants’ Representative, Civ. A. No. 19-00944
(D. Del. Feb. 14, 2019) [Docket No. 29].
5457
        Memorandum Opinion, Civ. A. No. 19-00944 (D. Del. November 24, 2020) [Docket No. 32].
5558
     Order, Civ. A. No. 19-00944 (D. Del. November 24, 2020) [Docket No. 33] (the “District Court
FCR Order”).

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appeal the District Court FCR Order to the United States Court of Appeals for the Third
Circuit.56 59

        To the extent the FCR Appeal is successful or a court exercising proper appellate review
finds that Mr. Patton’s appointment in the Chapter 11 Cases as the FCR was inappropriate,
important provisions and mechanisms in the Plan may be found to be unenforceable, including
the Channeling Injunction as to Talc Personal Injury Demands.

5.5     Other Plaintiffs Groups

       On November 2, 2020, the Debtors filed the Debtors’ Motion to Compel Compliance
with Rule 2019 of the Federal Rules of Bankruptcy Procedure [Docket No. 2457] (the “2019
Motion”) in order to compel certain law firms to comply with Bankruptcy Rule 2019. The
following law firms were identified in the 2019 Motion:

                On June 8, 2020, the law firms of Brown Rudnick LLP and Morris James LLP
                 entered an appearance on behalf of the self-titled Ad Hoc Committee of Imerys
                 Talc Litigation Plaintiffs (the “Ad Hoc Claimants Committee”), which is
                 comprised of clients represented by the Morelli Law Firm and the Segal Law
                 Firm.57 60

                On June 17, 2020, the law firm of Shelsby & Leoni (US) entered an appearance
                 as counsel for Kline & Specter, PC (“Kline & Specter”), which in turn purports
                 to represent certain holders of Talc Personal Injury Claims.58 61

                On October 26, 2020, the law firm of Arnold & Itkin LLP (“Arnold & Itkin”)
                 entered an appearance on behalf of certain talc personal injury claimants
                 represented by Arnold & Itkin.59 62 Arnold & Itkin is represented by Pachulski
                 Stang Ziehl & Jones LLP.

                On October 27, 2020, Williams Hart Boundas Easterby, LLP (“Williams Hart”)
                 filed an objection and joinder in the Chapter 11 Cases to the Disclosure Statement
                 on behalf of certain personal injury claimants [Docket No. 2423].60 63


5659
       Notice of Appeal to the United States Court of Appeals for the Third Circuit, Civ. A. No. 19-
00944 (D. Del. November 24, 2020) [Docket No. 34].
5760
        See Notice of Appearance and Request for Service of Notices and Documents [Docket No. 1809].
5861
         See Amended Notice of Appearance and Demand for Service of Papers [Docket No. 1896] and
Objection and Joinder of the Kline & Specter Plaintiffs in Opposition to the Motion of Debtors for Entry
of Order (I) Approving the Disclosure Statement and Form and Manner of Notice of Hearing Thereon,
(II) Establishing Solicitation Procedures, (III) Approving Form and Manner of Notice to Attorneys and
Certified Plan Solicitation Directive, (IV) Approving Form of Ballots, (V) Approving Form, Manner, and
Scope of Confirmation Notices, (VI) Establishing Certain Deadlines in Connection with Approval of
Disclosure Statement and Confirmation of Plan, and (VII) Granting Related Relief [Docket No. 1872].
5962
       See Notice of Appearance and Request for Service Pursuant to Fed. R. Bankr. P. 2002 [Docket
No. 2404]

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        Subsequent to the filing of the 2019 Motion, verified statements pursuant to Bankruptcy
Rule 2019 were filed by (i) Arnold & Itkin, representing holders of Talc Personal Injury Claims
on whose behalf Arnold & Itkin has filed proofs of claim against the Debtors [Docket No. 2505];
(ii) Williams Hart, representing certain personal injury claimants against the Debtors [Docket
No. 2521]; and (iii) the Ad Hoc Claimants Committee, which is comprised of clients of the
Morelli Law Firm and the Segal Law Firm [Docket No. 2525]. The Debtors are reviewing these
statements to determine if they comply with the requirements of Bankruptcy Rule 2019 and
reserve the right to dispute the adequacy of these statements. As of the date of this Disclosure
Statement, Kline & Specter has not filed a verified statement pursuant to Bankruptcy Rule
2019.61 64

5.6     Retention of Debtors’ Professionals

       The Debtors retained (i) Latham, as the Debtors’ bankruptcy co-counsel; (ii) Richards,
Layton & Finger, P.A., as the Debtors’ bankruptcy co-counsel; (iii) Stikeman Elliott LLP, as
Canadian counsel to the Debtors; (iv) Alvarez & Marsal North America, LLC, as financial
advisor to the Debtors; (v) NGE, as special insurance coverage and indemnification counsel to
the Debtors; (vi) KCIC, LLC, as insurance and valuation consultant to the Debtors; (vii) Prime
Clerk LLC, as claims and noticing agent and administrative advisor; (viii) PJT Partners LP
(“PJT”), as the Debtors’ investment banker; and (ix) Ramboll US Corporation, as environmental
advisor to the Debtors. The Bankruptcy Court has also authorized the Debtors to engage other
law firms and professionals in the ordinary course of business.

5.7     Administrative Matters in the Chapter 11 Cases

        (a)      Exclusive Periods for the Debtors to Propose and Solicit Plan Acceptance

       Prior to the Fourth Exclusivity Motion (as defined below), Debtors sought and obtained
three unopposed extensions of the periods during which they may exclusively propose and solicit
acceptances of a chapter 11 plan beyond the initial 120-day and 180-day periods for plan
proposal and solicitation set forth in section 1121 of the Bankruptcy Code. The first order was
entered on June 25, 2019 [Docket No. 744], the second order was entered on September 18, 2019
[Docket No. 1051], and the third order was entered on December 26, 2019 [Docket No. 1371].

        On March 6, 2020, the Debtors filed a fourth motion to extend the period during which
they may exclusively propose a plan of reorganization and the solicitation period for acceptances
of such plan [Docket No. 1534] (the “Fourth Exclusivity Motion”). On March 20, 2020, J&J
filed an objection to the Fourth Exclusivity Motion [Docket No. 1563], which J&J subsequently


6063
       See Objection and Joinder of William Hart Plaintiffs in Opposition to the Debtors’ Solicitation
Motion and Disclosure Statement for Third Amended Joint Chapter 11 Plan of Reorganization of Imerys
Talc America, Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No.
2423].
6164
        Kline & Specter filed the Response and Reservartion [sic] of Rghts [sic] of Kline & Specter, PC
to Debtors’ Motion to Compel Compliance with Rule 2019 of the Federal Rules of Bankruptcy Procedure
[sic] [Docket No. 2487], wherein Kline & Specter noted that it would file the statement pursuant to
Bankruptcy Rule 2019 prior to the hearing on the 2019 Motion.

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withdrew on May 1, 2020 [Docket No. 1689]. On May 5, 2020, the Bankruptcy Court entered
an order granting the relief requested in the Fourth Exclusivity Motion, extending the period
during which the Debtors may propose a plan of reorganization through and including June 5,
2020, and extending the solicitation period for acceptances of such a plan through and including
August 7, 2020 [Docket No. 1694].

       On June 2, 2020, the Debtors filed a fifth motion to extend the period during which they
may exclusively propose a plan of reorganization and the solicitation period for acceptance of
such plan [Docket No. 1794] (the “Fifth Exclusivity Motion”). This motion sought to extend
the exclusive periods to (i) propose a plan to August 13, 2020 and (ii) solicit votes thereon to
October 13, 2020. On June 26, 2020, the Bankruptcy Court entered an order granting the relief
requested in the Fifth Exclusivity Motion [Docket No. 1942]. The Debtors’ exclusive period to
propose a plan expired by statutory operation on August 13, 2020.

        (b)      Assumption of Unexpired Leases

         The Debtors sought and obtained an unopposed extension of the period within which
they were required to assume or reject unexpired leases of non-residential real property beyond
the initial statutory 120-day period through and including September 11, 2019 [Docket No. 687].
On August 7, 2019, the Debtors filed a motion to assume certain unexpired leases of non-
residential real property [Docket No. 931]. The Bankruptcy Court entered an order approving
the assumption of these unexpired leases of non-residential real property on August 16, 2019
[Docket No. 974] and the unexpired leases were deemed to be assumed by the Debtors as of
September 10, 2019.

        (c)      Extension of Period to Remove Claims

        The Debtors have sought and obtained five unopposed extensions of the deadline by
which they may file notices of removal under Bankruptcy Rules 9006(b) and 9027(a). The first
order was entered on March 19, 2019 [Docket No. 254], the second order was entered on
September 18, 2019 [Docket No. 1050], the third order was entered on January 22, 2020
[Docket No. 1447], the fourth order was entered on June 1, 2020 [Docket No. 1784], and the
fifth order was entered on September 21, 2020 [Docket No. 2229] extending the deadline by
which the Debtors may remove civil actions through and including December 30, 2020.

        (d)      Filing of Schedules of Assets and Liabilities and Statements of Financial Affairs

        On March 19, 2019, the Bankruptcy Court entered an order extending the deadline by
which the Debtors must file their Schedules with the Bankruptcy Court [Docket No. 253]. In
accordance with that order and pursuant to Bankruptcy Rule 1007 and Rule 1007-1(b) of the
Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the
District of Delaware (the “Local Rules”), the Debtors filed their Schedules on April 12, 2019
[Docket Nos. 362, 363, 365, 366, 367, and 368] and filed certain amendments to the Schedules
on May 20, 2019 [Docket Nos. 577, 578, and 579]. The Schedules provide summaries of the
assets held by each of the Debtors as of the Petition Date, as well as a listing of the secured,
unsecured priority, and unsecured non-priority claims pending against each of the Debtors
during the period prior to the Petition Date, based upon the Debtors’ books and records. The


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Schedules also provide information concerning the Debtors’ financial affairs during the period
prior to the Petition Date. A description of the scheduled liabilities is provided in Article IV of
this Disclosure Statement.

        In addition, on (i) July 8, 2019 the Debtors filed the Debtors’ First Notice of Claims
Satisfied in Full [Docket No. 781], (ii) February 28, 2020 the Debtors filed the Debtors’ Second
Notice of Claims Satisfied in Full [Docket No. 1510], (iii) May 29, 2020 the Debtors filed the
Debtors’ Third Notice of Claims Satisfied in Full or in Part [Docket No. 1779], and (iv) July 27,
2020 the Debtors filed the Debtors’ Fourth Notice of Claims Satisfied in Full or in Part [Docket
No. 2035], pursuant to which the Debtors identified certain scheduled Claims that have been
satisfied by the Debtors in full or in part after the Petition Date in accordance with the relief
requested in various of the First Day Motions. All scheduled Claims identified as “satisfied”
were designated as such on the register of claims maintained by the Claims Agent.

        (e)      Establishment of Bar Dates

       The Bankruptcy Court entered an order on July 25, 2019 [Docket No. 881] (the
“General Bar Date Order”) establishing October 15, 2019 as the last date by which claimants
could assert any Claims against the Debtors (the “General Bar Date”), other than “Talc
Claims”62 65 and certain other Claims explicitly excluded in the General Bar Date Order. The




6265
         As used in the General Bar Date Order, the term “Talc Claim” means any claim (as defined in
section 101(5) of the Bankruptcy Code) and any future claims or Demands (as that term is defined in
section 524(g) of the Bankruptcy Code), whether known or unknown, including with respect to bodily
injury, death, sickness, disease, emotional distress, fear of cancer, medical monitoring or other personal
injuries (whether physical, emotional or otherwise), for which the Debtors are alleged to be liable,
directly or indirectly, arising out of or relating to the presence of or exposure to talc or talc-containing
products, including, without limitation: (a) any products previously manufactured, sold and/or distributed
by any predecessors to the Debtors; (b) any materials present at any premises owned, leased, occupied or
operated by any entity for whose products, acts, omissions, business or operations the Debtors have, or
are alleged to have, liability; or (c) any talc alleged to contain asbestos or other contaminates. Talc
Claims include all such claims, whether: (a) in tort, contract, warranty, restitution, conspiracy,
contribution, indemnity, guarantee, subrogation or any other theory of law, equity or admiralty; (b)
seeking compensatory, special, economic, non-economic, punitive, exemplary, administrative or any
other costs or damages; or (c) seeking any legal, equitable or other relief of any kind whatsoever,
including, for the avoidance of doubt, any such claims assertable against one or more Debtors by Cyprus
Mines Corporation, Cyprus Amax Minerals Company, and/or any of their affiliates in these Chapter 11
Cases. Talc Claims also include any such claims that have been resolved or are subject to resolution
pursuant to any agreement, or any such claims that are based on a judgment or verdict. Talc Claims do
not include (a) any claim of an insurer with respect to amounts allegedly due under any insurance
policies, including policies that might have provided coverage for Talc Claims, or (b) any claim by any
present or former employee of a predecessor or affiliate (as defined in section 101(2) of the Bankruptcy
Code) of the Debtors for benefits under a policy of workers’ compensation insurance or for benefits under
any state or federal workers’ compensation statute or other statute providing compensation to an
employee from an employer. For the avoidance of doubt, the definition equally applied to foreign
creditors.

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General Bar Date Order also set bar dates for any Claims resulting from any future rejections by
the Debtors of executory contracts and unexpired leases.

        On November 22, 2019, the Bankruptcy Court entered an order [Docket No. 1260]
(the “Indirect Talc Claim Bar Date Order”) establishing January 9, 2019 (the “Indirect Talc
Claim Bar Date”) as the last date by which claimants could assert any “Indirect Talc Claims.”63
66
   The Indirect Talc Claim Bar Date Order does not apply to holders of Talc Claims, other than
holders of Indirect Talc Claims.

        (f)      Claims Objections and Claim Classification

       On February 28, 2020, the Debtors filed the Debtors’ First Omnibus (Non-Substantive)
Objection to Amended Claims and Duplicative Claims [Docket No. 1509] (the “First Claim
Objection”), pursuant to which the Debtors sought to disallow, expunge, and/or modify certain
amended or duplicative claims. Certain objections in the First Claim Objection were withdrawn
on March 26, 2020 [Docket No. 1579]. An order granting the relief sought in the First Claim
Objection was entered by the Bankruptcy Court on April 8, 2020 [Docket No. 1611].

       On May 29, 2020, the Debtors filed the Debtors’ Second Omnibus (Substantive)
Objection to Certain No Liability Claims and Overstated State Claims [Docket No. 1777] (the
“Second Claim Objection”) and Debtors’ Third Omnibus (Non-Substantive) Objection to
Amended Claims [Docket No. 1778] (the “Third Claim Objection”). Pursuant to the Second
Claim Objection, the Debtors sought to disallow and/or modify certain no liability and
overstated claims. Pursuant to the Third Claim Objection, the Debtors sought to disallow,
expunge, and/or modify certain amended claims. Orders granting the relief sought in the Second
Claim Objection and the Third Claim Objection were entered on June 26, 2020 [Docket Nos.
1943 and 1944].

       On July 27, 2020, the Debtors filed the Debtors’ Fourth Omnibus (Substantive)
Objection to Certain No Liability Claims, Substantive Duplicate Claims, Reclassified Claim, and
Overstated, Reclassified Claim [Docket No. 2023] (the “Fourth Claim Objection”) and
Debtors’ Fifth Omnibus (Substantive) Objection to Certain Satisfied Claims, Substantive

6366
         As used in the Indirect Talc Claim Bar Date Order, an “Indirect Talc Claim” is any Talc Claim of
any corporation (as defined in section 101(9) of the Bankruptcy Code), co-defendant of a Debtor, or
predecessor of a Debtor (each, a “Claimant”) for contribution, reimbursement, subrogation, or indemnity,
whether contractual or implied by law (as those terms are defined by applicable non-bankruptcy law of
the relevant jurisdiction), and any other derivative Talc Claim of a Claimant, whether in the nature of or
sounding in contract, tort, warranty, or other theory of law. For the avoidance of doubt, an Indirect Talc
Claim shall not include any claim for or otherwise relating to death, injury, or damages caused by talc or a
product or material containing talc that is asserted by or on behalf of any injured individual, the estate,
legal counsel, relative, assignee, or other representative of any injured individual, or an individual who
claims injury or damages as a result of the injury or death of another individual regardless of whether
such claim is seeking compensatory, special, economic, non-economic, punitive, exemplary,
administrative, or any other costs or damages, or any legal, equitable or other relief whatsoever, including
pursuant to a settlement, judgment, or verdict. By way of illustration and not limitation, an Indirect Talc
Claim shall not include any claim for loss of consortium, loss of companionship, services and society, or
wrongful death.

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Duplicate Claims, and Partially Satisfied Claim [Docket No. 2034] (the “Fifth Claim
Objection”). Pursuant to the Fourth Claim Objection, the Debtors sought to disallow and/or
modify certain no liability claims, substantive duplicative claims, a reclassified claim, and an
overstated and reclassified claim. Pursuant to the Fifth Claim Objection, the Debtors sought to
disallow and/or modify certain satisfied claims, substantive duplicative claims, and a partially
satisfied claim. Orders granting the relief sought in the Fourth Claim Objection and the Fifth
Claim Objection were entered on September 4, 2020 [Docket Nos. 2161 and 2162].

        On November 16, 2020, the Debtors filed the Debtors’ Sixth Omnibus (Substantive)
Objection to Certain Satisfied Claims, Substantive Duplicate Claims, and Partially Satisfied
Claims [Docket No. 2533] (the “Sixth Claim Objection”). Pursuant to the Sixth Claim
Objection, the Debtors sought to disallow and/or modify certain satisfied claims, substantive
duplicative claims, and partially satisfied claims. The Sixth Claim Objection has been scheduled
for hearing on December 17, 2020.

        On May 29, 2020, the Debtors also filed the Motion of the Debtors for an Order
Confirming Classification of Certain Claims Filed in the Chapter 11 Cases as Talc Personal
Injury Claims and Expunging Such Claims from the Claims Register [Docket No. 1776] (the
“Classification Motion”), pursuant to which the Debtors sought (i) confirmation of the
classification of certain claims filed in the Chapter 11 Cases identified on Schedule 1 to the
Classification Motion as Talc Personal Injury Claims under the Plan and (ii) authorization to
expunge such Filed Talc Claims (as defined in the Classification Motion) from the Claims
Register upon the Effective Date of the Plan. Prior to the objection deadline, numerous parties,
including holders of Filed Talc Claims, filed objections to the Classification Motion. It is
expected that the Classification Motion will be heard on or prior to the Confirmation Hearing.

        (g)      ITC Stipulation

        Over the course of the Chapter 11 Cases, the Debtors have incurred and continue to incur
professional fees and expenses related to the administration of the Chapter 11 Cases, including
the fees and expenses of professionals retained by the Tort Claimants’ Committee and the FCR.
For purposes of administrative convenience only, ITA, on behalf of itself and the other Debtors,
has paid, and continues to pay these professional fees as they become due. ITA has asserted
certain claims and rights to reimbursement as against its co-debtor, ITC, on account of
administrative expenses incurred by the Debtors’ estates.

        On March 26, 2020, the Bankruptcy Court approved a stipulation (the “ITC
Stipulation”) among ITA, ITC, and the Information Officer [Docket No. 1578]. Pursuant to the
ITC Stipulation, ITA, ITC, and the Information Officer agreed to the following: (i) ITC shall pay
ITA the sum of $3,450,000 (USD) as an initial payment on account of administrative expenses
paid by ITA through February 28, 2020 and (ii) upon request from ITA, to the extent that ITC
holds sufficient funds and with the consent of the Information Officer, ITC is authorized and
directed to pay ITA on a periodic basis for (a) 33.33% of the fees incurred by professionals
retained by the FCR and (b) 26.5% of fees incurred by professionals retained by the Tort
Claimants’ Committee by ITA after February 28, 2020. Pursuant to the stipulation, on account
of these payments ITC has been granted claims with superpriority administrative expense status
against ITA; provided that in the event the proposed Plan is confirmed, such superpriority claims

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shall be deemed satisfied in full without any payment required from ITA. Under the ITC
Stipulation, ITA, ITC and the Information Officer have reserved all rights as to ITC’s
obligations to reimburse ITA on account of its payment of administrative expense claims.

5.8     Debtor-In-Possession Financing

        As a result of the length of the Chapter 11 Cases and certain operational setbacks
resulting from the COVID-19 pandemic, the Debtors face liquidity constraints. Consequently,
the Debtors filed the Motion of the Debtors for Entry of an Order (I) Authorizing the Debtors to
Obtain Postpetition Financing, (II) Granting Liens and Superpriority Administrative Expense
Claims, (III) Modifying the Automatic Stay, and (IV) Granting Related Relief [Docket No. 2459]
(the “DIP Motion”), pursuant to which the Debtors sought authority to obtain the DIP Facility in
order to fund operations and administrative expenses.

        After the DIP Hearing, the Bankruptcy Court declined to grant the relief sought in the
DIP Motion given the Bankruptcy Court’s concerns regarding specific terms of the DIP Loan
Documents and the necessity of the proposed DIP Facility in light of the expected proceeds from
the Sale.

        Since the Hearing, the Plan Proponents have worked collaboratively to revise the terms
and structure of the DIP Facility to address the Bankruptcy Court’s comments and resolve the
Bankruptcy Court’s concerns. As revised, the DIP Facility would be available to the Debtors to
fund operations and administrative expenses, as needed, to bridge to the closing of the Sale.

        If needed, (i) the proposed DIP Facility will serve as interim financing to fund the
Debtors’ operations and the costs of the Chapter 11 Cases prior to the closing of the Sale and (ii)
the proceeds of the Sale will fund the administrative expenses and costs of the Chapter 11 Cases
and any reserves required pursuant to any confirmed plan of reorganization following the closing
of the Sale, subject to Imerys S.A.’s agreement under the terms of the Imerys Settlement to fund
the Contingent Contribution up to $15 million on the Effective Date. It is anticipated that the
full amount of the Contingent Contribution will be used during the pendency of the Chapter 11
Cases or on the Effective Date of the Plan to, among other things: (i) pay working capital and
general corporate expenses of the Debtors, and (ii) pay, or fund reserves with respect to, fees,
costs, and expenses incurred in connection with the administration and prosecution of the
Chapter 11 Cases.

       Any and all amounts payable under the DIP Facility will be paid in full consistent with
the DIP Loan Documents and the DIP Order. Specifically:

                If the Sale does not close before the Effective Date and the Plan is confirmed on
                 or before May 31, 2021, then the principal amount of the DIP Loans shall first be
                 applied as a dollar-for-dollar reduction of the amount of the Contingent
                 Contribution required to be contributed by Imerys S.A. to the Debtors or the
                 Reorganized Debtors (in an amount not to exceed $15 million). The reaming
                 outstanding amount of the DIP Loans shall be applied as a dollar-for-dollar




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                  reduction of the $75 million in Cash that is part of the Imerys Settlements Funds.
                  All other obligations and interest will be discharged in full and terminated.

                 If the Sale closes prior to the Effective Date, the Debtors shall prepay the
                  aggregate principal amount of the DIP Loans in full using the Sale Proceeds. To
                  the extent the DIP Loans are prepaid with Sale Proceeds, the amount of the
                  Contingent Contribution required to be contributed by Imerys S.A. to the Debtors
                  pursuant to the Plan shall be the lesser of (i) $15 million and (ii) fifty percent
                  (50%) of the sum of (A) any administrative expenses paid with the proceeds of
                  the DIP Loans prior to such prepayment plus (B) any administrative expenses
                  from the Sale Closing Date through the Effective Date plus (C) any amounts
                  necessary to fund all reserves, costs, or expenses required in connection with the
                  Debtors’ emergence from bankruptcy. All other obligations and interest will be
                  discharged in full and terminated. No adjustments shall be made to the Sale
                  Proceeds, including with respect to the calculation of the contingent purchase
                  price enhancement to be contributed by Imerys S.A. as described in Section
                  6.3(b) of this Disclosure Statement and set forth in Section 1.1.97 of the Plan, in
                  connection with any administrative expenses incurred by the Debtors and paid out
                  of such Sale Proceeds following the closing of the Sale.6467

                 If the Plan is confirmed after May 31, 2020, the accrued interest under the DIP
                  Facility will be required to be paid in cash on the earliest (i) the Commitment
                  Termination Date (as defined in the DIP Loan Documents), (2) the date on which
                  the entire principal amount of the DIP Loans become due and payable pursuant to
                  the terms of the DIP Agreement, or (3) the date of payment in full of the DIP
                  Loans, subject to terms of the DIP Loan Documents.

       The Debtors believe that the DIP Facility is in the best interests of the Estates because it
will provide the Debtors with any additional liquidity they may need to get through
Confirmation of the Plan. The treatment of the DIP is further described in the Plan and the DIP
Motion.

5.9     Litigation, Adversary Proceeding, Coverage Disputes, and Mediation

        (a)       The Cyprus Insurance Adversary Proceeding

       On March 7, 2019, the Debtors initiated an adversary proceeding against Cyprus Mines
and Cyprus Amax Minerals Company (“CAMC,” and together with Cyprus Mines, “Cyprus”),
captioned Imerys Talc America, Inc., et al. v. Cyprus Amax Minerals Company and Cyprus
Mines Corporation, Adv. Pro. No. 19-50115 [Adv. Pro. Docket No. 1] (the “Cyprus Insurance
Adversary Proceeding”). The issue to be decided in the Cyprus Insurance Adversary
Proceeding is whether, after Cyprus Mines sold, assigned, and transferred all of its talc assets in
1992, Cyprus retained any right to the proceeds of, or any right to assert claims under, the
Cyprus Historical Policies for lawsuits alleging injuries resulting from exposure to talc or

6467.
       The Plan Proponents further agree that in the event the Sale to Magris Resources closes for the
amount set forth in the Sale Order, no purchase price enhancement will be payable by Imerys S.A.

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products containing talc mined, distributed, sold and/or supplied by Cyprus Mines prior to June
5, 1992. Ultimately, the Debtors are seeking a declaration that Cyprus no longer has any right to
the proceeds of, or to pursue claims under, the Cyprus Historical Policies with respect to talc-
related lawsuits.

        The Debtors’ property rights in the proceeds of the Cyprus Historical Policies stem from
that certain Agreement of Transfer and Assumption (as amended the “ATA”), dated June 5,
1992, by and between Cyprus Mines and CTC. The Debtors contend that pursuant to the ATA,
Cyprus Mines sold, transferred, and assigned all of its interest in assets, properties, and rights of
every type relating to Cyprus Mines’ talc business to CTC, which included all rights to seek the
proceeds of, and pursue claims under, the Cyprus Historical Policies.65 68

       Prior to the initiation of the Cyprus Insurance Adversary Proceeding, on February 28,
2019, Cyprus filed the Emergency Motion for (i) Interim and Final Orders Granting Relief from
the Automatic Stay under Bankruptcy Code § 362(d) to Use Insurance Coverage under Cyprus
Historical Policies or, in the Alternative, (ii) Adequate Protection Under Bankruptcy Code §§
361 and 363(e) [Docket No. 104]. Following hearings on the motion and briefs filed by the
Debtors and other parties in interest, Cyprus and the Debtors agreed to limited stay relief during
the pendency of the Cyprus Insurance Adversary Proceeding. On March 26, 2019, the
Bankruptcy Court entered an order permitting Cyprus to use the Cyprus Historical Policies to
defend and indemnify Cyprus in certain asbestos-related lawsuits in which any Cyprus entity is a
defendant, and to tender any new asbestos-related lawsuits to insurers under the Cyprus
Historical Policies [Docket No. 309]. The Debtors reserved their rights to assert claims against
Cyprus, and any Cyprus-related entity that obtained the benefit of the Cyprus Historical Policies
during the pendency of the Cyprus Insurance Adversary Proceeding.

         Discovery in the Cyprus Insurance Adversary Proceeding was completed in January
2020, and the Cyprus Insurance Adversary Proceeding was scheduled to go to trial on March 25
and March 27, 2020. However, in February 2020, prior to filing summary judgment and opening
trial briefs, the parties to the Cyprus Insurance Adversary Proceeding agreed to stay the Cyprus
Insurance Adversary Proceeding and to engage in mediation.

       The Cyprus Insurance Adversary Proceeding has remained stayed since February 2020.
Pursuant to the Third Amended Scheduling Order and Order Appointing Mediator [Adv. Pro.
Docket No. 183] (the “Scheduling Order”), during this period, the parties agreed that they
could continue to discuss and address with the Bankruptcy Court, among other things, (i) certain
documents produced by Cyprus to which the Debtors objected, (ii) re-opening certain
depositions to address newly produced documents, and (iii) the stipulation of facts between the

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         Leading up to the ATA, Cyprus Mines and its subsidiaries acquired the stock or assets of other
talc companies. In 1989, Cyprus Mines purchased 100% of the stock of Windsor from J&J. In 1992,
pursuant to the ATA, Cyprus Mines and its affiliates transferred such stock and all of the other assets in
their then existing talc business to a newly formed subsidiary, CTC, resulting in Windsor becoming a
wholly owned subsidiary of CTC. Contemporaneously with the consummation of the ATA, RTZ
America, Inc. (later known as Rio Tinto) purchased 100% of the stock of CTC from Cyprus Mines
pursuant to that certain Stock Purchase Agreement dated June 5, 1992, by and between RTZ America,
Inc., Cyprus Mines, and Cyprus Minerals Company. CTC subsequently changed its name to Luzenac
America.

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parties. To the extent the mediation is not successful, the Scheduling Order also provides that
Cyprus and the Debtors will work together to negotiate and file with the Bankruptcy Court an
amended scheduling order.

      The parties held an initial mediation session before mediator Lawrence W. Pollack on
March 3, 2020, and have continued to engage in mediation.

        (b)      The Cyprus Indemnity Adversary Proceeding

        On June 15, 2020, Cyprus initiated an adversary proceeding against ITA, ITV, Johnson
& Johnson, and Johnson & Johnson Consumer Inc. (collectively, the “Indemnity Proceeding
Defendants”), captioned Cyprus Mines Corporate and Cyprus Amax Minerals Company v.
Imerys Talc America, Inc., Imerys Talc Vermont, Inc., Johnson & Johnson and Johnson &
Johnson Consumer Inc., Adv. Pro. No. 20-50626 [Adv. Pro. Docket No. 1] (the “Cyprus
Indemnity Adversary Proceeding”). The issue to be decided in the Cyprus Indemnity
Adversary Proceeding is whether Cyprus has any indemnity rights against J&J under the 1989
SPA and the 1989 Supply Agreement. The Debtors maintain that they have indemnification
rights against J&J under those agreements, regardless of whatever indemnity rights (if any)
Cyprus may have against J&Jand deny that Cyprus has any rights under the J&J indemnity as a
result of the ATA, as described above.

        On July 29, 2020, the Debtors filed an answer to the complaint asserting various
affirmative defenses as well as counterclaims (i) seeking a declaration that Cyprus Mines lacks
the right and standing to pursue the causes of action asserted in the complaint, and (ii) asserting
that Cyprus Mines breached its representations and warranties under certain agreements. On
July 29, 2020, J&J filed a motion to dismiss the complaint for lack of subject matter jurisdiction,
or, in the alternative, to abstain or to sever and transfer the claims to the United States District
Court for the District of Vermont (the “J&J Motion to Dismiss”). On September 1, 2020,
Cyprus responded to the Debtors’ counterclaims and the J&J Motion to Dismiss, and on
September 3, 2020, Cyprus filed a request for oral argument in connection with the J&J Motion
to Dismiss. On September 16, 2020, J&J filed a reply in support of the J&J Motion to Dismiss.
On October 6, 2020, Cyprus filed a sur-reply in opposition to the J&J Motion to Dismiss, and on
October 16, 2020, J&J filed an opposition to the sur-reply. As of the date of this Disclosure
Statement, the request for oral argument and the J&J Motion to Dismiss are pending before the
Bankruptcy Court.

        (c)      Rio Tinto Mediation

       As discussed in greater detail above, the Debtors assert rights to coverage under the
Zurich Policies. Historically, Zurich has declined to defend the Mesothelioma Claims on the
basis of exclusions in the policies for asbestos-related claims, but has accepted the Debtors’
tender of the defense of OC Claims.66 69 In addition, the Rio Tinto Captive Insurers issued the
Rio Tinto Captive Insurer Policies, which included Luzenac America and other Rio Tinto


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        See Rio Tinto’s Opposition to Certain Excess Insurers’ Motion for Relief from Stay and
Conditional Cross-Motion for Relief from Stay to Permit Rio Tinto to Pursue Cross-Claims [Docket No.
505].

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Corporate Entities as insureds, although Rio Tinto contends that the Debtors are not entitled to
coverage under those policies under the 2011 Purchase.

        The Debtors, Rio Tinto, Zurich, the FCR, the Tort Claimants’ Committee, and Mircal
(together, the “Rio Tinto Mediation Parties”) agreed to enter into non-binding mediation in an
attempt to reach a resolution regarding disputes over (i) alleged liabilities relating to the Rio
Tinto Corporate Parties’ prior ownership of the Debtors, (ii) alleged indemnification obligations
of the Rio Tinto Corporate Parties, and (iii) the amount of coverage to which the Debtors claim
to be entitled under Talc Insurance Policies issued by the Zurich Corporate Parties and the Rio
Tinto Captive Insurers (the “Rio Tinto Mediation”). On December 26, 2019, the Bankruptcy
Court entered an order appointing Lawrence W. Pollack to serve as mediator [Docket No. 1370].
Mediation sessions took place on January 28, January 29, and May 29, 2020. The Rio Tinto
Mediation Parties subsequently agreed to the terms of the Rio Tinto/Zurich Settlement as set
forth in Section 7.6(i) of this Disclosure Statement.

        (d)      California Coverage Action and Insurers’ Relief from Stay Motion

        On August 24, 2017, the Certain Excess Insurers initiated the lawsuit styled as Columbia
Cas. Co., et al. v. Cyprus Mines Corp., et al., No. CGC-17-560919 in the California Superior
Court, County of San Francisco (the “California Coverage Action”). The second amended
complaint filed by the Certain Excess Insurers on July 27, 2018, seeks a determination as to
which of various competing corporate entities (including ITA) (collectively, the “Corporate
Entities”) have rights to the Cyprus Historical Policies. The Certain Excess Insurers are also
seeking determinations as to whether there are any obligations with respect to talc bodily injury
claims that remain, the existence and extent of the Certain Excess Insurers’ contribution rights
against certain other insurers, and the resolution of certain discrete coverage issues under certain
of the Cyprus Historical Policies.

        ITA is a named defendant in all but two of the ten causes of action asserted by the
Certain Excess Insurers in their second amended complaint. Three of the causes of action
address which entity or entities have coverage rights under the Cyprus Historical Policies. The
other causes of action concern the amount of coverage available under the Cyprus Historical
Policies. The Debtors contend that (i) ITA has the right to seek the proceeds of, and pursue
coverage under, the Cyprus Historical Policies and (ii) the amounts due under the Cyprus
Historical Policies are assets of their Estates.67 70

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        Certain other insurers, including Ace Property and Casualty Company (“Central National”) and
Unigard Insurance Company (“Unigard”), were named as defendants in the California Coverage Action.
For instance, the Certain Excess Insurers pursued equitable contribution and subrogation claims against
Central National and Unigard. On June 18, 2018, the Certain Excess Insurers filed a motion for summary
adjudication against Central National and Unigard seeking a ruling that each insurer was obligated to
participate in defense and indemnity upon exhaustion of primary policies. Unigard also filed a cross-
complaint against Cyprus and ITA, but agreed to extend the time for ITA to respond through February 19,
2019. In light of the bankruptcy filing, ITA has not responded to Unigard’s cross-complaint, which
seeks, among other things, damages from ITA for an alleged breach of a settlement agreement. There is
no current date for the hearing on the Certain Excess Insurers’ motion for summary adjudication against
Unigard, and the court in the California Coverage Action summarily denied the Certain Excess Insurers’
motion for summary adjudication against Central National as premature.

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        On November 20, 2017, the Certain Excess Insurers agreed to extend the time for the
Corporate Entities to respond to the first amended complaint to December 1, 2017. A partial
stay was agreed to by the Certain Excess Insurers and the Corporate Entities whereby none of
the Corporate Entities were permitted to propound discovery requests on any of the Certain
Excess Insurers and the Certain Excess Insurers were precluded from seeking discovery from
insurer-defendants relating to underlying lawsuits, Cyprus Mines’ talc supply history, and
Cyprus Mines’ corporate transaction history. The stay was extended through July 20, 2018. On
July 27, 2018, the Certain Excess Insurers filed their second amended complaint, and on August
16, 2018, the Certain Excess Insurers agreed to further extend the stay, which was ultimately
extended through February 11, 2019.

        During the partial stay, ITA did not respond to the second amended complaint, did not
participate in formal discovery, and did not engage in motion practice. Despite the partial stay,
one or more of the Certain Excess Insurers continued to defend and settle various talc lawsuits
on behalf of ITA subject to a reservation of rights. One or more of the Certain Excess Insurers
also defended and settled certain talc lawsuits on behalf of ITA notwithstanding the fact that the
Certain Excess Insurers agreed not to pursue the claims asserted in the California Coverage
Action. Moreover, while the parties to the California Coverage Action did resolve certain
issues, this was done through negotiations without court involvement.68 71

        On April 19, 2019, the Certain Excess Insurers filed the Certain Excess Insurers’ Motion
for Relief from the Automatic Stay to Permit the California Coverage Action to Proceed and
Order of Abstention [Docket No. 390] (the “Insurers’ Relief from Stay Motion”) pursuant to
which the Certain Excess Insurers sought relief from the automatic stay to permit the California
Coverage Action to proceed.69 72 The Certain Excess Insurers also moved for the Bankruptcy
Court to abstain from interpreting the Cyprus Historical Policies in the Cyprus Insurance
Adversary Proceeding.70 73 The Debtors and certain other parties in interest filed oppositions to
the Insurers’ Relief from Stay Motion on grounds that it is unclear whether Cyprus has any
rights to the proceeds of, or any ability to pursue any claims under, the Cyprus Historical
Policies for certain talc-related lawsuits until the Cyprus Insurance Adversary Proceeding is fully
and finally decided. The Debtors primarily argued that lifting the stay would be an unnecessary
waste of judicial and Estate resources, and could risk inconsistent (and preclusive) judgments
that would flow from the concurrent litigation of the Cyprus Insurance Adversary Proceeding
and the California Coverage Action. On June 28, 2019, the Bankruptcy Court entered an order

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        ITA also filed a cross-complaint in the California Coverage Action, seeking a finding that certain
cross-defendant insurers are obligated to defend ITA, or reimburse ITA for defense expenses, and
indemnify ITA in connection with certain lawsuits seeking damages for personal injury caused by
exposure to asbestos or asbestiform minerals in talc and talc-containing products mined, delivered, or
supplied by Cyprus Mines.
6972
        National Union and Lexington Insurance Company were not listed as Certain Excess Insurers in
the Insurers’ Relief from Stay Motion, however, they were included as Certain Excess Insurers in the
Certain Excess Insurers’ reply brief.
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        Central National Insurance Company of Omaha (for policies issued through Cravens Dargan &
Co., Pacific Coast) and Providence Washington Insurance Company (as successor in interest to Seaton
Insurance Company, successor in interest to Unigard Mutual Insurance Company) filed joinders in
support of the motion [Docket Nos. 411 and 512].

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denying the Insurers’ Relief from Stay Motion [Docket No. 762]. As of the date hereof, the
California Coverage Action remains subject to the automatic stay.

        (e)      XL Mediation

        As discussed in greater detail above, the Debtors assert rights to coverage under the XL
Policies. The Debtors, XL, the Tort Claimants’ Committee, and the FCR (together, the “XL
Mediation Parties”) agreed to enter into non-binding mediation in an attempt to reach a
resolution regarding the amount of coverage to which the Debtors claim to be entitled under the
XL Policies. On October 12, 2020, the Bankruptcy Court entered an order appointing Lawrence
W. Pollack to serve as mediator [Docket No. 2325]. The XL Mediation Parties participated in an
initial mediation session before Mr. Pollack on October 22, 2020 and have continued to engage
in mediation.

        (f)      Chubb Mediation

        As noted above, ITA believes it has the right to seek coverage under the Cyprus
Historical Policies. Certain of the Cyprus Historical Policies were issued by Century Indemnity
Company, Federal Insurance Company, and Central National Insurance Company of Omaha
(collectively, the “Chubb Insurers”). Specifically, the Chubb Insurers have represented that
they issued eighteen umbrella or excess policies between the years of 1975 and 1985 with total
limits of approximately $110 million (the “Chubb Policies”). The Debtors, the Chubb Insurers,
the Tort Claimants’ Committee, and the FCR (together, the “Chubb Mediation Parties”) agreed
to enter into non-binding mediation in an attempt to reach a resolution regarding the amount of
coverage to which the Debtors claim to be entitled under the Chubb Policies. On October 22,
2020, the Bankruptcy Court entered an order appointing Lawrence W. Pollack to serve as
mediator [Docket No. 2386]. The Chubb Mediation Parties participated in an initial mediation
session before Mr. Pollack on November 19, 2020 and have continued to engage in mediation.

        (g)      Truck Mediation

        Certain of the Cyprus Historical Policies were also issued by Truck. Specifically, Truck
issued a multi-year primary insurance policy between the years of 1974 and 1980 with total
limits of approximately $4.5 million. The Debtors, Truck, the Tort Claimants’ Committee, and
the FCR (together, the “Truck Mediation Parties”) agreed to enter into non-binding mediation
in an attempt to reach a resolution regarding disputes over certain insurance obligations. On
November 13, 2020, the Bankruptcy Court entered an order appointing Lawrence W. Pollack to
serve as mediator [Docket No. 2515]. The Truck Mediation Parties intend to engage in
mediation in the near future.

        (h)      Talc-Related Litigation

                 (1)      Consolidation of Talc Litigation in District Court and Daubert Hearings

        On October 4, 2016, the U.S. Judicial Panel on Multidistrict Litigation (the “MDL
Panel”) ordered that pending and future personal injury or wrongful death actions in federal
courts alleging that plaintiffs or their decedents developed ovarian or uterine cancer from the use


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of J&J’s talcum powder products71 74 be transferred and centralized in the U.S. District Court for
the District of New Jersey, Trenton Division (the “MDL Proceeding”). In addition to individual
actions pending in federal district courts around the country, two consumer class actions alleging
that J&J’s talcum powder products were marketed for use without disclosure of talc’s alleged
carcinogenic properties were included in the MDL Proceeding.

        The MDL Panel assigned U.S. District Judge Freda Wolfson as presiding judge for the
MDL Proceeding. Judge Wolfson designated U.S. Magistrate Judge Lois Goodman to assist her
in the MDL Proceeding. The cases were consolidated to (1) reduce or eliminate duplicative
discovery, (2) prevent inconsistent pretrial rulings on discovery and privilege issues, (3) prevent
inconsistent rulings on Daubert motion practice, and (4) conserve the resources of the parties,
their counsel, and the federal judiciary in these actions. Additionally, there are common factual
issues in these cases related to the alleged risk of cancer posed by talc and talc-based body
powders, whether the defendants knew or should have known of this alleged risk, and whether
defendants provided adequate instructions and warnings with respect to these products. As of
May 1, 2020, approximately 15,390 such actions involving 16,440 plaintiffs were pending in the
MDL in the U.S. District Court of New Jersey. Although the MDL Proceeding has been stayed
as to ITA following the Petition Date, the MDL Proceeding is ongoing with respect to J&J and
other defendants.

        After creation of the MDL Proceeding and its assignment to Judge Wolfson, she ordered
a hearing at which all parties could present their summary views of the medical and scientific
issues related to the MDL Proceeding, as well as evidence as to whether talc-based body powder
products could cause or contribute to ovarian and uterine cancer. That hearing was held on
January 26, 2017. Judge Wolfson subsequently ordered full briefing by the parties on the
threshold Daubert issue of whether reliable and sufficient scientific and medical evidence exists
on the issue of causation. Judge Wolfson set an evidentiary hearing on that issue that ran from
July 22 to July 31, 2019, with plaintiffs presenting five witnesses and J&J presenting three
witnesses. At the conclusion of the hearing, the Judge requested final Daubert briefing from all
parties which was submitted on October 7, 2019. On April 27, 2020, Judge Wolfson rendered
her Daubert decision on the opinions offered by these witnesses, granting in part and denying in
part J&J’s motion to exclude opinions of plaintiffs’ five witnesses and denying plaintiffs’ motion
to exclude the opinions of J&J’s three experts. In re Johnson & Johnson Talcum Powder
Products Mktg., Sales Practices and Products Litig., MDL No. 2738, Civil Action No. 16-2638
(FLW) (D.N.J. April 27, 2020).

                 (2)      Consolidation of State Court Talc Litigation

        Other OC Claim cases are pending in several state courts across the country. In New
Jersey, the Supreme Court designated such cases as Multi-County Litigation for centralized
management by the Superior Court of New Jersey Law Division: Atlantic County. Following a
hearing on the admissibility of plaintiffs’ experts’ causation opinions, on September 2, 2016, the
Superior Court ruled in favor of J&J and ITA, excluded plaintiffs’ general causation experts, and
granted summary judgment to the defendants in the first two bellwether cases set for trial.


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        The specific J&J products involved are J&J’s Baby Powder and Shower to Shower body powder.

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Plaintiffs’ appeal of those rulings to the Appellate Division, although stayed as to Debtor ITA, is
pending as to J&J.

         In California state court, all cases related to OC Claims have been consolidated for
pretrial purposes in Judicial Council Coordination Proceedings in the Superior Court for Los
Angeles County. Before the first bellwether trial in 2017, ITA obtained summary judgment in
its favor based on the bulk-supplier immunity doctrine. After a plaintiff’s verdict against J&J in
the first bellwether trial in that proceeding, the trial court granted judgment notwithstanding the
verdict and a motion for new trial, which were appealed in November 2017. In July 2019, those
rulings were affirmed in part and reversed and remanded to the trial court in part. As to ITA, the
plaintiff’s appeal of the summary judgment in favor of ITA was stayed with the filing of the
Chapter 11 Cases.

        Other cases related to OC Claims have been tried in Missouri and Georgia state courts.
Five cases in which verdicts were rendered against J&J in Missouri state court have been
reversed on appeal, and others are currently pending appeal. The first trial in Georgia state court
resulted in a hung jury and has not yet been retried. All cases are stayed as to ITA, however they
continue to move forward as to J&J and the other defendants. Approximately 150 additional
cases are pending in courts of various other states around the country, including Arizona,
Delaware, Florida, Illinois, Louisiana, Pennsylvania, Rhode Island, and Virginia.

                 (3)      Appeals

        Lanzo Appeal

       On or about December 23, 2016, the Lanzo Movants (as defined below) filed an action in
the Superior Court of New Jersey, Law Division, Middlesex County (the “NJ State Court”)
against ITA for products liability resulting in personal injury in connection with the use of
talcum powder, including a claim for punitive damages. On April 5 and April 11, 2018, a jury
returned a verdict in favor of the Lanzo Movants for compensatory damages in the amount of
$11,468,884.93 and punitive damages in the amount of $25,000,000.00, respectively. On April
23, 2019, the NJ State Court entered a judgment in favor of the Lanzo Movants in the amount of
$36,468,884.93, including interest (the “Lanzo Judgment”).

         On April 25, 2018, ITA appealed the Lanzo Judgment (the “Lanzo Appeal”) to the
Superior Court of New Jersey, Appellate Division (the “NJ Appellate Court”). Moreover, on
or about May 22, 2018, ITA posted a supersedeas bond issued by Aspen (as defined below) in
the amount of $39,204,051.36 (the “Lanzo Appeal Bond”). In its opening brief, ITA alleged
that it is entitled to a new trial due to prejudicial evidentiary and instructional errors, including
the introduction of unreliable expert testimony and a prejudicial alternative-causation
instruction. In addition to a new trial, ITA sought vacatur of the punitive damages award.

       Upon commencement of the Chapter 11 Cases, the Lanzo Appeal was stayed, and the NJ
Appellate Court entered an order dismissing the Lanzo Appeal without prejudice. Following
approval of the Lanzo Stipulation (as defined below), the automatic stay was modified to permit
the Lanzo Appeal to proceed to final resolution. Thereafter, in July 2019, the Lanzo Appeal was



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reinstated, and on October 2, 2019, ITA filed its reply brief. Oral argument on the issues raised
in the appeal is set for January 12, 2021.

        Booker Appeal

       On or about December 9, 2015, the Booker Movants (as defined below) filed an action in
the Superior Court of California, County of Alameda (the “CA State Court”) against ITA for
negligence and strict product liability in connection with exposure to industrial talc, including a
claim for punitive damages On November 27 and December 11, 2017, a jury returned a verdict
in favor of the Booker Movants for compensatory damages in the amount of $6,852,000.00 and
punitive damages in the amount of $4,600,000.00, respectively. On December 14, 2017, the CA
State Court entered a judgment in favor of the Booker Movants in the amount of $11,723,196.2,
including $271,196.26 in costs (the “Booker Judgment”).

        On March 7, 2018, ITA appealed the Booker Judgment in the Court of Appeal of the
State of California, First Appellate District, Division 3, seeking complete reversal or reversal and
remand of the Booker Judgment for failure to establish exposure/causation, errors in the verdict
form, and erroneous successor liability. Separately, on April 2, 2018, ITA brought a second
appeal to challenge the award of costs with respect to the Booker Judgment (collectively, the
“Booker Appeals” and, together with the Lanzo Appeal, the “Appeals”). In connection with the
Booker Appeals, ITA posted a supersedeas bond issued by Aspen in the amount of
$17,584,794.39 (the “Booker Appeal Bond”). The Booker Appeal Bond is in an amount greater
than the face amount of the Booker Judgment to account for post-judgment interest.

        Although the Booker Appeals were stayed when the Chapter 11 Cases were filed,
following approval of the Booker Stipulation (as defined below) the automatic stay was modified
to permit the Booker Appeals to proceed to final judgment. On December 2, 2019, the Booker
Movants filed their response to the appellants’ opening brief. On May 11, 2020, ITA filed its
reply brief, and on December 9, 2020, oral argument was held.

        (i)      English Arbitration

        As of the date of this Disclosure Statement, ITA is a named defendant in an arbitration
proceeding pending in London, in which a claimant is seeking contribution from ITA in General
Average for damage sustained to the claimant’s vessel while transporting certain goods prior to
the Petition Date. The claimant has stayed the proceeding as to ITA as a result of the ongoing
Chapter 11 Case, and its claims against ITA have since been resolved in full pursuant to an
agreed upon settlement between the claimant and a third party insurer/guarantor. As a result of
the foregoing, the arbitration has been discontinued upon agreement of the parties.

        (j)      J&J Mediation

       In an effort to resolve issues pertaining to the J&J Stay Motion, the Debtors, the Tort
Claimants’ Committee, the FCR, the Imerys Non-Debtors, and J&J agreed to enter into non-
binding mediation. On September 11, 2020, the Bankruptcy Court entered an order appointing
the Hon. Kevin Carey (Ret.) to serve as mediator [Docket No. 2188]. Mediation sessions took
place on September 18 and September 21, 2020. The parties were unable to resolve the


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aforementioned issues and remain in continued negotiations. Moreover, and as noted above, the
Bankruptcy Court denied the J&J Stay Motion on September 23, 2020.

5.10    Material Settlements and Resolutions

        (a)      Insurance Settlements

        National Union, Columbia Casualty Company, Continental Casualty Company, The
Continental Insurance Company, Lamorak Insurance Company, Lexington Insurance Company,
and Berkshire Hathaway Specialty Insurance Company (collectively, “RMI”), ITA, Cyprus,
Rawle & Henderson LLP (“Rawle”), Dentons US LLP (“Dentons”), and Alston, entered into a
settlement (the “RMI Settlement”) that was approved by the Bankruptcy Court on December
13, 2019 [Docket No. 1326]. Pursuant to the RMI Settlement, RMI agreed to pay certain of the
Debtors’ defense counsel, vendors, and experts an amount of $7,203,714 to satisfy certain
prepetition and post-petition defense costs for legal work and other professional services
provided in connection with the defense of ITA and/or Cyprus in talc-related litigation. The
parties agreed to mutual releases related to prepetition defense costs.

       In connection with the RMI Settlement, ITA and Alston also entered into a separate
agreement that was approved by the Bankruptcy Court on December 17, 2019 [Docket No.
1339] (the “Alston Settlement”). Pursuant to the Alston Settlement, the Debtors permitted
Alston to draw down a portion of a retainer from the Debtors in satisfaction of monies owed to
Alston but not fully paid under the RMI Settlement. In exchange, Alston agreed to release any
claim to the remaining portion of the retainer and refund the remainder of the retainer, totaling
$844,745.60, to ITA.

         In addition, ITA, Rawle, Dentons, Alston, and Truck Insurance Exchange (“Truck”)
entered into a settlement (the “Truck Settlement”) that was approved by the Bankruptcy Court
on September 18, 2019 [Docket No. 1052] related to Truck’s obligations under a primary general
liability insurance policy. Pursuant to the Truck Settlement, Truck agreed to pay a total of
$2,491,445.20 to certain of the Debtors’ defense counsel and vendors and experts. The parties
agreed to mutual releases of prepetition defense costs.

       The Plan Proponents also agreed to the terms of the Rio Tinto/Zurich Settlement, which
are described in Articles VI and VII of this Disclosure Statement.

        (b)      Stipulations Permitting Certain Appeals of Judgments on Account of Certain Talc
                 Personal Injury Claims to Proceed to Final Resolution

       On May 6, 2019, Stephen Lanzo, III and Kendra Lanzo (the “Lanzo Movants”) and
Cheryl Booker, individually and as successor-in-interest to Richard Booker, et al. (the “Booker
Movants”), each filed motions for relief from the automatic stay to permit the Appeals to
proceed to final resolution, and, if successful, to permit the Lanzo Movants and the Booker
Movants to execute and collect on the Lanzo Appeal Bond and the Booker Appeal Bond, as
applicable [Docket No. 493 & 491].

       On June 13, 2019, the Debtors and Aspen American Insurance Company (“Aspen”)
entered into stipulations with each of the Lanzo Movants (the “Lanzo Stipulation”) and the

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Booker Movants (the “Booker Stipulation” and, together with the Lanzo Stipulation, the “Stay
Stipulations”) to lift the automatic stay as to the Appeals. The Stay Stipulations were approved
by the Bankruptcy Court on June 27, 2019 [Docket Nos. 757 and 756].

        The Stay Stipulations consensually resolved the aforementioned relief from stay motions,
and permitted the Appeals to proceed subject to the conditions set forth therein. In addition,
Aspen agreed to (i) bear sole responsibility for any and all fees and expenses incurred by ITA
and its professionals pertaining to the Appeals and (ii) waive any claim for amounts paid on
account of such fees. Moreover, Aspen waived any claim for amounts paid on account of
punitive damages in connection with the Lanzo Judgment and the Booker Judgment.

       Any claim held by Aspen stemming from (i) the Lanzo Movants’ collection of the Lanzo
Appeal Bond and/or (ii) the Booker Movants’ collection of the Booker Appeal Bond, will be a
Talc Personal Injury Claim and Aspen will have the right to pursue such claims against the Talc
Personal Injury Trust, subject to the Stay Stipulations and the Trust Distribution Procedures.

5.11    Anticipated Developments Regarding ITI Before Confirmation

        As discussed above, the Debtors anticipate that, if the Plan receives the requisite
acceptances pursuant to each of sections 1126(c) and 524(g) of the Bankruptcy Code, ITI will
file a voluntary petition for relief under chapter 11 of the Bankruptcy Code. This Section
describes key aspects of the contemplated chapter 11 process with respect to ITI.

       The Debtors anticipate that ITI’s reorganization will have a minimal effect on ITI and the
North American Debtors’ business operations. As discussed herein, the only holders of Claims
against ITI that will be Impaired are holders of Talc Personal Injury Claims and Non-Debtor
Intercompany Claims in Classes 4 and 5a, respectively.

        (a)      First-Day Motions and Related Relief

       ITI’s reason for filing chapter 11 is to address its talc-related liabilities. To ensure a
smooth transition into chapter 11 and in furtherance of this goal, ITI will file a number of
motions with the Bankruptcy Court on the commencement date of its restructuring proceedings,
including:

             an unimpaired claims motion authorizing ITI to satisfy or honor all unimpaired
              claims including, among other things, claims arising from employee wage and benefit
              obligations and claims arising from goods and services provided by vendors and
              suppliers;

             a motion to ensure continued access to its prepetition cash management system;

             a motion requesting that certain of the orders previously entered in the Chapter 11
              Cases be made applicable to ITI (including, without limitation, orders: (i) authorizing
              payment of prepetition insurance obligations and the ability to maintain post-petition
              insurance coverage; (ii) authorizing payment of prepetition taxes and fees;
              (iii) authorizing employment of professionals utilized in the ordinary course of


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              business; (iv) authorizing the retention of the North American Debtors’ professionals;
              (v) establishing procedures for interim compensation and reimbursement of
              professionals; (vi) approving this Disclosure Statement; and (vii) extending the
              period to remove claims);

             a motion seeking authority to have its chapter 11 case jointly administered with those
              of the North American Debtors for procedural purposes only under case number 19-
              10289 (LSS); and

             a motion seeking authority to waive certain obligations to (i) file schedules and a
              statement of financial affairs, (ii) file a list of ITI’s twenty largest unsecured
              creditors, and (iii) convene a section 341 meeting of creditors.

        For the avoidance of doubt, the interests of holders of Claims against ITI (except for Talc
Personal Injury Claims and Non-Debtor Intercompany Claims) are Unimpaired under the Plan.
Accordingly, ITI does not anticipate filing schedules and a statement of financial affairs, and
will petition the Bankruptcy Court for waiver of such requirements.

        (b)      Anticipated Plan Process

        The Debtors are not presently seeking approval of this Disclosure Statement as to ITI,
because at this time ITI is not a Debtor in the Chapter 11 Cases. However, upon Bankruptcy
Court approval of this Disclosure Statement, the Debtors intend to solicit votes to accept or
reject the Plan with respect to holders of Claims in Class 4 against ITI. Additionally, and
although ITI is not yet a Debtor in the Chapter 11 Cases, the key dates with respect to
solicitation of votes to accept or reject the Plan as to ITI are the same as the dates set forth in the
Solicitation Order and described in Article X of this Disclosure Statement entitled “Voting
Procedures and Requirements.”

       The Debtors anticipate that ITI will commence its bankruptcy proceeding in advance of
the Confirmation Hearing and will, at or before the Confirmation Hearing, seek an order by the
Bankruptcy Court approving this Disclosure Statement as it applies to holders of Talc Personal
Injury Claims against ITI pursuant to section 1125 of the Bankruptcy Code.

        In the event the Bankruptcy Court approves this Disclosure Statement as to ITI, holders
of Claims in Class 4 vote in the requisite numbers necessary to approve the Plan, and the
Bankruptcy Court subsequently confirms the Plan, the Confirmation Order will apply to ITI as
well. Subject to the terms and conditions set forth in the Plan and described throughout this
Disclosure Statement, ITI will then emerge from bankruptcy protection contemporaneously with
the other Debtors.




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                                               ARTICLE VI.

                       SETTLEMENTS AND THE SALE OF THE NORTH
                             AMERICAN DEBTORS’ ASSETS

6.1     The Imerys Settlement

        The Plan incorporates a global settlement that is the product of extensive negotiations
and discussions among the Plan Proponents providing for the treatment of Talc Personal Injury
Claims in a manner that is consistent with the Bankruptcy Code. The Plan Proponents submit
that the Imerys Settlement is the product of months of intensive, arms’-length negotiations and is
the lynchpin of the Plan, paving the way for a consensual resolution of these Chapter 11 Cases.
The Imerys Settlement, by way of the Imerys Contribution, secures a recovery for the benefit of
the Debtors’ creditors, additional valuable assets that will be provided to the Talc Personal
Injury Trust, and an additional cash recovery resulting from the Sale of the North American
Debtors’ assets.

        (a)      Overview of the Imerys Settlement

        The Imerys Settlement provides, among other things, (i) funding to the Talc Personal
Injury Trust in the form of the Imerys Settlement Funds and (ii) additional funding to the
Debtors in the form of the Imerys Cash Contribution to support their reorganization efforts in
this phase of the Chapter 11 Cases.72 75 Moreover, the Imerys Settlement provides the Talc
Personal Injury Trust with additional, non-Cash consideration, including, but not limited to, the
release of certain claims held by the Imerys Non-Debtors, and the transfer of certain insurance
rights to the Talc Personal Injury Trust, all as set forth in the Plan. In exchange, and as
described in Article XII of the Plan, the Plan provides releases to the Imerys Protected Parties
(the “Imerys Releases”), as well as a permanent channeling injunction that bars the pursuit of
Talc Personal Injury Claims against the Imerys Protected Parties. All Talc Personal Injury
Claims will be channeled to and resolved by the Talc Personal Injury Trust pursuant to the Talc
Personal Injury Trust Agreement and the Trust Distribution Procedures.

        As part of the Imerys Settlement, the Tort Claimants’ Committee and the FCR have
agreed to release their claims against the Imerys Non-Debtors, including those premised on
certain theories of liability including, inter alia, piercing the corporate veil, alter ego, conspiracy,
or successor liability. The Imerys Non-Debtors have taken the position that the only entities that
could face potential liability for Talc Personal Injury Claims are the Debtors. To date, no court
has upheld a claim against an Imerys Non-Debtor on these theories of liability, and the only
court to substantively review these issues rejected these claims. See Order Granting Motion to
Quash re: Imerys USA, Leavitt v. Johnson & Johnson, Case No. RG17882401 (Sup. Ct. Cal.
Dec. 28, 2018). However, the Tort Claimants’ Committee and the FCR have continued to
maintain the validity of these claims. After an investigation of the underlying merits of these
claims by the Tort Claimants’ Committee and the FCR, and in order to avoid further protracted

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         Any portions of the Imerys Cash Contribution not used by the Debtors or applied to the Reserves
(pursuant to the limits established in the Plan) will revert to Talc Personal Injury Trust, subject to the
limitations contained in the Plan.

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litigation and expense, the parties agreed to resolve these claims as part of the Imerys
Settlement.

        As further described below, the Imerys Settlement also contemplated that the North
American Debtors would initiate a sale process in pursuit of a sale of substantially all of the
assets of the North American Debtors73 76 under section 363 of the Bankruptcy Code. Proceeds
from the Sale will be used to fund the Talc Personal Injury Trust as described in the Plan.

        Finally, in order to implement the Imerys Settlement and effectuate the Plan, upon the
Effective Date (i) the equity interests in ITI will be reinstated and (ii) the equity interests in each
of the North American Debtors will be canceled and the equity interests in each of the
Reorganized North American Debtors will be issued to the Talc Personal Injury Trust. The Talc
PI Note will also be issued to the Talc Personal Injury Trust, which, pursuant to the Talc PI
Pledge Agreement, will be secured by a majority of the voting equity interests of Reorganized
ITI following the Effective Date.

        The Imerys Settlement resolves all outstanding disputes and claims between the Debtors,
their Estates, the Imerys Non-Debtors, the Tort Claimants’ Committee, and the FCR. While the
key terms of the Imerys Settlement are summarized in this Disclosure Statement, you should
read the Plan for a complete understanding of the terms and conditions of the Imerys Settlement.

        (b)      Imerys Releases and Disbursement of the Imerys Contribution

       In exchange for the Imerys Contribution, Imerys S.A. requires confirmation of the Plan
and entry of a Confirmation Order by the Bankruptcy Court and affirmed by the District Court
that provides the Imerys Protected Parties with the protection of the Channeling Injunction
pursuant to sections 524(g) and 105(a) of the Bankruptcy Code, the Imerys Releases, and the
Supplemental Settlement Injunction Order. Each is described in further detail in the Plan.

             The Imerys Non-Debtors’ Contribution on Behalf of the Protected Parties

        Upon the satisfaction, or waiver by the Plan Proponents in writing, of all conditions
precedent to the disbursement of the Imerys Contribution in the Plan, the Imerys Contribution
shall be distributed by the Imerys Non-Debtors pursuant to the terms of the Plan.

             Section 524(g) and 105(a) Injunction in Favor of the Imerys Protected Parties

       Subject to the Talc Distribution Procedures, the Channeling Injunction shall permanently
and completely enjoin any person or entity from asserting in any way a Talc Personal Injury
Claim against the Protected Parties. All claims against the Protected Parties subject to the
Channeling Injunction shall be channeled to, and paid by, the Talc Personal Injury Trust in
accordance with the Trust Distribution Procedures.




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        For the avoidance of doubt, the Sale does not include the sale of ITI’s assets.

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       Each of the Imerys Protected Parties is included as a “Protected Party” as that term is
defined in the Plan. Accordingly, the Imerys Protected Parties shall receive the benefit of the
Channeling Injunction in accordance with sections 524(g) and 105(a) of the Bankruptcy Code.

             Releases in Favor of the Imerys Protected Parties

        The Plan contemplates certain releases in favor of the Imerys Protected Parties to be
provided by (i) the Debtors and the Reorganized Debtors, on their own behalf and as
representatives of their respective Estates, (ii) the Tort Claimants’ Committee and the FCR, on
their own behalf, and (iii) the Releasing Claim Holders. Such releases are further described in
Article VII of this Disclosure Statement.

             Supplemental Settlement Injunction Order

        In connection with the implementation of the Imerys Settlement, the Plan includes the
Supplemental Settlement Injunction Order, pursuant to which all Persons that have held or
asserted, that hold or assert, or that may in the future hold or assert any Imerys Released Claims
directly or indirectly against the Imerys Protected Parties (or any of them) shall be permanently
stayed, restrained, and enjoined from pursuing now, or at any time in the future, any Imerys
Released Claims. The Supplemental Settlement Injunction Order is further described in
Article VII of this Disclosure Statement.

6.2     Settlement with Rio Tinto and Zurich

        The Plan also incorporates a comprehensive settlement among the Debtors, on the one
hand, and Rio Tinto (on behalf of itself and the Rio Tinto Captive Insurers and for the benefit of
the Rio Tinto Protected Parties), and Zurich (on behalf of itself and for the benefit of the Zurich
Protected Parties), on the other hand, and consented to by the Tort Claimants’ Committee and
the FCR, that is the product of months of intensive, arms’-length negotiations, multiple
mediation sessions, and the production and review of a broad set of documents relating to the
parties’ disputes. The Rio Tinto/Zurich Settlement resolves complex disputes among the parties,
in an effort to avoid prolonged litigation, and does not involve any admission of liability by any
party to the settlement.

        (a)      Overview of the Rio Tinto/Zurich Settlement

        The Rio Tinto/Zurich Settlement (a) releases the Rio Tinto Protected Parties and the
Zurich Protected Parties from the Rio Tinto/Zurich Released Claims and (b) channels to the Talc
Personal Injury Trust all Talc Personal Injury Claims against any Rio Tinto Protected Party, Rio
Tinto Captive Insurer, or Zurich Protected Party. Both the Rio Tinto/Zurich Released Claims
and the channeled Talc Personal Injury Claims include, without limitation, any and all claims
directly or indirectly arising out of or relating to (i) alleged liabilities relating to the Rio Tinto
Corporate Parties’ prior ownership of the Debtors, (ii) alleged indemnification obligations of the
Rio Tinto Corporate Parties, and (iii) the amount of coverage to which the Debtors claim to be
entitled under Talc Insurance Policies issued by the Zurich Corporate Parties and the Rio Tinto
Captive Insurers. In return, the Talc Personal Injury Trust will receive the Rio Tinto/Zurich
Contribution, consisting of $340 million in cash, along with certain indemnification,


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contribution, and/or subrogation rights against third parties held by the Zurich Corporate Parties
and the Rio Tinto Corporate Parties. The Rio Tinto/Zurich Contribution will provide a
substantial recovery for persons holding Talc Personal Injury Claims.

         As part of the Rio Tinto/Zurich Settlement, the Tort Claimants’ Committee and the FCR
have agreed to the release of any and all claims against the Rio Tinto Protected Parties relating
in any way to any Talc Personal Injury Claims, including those premised on liabilities such as
piercing the corporate veil, alter ego, conspiracy, or successor liability. The Rio Tinto Protected
Parties have taken the position that they have no such liability, and to date, no court has upheld a
claim against any Rio Tinto Protected Parties on these theories of liability. The resolution of
each of these matters represents a compromise of disputes among the parties, without any
admission of liability, intended to avoid the costs, risks, and delay associated with protracted
litigation. The Tort Claimants’ Committee and the FCR have also consented to the Debtors’
release of all rights under insurance policies issued by the Zurich Corporate Parties and the Rio
Tinto Captive Insurers notwithstanding their disputes concerning the amount of coverage
potentially available to the Debtors under these policies, the application of the policies to the
Talc Personal Injury Claims, and the timing and amount of such claims in the future, in order to
avoid the costs, risks, and delay associated with undertaking protracted litigation against these
insurers.77

        (b)      Terms of the Rio Tinto/Zurich Settlement

             The Rio Tinto/Zurich Contribution

        The Rio Tinto/Zurich Contribution is contingent (i) on the Bankruptcy Court’s entry of a
Confirmation Order and the District Court’s entry of an Affirmation Order, each in a form
reasonably acceptable to Rio Tinto and Zurich, confirming the Plan, and approving (a) the Rio
Tinto/Zurich Settlement, including the Rio Tinto/Zurich Settlement Agreement, and (b) the
releases set out in the Plan, the Channeling Injunction, and the other injunctive relief set out in
the Plan, including the Supplemental Settlement Injunction, as to the Rio Tinto Protected Parties,
the Rio Tinto Captive Insurers, and the Zurich Protected Parties (as applicable); (ii) on the
Confirmation Order and Affirmation Order becoming Final Orders; and (iii) on the Plan’s
becoming effective. If these preconditions are met, Rio Tinto and Zurich will each make their
respective portions of the Rio Tinto/Zurich Contribution, or cause it to be made, in Rio Tinto’s
case on behalf of itself, the Rio Tinto Captive Insurers, and the Rio Tinto Protected Parties, and
in Zurich’s case on behalf of the Zurich Protected Parties, to the Talc Personal Injury Trust, to be
used for the payment of Talc Personal Injury Claims in accordance with the Trust Distribution
Procedures and the Talc Personal Injury Trust Agreement. The releases and Injunctions


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         J&J contests the ability of the Plan Proponents to enter this settlement usurping J&J’s rights
under the policies. Further, J&J argues that the Plan Proponents do not have the authority or the ability to
(i) release or enjoin J&J’s claims against the Rio Tinto Protected Parties, Rio Tinto Captive Insurers, the
Zurich Protected Parties, or the Cyprus Protected Parties, or (ii) channel to the Trust any direct or
independent claims of J&J against such parties, including, for example, bad faith claims. Should J&J
prevail on any of these arguments, the Rio Tinto/Zurich Settlement and/or Cyprus Settlement may not be
approved and/or incorporated into the Plan, and creditors will not benefit from additional assets being
contributed to the Talc Personal Injury Trust on account of such settlements.

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provided to the Rio Tinto Protected Parties, the Rio Tinto Captive Insurers, and the Zurich
Protected Parties (as applicable) will not be effective until the Rio Tinto/Zurich Contribution is
made to the Talc Personal Injury Trust.

            Rio Tinto/Zurich Settlement Agreement

        Confirmation of the Plan will constitute approval of the Rio Tinto/Zurich Settlement
Agreement, under which Zurich and the Rio Tinto Captive Insurers, respectively, will buy back
any and all of Debtors’ rights under the Zurich Policies and Rio Tinto Captive Insurer Policies,
free and clear of any rights of third parties, including any rights of J&J, pursuant to section 363
of the Bankruptcy Code.

            Channeling Injunction Under Sections 524(g) and 105(a) in Favor of the Rio Tinto
             Protected Parties, the Rio Tinto Captive Insurers, and the Zurich Protected Parties

        In accordance with sections 524(g) and 105(a) of the Bankruptcy Code, the Channeling
Injunction shall permanently and completely enjoin any person or entity from asserting any Talc
Personal Injury Claim against the Rio Tinto Protected Parties, the Rio Tinto Captive Insurers,
and/or the Zurich Protected Parties, as these parties are “Protected Parties” as that term is
defined in the Plan. All claims against the Rio Tinto Protected Parties, the Rio Tinto Captive
Insurers, and/or the Zurich Protected Parties subject to the Channeling Injunction shall be
channeled to the Talc Personal Injury Trust and resolved in accordance with the Trust
Distribution Procedures.

            Releases in Favor of the Rio Tinto Protected Parties and the Zurich Protected Parties

       The Plan contemplates certain releases in favor of the Rio Tinto Protected Parties and the
Zurich Protected Parties to be provided by (i) the Debtors and the Reorganized Debtors, on their
own behalf and as representatives of their respective Estates, (ii) the Tort Claimants’ Committee
and the FCR, solely on their own behalf, and (iii) the Releasing Claim Holders (as to the Rio
Tinto Protected Parties). Such releases are further described in Article VII of this Disclosure
Statement.

            Supplemental Settlement Injunction Order

        In connection with the implementation of the Rio Tinto/Zurich Settlement, the Plan
includes the Supplemental Settlement Injunction Order, pursuant to which all Persons that have
held or asserted, that hold or assert, or that may in the future hold or assert any Rio Tinto/Zurich
Released Claims directly or indirectly against the Rio Tinto Protected Parties (or any of them)
and/or the Zurich Protected Parties (or any of them) shall be permanently stayed, restrained, and
enjoined from pursuing now, or at any time in the future, any Rio Tinto/Zurich Released Claims.
The Supplemental Settlement Injunction Order is further described in Article VII of this
Disclosure Statement.




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6.3     Sale of North American Debtors’ Assets

        (a)      Sale of Assets

        The Plan contemplates that the Debtors will undertake a sale and marketing process of
the North American Debtors’ assets in accordance with section 363 of the Bankruptcy Code. To
this end, on May 15, 2020, the North American Debtors filed a motion seeking a Bankruptcy
Court order (i) authorizing and approving bidding procedures for the sale of all or substantially
all of the North American Debtors’ assets (the “Bidding Procedures”); (ii) establishing
procedures for the assumption and assignment of certain executory contracts and unexpired
leases; (iii) establishing procedures in connection with the selection of a Stalking Horse Bidder
(as defined in the Sale Motion), if any, and related protections; and (iv) approving the sale of
assets free and clear of all Interests (as defined in the Sale Motion) pursuant to an asset purchase
agreement [Docket No. 1718] (the “Sale Motion”). An order approving the Bidding Procedures
and timeline related to the Sale was approved on June 30, 2020 [Docket No. 1950]. On July 28,
2020, the Debtors filed the Notice of Modified Deadlines Contained in the Bidding Procedures
and the Bidding Procedures Order [Docket No. 2039], on September 11, 2020, the Debtors filed
the Second Notice of Modified Deadlines Contained in the Bidding Procedures and the Bidding
Procedures Order [Docket No. 2189] and on October 13, 2020, the Debtors filed the Third
Notice of Modified Deadlines Contained in the Bidding Procedures and the Bidding Procedures
Order [Docket No. 2329], each of which lists revised key dates and deadlines related to the sale
process.

        As more fully described in the Sale Motion, in November 2019, the North American
Debtors engaged PJT as their investment banker to assist the North American Debtors with their
evaluation of a potential sale of all or a portion of their assets. Following their engagement,
PJT’s professionals have worked closely with the North American Debtors’ management, boards
of directors, and other advisors to assist the North American Debtors in: (i) preparing marketing
materials in conjunction with a sale and (ii) defining the terms, conditions, and impact of any
sale. With the filing of the Sale Motion, PJT commenced a process to identify potential
purchasers and pursue potential transactions for the North American Debtors. On July 17, 2020,
PJT received initial indications of interest for the Debtors’ assets, pursuant to the Bid Procedures
Order, and on July 24, 2020, the Debtors, with the assistance of PJT and their other advisors,
selected the Potential Bidders (as defined in Sale Motion), which were permitted to enter the
second phase of the sale process.

       The North American Debtors determined that a sale of substantially all of their assets, in
conjunction with the implementation of the Imerys Settlement, to one or more buyer(s) would
maximize the value of their Estates and result in more funds available for holders of Talc
Personal Injury Claims. The North American Debtors sought the relief requested in the Sale
Motion to ensure that they had the necessary flexibility to run a value-maximizing sale process.

        Imerys S.A. and the Tort Claimants’ Committee agreed that Imerys S.A. would not
participate in the sale process as a bidder “to avoid complicating the court-approved sale process
with a potential bid from the asset’s most recent owner.” See Statement of Imerys, S.A. in
Connection with the Pending Sale of Substantially All of the Debtors’ Assets [Docket No. 1975].



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Further, this decision is “consistent with [Imerys, S.A.’s] management of its global business
portfolio.” See id.

        On October 13, 2020, the Debtors filed a Notice of (I) Designation of Stalking Horse
Bidder, (II) Filing of Stalking Horse Agreement and Proposed Sale Order and (III) Request for
Approval of Bid Protections [Docket No. 2330], which, among other things, designated Magris
Resources Canada Inc. (“Magris Resources”) as the Stalking Horse Bidder (as defined in the
Bidding Procedures) and the Bid (as defined in as defined in the Bidding Procedures) submitted
by Magris Resources as the Stalking Horse Bid (as defined in the Bidding Procedures) and
provided notice that the Debtors have entered into an asset purchase agreement with Magris
Resources (as may be amended or modified, the “Asset Purchase Agreement”), a copy of
which was attached as Exhibit A to the notice, for the sale of substantially all of the Debtors’
assets pursuant to section 363 of the Bankruptcy Code. The purchase price payable to the
Debtors under the Asset Purchase Agreement for the Purchased Assets (as defined in the Asset
Purchase Agreement) consists of the following: (i) $223,000,000 in cash consideration, and (ii)
the assumption of the Assumed Liabilities (as defined in the Asset Purchase Agreement).

        On November 17, 2020, the Bankruptcy Court entered an order authorizing the Debtors
to sell substantially all of their assets to Magris Resources [Docket No. 2539]. The Debtors
anticipate that the Sale will close in the first quarter of 2021.

        (b)      Sale Proceeds and Purchase Price Enhancement

        The Sale Proceeds will be contributed to the Talc Personal Injury Trust in accordance
with the terms of the Plan and any DIP Order. In addition, and as part of the Imerys Settlement,
Imerys S.A. has agreed to contribute certain additional amounts of up to $102.5 million,
contingent on the value of the Sale Proceeds (the “Purchase Price Enhancement”). The
Purchase Price Enhancement will work as follows: (i) if the Sale Proceeds are $30 million or
less, Imerys S.A. will contribute $102.5 million to the Talc Personal Injury Trust as a purchase
price enhancement; (ii) for every dollar of Sale Proceeds between $30 million and $60 million,
the purchase price enhancement shall be reduced by $0.50; and (iii) for every dollar of Sale
Proceeds in excess of $60 million, the purchase price enhancement shall be reduced by $0.70.74
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                                              ARTICLE VII.

                                    THE PLAN OF REORGANIZATION

        The confirmation of a plan of reorganization is the principal objective of a chapter 11
case. A plan of reorganization sets forth the means for treating claims against, and equity
interests in, a debtor. Confirmation of a plan of reorganization by a bankruptcy court makes it
binding on the debtor, any person or entity acquiring property under the plan, and any creditor
of, or equity interest holder in, the debtor, whether or not such creditor or equity interest holder
has accepted the plan or received or retains any property under the plan. Subject to certain


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         As noted above, the Plan Proponents have agreed that in the event the Sale closes for the amount
set forth in the Sale Order, no purchase price enhancement will be payable by Imerys S.A.

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limited exceptions and other than as provided in a plan itself or in a confirmation order, a
confirmation order discharges the debtor from any debt that arose prior to the date of
confirmation of the plan of reorganization.

       This Article of this Disclosure Statement summarizes certain relevant provisions of the
Plan. This Article is intentionally not a recitation of the entirety of the Plan, a copy of which is
attached hereto as Exhibit A.

        For additional information regarding the Plan not discussed in this Article, please refer to
the following select Plan provisions:

                                    Topic                                        Plan Provision
Treatment of Executory Contracts and Unexpired Leases                         Article V
Distributions Under the Plan on Account of Claims                             Article VI
Resolution of Disputed Claims Other than Talc Personal Injury Claims          Article VII
Reservation of Rights                                                         Section 12.5
Disallowed Claims and Disallowed Equity Interests                             Section 12.6
No Successor Liability                                                        Section 12.8
Corporate Indemnities                                                         Section 12.9
Jurisdiction of Bankruptcy Court                                              Article XIII
Miscellaneous Provisions                                                      Article XIV

     THE FOLLOWING SUMMARY HIGHLIGHTS CERTAIN OF THE SUBSTANTIVE
PROVISIONS OF THE PLAN, AND IS NOT, NOR IS IT INTENDED TO BE, A COMPLETE
DESCRIPTION OR A SUBSTITUTE FOR A FULL AND COMPLETE REVIEW OF THE
PLAN. THE PLAN PROPONENTS URGE ALL HOLDERS OF CLAIMS OR EQUITY
INTERESTS TO READ AND STUDY CAREFULLY THE PLAN, A COPY OF WHICH IS
ATTACHED AS EXHIBIT A TO THIS DISCLOSURE STATEMENT.

7.1    Treatment of Administrative Claims, Fee Claims, DIP Facility Claims, and Priority Tax
Claims

        (a)       Administrative Claims

                 (1)      Allowed Administrative Claims

       Holders of Allowed Administrative Claims (other than Fee Claims, which are governed
by Section 2.3 of the Plan) shall receive Cash equal to the unpaid portion of such Allowed


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Administrative Claims on the Distribution Date, in full satisfaction, settlement, release, and
discharge of and in exchange for such Claims, or such amounts and on such other terms as may
be agreed to by the holders of such Claims and the Debtors or the Reorganized Debtors, as the
case may be; provided, however, that Allowed Administrative Claims representing liabilities
incurred on or after the Petition Date in the ordinary course of business by any of the Debtors
shall be paid by the Debtors or the Reorganized Debtors, as the case may be, in accordance with
the terms and conditions of the particular transactions relating to such liabilities and any
agreements relating thereto. All Allowed Administrative Claims (other than Fee Claims) shall
be paid from funds held in the Administrative Claim Reserve, which shall be funded from Cash
on hand, the Sale Proceeds, and/or the Imerys Cash Contribution (excluding the Unsecured
Claim Contribution). The Reorganized Debtors will be entitled to transfer excess funds from the
Fee Claim Reserve (after all Allowed Fee Claims have been satisfied in full) and the
Reorganized North American Debtor Cash Reserve (excluding all funds attributable to the
Unsecured Claim Contribution) to the Administrative Claim Reserve as they deem necessary or
appropriate, on notice to the FCR and the Tort Claimants’ Committee, to enable them to satisfy
their obligations pursuant to the Plan.

                 (2)      Administrative Claims Bar Date

        Except as otherwise provided in Article II of the Plan, requests for payment of
Administrative Claims (other than Fee Claims and Claims against the North American Debtors
arising under section 503(b)(9) of the Bankruptcy Code), must be filed and served on the
Reorganized Debtors pursuant to the procedures specified in the Confirmation Order and the
notice of entry of the Confirmation Order no later than sixty (60) days after the Effective Date.
Holders of Administrative Claims that are required to, but do not, file and serve a request for
payment of such Administrative Claims by the Administrative Claims Bar Date shall be forever
barred, estopped, and enjoined from asserting such Administrative Claims against, as applicable,
the Debtors or the Reorganized Debtors, or their property, and such Administrative Claims shall
be deemed discharged as of the Effective Date. Objections to such requests, if any, must be filed
and served on the Reorganized Debtors and the requesting party, as applicable, no later than
ninety (90) days after the Effective Date, unless otherwise authorized by the Bankruptcy Rules
or Bankruptcy Court. Notwithstanding the foregoing, no request for payment of an
Administrative Claim need be filed with respect to an Administrative Claim previously Allowed
by Final Order, including all Administrative Claims expressly Allowed under the Plan. For the
avoidance of doubt and in accordance with, and furtherance of, the terms of the ITC Stipulated
Order, any ITC Stipulated Claim shall be (i) automatically disallowed upon entry of the
Confirmation Order and (ii) deemed discharged upon the Effective Date, without any further
action required.

                 (3)      Disputed Administrative Claims

         If a Disputed Administrative Claim is thereafter Allowed in whole or in part, the
Disbursing Agent shall (at such time as determined to be practicable by the Reorganized
Debtors) distribute from the Administrative Claim Reserve, to the holder of such Administrative
Claim, the Cash that such holder would have received on account of such Claim if such
Administrative Claim had been an Allowed Administrative Claim on the Effective Date. When
(i) all Disputed Administrative Claims against the Reorganized Debtors have been resolved and

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(ii) Distributions required to be made by the Reorganized Debtors pursuant to Section 2.1 and
Section 2.3 of the Plan have been made, all Cash remaining in the Administrative Claim Reserve
shall be disbursed to the Talc Personal Injury Trust.

        (b)      Allowed Priority Tax Claims

        On the Distribution Date, holders of Allowed Priority Tax Claims shall receive Cash
equal to the amount of such Allowed Priority Tax Claims, in full satisfaction, settlement, release,
and discharge of and in exchange for such Claims unless the holder of such claim agrees to an
alternative treatment.

        (c)      Fee Claims

        All final fee requests for compensation or reimbursement of Fee Claims pursuant to
sections 327, 328, 329, 330, 331, 503(b), or 1103 of the Bankruptcy Code for services rendered
to the Debtors, the Tort Claimants’ Committee, or the FCR, all Fee Claims of members of the
Tort Claimants’ Committee for reimbursement of expenses, and all requests or Claims under
section 503(b)(4) of the Bankruptcy Code, must be filed and served on the Reorganized Debtors
and other parties required to be served by the Compensation Procedures Order by no later than
forty-five (45) days after the Effective Date, unless otherwise ordered by the Bankruptcy Court.
Any objections to a final Fee Claim or any requests or claims under section 503(b)(4) of the
Bankruptcy Code must be filed by no later than twenty (20) days after the filing of such Claim.
The terms of the Compensation Procedures Order shall govern the allowance and payment of
any final Fee Claims submitted in accordance with Section 2.3 of the Plan. The Fee Examiner
appointed under the Fee Examiner Order shall continue to act in this appointed capacity unless
and until all final Fee Claims have been approved by order of the Bankruptcy Court, and the
Reorganized Debtors shall be responsible to pay the fees and expenses incurred by the Fee
Examiner in rendering services after the Effective Date.

        The amount of the Fee Claims owing to the Professionals on and after the Effective Date
shall be paid in Cash to such Professionals from funds held in the Fee Claim Reserve, which
shall be funded from Cash on hand, the Sale Proceeds, and/or the Imerys Cash Contribution
(excluding the Unsecured Claim Contribution), as soon as reasonably practicable after such
Claims are Allowed by a Bankruptcy Court order. The Reorganized Debtors will be entitled to
transfer excess funds from the Administrative Claim Reserve (after all Allowed Administrative
Claims have been satisfied in full) and the Reorganized North American Debtor Cash Reserve
(excluding all funds attributable to the Unsecured Claim Contribution) to the Fee Claim Reserve
as they deem necessary or appropriate, on notice to the FCR and the Tort Claimants’ Committee,
to enable them to satisfy their obligations in the Plan. When all Allowed Fee Claims and
Allowed Administrative Claims have been paid in full.

        (d)      DIP Facility Claims

       On or prior to the Effective Date, in full satisfaction, settlement, discharge, and release
of, and in exchange for the DIP Facility Claims, all amounts payable by the Debtors under the
DIP Facility shall be satisfied in full consistent with the DIP Loan Documents and the DIP



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Order; provided that Section 2.4 of the Plan only applies to the extent DIP Loans are made to the
Debtors on or prior to the Effective Date.

7.2     Treatment of Classified Claims and Equity Interests

        The classification and treatment of Claims against and Equity Interests in each Debtor are
set forth in detail in Article III of the Plan.

        (a)      Class 1 – Priority Non-Tax Claims

                 (1)      Classification: Class 1 consists of all Priority Non-Tax Claims against the
                          Debtors.

                 (2)      Treatment: On the Distribution Date, each holder of an Allowed Class 1
                          Priority Non-Tax Claim shall receive Cash equal to the Allowed Amount
                          of such Priority Non-Tax Claim.

                 (3)      Voting: Class 1 is Unimpaired and each holder of an Allowed Claim in
                          Class 1 is presumed to accept the Plan pursuant to section 1126(f) of the
                          Bankruptcy Code. Each holder of an Allowed Claim in Class 1 is not
                          entitled to vote to accept or reject the Plan.

        (b)      Class 2 – Secured Claims

                 (1)      Classification: Class 2 consists of all Secured Claims against the Debtors.

                 (2)      Treatment: All Allowed Secured Claims in Class 2 will be treated
                          pursuant to one of the following alternatives on the Distribution Date: (i)
                          payment in full in Cash in accordance with section 506(a) of the
                          Bankruptcy Code; (ii) reinstatement pursuant to section 1124 of the
                          Bankruptcy Code; (iii) such other treatment as the Debtor and the holder
                          shall agree; or (iv) such other treatment as may be necessary to render
                          such Claim Unimpaired.

                 (3)      Voting: Class 2 is Unimpaired and each holder of an Allowed Claim in
                          Class 2 is presumed to accept the Plan pursuant to section 1126(f) of the
                          Bankruptcy Code. Each holder of an Allowed Claim in Class 2 is not
                          entitled to vote to accept or reject the Plan.

        (c)      Class 3a – Unsecured Claims against the North American Debtors

                 (1)      Classification: Class 3a consists of all Unsecured Claims against the North
                          American Debtors.

                 (2)      Treatment: Each holder of an Allowed Unsecured Claim against the North
                          American Debtors shall be paid the Allowed Amount of its Unsecured
                          Claim on the Distribution Date. Such payment shall be (i) in full, in Cash,
                          plus post-petition interest at the federal judgment rate in effect on the

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                          Petition Date, or (ii) upon such other less favorable terms as may be
                          mutually agreed upon between the holder of such Unsecured Claim and
                          the applicable North American Debtor or Reorganized North American
                          Debtor.

                 (3)      Voting: Class 3a is Unimpaired and each holder of an Allowed Claim in
                          Class 3a is presumed to accept the Plan pursuant to section 1126(f) of the
                          Bankruptcy Code. Each holder of an Allowed Claim in Class 3a is not
                          entitled to vote to accept or reject the Plan.

        (d)      Class 3b – Unsecured Claims against ITI

                 (1)      Classification: Class 3b consists of all Unsecured Claims against ITI.

                 (2)      Treatment: The legal, equitable, and contractual rights of the holders of
                          Unsecured Claims against ITI are unaltered by the Plan. Except to the
                          extent that a holder of an Unsecured Claim against ITI agrees to a
                          different treatment, on and after the Effective Date, Reorganized ITI will
                          continue to pay or dispute each Unsecured Claim in the ordinary course of
                          business in accordance with applicable law.

                 (3)      Voting: Class 3b is Unimpaired and each holder of an Allowed Claim in
                          Class 3b is presumed to accept the Plan pursuant to section 1126(f) of the
                          Bankruptcy Code. Each holder of an Allowed Claim in Class 3b is not
                          entitled to vote to accept or reject the Plan.

        (e)      Class 4 – Talc Personal Injury Claims

                 (1)      Classification: Class 4 consists of all Talc Personal Injury Claims. For the
                          avoidance of doubt, Class 4 consists of Direct Talc Personal Injury Claims
                          and Indirect Talc Personal Injury Claims.

                 (2)      Treatment: On the Effective Date, liability for all Talc Personal Injury
                          Claims shall be channeled to and assumed by the Talc Personal Injury
                          Trust without further act or deed and shall be resolved in accordance with
                          the Trust Distribution Procedures. Pursuant to the Plan and Trust
                          Distribution Procedures, each holder of a Talc Personal Injury Claim shall
                          have its Claim permanently channeled to the Talc Personal Injury Trust,
                          and such Claim shall thereafter be resolved in accordance with the Trust
                          Distribution Procedures. Foreign Claims are a subset of Talc Personal
                          Injury Claims that will be channeled to and assumed by the Talc Personal
                          Injury Trust and subject to the Channeling Injunction; however, the Trust
                          Distribution Procedures provide that Foreign Claims will not receive any
                          distributions from the Talc Personal Injury Trust.

                 (3)      Voting: Class 4 is Impaired and each holder of an Allowed Claim in Class
                          4 is entitled to vote to accept or reject the Plan.


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        (f)      Class 5a – Non-Debtor Intercompany Claims

                 (1)      Classification: Class 5a consists of all Non-Debtor Intercompany Claims.

                 (2)      Treatment: On or after the Effective Date, all Non-Debtor Intercompany
                          Claims shall be canceled, discharged, or eliminated.

                 (3)      Voting: Class 5a is Impaired. Each holder of an Allowed Claim in Class
                          5a has consented to its treatment under the Plan as a Plan Proponent and is
                          therefore presumed to accept the Plan pursuant to section 1126(f) of the
                          Bankruptcy Code. Each holder of an Allowed Claim in Class 5a is not
                          entitled to accept or reject the Plan.

        (g)      Class 5b – Debtor Intercompany Claims

                 (1)      Classification: Class 5b consists of all Debtor Intercompany Claims.

                 (2)      Treatment: At the election of the applicable Debtor, each Debtor
                          Intercompany Claim shall (i) be reinstated, (ii) remain in place, and/or (iii)
                          with respect to certain Debtor Intercompany Claims in respect of goods,
                          services, interest, and other amounts that would have been satisfied in
                          Cash directly or indirectly in the ordinary course of business had they not
                          been outstanding as of the Petition Date, be settled in Cash.

                 (3)      Voting: Class 5b is Unimpaired and each holder of an Allowed Claim in
                          Class 5b is conclusively deemed to have accepted the Plan pursuant to
                          section 1126(f) of the Bankruptcy Code. Each holder of a Claim in Class
                          5b is not entitled to accept or reject the Plan.

        (h)      Class 6 – Equity Interests in the North American Debtors

                 (1)      Classification: Class 6 consists of all Equity Interests in the North
                          American Debtors.

                 (2)      Treatment: On the Effective Date, all Equity Interests in the North
                          American Debtors shall be canceled, annulled, and extinguished.

                 (3)      Voting: Class 6 is Impaired. Each holder of an Allowed Class 6 Equity
                          Interest has consented to its treatment under the Plan as a Plan Proponent
                          and is therefore presumed to accept the Plan pursuant to section 1126(f) of
                          the Bankruptcy Code. Each holder of an Allowed Equity Interest in Class
                          6 is not entitled to vote to accept or reject the Plan.

        (i)      Class 7 – Equity Interests in ITI

                 (1)      Classification: Class 7 consists of all Equity Interests in ITI.




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                 (2)      Treatment: On the Effective Date, all Equity Interests in ITI shall be
                          reinstated and the legal, equitable, and contractual rights to which holders
                          of Equity Interests in ITI are entitled shall remain unaltered to the extent
                          necessary to implement the Plan.

                 (3)      Voting: Class 7 is Unimpaired and each holder of an Allowed Class 7
                          Equity Interest is presumed to accept the Plan pursuant to section 1126(f)
                          of the Bankruptcy Code. Each holder of an Allowed Equity Interest in
                          Class 7 is not entitled to vote to accept or reject the Plan.

7.3     Acceptance or Rejection of Plan

        (a)      Classes Entitled to Vote

      Holders of Talc Personal Injury Claims shall be entitled to vote to the extent and in the
manner provided in the Voting Procedures Order [Docket No. [__]] and the Plan.75 79

        (b)      Acceptance of Holders of Talc Personal Injury Claims

       Pursuant to sections 1126(c) and 524(g)(2)(B)(ii)(IV)(bb) of the Bankruptcy Code, Class
4 (Talc Personal Injury Claims) shall have accepted the Plan only if at least two-thirds (2/3) in
amount and seventy-five percent (75%) of the members in Class 4 actually voting on the Plan
have voted to accept the Plan.

        (c)      Acceptance by Unimpaired Class

        Classes 1, 2, 3a, 3b, 5b, and 7 are Unimpaired under the Plan and are conclusively
presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.

        (d)      Acceptance by Impaired Class

         Classes 5a and 6 will not receive or retain any property or distribution under the Plan and
are Impaired under the Plan. Notwithstanding, Classes 5a and 6 are presumed to have accepted
the Plan pursuant to section 1126(f) of the Bankruptcy Code because all holders of Claims or
Equity Interests (as applicable) in Classes 5a and 6 are Plan Proponents and have consented to
their treatment under the Plan.

7.4     Conditions Precedent to the Confirmation of the Plan

        Confirmation of the Plan shall not occur unless each of the following conditions has been
satisfied or waived pursuant to Section 9.3 of the Plan:



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         Pursuant to the Voting Procedures Order, all Talc Personal Injury Claims in Class 4 of the Plan
shall be temporarily allowed in the amount of $1.00 in the aggregate per claimant solely for purposes of
voting to accept or reject the Plan and not for any other purpose; provided that any votes that are
determined by final nonappealable order following a motion on notice and a hearing not filed in good
faith shall be subject to the designation pursuant to section 1126(e) of the Bankruptcy Code.

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        (a)      The Bankruptcy Court shall have entered an order, acceptable in form and
                 substance to each of the Plan Proponents approving this Disclosure Statement as
                 containing adequate information within the meaning of section 1125 of the
                 Bankruptcy Code.

        (b)      Class 4 shall have voted in requisite numbers and amounts in favor of the Plan as
                 required by sections 524(g), 1126, and 1129 of the Bankruptcy Code.

        (c)      The Plan and the Plan Supplement, including any schedules, documents,
                 supplements and exhibits thereto, shall be consistent with (i) section 524(g) of the
                 Bankruptcy Code, as applicable, and (ii) the other provisions of the Plan.

        (d)      The Reorganized North American Debtors shall have sufficient funds from Cash
                 on hand and/or the Unsecured Claim Contribution to resolve all Allowed Class 3a
                 Claims and to adequately fund the Disputed Claims Reserve as determined by
                 each of the Plan Proponents.

        (e)      The Bankruptcy Court shall have made such findings and determinations
                 regarding the Plan as shall enable the entry of the Confirmation Order and any
                 other order in conjunction therewith, in form and substance acceptable to each of
                 the Plan Proponents. These findings and determinations, are designed, among
                 other things, to ensure that the Injunctions, releases and discharges set forth in
                 Article XII shall be effective, binding and enforceable, and shall among other
                 things, conclude:

                 (1)      Good Faith Compliance. The Plan complies with all applicable provisions
                          of the Bankruptcy Code including, without limitation, that the Plan be
                          proposed in good faith and that the Confirmation Order not be procured by
                          fraud.

                 (2)      Voting. Class 4 has voted in requisite numbers and amounts in favor of
                          the Plan as required by each of sections 524(g), 1126, and 1129 of the
                          Bankruptcy Code.

                 (3)      Injunctions. The Channeling Injunction, the Insurance Entity Injunction,
                          and the Supplemental Settlement Injunction Order are to be implemented
                          in connection with the Talc Personal Injury Trust.

                 (4)      Named Defendants. As of the Petition Date, one or more of the Debtors
                          had been named as a defendant in personal injury, wrongful death or
                          property damage actions seeking recovery for damages allegedly caused
                          by the presence of, or exposure to, talc or talc-containing products.

                 (5)      Assumption of Certain Liabilities. Upon the Effective Date, the Talc
                          Personal Injury Trust shall assume the liabilities of the Protected Parties
                          with respect to Talc Personal Injury Claims and have exclusive authority



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                          as of the Effective Date to satisfy or defend such Talc Personal Injury
                          Claims.

                 (6)      Funding of Talc Personal Injury Trust. The Talc Personal Injury Trust
                          will be funded with the Talc Personal Injury Trust Assets, including the
                          Talc PI Note, which will be secured by a majority of the common stock of
                          Reorganized ITI, pursuant to the Talc PI Pledge Agreement, and include
                          the right to receive distributions on account of the Talc PI Note pursuant
                          to the terms set forth in the Talc PI Note.

                 (7)      Stock Ownership. The Talc Personal Injury Trust, on the Effective Date,
                          by the exercise of rights granted under the Plan, (i) will receive the
                          Reorganized North American Debtor Stock and shall maintain the rights
                          to receive dividends or other distributions on account of such stock, and
                          (ii) will be entitled to own the majority of the common stock of
                          Reorganized ITI if specific contingencies occur.

                 (8)      Use of Talc Personal Injury Trust Assets. The Talc Personal Injury Trust
                          will use its assets and income to resolve Talc Personal Injury Claims.

                 (9)      Likelihood of Talc Personal Injury Demands. The Debtors are likely to be
                          subject to substantial future Talc Personal Injury Demands for payment
                          arising out of the same or similar conduct or events that gave rise to the
                          Talc Personal Injury Claims that are addressed by the Channeling
                          Injunction and the Insurance Entity Injunction.

                 (10)     Talc Personal Injury Demands Indeterminate. The actual amounts,
                          numbers, and timing of future Talc Personal Injury Demands cannot be
                          determined.

                 (11)     Likelihood of Threat to Plan’s Purpose. Pursuit of Talc Personal Injury
                          Claims, including Talc Personal Injury Demands, outside of the
                          procedures prescribed by the Plan and the Plan Documents, including the
                          Trust Distribution Procedures, is likely to threaten the Plan’s purpose to
                          treat the Talc Personal Injury Claims and Talc Personal Injury Demands
                          equitably.

                 (12)     Injunctions Conspicuous. The terms of the Discharge Injunction, the
                          Channeling Injunction, the Supplemental Settlement Injunction Order, the
                          Release Injunction, and the Insurance Entity Injunction, including any
                          provisions barring actions against third parties, are set out in conspicuous
                          language in the Plan and in this Disclosure Statement.

                 (13)     Appropriate Trust Mechanisms. Pursuant to court orders or otherwise, the
                          Talc Personal Injury Trust shall operate through mechanisms such as
                          structured, periodic or supplemental payments, pro rata distributions,
                          matrices or periodic review of estimates of the numbers and values of Talc
                          Personal Injury Claims or other comparable mechanisms, that provide

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                          reasonable assurance that the Talc Personal Injury Trust will value, and be
                          in a financial position to pay, Talc Personal Injury Claims that involve
                          similar Claims in substantially the same manner regardless of the timing
                          of the assertion of such Talc Personal Injury Claims.

                 (14)     Future Claimants’ Representative. The FCR was appointed by the
                          Bankruptcy Court as part of the proceedings leading to the issuance of the
                          Channeling Injunction, the Insurance Entity Injunction, and the
                          Supplemental Settlement Injunction Order, for the purpose of, among
                          other things, protecting the rights of persons that might subsequently
                          assert Talc Personal Injury Demands of the kind that are addressed in the
                          Channeling Injunction, the Insurance Entity Injunction, and the
                          Supplemental Settlement Injunction Order, and transferred to and assumed
                          by the Talc Personal Injury Trust.

                 (15)     Fair and Equitable Inclusion. The inclusion of each Debtor or other
                          Protected Party within the protection afforded by the Channeling
                          Injunction and the Insurance Entity Injunction, as applicable, is fair and
                          equitable with respect to the Persons that might subsequently assert Talc
                          Personal Injury Demands against each such Debtor or other Protected
                          Party in light of the benefits provided, or to be provided, to the Talc
                          Personal Injury Trust by or on behalf of each such Debtor or other
                          Protected Party.

                 (16)     Sections 105(a) and 524(g) Compliance. The Plan complies with sections
                          105(a) and 524(g) of the Bankruptcy Code to the extent applicable.

                 (17)     Injunctions Essential.    The Discharge Injunction, the Channeling
                          Injunction, the Supplemental Settlement Injunction Order, the Release
                          Injunction, and the Insurance Entity Injunction are essential to the Plan
                          and the Debtors’ reorganization efforts.

                 (18)     Insurance Assignment Authorized. The Bankruptcy Code authorizes the
                          Assignment by preempting any terms of the Talc Insurance Policies, Talc
                          Insurance CIP Agreements, Talc Insurance Settlement Agreements, or
                          provisions of applicable non-bankruptcy law that any Talc Insurance
                          Company may otherwise argue prohibits the Assignment.

                 (19)     Indemnification Obligation Assignment Authorized. The Bankruptcy
                          Code authorizes the Assignment of the J&J Indemnification Obligations
                          by preempting any terms of the J&J Agreements or provisions of
                          applicable non-bankruptcy law that J&J may otherwise argue prohibits the
                          Assignment.80



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       J&J does not believe that this provision would then allow the Trust to assign rights to the J&J
Indemnity Agreements to individual plaintiffs.

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                 (20)     The Supplemental Settlement Injunction Order. The Supplemental
                          Settlement Injunction Order is to be implemented in connection with the
                          Imerys Settlement and the Rio Tinto/Zurich Settlement.

                 (21)     The Rio Tinto/Zurich Settlement.81 The Rio Tinto/Zurich Settlement
                          (i) represents a sound exercise of the Debtors’ business judgment, will
                          yield a fair and reasonable price for the assets being sold, is in the best
                          interest of the Debtors’ Estates, and otherwise complies with section 363
                          of the Bankruptcy Code, (ii) meets the requirements for a sale of property
                          free and clear of any interests of third parties in such property pursuant to
                          section 363(f) of the Bankruptcy Code, and (iii) constitutes a purchase in
                          good faith by Zurich and the Rio Tinto Captive Insurers pursuant to
                          section 363(m) of the Bankruptcy Code, rendering the provisions of
                          section 363(m) applicable.         The Rio Tinto/Zurich Settlement is
                          accordingly approved pursuant to section 363(b) of the Bankruptcy Code
                          and Bankruptcy Rule 9019.

        To the greatest extent permitted by law, each of the conditions precedent to the
Confirmation of the Plan may be waived or modified, in whole or in part, but only with the
unanimous written consent of each of the Plan Proponents. Any waiver or modification of a
condition precedent under Section 9.3 of the Plan may be effected at any time, without notice,
without leave or order of the Bankruptcy Court or District Court, and without any other formal
action.

7.5     Conditions Precedent to the Effective Date of the Plan

       Notwithstanding any other provision of the Plan or the Confirmation Order, the Effective
Date of the Plan shall occur on the first Business Day on which each of the following conditions
has been satisfied or waived pursuant to Section 9.3 of the Plan:

        (a)      Confirmation Order and Affirmation Order. The Confirmation Order shall have
                 been submitted to the District Court for affirmation on or before April 21, 2021,
                 and the Affirmation Order in form and substance acceptable to each of the Plan
                 Proponents shall have been entered by the District Court, and the Confirmation
                 Order and the Affirmation Order shall have become Final Orders; provided,
                 however, that the Effective Date may occur at a point in time when the
                 Confirmation Order and/or the Affirmation Order are not Final Orders at the sole
                 option of the Plan Proponents unless the effectiveness of the Confirmation Order
                 or the Affirmation Order, as applicable, has been stayed or vacated, in which case
                 the Effective Date may be the first Business Day immediately following the
                 expiration or other termination of any stay of effectiveness of the Confirmation
                 Order or the Affirmation Order.



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        For reasons discussed infra, n. 77, J&J does not believe that the Court has jurisdiction to enter an
order that would extinguish J&J’s rights to sue Rio Tinto/Zurich for, inter alia, bad faith and other direct
claims.

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        (b)      Sale Order. The Sale Order shall have (i) been entered on or before the date the
                 Confirmation Order is entered, and (ii) recognized by the Canadian Court in the
                 Canadian Proceeding on or before a date that is no later than fourteen (14)
                 Business Days after entry of the Sale Order by the Bankruptcy Court.

        (c)      Talc Personal Injury Trust. The Talc Personal Injury Trust Assets shall,
                 simultaneously with the occurrence of the Effective Date, be transferred to, vested
                 in, and assumed by the Talc Personal Injury Trust in accordance with Article IV
                 of the Plan.

        (d)      Plan Documents. The Talc Personal Injury Trust Agreement (and related
                 documents), and the other applicable Plan Documents necessary or appropriate to
                 implement the Plan shall have been executed, delivered and, where applicable,
                 filed with the appropriate governmental authorities.

        (e)      Allowed Non-Talc Claims. The Reserves shall be adequately funded as
                 determined by each of the Plan Proponents so as to permit the Debtors to make
                 Distributions relating to Allowed Non-Talc Claims in accordance with the Plan.

        (f)      Imerys Contribution. Imerys S.A. shall have disbursed, or satisfied all conditions
                 of, the Imerys Contribution to the Debtors, the Reorganized North American
                 Debtors, or the Talc Personal Injury Trust, as applicable, in accordance with
                 Article X of the Plan.

        (g)      United States Trustee’s Fees. The fees of the United States Trustee then owing
                 by the Debtors shall have been paid in full.

        (h)      Ancillary Proceeding in Canada. The Canadian Court shall have entered an order
                 in the Canadian Proceeding recognizing the Confirmation Order in its entirety and
                 ordering the Confirmation Order and the Plan to be implemented and effective in
                 Canada in accordance with their terms.

       To the greatest extent permitted by law, each of the conditions precedent to the Effective
Date of the Plan may be waived or modified, in whole or in part, but only with the unanimous
written consent of each of the Plan Proponents. Any waiver or modification of a condition
precedent under Section 9.3 of the Plan may be effected at any time, without notice, without
leave or order of the Bankruptcy Court or District Court, and without any other formal action.

7.6     Means for Implementation of the Plan

        (a)      General

        On or after the Confirmation Date, each of the Plan Proponents shall be empowered and
authorized to take or cause to be taken, prior to the Effective Date, all actions necessary to
enable them to implement the provisions of the Plan on the Effective Date, including, without
limitation, the creation of the Talc Personal Injury Trust and the preparations for the transfer of
the Talc Personal Injury Trust Assets to the Talc Personal Injury Trust.


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        (b)      Operations of the Debtors Between Confirmation and the Effective Date

        The Debtors shall continue to operate as debtors and debtors-in-possession during the
period from the Confirmation Date through and until the Effective Date.

        (c)      Charter and Bylaws

       From and after the Effective Date, each of the Reorganized North American Debtors
shall be governed pursuant to their respective Amended Charter Documents. The Amended
Bylaws and the Amended Certificates of Incorporation shall contain such provisions as are
necessary to satisfy the provisions of the Plan and, to the extent necessary to prohibit the
issuance of non-voting equity securities as required by section 1123(a)(6) of the Bankruptcy
Code, subject to further amendment of the Amended Charter Documents after the Effective Date,
as permitted by applicable law. On or prior to the Effective Date, ITA will change its name to
Ivory America, Inc., ITV will change its name to Ivory Vermont, Inc. and ITC will change its
name to Ivory Canada, Inc.

       From and after the Effective Date, Reorganized ITI shall continue to be governed
pursuant to its existing bylaws and certificate of incorporation.

        (d)      Corporate Action

        On the Effective Date, the matters under the Plan involving or requiring corporate action
of the Debtors, including, but not limited to, actions requiring a vote of the boards of directors or
shareholders and execution of all documentation incident to the Plan, shall be deemed to have
been authorized by the Confirmation Order and to have occurred and be in effect from and after
the Effective Date without any further action by the Bankruptcy Court or the officers or directors
of the Debtors.

        (e)      Surrender of Existing Equity Interests

        The Plan provides that holders of Equity Interests in Class 6 shall be deemed to have
surrendered such Equity Interests and other documentation underlying such Equity Interests and
all such surrendered Equity Interests and other documentation shall be deemed to be canceled in
accordance with Article III of the Plan.

        (f)      Post-Effective Date Governance, Continued Existence of the Reorganized North
                 American Debtors, and the Reorganized North American Debtor Stock

        On the Effective Date, after the Reserves have been funded and all Talc Personal Injury
Trust Assets have been transferred to the Talc Personal Injury Trust (as applicable): (a) all North
American Debtor Stock will be canceled, and (b) simultaneously with the cancellation of such
shares, the North American Debtors will issue the Reorganized North American Debtor Stock to
the Talc Personal Injury Trust.

        Except as otherwise provided in the Plan or as may be provided in the Plan Supplement
or the Confirmation Order, each of the Reorganized North American Debtors shall continue their
existence as separate entities after the Effective Date, with all the powers thereof, pursuant to the

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applicable law in the jurisdiction in which each Reorganized North American Debtor is
incorporated and pursuant to the Amended Charter Documents and any other formation
documents in effect following the Effective Date, and such documents are deemed to be adopted
pursuant to the Plan and require no further action or approval. Moreover, on the Effective Date,
the officers and directors of the Reorganized North American Debtors shall consist of the
individuals that will be identified in the Plan Supplement.

        Except as otherwise provided in the Plan or any agreement, instrument, or other
document incorporated in the Plan or the Plan Supplement, on the Effective Date, all property in
the Reorganized North American Debtors’ Estates other than property constituting Talc Personal
Injury Trust Assets, including, but not limited to, all North American Debtor Causes of Action
and any property acquired by the North American Debtors pursuant to the Plan, shall vest in the
Reorganized North American Debtors, free and clear of all Claims, interests, Liens, other
Encumbrances, and liabilities of any kind. On and after the Effective Date, except as otherwise
provided in the Plan, the Reorganized North American Debtors may operate their businesses and
may use, acquire, or dispose of property and compromise or settle any Claims, interests, or North
American Debtor Causes of Action without supervision or approval by the Bankruptcy Court, or
notice to any other Entity, and free of any restrictions of the Bankruptcy Code or Bankruptcy
Rules. Notwithstanding this paragraph or any provision in the Plan, Plan Documents, or
Confirmation Order, any rights of setoff or recoupment that J&J may be entitled to under
applicable non-bankruptcy law, including common law, or otherwise in accordance with section
553 of the Bankruptcy Code, against the Debtors, the Reorganized Debtors, the Talc Personal
Injury Trust, the Released Parties, or the Protected Parties are expressly preserved and will
survive confirmation of the Plan, the Effective Date, and the transfer of any of the Debtors’
rights or assets or Claims against the Debtors to the Talc Personal Injury Trust, and any such
transfer shall not create any defenses that would not exist but for the transfer (including, without
limitation, any lack of mutuality).82



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         [NTD: Numerous chapter 11 plans and/or confirmation orders have preserved parties in interest’s
rights to assert setoff and recoupment post-confirmation. See, e.g., Order Confirming Debtors’ and
Shareholder Proponents’ Joint Chapter 11 Plan of Reorganization Dated June 19, 2020 ¶¶ 64-65, In re
PG&E Corp., Case No. 19-30088 (DM) (Bankr. N.D. Cal. June 19, 2020) [D.I. 8053-1] (“any right of
setoff or recoupment that [creditor] may be entitled to assert against the Debtors or Reorganized Debtors
shall be preserved”); Second Am. Joint Chapter 11 Plan of Liquidation of Insys Therapeutics, Inc. and Its
Affiliated Debtors § 12.1, In re Insys Therapeutics, Inc., Case No. 19-11292 (KG) (Bankr. D. Del. Jan.
16, 2020) [D.I. 1115-1] (“Notwithstanding anything to the contrary herein, nothing in the Plan, the Plan
Documents or Confirmation Order . . . affects any valid setoff or recoupment rights of the United States
against any of the Debtors”); Order Confirming Third Am. Joint Chapter 11 Plan of Ditech Holding Corp.
and Its Affiliated Debtors ¶¶ 38, 56, In re Ditech Holding Corp., Case No. 19-10412 (JLG) (Bankr.
S.D.N.Y. Sept. 26, 2019) [D.I. 1404] (“the provisions of the Third Amended Plan and this Order shall
not enjoin, impair, prejudice, have any preclusive effect upon, or otherwise affect the rights of any
Creditor to effectuate . . . a defensive right of recoupment pursuant to common law or defensive right of
setoff pursuant to common law or otherwise in accordance with section 553 of the Bankruptcy Code
against the Debtors, the Wind Down Estates or the GUC Recovery Trust”); Order Confirming the First
Am. Joint Plan of Reorganization of Energy Future Holdings Corp. and Its Affiliated Debtors ¶ 122, In re
Energy Future Holdings Corp., Case No. 14-10979 (CSS) (Bankr. D. Del. Feb. 27, 2018) [D.I. 12763]

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       On the Effective Date, and if applicable, pursuant to sections 1141(b) and 1141(c) of the
Bankruptcy Code, all assets of the North American Debtors that constitute Talc Personal Injury
Trust Assets shall vest in the Talc Personal Injury Trust pursuant to the terms of the Plan. The
Talc Personal Injury Trust shall own such assets, as of the Effective Date, free and clear of all
Claims, interests, Liens, other Encumbrances, and liabilities of any kind.

        (g)      Post-Effective Date Governance and Continued Existence of Reorganized ITI

        On the Effective Date, Reorganized ITI shall remain a direct subsidiary of Mircal Italia
and all Equity Interests in ITI shall be reinstated. On the Effective Date, (i) Imerys S.A. and ITI
shall also issue the Talc PI Note to the Talc Personal Injury Trust, and (ii) Mircal Italia shall
execute the Talc PI Pledge Agreement.

        Except as otherwise provided in the Plan or as may be provided in the Plan Supplement
or the Confirmation Order, Reorganized ITI shall continue to exist after the Effective Date as a
separate corporate entity from each of the Reorganized North American Debtors, with all the
powers thereof, pursuant to the applicable law in the jurisdiction in which Reorganized ITI is
incorporated and pursuant to its existing bylaws and certificate of incorporation and any other
formation documents in effect prior to the Petition Date, and such documents are deemed to be
adopted pursuant to the Plan and require no further action or approval.

         In addition, except as otherwise provided in the Plan or any agreement, instrument, or
other document incorporated in the Plan or the Plan Supplement, on the Effective Date, all
property in ITI’s Estate, all ITI Causes of Action, and any property acquired by ITI pursuant to
the Plan, shall vest in Reorganized ITI, free and clear of all Claims, interests, Liens, other
Encumbrances, and liabilities of any kind. On and after the Effective Date, except as otherwise
provided in the Plan, Reorganized ITI may operate its business and may use, acquire, or dispose
of property and compromise or settle any Claims, interests, or ITI Causes of Action without
supervision or approval by the Bankruptcy Court, or notice to any other Entity, and free of any
restrictions of the Bankruptcy Code or Bankruptcy Rules.

        (h)      Imerys Settlement

                 (1)      Compromise and Settlement of Claims

       Pursuant to section 1123(b)(3)(A) of the Bankruptcy Code and Bankruptcy Rule 9019
and in consideration of the distributions and other benefits provided under the Plan, the
provisions of the Plan effect a compromise and settlement of all Imerys Released Claims against
the Imerys Protected Parties, and the Plan constitutes a request for the Bankruptcy Court to
authorize and approve the Imerys Settlement, to release all of the Imerys Released Claims,


(“nothing in the Plan, the [] Confirmation Order or the Bankruptcy Code shall preclude [creditor’s]
exercise of any valid setoff rights or recoupment rights (if any) in connection with such Reorganized
Debtors’ assertion of any Retained Actions, and [creditor’s] setoff and recoupment rights (if any) are
explicitly preserved”); Quigley Co.’s Fifth Am. and Restated Plan of Reorganization Under Chapter 11 of
the Bankruptcy Code § 10.5, In re Quigley Co., Case No. 04-15739 (SMB) (Bankr. S.D.N.Y June 29,
2012) [D.I. 2670-1] (preserving non-settling insurers’ rights to setoff against the Asbestos PI Trust).]

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including, without limitation, the Estate Causes of Action, against each of the Imerys Protected
Parties.

        As further described in this Disclosure Statement, the provisions of the Plan (including
the release and injunctive provisions contained in Article XII of the Plan) and the other
documents entered into in connection with the Plan constitute a good faith compromise and
settlement among the Plan Proponents of Claims and controversies among such parties. The
Plan, including the explanation set forth in this Disclosure Statement, shall be deemed a motion
to approve the Imerys Settlement and the good faith compromise and settlement of all of the
Claims and controversies described in the Plan pursuant to Bankruptcy Rule 9019, and entry of
the Confirmation Order shall constitute the Bankruptcy Court’s approval of the Imerys
Settlement under section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, as well as a
finding by the Bankruptcy Court that the Imerys Settlement is fair, equitable, reasonable, and in
the best interests of the Debtors and their Estates. Entry of the Confirmation Order shall confirm
the Bankruptcy Court’s approval, as of the Effective Date of the Plan, of all components of the
Imerys Settlement and the Bankruptcy Court’s finding that the Imerys Settlement is in the best
interests of the Debtors, their respective Estates, and is fair, equitable and reasonable.

         Upon (i) satisfaction of all conditions of the Imerys Contribution in accordance with the
terms of the Plan, (ii) the funding of the Reserves from Cash on hand and/or the Imerys Cash
Contribution, and (iii) the transfer of the Talc Personal Injury Trust Assets to the Talc Personal
Injury Trust, the Plan shall be deemed to be substantially consummated, notwithstanding any
contingent obligations arising from the foregoing. For the avoidance of doubt, Imerys S.A.’s
satisfaction of the Imerys Contribution is on behalf of itself and the other Imerys Protected
Parties.

                 (2)      Imerys Contribution

        Imerys Settlement Funds. On, prior to, or as soon as reasonably practicable after the
Effective Date, the Imerys Non-Debtors will contribute, or cause to be contributed, the Imerys
Settlement Funds to the Debtors or the Reorganized Debtors, as applicable, which the Debtors or
the Reorganized Debtors, as applicable, will contribute to the Talc Personal Injury Trust upon
receipt. For the avoidance of doubt, the proceeds from the Sale will be paid by the Buyer to the
North American Debtors or the Reorganized North American Debtors, as applicable, upon the
close of the Sale.

       Imerys Cash Contribution. On or prior to the Effective Date, the Imerys Non-Debtors
will contribute, or cause to be contributed, the following to the Debtors or the Reorganized
Debtors, as applicable:

                          (i)    the balance of the Intercompany Loan to fund administrative
                          expenses during the pendency of the Chapter 11 Cases, as well as certain
                          of the Reserves (with any remaining balance of the Intercompany Loan
                          not otherwise used to fund the Reserves or pay administrative expenses to
                          be contributed to the Talc Personal Injury Trust on or as soon as
                          reasonably practicable after the Effective Date);



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                          (ii)    $5 million (less any amounts already paid and noted in an
                          accounting to the Tort Claimants’ Committee and the FCR) for payment
                          of Allowed Claims in Class 3a through inclusion in the Reorganized North
                          American Debtor Cash Reserve or the Disputed Claims Reserve, as
                          applicable (with any remaining balance of the $5 million not otherwise
                          used to fund the Reorganized North American Debtor Cash Reserve or the
                          Disputed Claims Reserve, as applicable, to be contributed to the Talc
                          Personal Injury Trust on or as soon as reasonably practicable after the
                          Effective Date); and

                          (iii)   the lesser of (x) $15 million and (y) fifty percent (50%) of the sum
                          of (I) any administrative expenses paid by the Debtors with the proceeds
                          of the DIP Facility plus (II) any administrative expenses paid by the
                          Debtors from the Sale Closing Date through the Effective Date plus (III)
                          any amounts necessary to fund all reserves, costs or expenses required in
                          connection with the Debtors’ emergence from bankruptcy separate from
                          the Unsecured Claim Contribution; provided that if the Plan is confirmed
                          before May 31, 2021 and the Sale does not close before the Effective Date
                          (such that the DIP Facility Claims have been satisfied in full from the Sale
                          Proceeds and discharged in accordance with the DIP Loan Documents),
                          then (A) the outstanding principal amount of any DIP Loans (excluding
                          any PIK Interest (as defined in the DIP Loan Documents)) shall be applied
                          as a dollar-for-dollar reduction of the amount of the Contingent
                          Contribution required to be contributed by Imerys S.A. to the Debtors or
                          the Reorganized Debtors (in an amount not to exceed $15,000,000), and
                          (B) the remaining outstanding principal amount of any DIP Loans
                          (excluding any PIK Interest), after giving effect to the application in
                          clause (A) above, shall be applied as a dollar-for dollar reduction of the
                          $75 million in Cash that is part of the Imerys Settlement Funds.

       Talc Trust Contribution. On or prior to the Effective Date, the Imerys Non-Debtors have
agreed to contribute, or cause to be contributed, the following to the Talc Personal Injury Trust:

                          (i)     rights and interests to the proceeds of the Shared Talc Insurance
                          Policies and all rights against third parties held by the Imerys Non-
                          Debtors relating to Talc Personal Injury Claims, including any related
                          indemnification rights, which for the avoidance of doubt include the J&J
                          Indemnification Obligations, each of which is to be identified in the Plan
                          Supplement; and

                          (ii)      the Talc PI Pledge Agreement.

       Additional Contribution. On or prior to the Effective Date, the Imerys Non-Debtors have
agreed to take the following actions:




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                          (i)       waive all Non-Debtor Intercompany Claims against the Debtors;
                          and

                          (ii)    unless otherwise assumed by the Buyer, assume any Pension
                          Liabilities of the North American Debtors through and after the Effective
                          Date of the Plan.

                 (3)      Cooperation Agreement

       The Debtors, the Imerys Non-Debtors, and the Talc Personal Injury Trust shall enter into
the Cooperation Agreement, which shall be included in the Plan Supplement.

        (i)      Rio Tinto/Zurich Settlement

                 (1)      Compromise and Settlement of Claims

        Pursuant to section 1123(b)(3)(A) of the Bankruptcy Code and Bankruptcy Rule 9019
and in consideration of the Rio Tinto/Zurich Contribution and other benefits provided pursuant
to the Rio Tinto/Zurich Settlement, the provisions of the Plan effect a compromise and
settlement of all Rio Tinto/Zurich Released Claims against the Rio Tinto Protected Parties and
the Zurich Protected Parties as provided in Section 12.2.1(c) of the Plan, and the Plan constitutes
a request for the Bankruptcy Court to authorize and approve the Rio Tinto/Zurich Settlement and
to release all of the Rio Tinto/Zurich Released Claims as provided in Section 12.2.1(c) of the
Plan.

         The provisions of the Plan (including the release and injunctive provisions contained in
Article XII of the Plan) and the other documents entered into in connection with the Plan
constitute a good faith compromise and settlement among: (i) Rio Tinto, on behalf of itself and
the Rio Tinto Captive Insurers, and for the benefit of the Rio Tinto Protected Parties, and Zurich,
on behalf of itself and for the benefit of the Zurich Protected Parties, on the one hand, and (ii) the
Debtors, on the other hand, and consented to by the Tort Claimants’ Committee and the FCR, of
claims and controversies among such parties. The Plan, including the explanation set forth in
this Disclosure Statement, shall be deemed a motion to approve the Rio Tinto/Zurich Settlement,
including the Rio Tinto/Zurich Settlement Agreement, and the good faith compromise and
settlement of all of the claims and controversies described in the Plan pursuant to Bankruptcy
Rule 9019, and entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval
of the Rio Tinto/Zurich Settlement under section 1123 of the Bankruptcy Code and Bankruptcy
Rule 9019,83 as well as a finding by the Bankruptcy Court that the Rio Tinto/Zurich Settlement is
(i) fair, equitable, reasonable, and in the best interests of the Debtors and their Estates and (ii)
fair and equitable with respect to the persons who might subsequently assert Talc Personal Injury
Demands, in light of the benefits provided, or to be provided, to the Talc Personal Injury Trust
by and on behalf of the Rio Tinto Protected Parties and the Zurich Protected Parties.




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        For reasons discussed infra, n. 77, J&J does not believe that the Court has jurisdiction to enter an
order that would cut off J&J’s rights to sue Rio Tinto/Zurich directly.

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                 (2)      Rio Tinto/Zurich Settlement Contributions

        Rio Tinto/Zurich Contribution. Rio Tinto and Zurich will make the following
contributions, on behalf of themselves and (in the case of Rio Tinto) on behalf of the Rio Tinto
Captive Insurers and for the benefit of the Rio Tinto Protected Parties and (in the case of Zurich)
for the benefit of the Zurich Protected Parties, to the Talc Personal Injury Trust, to be used for
the payment of Talc Personal Injury Claims in accordance with the Trust Distribution Procedures
and the Talc Personal Injury Trust Agreement:

                                  (i)    Zurich Cash Contribution. On or prior to the date that is
                          thirty (30) days after the Rio Tinto/Zurich Trigger Date, Zurich will
                          contribute, or cause to be contributed, $260 million in Cash to the Talc
                          Personal Injury Trust (the “Zurich Cash Contribution”).

                                 (ii)    Rio Tinto Cash Contribution. On or prior to the date that is
                          fourteen (14) days after the Rio Tinto/Zurich Trigger Date, Rio Tinto will
                          contribute, or cause to be contributed, $80 million in Cash to the Talc
                          Personal Injury Trust (the “Rio Tinto Cash Contribution”).

                                  (iii)    Rio Tinto/Zurich Credit Contribution.         On the Rio
                          Tinto/Zurich Trigger Date, or as soon as reasonably practicable thereafter
                          (not to exceed three (3) Business Days), the appropriate Rio Tinto
                          Corporate Parties and the appropriate Zurich Corporate Parties shall each
                          execute and deliver to the Talc Personal Injury Trust, in a form reasonably
                          acceptable to the Talc Personal Injury Trust, an assignment to the Talc
                          Personal Injury Trust of (i) all of their rights to or claims for
                          indemnification, contribution (whether via any “other insurance” clauses
                          or otherwise), or subrogation against any Person relating to the payment
                          or defense of any Talc Personal Injury Claim or any past talc-related claim
                          against the Debtors prior to the Effective Date (the “Credits”), and (ii) all
                          of their other rights to or claims for indemnification, contribution (whether
                          via any “other insurance” clauses or otherwise), or subrogation against
                          any Person relating to any Talc Personal Injury Claim (the “Future
                          Credits”) (together, (i) and (ii), the “Rio Tinto/Zurich Credit
                          Contribution”), provided, however, that any such claims for Credits or
                          Future Credits against a Protected Party shall be subject to the Channeling
                          Injunction, and nothing in the Plan shall impact the injunctions and
                          releases otherwise inuring to the benefit of the Protected Parties under the
                          terms of the Plan. Notwithstanding anything else contained in Section
                          10.9.2.1(c) of the Plan, the Rio Tinto Corporate Parties and the Zurich
                          Corporate Parties shall retain, and shall not transfer to the Talc Personal
                          Injury Trust, all rights of the Rio Tinto Corporate Parties and the Zurich
                          Corporate Parties against their reinsurers and/or retrocessionaires, in their
                          capacity as such.




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                 (3)      Rio Tinto/Zurich Settlement Agreement

        Pursuant to the Rio Tinto/Zurich Settlement Agreement, Zurich will acquire any and all
rights of the Debtors in the Zurich Policies, free and clear of any right, title, or interest of any
other Entity, pursuant to sections 363(b) and 363(f) of the Bankruptcy Code. Further, the Rio
Tinto Captive Insurers will acquire any and all rights of the Debtors in the Rio Tinto Captive
Insurer Policies, free and clear of any right, title, or interest of any other Entity, including J&J,
pursuant to sections 363(b) and 363(f) of the Bankruptcy Code.

        Confirmation of the Plan will constitute approval of the Rio Tinto/Zurich Settlement
Agreement pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule 9019 and a
finding that the Rio Tinto Captive Insurers and Zurich are good-faith purchasers entitled to the
protections of section 363(m) of the Bankruptcy Code.

       For the avoidance of doubt, the Plan Proponents, on the one hand, and Rio Tinto and
Zurich, on the other hand, acknowledge that the Zurich Policies in effect from May 2001 through
May 2008 are exhausted. The Plan Proponents’ views on this issue are based on representations
by Zurich.

                 (4)      Withdrawal of Claims

        On the Rio Tinto/Zurich Trigger Date, any and all Claims that the Rio Tinto Corporate
Parties or the Zurich Corporate Parties have asserted or that have been asserted on their behalf in
the Chapter 11 Cases shall be deemed withdrawn with prejudice. Further, the Rio Tinto
Protected Parties and the Zurich Protected Parties shall not file or assert any additional Claims
against any of the Debtors arising from any Debtor’s conduct prior to the Confirmation Date.

                 (5)      Cooperation

       Rio Tinto and Zurich shall use reasonable efforts to assist and cooperate with the Talc
Personal Injury Trust, Talc Trustees, Talc Trust Advisory Committee, and FCR to pursue the
Credits as set forth in the Rio Tinto/Zurich Settlement Agreement.

                 (6)      Releases and Injunctions

        Notwithstanding anything to the contrary set forth in the Plan or elsewhere, the
Injunctions and the releases contained in Article XII of the Plan shall not be effective as to the
Rio Tinto Protected Parties, the Rio Tinto Captive Insurers, and the Zurich Protected Parties (as
applicable) until the Rio Tinto/Zurich Contribution has been made to the Talc Personal Injury
Trust in accordance with Section 10.9.2.1 of the Plan.

        (j)      Good Faith Compromise and Settlement

       The Plan (including its incorporation of the Imerys Settlement and the Rio Tinto/Zurich
Settlement), the Plan Documents, and the Confirmation Order constitute a good faith
compromise and settlement of Claims and controversies based upon the unique circumstances of
these Chapter 11 Cases, and none of the foregoing documents, this Disclosure Statement, or any
other papers filed in furtherance of Plan Confirmation, nor any drafts of such documents, may be

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offered into evidence or deemed as an admission in any context whatsoever beyond the purposes
of the Plan, in any other litigation or proceeding, except as necessary, and as admissible in such
context, to enforce their terms before the Bankruptcy Court or any other court of competent
jurisdiction. The Plan, the Imerys Settlement, the Plan Documents, and the Confirmation Order
will be binding as to the matters and issues described in the Plan, but will not be binding with
respect to similar matters or issues that might arise in any other litigation or proceeding in which
none of the Debtors, the Reorganized Debtors, the Imerys Protected Parties, or the Talc Personal
Injury Trust is a party. The Plan, the Rio Tinto/Zurich Settlement, the Plan Documents, and the
Confirmation Order will be binding as to the matters and issues described therein, but will not be
binding with respect to similar matters or issues that might arise in any other litigation or
proceeding in which none of the Debtors, the Reorganized Debtors, the Rio Tinto Protected
Parties, the Zurich Protected Parties, or the Talc Personal Injury Trust is a party.

        (k)      Resolution of Talc Personal Injury Claims

        Talc Personal Injury Claims shall be channeled to and resolved by the Talc Personal
Injury Trust in accordance with the Trust Distribution Procedures, as applicable, subject to: (a)
the right of any Talc Insurance Company to raise any valid Talc Insurer Coverage Defense in
response to a demand by the Talc Personal Injury Trust that such insurer handle, defend, or pay
any such claim; and (b) the right of J&J, as indemnitor, to raise any valid J&J Indemnification
Defense84 in response to a demand by the Talc Personal Injury Trust that J&J handle, defend, or
pay any such claim.

        (l)      Sources of Consideration for Plan Distributions

                 (1)      North American Debtor Claims

       All Cash consideration necessary for payments or distributions on account of the North
American Debtor Claims shall be obtained from (i) the Cash on hand of the North American
Debtors on the Effective Date, including Cash derived from business operations, (ii) the Sale
Proceeds, and (iii) the Imerys Cash Contribution.

                 (2)      Talc Personal Injury Claims

       All Cash consideration necessary for payments or distributions on account of Talc
Personal Injury Claims shall be obtained from (i) the Cash on hand of the North American
Debtors on the Effective Date, including Cash derived from business operations, other than the
Cash placed in the Reserves, if any, (ii) the Imerys Settlement Funds, (iii) the amount of the
Imerys Cash Contribution, after such funds have been disbursed in accordance with Section
10.8.2 of the Plan; (iv) all Cash remaining in the Reserves, if applicable, as set forth in


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        J&J proposes the following definition of J&J Indemnification Defense: “Any and all rights and
defenses that J&J may have under any J&J Agreement and applicable law with respect to a claim seeking
indemnification. Upon entry of the Confirmation Order in the Chapter 11 Cases, J&J Indemnification
Defenses shall not include any defense that the transfer of the J&J Indemnification Obligations to the Talc
Personal Injury Trust is prohibited by the J&J Agreements or applicable non-bankruptcy law.” [NTD:
Please make this change to the definition of J&J Indemnification Defense in the Plan.]

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Section 10.13 of the Plan; (v) all proceeds from the Talc Personal Injury Trust Assets; and (vi)
the Rio Tinto/Zurich Contribution.

                 (3)      ITI Claims

       All Cash consideration necessary for payments or distributions under the Plan on account
of ITI Claims, for the avoidance of doubt, other than Talc Personal Injury Claims, shall be
obtained from the Cash on hand at Reorganized ITI.

                 (4)      Transfer of Funds Between the North American Debtors

        The North American Debtors will be entitled to transfer funds between and among
themselves as they determine to be necessary or appropriate to enable them to satisfy their
obligations under the Plan; provided that any transfer of funds from ITC to another North
American Debtor shall be subject to review by the Information Officer. Except as set forth
therein, any changes in intercompany account balances resulting from such transfers will be
accounted for and settled in accordance with the Debtors’ historical intercompany account
settlement practices and will not violate or otherwise be affected by the terms of the Plan.

                 (5)      Funding by the Talc Personal Injury Trust

       The Talc Personal Injury Trust shall have no obligation to fund costs and expenses other
than those set forth in the Plan and/or the Talc Personal Injury Trust Documents, as applicable.

        (m)      Transfer of Remaining North American Debtors’ Assets to the Talc Personal
                 Injury Trust

        After (i) all Disputed Claims against the North American Debtors have been resolved,
and (ii) all Distributions required to be made by the Reorganized North American Debtors under
the Plan have been made, all Cash remaining in the Disputed Claims Reserve shall be disbursed
to the Talc Personal Injury Trust, in accordance with Section 7.10 of the Plan.

        Upon the final resolution of all Claims against and obligations of the Reorganized North
American Debtors, all Cash remaining in the Reorganized North American Debtor Cash Reserve
shall be disbursed to the Talc Personal Injury Trust.

        Any remaining balance in the Fee Claim Reserve and the Administrative Claim Reserve
shall be disbursed to the Talc Personal Injury Trust subject to and in accordance with Sections
2.1 and 2.3 of the Plan.

        (n)      Modification of the Plan

       To the extent permissible under section 1127 of the Bankruptcy Code, any proposed
amendments to or modifications of the Plan under section 1127 of the Bankruptcy Code or as
otherwise permitted by law will be submitted jointly by the Plan Proponents, without additional
disclosure pursuant to section 1125 of the Bankruptcy Code at any time prior to substantial
consummation of the Plan, unless section 1127 of the Bankruptcy Code requires additional
disclosure. To the extent permissible under section 1127(b) of the Bankruptcy Code, following

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substantial consummation of the Plan, the Reorganized Debtors may remedy any defects or
omissions or reconcile any inconsistencies in the Plan Documents for the purpose of
implementing the Plan in such manner as may be necessary to carry out the purposes and intent
of the Plan, so long as (a) the interests of the holders of Allowed Claims are not adversely
affected thereby; (b) any such modifications are non-material; (c) the Tort Claimants’ Committee
and the FCR or, following the Effective Date, the Talc Trust Advisory Committee and the FCR
consent; (d) Imerys S.A. consents; and (e) the United States Trustee does not object, unless such
objection is overruled by the Bankruptcy Court; and (f) the Reorganized Debtors shall not
amend, supplement, or otherwise modify the Plan in any manner that will adversely affect J&J,
without J&J’s consent. Post-Effective Date, any holder of a Claim or Equity Interest that has
accepted the Plan shall be deemed to have accepted the Plan as amended, modified or
supplemented pursuant to Section 10.14 of the Plan, unless the Bankruptcy Court rules
otherwise.

        (o)      Revocation or Withdrawal of the Plan

        The Debtors, with the consent of each of the other Plan Proponents, reserve the right to
revoke and withdraw the Plan prior to entry of the Confirmation Order. If the Debtors, with the
consent of each of the other Plan Proponents, revoke or withdraw the Plan, the Plan shall be
deemed null and void and nothing contained in the Plan shall be deemed to constitute a waiver or
release of any Claims by or against such Debtor, or any other Entity (including the Plan
Proponents), or to prejudice in any manner the rights of such Debtor, or such Entity (including
the Plan Proponents) in any further proceedings involving such Debtor until the occurrence of
the Effective Date. For the avoidance of doubt, unless and until the Plan is confirmed and the
Effective Date occurs, the Plan will have no force or effect.

        (p)      Certain Technical Modifications

       Prior to the Effective Date, the Plan Proponents collectively may make appropriate
technical adjustments and modifications to the Plan without further order or approval of the
Bankruptcy Court, to the extent permissible under section 1127 of the Bankruptcy Code;
provided, however, that such technical adjustments and modifications do not adversely affect in
a material way the treatment of holders of Claims or Equity Interests under the Plan.

7.7     Effect of Confirmation

        (a)      Preservation of Certain Estate Causes of Action

       In accordance with section 1123(b) of the Bankruptcy Code, and except where such
Estate Causes of Action have been expressly released, the Reorganized Debtors shall retain and
may enforce all rights to commence and pursue, as appropriate, any and all Non-Talc Causes of
Action, whether arising before or after the Petition Date. Each Reorganized Debtor’s right to
commence, prosecute or settle such Non-Talc Causes of Action shall be preserved
notwithstanding the occurrence of the Effective Date. The Reorganized Debtors may pursue the
Non-Talc Causes of Action, as appropriate, in accordance with the best interests of the
Reorganized Debtors.



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        No Entity may rely on the absence of a specific reference in the Plan, the Plan
Supplement, or this Disclosure Statement to any Non-Talc Cause of Action against them as any
indication that the Reorganized Debtors will not pursue the Non-Talc Causes of Action. The
Reorganized Debtors expressly reserve all rights to prosecute any and all Non-Talc Causes of
Action, except as otherwise expressly provided in the Plan. Unless any of the Non-Talc Causes
of Action against an Entity are expressly waived, relinquished, exculpated, released,
compromised or settled in the Plan or a Bankruptcy Court order, the Reorganized Debtors
expressly reserve all such Non-Talc Causes of Action for later adjudication, and, therefore, no
preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion,
claim preclusion, estoppel (judicial, equitable or otherwise), or laches, shall apply to such Non-
Talc Causes of Action as a consequence of the Confirmation of the Plan.

        Upon the Effective Date, the Reorganized Debtors shall retain and enforce all defenses
and counterclaims to all Claims that were or could have been asserted against the Debtors,
respectively, or their respective Estates, including, but not limited to, setoff, recoupment and any
rights under section 502(d) of the Bankruptcy Code. On or after the Effective Date, the
Reorganized Debtors may pursue, settle or withdraw, without Bankruptcy Court approval, such
claims, rights, or causes of action (other than the Talc Personal Injury Trust Causes of Action) as
they determine in accordance with their best interests.

        (b)      Preservation of Talc Personal Injury Trust Causes of Action

         On the Effective Date, all Talc Personal Injury Trust Causes of Action shall be
transferred to and vested in the Talc Personal Injury Trust. Except as otherwise provided in the
Plan or the Confirmation Order, the Talc Personal Injury Trust shall retain and enforce, as the
appointed estate representative in accordance with section 1123(b) of the Bankruptcy Code, all
Talc Personal Injury Trust Causes of Action, including, but not limited to, setoff, recoupment,
and any rights under section 502(d) of the Bankruptcy Code. The transfer of the Talc Personal
Injury Trust Causes of Action to the Talc Personal Injury Trust, insofar as they relate to the
ability to defend against or reduce the amount of Talc Personal Injury Claims, shall be
considered the transfer of a non-exclusive right enabling the Talc Personal Injury Trust to defend
itself against asserted Talc Personal Injury Claims, which transfer shall not impair, affect, alter,
or modify the right of any Person, including without limitation, the Imerys Protected Parties, the
Rio Tinto Protected Parties, the Zurich Protected Parties, an insurer or alleged insurer, or co-
obligor or alleged co-obligor, sued on account of a Talc Personal Injury Claim, to assert each
and every defense or basis for claim reduction such Person could have asserted had the Talc
Personal Injury Trust Causes of Action not been assigned to the Talc Personal Injury Trust.

        (c)      Talc Insurance Actions

        Any Talc Insurance Action, or the claims and causes of action asserted or to be asserted
therein, shall be preserved for the benefit of the Talc Personal Injury Trust, for prosecution by
the applicable Debtor(s) until the Effective Date subject to the consent of the FCR and the Tort
Claimants’ Committee, which shall not be unreasonably withheld. As of the Effective Date,
such Talc Insurance Actions along with the rights and obligations of the Debtors and the
Reorganized Debtors, as applicable, and the Non-Debtor Affiliates with respect to the Talc
Insurance Policies and claims thereunder shall exclusively vest in the Talc Personal Injury Trust

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in accordance with section 1123(a)(5)(B) of the Bankruptcy Code, and the Talc Personal Injury
Trust shall retain and enforce as the appointed estate representative in accordance with section
1123(b)(3)(B) of the Bankruptcy Code all such Talc Insurance Actions. Such Talc Insurance
Actions shall be free and clear of all Liens, security interests, and other Claims or causes of
action, except for Talc Insurer Coverage Defenses. Upon vesting in the Talc Personal Injury
Trust, the prosecution of the Talc Insurance Actions shall be governed by the Talc Personal
Injury Trust Documents.

        (d)      Insurance Provisions

        The provisions of Section 11.4 of the Plan shall apply to all Entities (including, without
limitation, all Talc Insurance Companies).

        Except as provided in the Rio Tinto/Zurich Settlement and any Talc Insurance Settlement
Agreement, nothing contained in the Plan, the Plan Documents, or the Confirmation Order,
including any provision that purports to be preemptory or supervening, shall in any way operate
to, or have the effect of, impairing, altering, supplementing, changing, expanding, decreasing, or
modifying (a) the rights or obligations of any Talc Insurance Company, or; (b) any rights or
obligations of the Debtors arising out of or under any Talc Insurance Policy; or (c) any rights or
obligations of J&J arising out of or under any Talc Insurance Policy. For all issues relating to
insurance coverage allegedly provided by the Zurich Corporate Parties or the Rio Tinto Captive
Insurers, the provisions, terms, conditions, and limitations of the Rio Tinto/Zurich Settlement
shall control. For all other issues relating to insurance coverage, the provisions, terms,
conditions, and limitations of the Talc Insurance Policies or applicable Talc Insurance CIP
Agreements or Talc Insurance Settlement Agreements shall control. For the avoidance of doubt,
nothing contained in the Plan, the Plan Documents, or the Confirmation Order shall operate to
require any Talc Insurance Company to indemnify or pay the liability of any Protected Party that
it would not have been required to pay in the absence of the Plan.

        The Plan, the Plan Documents, and the Confirmation Order shall be binding on the
Debtors, the Reorganized Debtors, and the Talc Personal Injury Trust. The obligations, if any,
of the Talc Personal Injury Trust to pay holders of Talc Personal Injury Claims shall be
determined pursuant to the Plan and the Plan Documents. Except as provided in Section 11.4.1.4
of the Plan, none of (a) the Bankruptcy Court’s approval of the Plan or the Plan Documents, (b)
the Confirmation Order or any findings and conclusions entered with respect to Confirmation,
nor (c) any estimation or valuation of Talc Personal Injury Claims, either individually or in the
aggregate (including, without limitation, any agreement as to the valuation of Talc Personal
Injury Claims) in the Chapter 11 Cases shall, with respect to any Talc Insurance Company,
constitute a trial or hearing on the merits or an adjudication or judgment, or accelerate the
obligations, if any, of any Talc Insurance Company under its Talc Insurance Policies.

        No provision of the Plan, other than those provisions contained in the applicable
Injunctions set forth in Article XII of the Plan, shall be interpreted to affect or limit the
protections afforded to any Settling Talc Insurance Company by the Channeling Injunction or
the Insurance Entity Injunction.




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       Nothing in Section 11.4.1 of the Plan is intended or shall be construed to preclude
otherwise applicable principles of res judicata or collateral estoppel from being applied against
any Talc Insurance Company with respect to any issue that is actually litigated by such Talc
Insurance Company as part of its objections, if any, to Confirmation of the Plan or as part of any
contested matter or adversary proceeding filed by such Talc Insurance Company in conjunction
with or related to Confirmation of the Plan. Plan objections that are withdrawn prior to the
conclusion of the Confirmation Hearing shall be deemed not to have been actually litigated.

        (e)      J&J Indemnification Rights and Obligations

        Subject to Section 11.5.5 of the Plan, nNothing contained in the Plan, the Plan
Documents (including the Trust Distribution Procedures), or the Confirmation Order, including
any provision that purports to be preemptory or supervening, shall in any way operate to, or have
the effect of, (i) impairing, fixing, adjudicating, determining, altering, supplementing, changing,
expanding, decreasing, orprejudicing, modifying , or releasing the rights or obligations of J&J,
including the J&J Indemnification Rights and Obligations and J&J’s rights and obligations under
any Talc Insurance Policy; or (ii) fixing, adjudicating, determining, or enhancing any claims that
may be asserted against J&J by or on behalf of any Talc Personal Injury Claimant, Plan
Proponent, or the Talc Personal Injury Trust in any proceeding or action, whether currently
existing or in the future. For all issues relating to the J&J Indemnification Rights and
Obligations, the provisions, terms, conditions, and limitations of any agreements underlying the
J&J Indemnification Rights and Obligations shall control.

        For the avoidance of doubt, nothing contained in the Plan, the Plan Documents (including
the Trust Distribution Procedures), or the Confirmation Order (including any findings of fact or
conclusions of law set forth therein, or any expert reports or FCR findings or conclusions) shall
operate to require J&J to indemnify or pay the liability of any Debtor or, the Reorganized
Debtors, or the Trust that it would not have been required to pay in the absence of the Plan.
Section 11.5.2 of the Plan in no way modifies, alters or limits the rights and/or obligations set
forth in Section 11.5.1 of the Plan. Likewise, nothing contained in the Plan, the Plan Documents
(including the Trust Distribution Procedures), or the Confirmation Order shall be interpreted to
grant the Debtors, any Protected Party, or the Talc Personal Injury Trust any right to access any
insurance policies issued to J&J or naming J&J as an insured.

        Subject to Section 11.5.5 of the Plan, nNone of (i) the Bankruptcy Court’s confirmation
of the Plan or approval of the Plan Documents (including the Trust Distribution Procedures), (ii)
the Confirmation Order or any findings and conclusions entered with respect to Confirmation,
nor (iii) any estimation or, valuation , or amount of any Talc Personal Injury Claims, either
individually or in the aggregate in the Chapter 11 Cases shall, with respect to J&J,, including as
reflected in any Plan Documents (including the Trust Distribution Procedures), expert reports or
conclusions, or FCR findings, shall be used against J&J in any way in any proceeding, nor shall
they constitute or be used as evidence in any proceeding, or constitute a trial or hearing on the
merits or an adjudication or judgment, judgment, finding, conclusion, or other determination that
the values were fair or reasonable, or be offered for evidentiary purposes or for the purpose of
adjudication, or suggestion of any such determination, or accelerate the obligations, if any, of
J&J with respect to any Direct Talc Personal Injury Claim against J&J or as to any J&J
Indemnification Rights and Obligations. For the avoidance of doubt, no payment that may be

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made by the Talc Personal Injury Trust with respect to any Talc Personal Injury Claim shall be
used against J&J in any way in any proceeding or action brought by or on behalf of the Talc
Personal Injury Trust, any Talc Personal Injury Claimant, or any other person or entity seeking
to recover from J&J, including based on any alleged J&J Indemnification Obligations, nor shall
such payment amount be binding on J&J in any manner. The Plan Proponents, Talc Personal
Injury Trust, and Talc Personal Injury Claimants expressly waive any right to claim that
anything in the Plan, the Plan Documents (including the Trust Distribution Procedures) or the
Confirmation Order, including any amount that may be paid to a Talc Personal Injury Claimant
or any amount set forth in the Trust Distribution Procedures with respect to any claim,
constitutes a finding, adjudication, or determination of any claim against J&J or amount that may
be owed by J&J, either as a J&J Indemnification Obligation or otherwise, in any proceeding or
action against J&J whether currently existing or in the future, and J&J’s right to challenge any
such liability and/or amount in any other proceeding or action shall be fully preserved.
Furthermore, J&J’s rights to assert setoff and/or recoupment as a defense or counterclaim is
expressly preserved.

        Nothing in Section 11.5 of the Plan is intended or shall be construed to preclude
otherwise applicable principles of res judicata or collateral estoppel from being applied against
J&J with respect to any issue that is actually litigated by J&J as part of its objections, if any, to
Confirmation of the Plan or as part of any contested matter or adversary proceeding filed by J&J
in conjunction with or related to Confirmation of the Plan—provided, however, that none of (a)
the Bankruptcy Court’s approval of the Plan or the Plan Documents (including the Trust
Distribution Procedures), (b) the Confirmation Order or any findings and conclusions entered
with respect to Confirmation, nor (c) any estimation, valuation, or amount paid with respect to
any Talc Personal Injury Claims, either individually or in the aggregate in the Chapter 11 Cases,
including by the Talc Personal Injury Trust, shall be binding on J&J absent J&J’s express
consent, nor have any res judicata, collateral estoppel, or other preclusive effect on any legal,
equitable, or contractual rights, defenses, or obligations of J&J—or otherwise. Plan objections
that are withdrawn prior to the conclusion of the Confirmation Hearing shall be deemed not to
have been actually litigated.

       For the avoidance of doubt, the provisions of Sections 11.5.1 and 11.5.3 of the Plan shall
not apply to any claim by J&J to indemnification, defense, contribution, or any other right to
recovery against any Rio Tinto Protected Party or any Zurich Protected Party, or under any Rio
Tinto Captive Insurer Policy or any Zurich Policy, arising out of or relating to any Talc Personal
Injury Claim.

        Nothing in the Plan, Plan Documents (including the Trust Distribution Procedures), or
the Confirmation Order shall seek the Bankruptcy Court’s determination or opinion as to (nor be
construed to represent the Bankruptcy Court’s determination or opinion as to) (1) any right,
obligation, defense, claim or any other provision or entitlement of any alleged indemnification
obligation of J&J; (2) the effect, if any, of applicable non-bankruptcy law regarding any
requirement or provision (or the rights, obligations, defenses, or claims which may inure thereto
or therefrom) in any contracts or in underlying proceedings by and between and/or among the
Debtors, the Reorganized Debtors, and/or the Talc Personal Injury Trust and J&J; (3) the effect,
if any, of applicable non-bankruptcy law on J&J based upon any Insurance Settlement


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Agreements as to which J&J was not a party other than to note that the Insurance Settlement
Agreements to which J&J was not a party are not contractually binding upon J&J.

        Any and all indemnification claims that the Reorganized Debtors and/or the Talc
Personal Injury Trust seek to allege against J&J, as well as any other action, judgment,
adjudication, or finding sought by the Reorganized Debtors and/or the Talc Personal Injury Trust
because of J&J’s alleged indemnification obligations to them shall be heard in the forums
specified in the applicable underlying agreements. Thus, without limitation, (i) any action
alleging that J&J owes indemnification obligations during the period of time in which that
certain January 6, 1989 Agreement between Cyprus Mines Corporation and Johnson & Johnson
and that certain January 6, 1989 Supply Agreement between Windsor Minerals Inc. and Johnson
& Johnson Consumer Products were in effect may only be brought in a state or federal court in
the state of Vermont; and (ii) any action alleging that J&J owes indemnification obligations
during the period of time in which that certain dated as of January 1, 2011 Material Purchase
Agreement between Johnson & Johnson Consumer Companies, Inc. and Luzenac America, Inc.
may only be brought in the form of an AAA arbitration demand in the state of Colorado.

        As it relates to any rights J&J claims it has for contribution, indemnity, reimbursement,
subrogation, or other similar claims (collectively “J&J Insurance Claims”) against a Settling
Talc Insurance Company, (i) such J&J Insurance Claims may be asserted as a defense or
counterclaim against the Talc Personal Injury Trust in any action by the Trust against J&J, and
the Talc Personal Injury Trust may assert the legal or equitable rights (if any) of the Settling Talc
Insurance Company, and (ii) to the extent such J&J Insurance Claims are determined to be valid,
the liability (if any) of J&J to the Talc Personal Injury Trust shall be reduced by the amount of
such J&J Insurance Claims.

       Nothing contained in the Plan, the Plan Documents (including the Trust Distribution
Procedures), or the Confirmation Order shall impair, release, terminate, limit, or otherwise affect
in any way J&J’s claims against any Rio Tinto Protected Party or any Zurich Protected Party for
coverage as an additional insured or otherwise under any Rio Tinto Captive Insurance Policy or
any Zurich Policy.

        (f)      Institution and Maintenance of Legal and Other Proceedings

        As of the Effective Date, the Talc Personal Injury Trust shall be empowered to initiate,
prosecute, defend, settle, maintain, administer, preserve, pursue, and resolve all legal actions and
other proceedings related to any asset, liability or responsibility of the Talc Personal Injury
Trust, including without limitation the Talc Insurance Actions, Talc Personal Injury Claims,
Indirect Talc Personal Injury Claims, the Talc Personal Injury Trust Causes of Action, and the
J&J Indemnification Obligations. Without limiting the foregoing, on and after the Effective
Date, the Talc Personal Injury Trust shall be empowered to initiate, prosecute, defend, settle,
maintain, administer, preserve, pursue and resolve all such actions, in the name of either of the
Debtors or the Reorganized Debtors, if deemed necessary or appropriate by the Talc Personal
Injury Trust. The Talc Personal Injury Trust shall be responsible for the payment of all
damages, awards, judgments, settlements, expenses, costs, fees and other charges incurred
subsequent to the Effective Date arising from or associated with any legal action or other
proceeding which is the subject of Article IV of the Plan and shall pay or reimburse all

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deductibles, self-insured retentions, retrospective premium adjustments, or other charges (not
constituting Indirect Talc Personal Injury Claims) which may arise from the receipt of any
insurance proceeds by the Talc Personal Injury Trust. Furthermore, without limiting the
foregoing, the Talc Personal Injury Trust shall be empowered to maintain, administer, preserve,
or pursue the Talc-In-Place Insurance Coverage and the Talc Insurance Action Recoveries.

        (g)      Terms of Injunctions and Automatic Stay

        All of the injunctions and/or automatic stays provided for in or in connection with the
Chapter 11 Cases, whether pursuant to sections 105, 362, or any other provision of the
Bankruptcy Code, Bankruptcy Rules, or other applicable law in existence immediately prior to
the Confirmation Date, shall remain in full force and effect until the injunctions become
effective pursuant to a Final Order, and shall continue to remain in full force and effect thereafter
as and to the extent provided by the Plan, the Confirmation Order, or by their own terms. In
addition, on and after Confirmation, the Debtors, with the consent of each of the Plan
Proponents, may collectively seek such further orders as they deem necessary or appropriate to
preserve the status quo during the time between the Confirmation Date and the Effective Date.

        Each of the Injunctions contained in the Plan or the Confirmation Order shall become
effective on the Effective Date and shall continue in effect at all times thereafter unless
otherwise provided by the Plan or the Confirmation Order.

        (h)      The FCR and the Tort Claimants’ Committee

        The FCR and the Tort Claimants’ Committee shall continue in their official capacities
until the Effective Date. The Debtors shall pay the reasonable fees and expenses incurred by the
FCR and the Tort Claimants’ Committee through the Effective Date, in accordance with the
Compensation Procedures Order, the Fee Examiner Order, and the terms of the Plan, including
Section 2.3 of the Plan.

        After the Effective Date, the official capacities of the FCR and the Tort Claimants’
Committee in the Chapter 11 Cases shall be limited to having standing and capacity to (i)
prosecute their pre-Effective Date intervention in any adversary proceedings; (ii) object to any
proposed modification of the Plan; (iii) object to or defend the Fee Claims of professionals
employed by or on behalf of the Estate, or by or on behalf of members of the Tort Claimants’
Committee; and (iv) participate in any pending appeals or appeals of the Confirmation Order.
Except for the foregoing, the FCR and the members of the Tort Claimants’ Committee shall be
released and discharged from all further authority, duties, responsibilities, liabilities, and
obligations involving the Chapter 11 Cases. Upon the closing of the Chapter 11 Cases, the Tort
Claimants’ Committee shall be dissolved. The fees and expenses incurred by the FCR and the
Tort Claimants’ Committee relating to any post-Effective Date activities authorized under the
Plan shall be payable from the Administrative Claim Reserve.

       Nothing in Section 11.8 of the Plan shall limit or otherwise affect the rights of the United
States Trustee under section 502 of the Bankruptcy Code or otherwise to object to Claims or
requests for allowance of DIP Facility Claims, or Fee Claims and other Administrative Claims.



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7.8     Releases, Injunctions and Exculpation

       The release, injunction and exculpation provisions are set forth in Article XII of the Plan,
and a summary of such provisions is provided below.

        (a)      Terms of Injunction and Automatic Stay

        All of the injunctions and/or automatic stays provided for in or in connection with the
Chapter 11 Cases, whether pursuant to sections 105, 362, or any other provision of the
Bankruptcy Code, Bankruptcy Rules, or other applicable law in existence immediately prior to
the Confirmation Date, shall remain in full force and effect until the injunctions become
effective pursuant to a Final Order, and shall continue to remain in full force and effect thereafter
as and to the extent provided by the Plan, the Confirmation Order, or by their own terms. In
addition, on and after Confirmation, the Debtors, with the consent of each of the Plan
Proponents, may collectively seek such further orders as they deem necessary or appropriate to
preserve the status quo during the time between the Confirmation Date and the Effective Date.

        Each of the Injunctions contained in the Plan or the Confirmation Order shall become
effective on the Effective Date and shall continue in effect at all times thereafter unless
otherwise provided by the Plan or the Confirmation.

        (b)      Discharge and Injunctions

                 (1)      Discharge of Claims Against and Termination of Equity Interests the
                          Debtors

       Except as otherwise provided in the Plan or the Confirmation Order, as of the Effective
Date, Confirmation of the Plan shall afford each Debtor a discharge to the fullest extent
permitted by Bankruptcy Code sections 524 and 1141(d)(1).

                 (2)      Discharge Injunction

         Except as specifically provided in the Plan or the Confirmation Order, from and
after the Effective Date, to the maximum extent permitted under applicable law, all
Persons that hold, have held, or may hold a Claim, demand or other debt or liability that is
discharged, or an Equity Interest or other right of an equity security holder that is
terminated pursuant to the terms of the Plan, are permanently enjoined from taking any of
the following actions on account of, or on the basis of, such discharged Claims, debts or
liabilities, or terminated Equity Interests or rights: (i) commencing or continuing any
action or other proceeding of any kind against the Debtors, the Reorganized Debtors, the
Talc Personal Injury Trust, or their respective property; (ii) enforcing, attaching,
collecting, or recovering by any manner or means of any judgment, award, decree, or
order against the Debtors, the Reorganized Debtors, the Talc Personal Injury Trust, or
their respective property; (iii) creating, perfecting, or enforcing any Lien or Encumbrance
of any kind against the Debtors, the Reorganized Debtors, the Talc Personal Injury Trust,
or their respective property; and (iv) commencing or continuing any judicial or
administrative proceeding, in any forum and in any place in the world, that does not
comply with or is inconsistent with the provisions of the Plan or the Confirmation Order

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(the “Discharge Injunction”). The foregoing injunction shall extend to the successors of
the Debtors (including, without limitation, the Reorganized Debtors) and their respective
properties and interests in property. The discharge provided in this provision shall void
any judgment obtained against any Debtor at any time, to the extent that such judgment
relates to a discharged Claim or demand.

        (c)      Releases

                 (1)      Releases by Debtors and Estates

          As of the Effective Date, for good and valuable consideration, the adequacy of
which is hereby confirmed, including, without limitation, the service of the Released
Parties before and during the Chapter 11 Cases to facilitate the implementation of the Talc
Personal Injury Trust, and except as otherwise explicitly provided in the Plan or in the
Confirmation Order, the Released Parties shall be deemed conclusively, absolutely,
unconditionally, irrevocably and forever released, to the maximum extent permitted by
law, as such law may be extended subsequent to the Effective Date, by the Debtors and the
Estates from any and all Claims, counterclaims, disputes, obligations, suits, judgments,
damages, demands, debts, rights, causes of action, Liens, remedies, losses, contributions,
indemnities, costs, liabilities, attorneys’ fees and expenses whatsoever, including any
derivative claims, asserted or assertable on behalf of the Debtors or their Estates (including
any Estate Causes of Action), whether liquidated or unliquidated, fixed or contingent,
matured or unmatured, known or unknown, foreseen or unforeseen, asserted or
unasserted, accrued or unaccrued, existing or hereinafter arising, whether in law or equity,
whether sounding in tort or contract, whether arising under federal or state statutory or
common law, or any other applicable international, foreign, or domestic law, rule, statute,
regulation, treaty, right, duty, requirement or otherwise, that the Debtors or their Estates
would have been legally entitled to assert in their own right (whether individually or
collectively) or on behalf of the holder of any Claim or Equity Interest or other Person,
based on or relating to, or in any manner arising from, in whole or in part, the Debtors,
their Estates, the Chapter 11 Cases, the purchase, sale, or rescission of the purchase or sale
of any security of the Debtors, the subject matter of, or the transactions or events giving
rise to, any Claim or Equity Interest that is treated in the Plan, the business or contractual
arrangements between any Debtor and any Released Party (including the exercise of any
common law or contractual rights of setoff or recoupment by any Released Party at any
time on or prior to the Effective Date), the restructuring of any Claim or Equity Interest
before or during the Chapter 11 Cases, this Disclosure Statement, the Plan, and related
agreements, instruments, and other documents, and the negotiation, formulation,
preparation or implementation thereof, the solicitation of votes with respect to the Plan, or
any other act or omission; provided, however, that the Debtors do not release, and the
Reorganized Debtors shall retain, the Non-Talc Causes of Action arising out of, or related
to, any act or omission of a Released Party that is a criminal act or constitutes fraud, gross
negligence, or willful misconduct. The Debtors, and any other newly-formed entities that
shall be continuing the Debtors’ businesses after the Effective Date shall be bound, to the
same extent the Debtors are bound, by the releases set forth in Section 12.2.1 of the Plan.
For the avoidance of doubt, Claims or causes of action arising out of, or related to, any act
or omission of a Released Party prior to the Effective Date that is later found to be a

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criminal act or to constitute fraud, gross negligence, or willful misconduct, including
findings after the Effective Date, are not released pursuant to Section 12.2.1 of the Plan.

       In furtherance of the Imerys Settlement, on the Effective Date, for good and
valuable consideration, the adequacy of which is hereby confirmed, the Debtors, on their
own behalf and as representatives of their respective Estates, the Reorganized Debtors, and
the Tort Claimants’ Committee and FCR, solely on their own behalf, are deemed to
irrevocably and unconditionally, fully, finally, and forever waive, release, acquit, and
discharge each and all of the Imerys Protected Parties of and from (a) all Estate Causes of
Action and (b) any and all claims, causes of action, suits, costs, debts, liabilities, obligations,
dues, sums of money, accounts, reckonings, bonds, bills, covenants, contracts,
controversies, agreements, promises, damages, judgments, executions and demands
whatsoever, of whatever kind or nature (including, without limitation, those arising under
the Bankruptcy Code), whether known or unknown, suspected or unsuspected, in law or in
equity, which the Debtors, their Estates, the Reorganized Debtors, the Tort Claimants’
Committee, or the FCR have, had, may have, or may claim to have against any of the
Imerys Protected Parties including without limitation with respect to any Talc Personal
Injury Claim (clauses (a) and (b) collectively, the “Imerys Released Claims”).

       In furtherance of the Rio Tinto/Zurich Settlement, effective upon the Talc Personal
Injury Trust’s receipt of the Rio Tinto/Zurich Contribution, for good and valuable
consideration, the adequacy of which is hereby confirmed, the Talc Personal Injury Trust,
the Debtors, on their own behalf and as representatives of their respective Estates, the
Reorganized Debtors, and the Tort Claimants’ Committee and FCR, solely on their own
behalf, are deemed to irrevocably and unconditionally, fully, finally, and forever waive,
release, acquit, and discharge each and all of the Rio Tinto Protected Parties and the
Zurich Protected Parties of and from (a) all Estate Causes of Action and (b) any and all
claims, causes of action, suits, costs, debts, liabilities, obligations, dues, sums of money,
accounts, reckonings, bonds, bills, covenants, contracts, controversies, agreements,
promises, damages, judgments, executions and demands whatsoever, of whatever kind or
nature (including those arising under the Bankruptcy Code), whether known or unknown,
suspected or unsuspected, in law or in equity, which the Talc Personal Injury Trust, the
Debtors, their Estates, the Reorganized Debtors, the Tort Claimants’ Committee, or the
FCR have, had, may have, or may claim to have against any of the Rio Tinto Protected
Parties and/or the Zurich Protected Parties, directly or indirectly arising out of, with
respect to, or in any way relating to any Talc Personal Injury Claim (collectively, the “Rio
Tinto/Zurich Released Claims”).

                 (2)      Releases by Holders of Claims

       As of the Effective Date, for good and valuable consideration, the adequacy of which
is hereby confirmed, including, without limitation, the service of the Released Parties
before and during the Chapter 11 Cases to facilitate the implementation of the Talc
Personal Injury Trust, and except as otherwise explicitly provided in the Plan or in the
Confirmation Order, the Released Parties shall be deemed conclusively, absolutely,
unconditionally, irrevocably and forever released, to the maximum extent permitted by
law, as such law may be extended subsequent to the Effective Date, except as otherwise

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explicitly provided in the Plan, by the Releasing Claim Holders from any and all Claims,
counterclaims, disputes, obligations, suits, judgments, damages, demands, debts, rights,
causes of action, Liens, remedies, losses, contributions, indemnities, costs, liabilities,
attorneys’ fees and expenses whatsoever, including any derivative claims, asserted or
assertable on behalf of the Debtors or their Estates (including any Estate Causes of Action),
whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, foreseen or unforeseen, asserted or unasserted, accrued or unaccrued, existing
or hereinafter arising, whether in law or equity, whether sounding in tort or contract,
whether arising under federal or state statutory or common law, or any other applicable
international, foreign, or domestic law, rule, statute, regulation, treaty, right, duty,
requirement or otherwise, that such holders or their estates, Affiliates, heirs, executors,
administrators, successors, assigns, managers, accountants, attorneys, representatives,
consultants, agents, and any other Persons or parties claiming under or through them
would have been legally entitled to assert in their own right (whether individually or
collectively) or on behalf of the holder of any Claim or Equity Interest or other Person,
based on or relating to, or in any manner arising from, in whole or in part, the Debtors (as
such entities existed prior to or after the Petition Date), their Estates, the Chapter 11
Cases, the purchase, sale, or rescission of the purchase or sale of any security of the
Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or
Equity Interest that is treated in the Plan, the business or contractual arrangements or
interactions between any Debtor and any Released Party (including the exercise of any
common law or contractual rights of setoff or recoupment by any Released Party at any
time on or prior to the Effective Date), the restructuring of any Claim or Equity Interest
before or during the Chapter 11 Cases, this Disclosure Statement, the Plan, and related
agreements, instruments, and other documents, and the negotiation, formulation,
preparation or implementation thereof, the solicitation of votes with respect to the Plan, or
any other act or omission, other than Claims or causes of action arising out of, or related
to, any act or omission of a Released Party that constitutes fraud, gross negligence or
willful misconduct. For the avoidance of doubt, Claims or causes of action arising out of,
or related to, any act or omission of a Released Party prior to the Effective Date that is
later found to be a criminal act or to constitute fraud, gross negligence, or willful
misconduct, including findings after the Effective Date, are not released pursuant to
Section 12.2.2 of the Plan.

                 (3)      Injunction Related to Releases

       Except as otherwise provided in the Plan, the Confirmation Order shall
permanently enjoin the commencement or prosecution by any Entity, whether directly,
derivatively or otherwise, of any claims, commitments, obligations, suits, judgments,
damages, demands, debts, causes of action and liabilities released pursuant to the Plan (the
“Release Injunction”).

        (d)      The Channeling Injunction and the Insurance Entity Injunction




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               In order to supplement the injunctive effect of the Discharge Injunction, and
pursuant to sections 524(g) and 105(a) of the Bankruptcy Code, the Confirmation Order
shall provide for the following permanent injunctions to take effect as of the Effective Date.

                 (1)      Channeling Injunction

                      (a)     Terms.       To preserve and promote the settlements
        contemplated by and provided for in the Plan, including the Imerys Settlement and
        the Rio Tinto/Zurich Settlement, and pursuant to the exercise of the equitable
        jurisdiction and power of the Bankruptcy Court and the District Court under
        sections 105(a) and 524(g) of the Bankruptcy Code, the sole recourse of any holder
        of a Talc Personal Injury Claim against a Protected Party (on account of such Talc
        Personal Injury Claim) shall be the Talc Personal Injury Trust pursuant to the Talc
        Personal Injury Trust Documents, and such holder shall have no right whatsoever
        at any time to assert its Talc Personal Injury Claim against any Protected Party or
        any property or interest in property of any Protected Party. On and after the
        Effective Date, all holders of Talc Personal Injury Claims shall be permanently and
        forever stayed, restrained, barred, and enjoined from taking any action for the
        purpose of, directly or indirectly or derivatively collecting, recovering, or receiving
        payment of, on, or with respect to any Talc Personal Injury Claim against a
        Protected Party other than from the Talc Personal Injury Trust pursuant to the
        Talc Personal Injury Trust Documents, including, but not limited to:

                                 (i)    commencing, conducting, or continuing in any manner,
                          directly, indirectly, or derivatively, any suit, action, or other
                          proceeding of any kind (including a judicial, arbitration,
                          administrative, or other proceeding) in any forum in any jurisdiction
                          around the world against or affecting any Protected Party or any
                          property or interests in property of any Protected Party;

                                 (ii)    enforcing,    levying,   attaching  (including    any
                          prejudgment attachment), collecting, or otherwise recovering, by any
                          manner or means, whether directly or indirectly, any judgment,
                          award, decree, or order against any Protected Party or any property
                          or interests in property of any Protected Party;

                                 (iii) creating, perfecting, or otherwise enforcing in any
                          manner, directly or indirectly, any Lien of any kind against any
                          Protected Party or any property or interests in property of any
                          Protected Party;

                                 (iv)   asserting, implementing, or effectuating any setoff,
                          right of reimbursement, subrogation, contribution, or recoupment of
                          any kind, in any manner, directly or indirectly, against any obligation
                          due to any Protected Party or against any property or interests in
                          property of any Protected Party; and



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                                 (v)    taking any act in any manner, and in any place
                          whatsoever, that does not conform to, or comply with, the provisions
                          of the Plan, the Plan Documents, or the Talc Personal Injury Trust
                          Documents or with regard to any matter that is within the scope of
                          the matters designated by the Plan to be subject to resolution by the
                          Talc Personal Injury Trust, except in conformity and compliance with
                          the Talc Personal Injury Trust Documents.

                      (b)      Reservations. Notwithstanding anything to the contrary in
        Section 12.3.1(a) of the Plan, this Channeling Injunction shall not impair:

                                 (i)    the rights of holders of Talc Personal Injury Claims to
                          assert such Talc Personal Injury Claims solely against the Talc
                          Personal Injury Trust or otherwise in accordance with the Trust
                          Distribution Procedures;

                                  (ii)   the rights of holders of Talc Personal Injury Claims to
                          assert such claims against anyone other than a Protected Party;

                                 (iii)  the rights of Persons to assert any Claim, debt,
                          obligation or liability for payment of Talc Personal Injury Trust
                          Expenses solely against the Talc Personal Injury Trust or otherwise in
                          accordance with the Trust Distribution Procedures; or

                                  (iv)   the Talc Personal Injury Trust from enforcing its rights
                          explicitly provided to it under the Plan and the Talc Personal Injury
                          Trust Documents.; or

                                  (v)   any rights of setoff or recoupment that J&J may be
                          entitled to under applicable non-bankruptcy law, including common
                          law, or otherwise in accordance with section 553 of the Bankruptcy
                          Code, against the Debtors, the Reorganized Debtors, the Talc
                          Personal Injury Trust, the Released Parties, or the Protected Parties.

                      (c)    Modifications. There shall be no modification, dissolution, or
        termination of the Channeling Injunction, which shall be a permanent injunction.

                        (d)    Non-Limitation of Channeling Injunction. Nothing in the Plan
        or the Talc Personal Injury Trust Agreement shall be construed in any way to limit
        the scope, enforceability, or effectiveness of the Channeling Injunction issued in
        connection with the Plan, the releases provided in the Imerys Settlement and the
        Rio Tinto/Zurich Settlement, or the Talc Personal Injury Trust’s assumption of all
        liability with respect to Talc Personal Injury Claims.

                    (e)    Bankruptcy Rule 3016 Compliance. The Plan Proponents’
        compliance with the formal requirements of Bankruptcy Rule 3016(c) shall not



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        constitute an admission that the Plan provides for an injunction against conduct not
        otherwise enjoined under the Bankruptcy Code.

                      (f)    Any Protected Party may enforce the Channeling Injunction as
        a defense to any Claim brought against such Protected Party that is enjoined under
        the Plan as to such Protected Party and may seek to enforce such injunction in a
        court of competent jurisdiction.

                        (g)      If a non-Settling Talc Insurance Company asserts that it has
        rights whether legal, equitable, contractual, or otherwise, of contribution,
        indemnity, reimbursement, subrogation or other similar claims directly or
        indirectly arising out of or in any way relating to such insurer’s payment of loss on
        behalf of one or more of the Debtors in connection with any Talc Personal Injury
        Claim (collectively, “Contribution Claims”) against a Settling Talc Insurance
        Company, (i) such Contribution Claims may be asserted as a defense or
        counterclaim against the Talc Personal Injury Trust in any Talc Insurance Action
        involving such non-Settling Talc Insurance Company, and the Talc Personal Injury
        Trust may assert the legal or equitable rights (if any) of the Settling Talc Insurance
        Company, and (ii) to the extent such Contribution Claims are determined to be
        valid, the liability (if any) of such non-Settling Talc Insurance Company to the Talc
        Personal Injury Trust shall be reduced by the amount of such Contribution Claims.

                       (h)   J&J shall be given all of the rights that are given to a non-
        Settling Talc Insurance Company under this provision.

                 (2)      Insurance Entity Injunction

                       (a)    Purpose. In order to protect the Talc Personal Injury Trust
        and to preserve the Talc Personal Injury Trust Assets, pursuant to the equitable
        jurisdiction and power of the Bankruptcy Court, the Bankruptcy Court shall issue
        the Insurance Entity Injunction; provided, however, that the Insurance Entity
        Injunction is not issued for the benefit of any Talc Insurance Company, and no Talc
        Insurance Company is a third-party beneficiary of the Insurance Entity Injunction,
        except as otherwise specifically provided in any Talc Insurance CIP Agreement or
        Talc Insurance Settlement Agreement.

                       (b)   Terms Regarding Claims Against Talc Insurance Companies.
        Subject to the provisions of Sections 12.3.1 and 12.3.2 of the Plan, all Entities that
        have held or asserted, that hold or assert, or that may in the future hold or assert
        any claim, demand or cause of action (including any Talc Personal Injury Claim or
        any claim or demand for or respecting any Talc Personal Injury Trust Expense)
        against any Talc Insurance Company based upon, attributable to, arising out of, or
        in any way connected with any such Talc Personal Injury Claim, whenever and
        wherever arising or asserted, whether in the United States of America or anywhere
        else in the world, whether sounding in tort, contract, warranty, or any other theory
        of law, equity, or admiralty, shall be stayed, restrained, and enjoined from taking
        any action for the purpose of directly or indirectly collecting, recovering, or


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        receiving payments, satisfaction, or recovery with respect to any such claim,
        demand, or cause of action including, without limitation:

                                 (i)     commencing, conducting, or continuing, in any manner,
                          directly or indirectly, any suit, action, or other proceeding of any kind
                          (including a judicial, arbitration, administrative, or other proceeding,
                          but not including any defenses or counterclaims to the extent they are
                          mandatory or permissive) in any forum with respect to any such
                          claim, demand, or cause of action against any Talc Insurance
                          Company, or against the property of any Talc Insurance Company,
                          with respect to any such claim, demand, or cause of action;

                                 (ii)   enforcing, levying, attaching, collecting, or otherwise
                          recovering, by any means or in any manner, whether directly or
                          indirectly, any judgment, award, decree, or other order against any
                          Talc Insurance Company, or against the property of any Talc
                          Insurance Company, with respect to any such claim, demand, or
                          cause of action;

                                 (iii)  creating, perfecting, or enforcing in any manner,
                          directly or indirectly, any Encumbrance against any Talc Insurance
                          Company, or the property of any Talc Insurance Company, with
                          respect to any such claim, demand, or cause of action; and

                                 (iv)   except as otherwise specifically provided in the Plan,
                          asserting or accomplishing any setoff, right of subrogation, indemnity,
                          contribution, or recoupment of any kind, directly or indirectly,
                          against any obligation of any Talc Insurance Company, or against the
                          property of any Talc Insurance Company, with respect to any such
                          claim, demand or cause of action;

        provided, however, that (a) the injunction set forth in Section 12.3.2(b) of the Plan
        shall not impair in any way any (i) actions brought by the Talc Personal Injury
        Trust against any Talc Insurance Company and (ii) the rights of any co-insured of
        the Debtors (x) with respect to any Talc Insurance Policy or Talc Insurance CIP
        Agreement or against any Talc Insurance Company and (y) as specified under any
        Final Order of the Bankruptcy Court approving a Talc Insurance CIP Agreement;
        and (b) the Talc Personal Injury Trust shall have the sole and exclusive authority at
        any time to terminate, or reduce or limit the scope of, the injunction set forth in
        Section 12.3.2(b) of the Plan with respect to any Talc Insurance Company upon
        express written notice to such Talc Insurance Company, except that the Talc
        Personal Injury Trust shall not have any authority to terminate, reduce or limit the
        scope of the injunction in the Plan with respect to any Settling Talc Insurance
        Company so long as, but only to the extent that, such Settling Talc Insurance
        Company complies fully with its obligations under any applicable Talc Insurance
        Settlement Agreement.



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                       (c)   Reservations. Notwithstanding anything to the contrary
        above, this Insurance Entity Injunction shall not enjoin:

                                (i)    the rights of Entities to the treatment accorded them
                          under the Plan, as applicable, including the rights of holders of Talc
                          Personal Injury Claims to assert such Claims, as applicable, in
                          accordance with the Trust Distribution Procedures;

                                 (ii)   the rights of Entities to assert any claim, debt,
                          obligation, cause of action or liability for payment of Talc Personal
                          Injury Trust Expenses against the Talc Personal Injury Trust;

                                 (iii) the rights of the Talc Personal Injury Trust to
                          prosecute any action based on or arising from the Talc Insurance
                          Policies;

                                 (iv)   the rights of the Talc Personal Injury Trust to assert
                          any claim, debt, obligation, cause of action or liability for payment
                          against a Talc Insurance Company based on or arising from the Talc
                          Insurance Policies or Talc Insurance CIP Agreements; and

                                 (v)    the rights of any Talc Insurance Company to assert any
                          claim, debt, obligation, cause of action or liability for payment against
                          any other Talc Insurance Company that is not a Settling Talc
                          Insurance Company, or as otherwise specifically provided in any Talc
                          Insurance CIP Agreement.

                       (d)     Notwithstanding anything herein, in any of the Plan
        Documents, or in the Confirmation Order to the contrary, including without
        limitation the Plan definitions of Settled Talc Insurance Policy, Shared Talc
        Insurance Policy and Talc Insurance Policy, after the Effective Date, J&J may seek
        and secure, or attempt to secure, such rights under any Shared Talc Insurance
        Policy, Talc Insurance Policy, and/or other insurance policy in which J&J believes it
        may have an interest (including, but not limited to, any insurance policy issued to
        J&J under which J&J qualifies as an insured or in which J&J has rights as an
        additional insured) as J&J, in its sole discretion, deems appropriate, without
        restriction or interference by the Debtors, the Reorganized Debtors, the Talc
        Personal Injury Trust, or any other Protected Party, regardless of the Injunctions
        contained in the Plan or the Confirmation Order. The provisions of the Plan, the
        Plan Documents, or the Confirmation Order in no way modify, alter or limit the
        rights of J&J under any Shared Talc Insurance Policy and/or Talc Insurance
        Policy. For the avoidance of doubt, upon the Effective Date, the automatic stay
        pursuant to section 362 and the Injunctions shall not apply to any action by J&J to
        seek and secure, or attempt to secure, any rights under any Shared Talc Insurance
        Policy, Talc Insurance Policy, and/or other insurance policies that J&J believes it
        may have an interest. This includes, for example and without limitation, presenting
        a claim to or settling a claim with an insurer. Further, upon the Effective Date, the


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        automatic stay and the Injunctions shall not apply to any action by an insurance
        company to evaluate, process, pay, resolve, or contest claims submitted by J&J for
        payment, or to defend J&J against, settle or pay a judgment on, any claim that may
        be covered by any insurance policy in which J&J believes it may have an interest.

        (e)      Supplemental Settlement Injunction Order

        In order to preserve and promote the Imerys Settlement and the Rio Tinto/Zurich
               Settlement, each of which is incorporated in the Plan, and pursuant to the
               exercise of the equitable jurisdiction and power of the Bankruptcy Court
               under section 105(a) of the Bankruptcy Code, the Confirmation Order shall
               provide for the following permanent injunction to take effect as of the
               Effective Date.

                          (a)       Terms

                                  (i)    All Persons that have held or asserted, that hold or
                          assert, or that may in the future hold or assert any Imerys Released
                          Claims directly or indirectly against the Imerys Protected Parties (or
                          any of them) shall be permanently stayed, restrained, and enjoined
                          from pursuing now, or at any time in the future, any Imerys Released
                          Claims.

                                  (ii)   All Persons that have held or asserted, that hold or
                          assert, or that may in the future hold or assert any Rio Tinto/Zurich
                          Released Claims directly or indirectly against the Rio Tinto Protected
                          Parties (or any of them) and/or the Zurich Protected Parties (or any
                          of them) shall be permanently stayed, restrained, and enjoined from
                          pursuing now, or at any time in the future, any Rio Tinto/Zurich
                          Released Claims.

                      (b)    Any Imerys Protected Party, Rio Tinto Protected Party, or
        Zurich Protected Party may enforce the Supplemental Settlement Injunction Order
        as a defense to any Claim brought against such Imerys Protected Party, Rio Tinto
        Protected Party, or Zurich Protected Party that is enjoined under the Plan as to
        such Imerys Protected Party, Rio Tinto Protected Party, or Zurich Protected Party
        and may seek to enforce such injunction in a court of competent jurisdiction.




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        (f)      Exculpation

               None of the Debtors, the Reorganized Debtors, the Imerys Protected Parties,
the Tort Claimants’ Committee, the members of the Tort Claimants’ Committee in their
capacities as such, the FCR, the Information Officer nor any of their respective officers,
directors and employees, members, agents, attorneys, accountants, financial advisors or
restructuring professionals, nor any other professional Person employed by any one of
them, shall have or incur any liability to any Person or Entity for any act or omission in
connection with, relating to, or arising out of the Chapter 11 Cases, the negotiation of the
Plan, the Disclosure Statement, the releases and Injunctions, the pursuit of Confirmation of
the Plan, the administration, consummation and implementation of the Plan or the
property to be distributed under the Plan, or the management or operation of the Debtors
(except for any liability that results primarily from such Person’s or Entity’s gross
negligence, bad faith or willful misconduct); provided, however, that this exculpation shall
not apply to Talc Insurer Coverage Defenses; provided further that Section 12.7 of the Plan
shall also apply to any former officer or director of the Debtors that was an officer or
director at any time during the Chapter 11 Cases but is no longer an officer or director. In
all respects, each and all of such Persons, firms and Entities shall be entitled to rely upon
the advice of counsel with respect to their duties and responsibilities under, or in
connection with, the Chapter 11 Cases, the Plan, and the administration of each of them.

                                            ARTICLE VIII.

                          THE TALC PERSONAL INJURY TRUST AND
                            TRUST DISTRIBUTION PROCEDURES

8.1     Overview

        (a)      General

        On the Effective Date, the Talc Personal Injury Trust shall be created in accordance with
the Plan Documents. The purposes of the Talc Personal Injury Trust shall be to assume all Talc
Personal Injury Claims and to use the Talc Personal Injury Trust Assets and, among other things:
(a) to preserve, hold, manage, and maximize the assets of the Talc Personal Injury Trust; and
(b) to direct the processing, liquidation, and payment of all compensable Talc Personal Injury
Claims in accordance with the Talc Personal Injury Trust Documents. The Talc Personal Injury
Trust will resolve Talc Personal Injury Claims in accordance with the Talc Personal Injury Trust
Documents in such a way that holders of Talc Personal Injury Claims are treated fairly,
equitably, and reasonably in light of the finite assets available to satisfy such claims, and
otherwise comply in all respects with the requirements of section 524(g)(2)(B)(i) of the
Bankruptcy Code.

       The Trust Distribution Procedures, attached to the Plan as Exhibit A, set forth procedures
for processing and paying the Talc Personal Injury Claims.76 85 These procedures will be

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       Foreign Claims are a subset of Talc Personal Injury Claims that will be channeled to and assumed
by the Talc Personal Injury Trust and subject to the Channeling Injunction; however, the Trust

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binding on the holders of all Talc Personal Injury Claims. The Trust Distribution Procedures
provide, among other things, for the resolution of Talc Personal Injury Claims pursuant to the
terms of the Talc Personal Injury Trust Agreement and the Trust Distribution Procedures, and
that resolution of a Talc Personal Injury Claim by the Talc Personal Injury Trust will result in a
full or partial release of such Claim against the Talc Personal Injury Trust in accordance with the
Injury Trust Distribution Procedures.

       The Trust Distribution Procedures are part of the global settlement between the Debtors,
the Tort Claimants’ Committee, the FCR, and the other Plan Proponents. As a result of this
global settlement, the Debtors reviewed and proposed revisions to the terms of the Trust
Distribution Procedures prepared by the Tort Claimants’ Committee and the FCR, and retain
consultation rights as to the Trust Distribution Procedures. The Debtors have also actively
worked with the Tort Claimants’ Committee and the FCR to ensure that the Trust Distribution
Procedures maximize recoveries for holders of Talc Personal Injury Claims and are consistent
with the Bankruptcy Code.

        Furthermore, potential claimants should be aware that any funds they recover from the
Talc Personal Injury Trust, or against any “primary plan” as defined in the Medicare Secondary
Payer Statute, 42 U.S.C. § 1395y(b) (the “MSPS”), could be subject to repayment obligations
owing or potentially owing under the MSPS or related rules, regulations, or guidelines. Potential
claimants should also be aware that, as a condition of receiving payment from the Talc Personal
Injury Trust or any “primary plan” as defined by the MSPS, the claimants may be asked to
certify that they will comply with any obligations owing or potentially owing under the MSPS or
related rules, regulations, or guidelines. The Talc Personal Injury Trust Agreement requires, as
applicable, that the Talc Personal Injury Trust act as a reporting entity under 42 U.S.C. §
1395y(b), to the extent applicable.

        (b)      The Tort Claimants’ Committee

         The Tort Claimants’ Committee is comprised of 11 members. The members include
mesothelioma claimants, ovarian cancer claimants (including certain claimants who are
participating in the MDL Proceeding), living victims, and estates of deceased victims. Each
claimant is represented by tort counsel with significant experience in talc and/or asbestos
litigation. Some of the tort counsel also have experience with mass tort trusts. All have been
actively engaged in the development of the Trust Distribution Procedures.

        (c)      Talc Personal Injury Trust Funding

                 (1)      Imerys S.A.

        One of the first tasks for each of the Tort Claimants’ Committee and the FCR was to
investigate potential causes of action against Imerys S.A., including without limitation alter ego
and other theories of liability. That investigation took place over several months and involved
the review of tens of thousands of documents produced by each of the Debtors and Imerys S.A.

by the Talc Personal Injury Trust and subject to the Channeling Injunction; however, the Trust
Distribution Procedures provide that Foreign Claims will not receive any distributions from the Talc
Personal Injury Trust.

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This review was accomplished by counsel and other professionals for each of the Tort
Claimants’ Committee and the FCR. The review informed each of the Tort Claimants’
Committee and the FCR of, among other things, the strength of potential claims that could be
asserted against Imerys S.A., the viability of potential defenses, and the value of various assets.

       Thereafter, each of the Tort Claimants’ Committee, the FCR, the Debtors, and Imerys
S.A., began an arms’-length negotiation resulting in an agreement that formed the basis of the
Plan which included, among other things, a contribution by Imerys S.A. for permanent relief
pursuant to sections 105(a) and 524(g) of the Bankruptcy Code.

        Ultimately, the parties reached a settlement – the Imerys Settlement – whereby, in
exchange for the benefit of releases and injunctions in the Plan (as further described in this
Disclosure Statement), Imerys S.A. and its Non-Debtor Affiliates would contribute and/or waive
any interest in assets (or the proceeds of same) that at this time appear to be far in excess of $300
million to the resolution of the Chapter 11 Cases, made up of:

                $75 million cash contribution;
                the proceeds of the Sale (expected to be $223 million, plus the assumption of
                 certain liabilities, as set forth in the Asset Purchase Agreement), for which Imerys
                 S.A. agreed to pay a contingent purchase enhancement of up to $102.5 million if
                 the proceeds did not exceed an agreed amount;
                $5 million for payment of Allowed Claims in Class 3a (with any excess going to
                 the Talc Personal Injury Trust);
                an additional contingent contribution of up to $15 million to fund the Debtors’
                 administrative expenses;
                the balance of the Intercompany Loans, which were valued at approximately $30
                 million on the Petition Date;
                the Contributed Indemnity and Insurance Interests;
                waiver of the Non-Debtor Intercompany Claims against the Debtors; and
                assumption of the Pension Liabilities.

       The Tort Claimants’ Committee and the FCR also spent significant time ensuring that the
process for selling the Debtors’ assets was designed to maximize the sale price and therefore the
proceeds to be contributed to the Talc Personal Injury Trust. The proceeds of the Sale are
expected to be $223 million, plus the assumption of certain liabilities, as set forth in the Asset
Purchase Agreement.

       Moreover, the foregoing is exclusive of the amounts that will be contributed to the Talc
Personal Injury Trust as a result of the Rio Tinto/Zurich Settlement summarized immediately
below and described more broadly in Section 6.2 of this Disclosure Statement.

                 (2)      The Rio Tinto/Zurich Settlement



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        The Tort Claimants’ Committee and the FCR, along with the Debtors and Imerys S.A.,
also reached a resolution through the Rio Tinto Mediation of potential claims against Rio Tinto,
relating to its prior ownership of certain of the Debtors. Rio Tinto had been named as a
defendant in Imerys-related talc litigation in a small number of cases, all of which were resolved
without any payment on the part of Rio Tinto. Neither Rio Tinto nor any affiliate had
contributed to any payment to a claimant to resolve any Imerys-related talc claims, nor had any
judgment been entered against Rio Tinto or its affiliates. As part of the Rio Tinto Mediation, the
Tort Claimants’ Committee and the FCR engaged in significant discovery to evaluate Estate
Causes of Action against Rio Tinto, including claims based on conspiracy and alter ego.

       Ultimately, a settlement was reached with Rio Tinto and its captive insurer Zurich, Rio
Tinto’s Captive Insurers, and Zurich American Insurance Company in the combined amount of
$340 million cash plus other consideration. The total amount of this settlement will be paid to
the Talc Personal Injury Trust within thirty (30) days after the Rio Tinto/Zurich Trigger Date.
The Rio Tinto/Zurich Settlement is further described in Articles VI and VII of this Disclosure
Statement.

        (d)      Structure of the Talc Personal Injury Trust77 86

                 (1)      Claims Channeled to and Paid Under the Talc Personal Injury Trust

       While all J&J product-based Talc Personal Injury Claims are channeled to the Talc
Personal Injury Trust and have the option of electing to pursue claims against the Debtors under
the existing J&J Indemnities (as defined in the Trust Distribution Procedures), only Ovarian
Cancer Claims and Mesothelioma Claims are compensable from the cash assets of the Talc
Personal Injury Trust.

       Parties interested in understanding the nature and scope of the J&J Agreements should
examine those indemnities directly and determine the applicability to their individual claims. As
noted in Section 12.1 of this Disclosure Statement, J&J disputes its obligations under the J&J
Agreements.87 The J&J Agreements do not provide plaintiffs the right to seek indemnification
from J&J.

                 (2)      Medical and Exposure Criteria

       The Trust Distribution Procedures are structured to provide an Expedited Review process
using bright-line medical and exposure criteria to reduce the administrative expenses of the Talc
Personal Injury Trust and ensure that funds are utilized to the maximum extent to compensate
users of the Debtors’ talc. For Ovarian Cancer injuries, the criteria for Expedited Review are
designed to reflect both the current medical science (for example in the minimum use

7786
        Capitalized terms used but not defined in this Section 8.1(d) have the meanings ascribed to them
in the Trust Distribution Procedures.
87
        [NTD: This language, which directs those interested in understanding the nature and scope of the
J&J Agreements to examine those indemnities directly and determine the applicability of their individual
claims, seems to put the onus on creditors to find and understand the relevant Agreements, as opposed to
the Disclosure Statement explaining the key terms.]

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requirement) and the criteria applied in the tort system (including certain biological markers for
Ovarian Cancer) in connection with settlement of Ovarian Cancer Claims.

        Because of the likelihood that virtually every Mesothelioma Claimant will have been
exposed to cosmetic talc in the form of baby powder or a similar product at some point in their
lives, a 88 A minimum use requirement has also been established for Expedited Review
Mesothelioma Claims based on personal use. Mesothelioma Claims based on direct
occupational exposure with no other significant source of recovery are also eligible for
Expedited Review. Talc Personal Injury Claims that satisfy the criteria for Expedited Review
are eligible to receive an offer at the Scheduled Value set forth in the Trust Distribution
Procedures. Talc Personal Injury Claims which do not meet the criteria for Expedited Review
are eligible for evaluation and compensation under the Individual Review Process. In addition,
the Trust Distribution Procedures provide for Individual Review of Talc Personal Injury Claims
seeking higher values. The Trust Distribution Procedures also provide for ADR and for an exit
to the tort system for those claims that are not resolved through either Expedited Review or
Individual Review. All amounts to be paid under the Trust Distribution Procedures are subject
to the payment percentages established by the Talc Personal Injury Trust.

         J&J believes that these medical and exposure criteria are much weaker than what would
be required in the tort system, and therefore holders of stronger claims will have their recoveries
diluted by allowing holders of weaker claims to collect on their claims under the Trust
Distribution Procedures. Indeed, as written, claimants can recover under the Trust Distribution
Procedures with no medical records and just a doctor’s note—which need not even be from the
claimant’s treating physician—providing a diagnosis. And for exposure evidence, claimants
need only provide their own word that they were exposed to Debtors’ talc. This is far short of the
type of evidence that would be needed to recover in the tort system, where a plaintiff must
demonstrate both general and specific causation, i.e., that the Debtors’ talc can cause the
claimants’ injuries and that it actually did so in that specific case; where the claimant would need
to show real proof of actual use of the product; pathology or medical records confirming the
diagnosis; and where defendants would be entitled to (and incentivized to) cross-examine the
doctor, the plaintiff, and any evidence of causation.

        Additionally, a claimant in the tort system alleging mesothelioma as a result of exposure
to talc would very likely need to show exposure well beyond three years to have any chance of
recovery. This is particularly the case with peritoneal mesothelioma which typically requires
significant amounts of asbestos exposure to develop. The medical/exposure criteria also make no
distinction between the types of mesothelioma eligible for recovery from the Trust. In the tort
system, the distinction is critical as some forms of mesothelioma, like pericardial mesothelioma,
are exceedingly rare and the relationship, if any, between this form of mesothelioma and
asbestos exposure is unclear. In addition, the criteria do not require any particular manner, or
even amount, of talc exposure. This, too, would be important in the tort system as a claimant
who alleges talc use in her shoes or on her feet will have more difficulty establishing causation
than a claimant who alleges talc use closer to his “breathing zone.” Similarly, it would be far

88
         [NTD: The version of the Disclosure Statement filed on 12/22/20 removes language stating that
there is a likelihood that virtually every Mesothelioma Claimant has been exposed to cosmetic talc. J&J
agrees that this language should be removed.]

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more difficult to establish causation in the tort system where a claimant alleges one “shake” per
day as opposed to a plaintiff who alleges several “shakes” several times per day. The
medical/exposure criteria to recover for ovarian cancer under the Trust are similarly weaker than
would be required in the tort system. As with mesothelioma, only a 3-year period of use is
required—and the 3-years need not be consecutive. A claimant alleging ovarian cancer from talc
exposure would likely need to allege significantly more exposure to establish causation.
Moreover, as with mesothelioma, there is no requirement to establish how much talc is used per
application nor how often talc was applied. Finally, the Trust Distribution Procedures propose
compensating claimants with alleged mesothelioma claims based on as little as a 10-year latency
period, which is contrary to well-established science.89

                 (3)      40/40/20 Fund Allocation

        The division of cash derived from the Talc Personal Injury Trust Assets into three
separate pools was the result of extensive internal deliberations among members of the Tort
Claimants’ Committee designed to achieve the support of the tort claimants. The Trust
Distribution Procedures allocate 40% of Talc Personal Injury Trust funds to each of Ovarian
Cancer A and Mesothelioma Claims, and 20% to Ovarian Cancer B, C, and D Claims. If an
Ovarian Cancer B, C, or D Claimant is later diagnosed with a higher stage of Ovarian Cancer or
dies from Ovarian Cancer, that claimant is entitled to return to the Talc Personal Injury Trust for
the difference between the amount such claimant received as an Ovarian Cancer B, C, or D
Claimant and the amount that such claimant would have received had such claimant originally
filed for recovery based on the subsequent injury or circumstance.

        The Tort Claimants’ Committee consulted with its counsel and estimation expert and
considered many different alternatives before agreeing to the current proposal. The Tort
Claimants’ Committee believes that the division is appropriate and the best of available
alternatives, based on the nature of the claims to be paid under the Talc Personal Injury Trust,
the respective severity of the claims, the state of talc litigation, and the necessity of obtaining an
affirming vote on the Plan.90

                 (4)      Establishment of Scheduled/Average/Maximum Values

       The Plan Proponents believe that the Debtors’ prepetition settlement data and overall
experience in the tort system do not provide a sufficient basis for establishing the values of the
present or future talc claims for ovarian cancer or for mesothelioma. The Debtors settled few


89
     See, e.g., https://www.cancer.org/cancer/malignant-mesothelioma/causes-risks-prevention/risk-
factors.html (“Mesotheliomas related to asbestos exposure take a long time to develop. The time between
the first asbestos exposure and diagnosis of mesothelioma is usually between 20 and 50 years.”); V.
Neumann et al., Factors influencing long-term survival in mesothelioma patients—results of the German
mesothelioma      register,  INTERNATIONAL           ARCHIVES        OF     OCCUPATIONAL           AND
ENVIRONMENTAL HEALTH. 191, 192 (2004); 77:191-199 (noting long latency period, on average 35
years, between exposure and clinical manifestation).
90
       [NTD: The Disclosure Statement should include language indicating that ovarian cancer
claimants will receive lower recoveries because of the disproportionate number of ovarian cancer claims
as compared to mesothelioma claims and the allocation of Trust Assets among the Funds.]

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claims, and there is no public data on J&J’s settlements of suchmore than 60 claims.78 91 The
small number of trials involving talc-related claims for these diseases have produced few
verdicts (none of which are final), which the Plan Proponents assert are inadequate to serve as a
basis for projecting future values.92 After exploring various potential reference points for
valuation, the Scheduled Value for Mesothelioma was ultimately extrapolated from that of the
Manville Trust, and set at a conservative $400,000. While slightly higher than the Manville
Trust’s Scheduled Value of $350,000 for Mesothelioma Claims, that value was set 18 years ago,
in December 2002. Adjusted for subsequent inflation, if set today the Scheduled Value would
exceed $500,000. Moreover, Manville’s share of the asbestos liability was somewhat reduced
because of the liability of other asbestos defendants. Because there is no data available to
distinguish the values of Mesothelioma and Ovarian Cancer A Claims, and both have generated
high jury verdicts as well as defense verdicts, Ovarian Cancer A Claims were set at the same
value assigned to Mesothelioma Claims. The Maximum Values established by the Trust
Distribution Procedures permit a claimant who has particularly high damages or other factors
that would cause such claimant’s claim to have a higher value in the tort system to seek a
resolution at a higher value than the Scheduled Value under the Trust Distribution Procedures.
The Average Value is designed to be the average value of claims settled at the Scheduled Values
or higher values as a means to, among other things, preserve the Talc Personal Injury Trust’s
payment percentage.

       The Average and Maximum Values are based on the ratio of the scheduled to average to
maximum values of existing asbestos trusts. Based on information considered, and consistent
with the valuation matrices established by those other trusts, the Average Values were set at
125% and Maximum Values were set at 337.5% of the Scheduled Values.

        J&J believes that it is improper to disregard the Debtors’ actual litigation history in
setting claim values under the Trust Distribution Procedures and disagrees that the Manville
Trust is an appropriate point of reference on which to base claim values for several reasons.
First, Manville made a wide range of asbestos products spanning numerous applications,
including insulation, flashing, brake linings, and asbestos cement, owned and operated its own
asbestos mines, and, along with a few other companies, supplied most of the asbestos used on
ships and airplanes during World War II. For decades, the company’s focus was an array of
asbestos materials, largely within the construction industry; their products consisted of actual
asbestos products made up of 65 to 70% pure amphibole asbestos, as opposed to the claims here
of asbestos contamination from thousandths to ten millionths of 1 percent in a product.

        When Manville Corp. filed for bankruptcy in 1982, it was the largest manufacturer and
distributor of asbestos products and raw asbestos in the United States,93 occupying
approximately 60% or more of the market. Additionally, at the time of the Manville Trust
formation, there was a known established causal relationship between asbestos exposure and

7891
        The Plan Proponents are not aware of prepetition Talc Personal Injury Claims that were finally
adjudicated and left unpaid as of the Petition Date.
92
        The verdict history is discussed below.
93
    See     https://www.washingtonpost.com/archive/business/1990/11/20/a-history-of-asbestos-and-the-
manville-trust-fund/fb60ed34-2a94-4570-9648-9e2efb8167f0/

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mesothelioma and an established dose-response relationship such that general causation was
essentially uncontested with respect to the thousands of mesothelioma claims Manville faced.94
By contrast, with respect to “Other Cancers” under the Manville Trust, where causation was in
dispute, the 2002 Trust Distribution Procedures include a significantly reduced scheduled value
of $45,000 in a case, unlike here, where Manville was the target defendant and had had many
large punitive judgment verdicts awarded against it.95

        Litigation arising from the use and/or exposure to talc is vastly different from traditional
asbestos litigation; as the Debtors state, the liability and causation of the claims are hotly
contested. The science that underlies plaintiffs’ theories is far from settled. This includes
disputes as to whether talc itself causes cancer and whether there is asbestos in talc. In fact, for
ovarian cancer, cohort studies—which yield the most reliable epidemiological results—show no
evidence of causation, and the weaker and flawed case control studies relied upon by plaintiffs’
experts at most reflect a 0.3% increase in odds of the disease and do not show a dose response
relationship, compared to the minimum of 14% increase in risk for mesothelioma and clear dose
response established in Manville. In addition, there are no talc epidemiology studies to support
plaintiffs’ claims that cosmetic talc causes mesothelioma, and the epidemiology studies of
miners and millers in cosmetic talc mines reflect no increased risk of mesothelioma.96 Plaintiffs’
own experts have also opined that the asbestos content of the cosmetic talc products at issue is
thousandths to ten-millionths of one percent with many bottles containing no asbestos, whereas
J&J’s testing and that of its experts confirm that there is no asbestos in J&J talc. This compared
with the Manville products, which were intended to be and were actual asbestos products,
sometimes containing as much as 60-70% pure amphibole asbestos. Here, the Debtors
themselves continue to stand behind the safety of their product and the science that supports it.

         First, in literally thousands of cases, courts or plaintiffs themselves have dismissed cases
against the Debtors before any trial or judgment. The Debtors have also obtained summary
judgment rulings dismissing claims against it in certain jurisdictions under the “bulk supplier” or
similar immunity doctrines. In three out of the five ovarian cancer claims cases that went to
trial, the jury issued verdicts in favor of the Debtors, while the remaining two plaintiff verdicts
were reversed and vacated on appeal. In two mesothelioma cases against the Debtors that were
tried to verdict, one resulted in a defense verdict and one a verdict against all defendants
including Imerys (Imerys’s share of the verdict was 30%), which is pending appeal. In addition,
in contrast to Manville, the Debtors have not been the target defendant in the talc cases and have
paid no judgments over the course of the litigation. The Debtors’ position was further
strengthened by the decision in the federal MDL on April 27, 2020 limiting the testimony of
plaintiffs’ key experts and acknowledging the unsettled science on causation. See In re Johnson
& Johnson Talcum Powder Prod. Mktg., Sales Practices & Prod. Litig., MDL No. 2738, Civil
Action No. 16-2738 (FLW) (D.N.J. April 27, 2020).


94
     The EPA published the dose-response relationship in 1986.
95
   Other Cancer in the Manville TDP includes primary colorectal, laryngeal, esophageal, pharyngeal, or
stomach cancer.
96
  See IARC Monographs on the Evaluation of Carcinogenic Risks to Humans, Vol. 93, Carbon Black,
Titanium Dioxide, and Talc (2010).

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        In light of the above, J&J disagrees with the Plan Proponents’ failure to take into account
the Debtors’ actual settlement history and tort system experience and the weakness of the claims,
particularly in view of the general causation and asbestos contamination disputes, in setting the
claim values under the Trust Distribution Procedures.

                 (5)      Indemnified/Non-Indemnified and Mixed Claims Treatment

        A Tort System Election Claimant will either receive a share of the cash assets funded by
the Debtors or the opportunity to pursue recovery in the tort system. The Scheduled Value
assigned to a Tort System Election Claimant reflects this election. All claimants have a right to
share in the Rio Tinto/Zurich Settlement funding. A Mixed Claimant essentially has two claims
– a J&J related claim and a non-J&J related claim. Such claimants may assert both claims under
the Trust Distribution Procedures.

        J&J believes that this structure is impermissible, as it suggests that J&J is to fully
indemnify a Tort System Election Claimant in the tort system for 100% of the claim, while at the
same time allowing that same claimant to obtain a lesser value from the Rio Tinto/Zurich
Settlement fund in the trust, thus recovering greater than 100% on the claimants’ single injury.
J&J believes the same to be true regarding the Mixed Claimants—the Debtors are impermissibly
treating Mixed Claimants as having two claims with two recoveries, despite the fact that a single
Mixed Claimant has a single injury. J&J asserts that this is not how tort recoveries are meant to
operate. The tort system is predicated on the idea of making a tort victim “whole again,” and it is
impermissible for a plaintiff to obtain a double recovery for the same injury under multiple legal
theories. See, e.g., Aero Products Int’l, Inc. v. Intex Rec. Corp., 466 F.3d 1000, 1020 (Fed. Cir.
2006). Because this type of double recovery would not be available to the claimants outside of
bankruptcy, J&J maintains that it is not supportable inside of bankruptcy and that it is improper
under United States Supreme Court precedent. See Butner v. United States, 440 U.S. 48, 55
(1979) (holding that a creditor should not obtain a “windfall merely by reason of the
happenstance of bankruptcy”).

                 (6)      Payment Percentage

        Following significant analysis by the Tort Claimants’ Committee and the FCR, in
consultation with their respective experts, ranges have been established for the Initial Payment
Percentage to apply to each Fund. The Initial Payment Percentages were set based on criteria
including estimates of the total number of claims that will seek compensation from the Talc
Personal Injury Trust, the total number of claims that will qualify for payment from the Talc
Personal Injury Trust based on the criteria that has been established for payment, and the
anticipated administrative costs of the Talc Personal Injury Trust. The Initial Payment
Percentage for Fund A will be established between [______]; the Initial Payment Percentage for
Fund B will be established between [_______]; the Initial Payment Percentage for Fund C will
be established between [_______]. The Initial Payment Percentages may change if there are
significant changes in cash attributable to the Talc Personal Injury Trust.

        (e)      Objections by Various Claimants




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        Various claimants have come forward to contest the fairness of the proposed trust
mechanism. Unlike the Debtors, the Tort Claimants’ Committee, and the FCR, these claimants
do not have fiduciary obligations to the Estates and to the Estates’ creditors and no obligation to
ensure fair treatment for all holders of current Talc Personal Injury Claims or future Demands
against the Talc Personal Injury Trust. The Plan Proponents disagree with the objections raised
by these claimants and believe that they will be overruled by the Bankruptcy Court. It is
possible, however, that the Bankruptcy Court will agree with one or more of the objections
raised by these claimants.97

8.2     Select Provisions of the Trust Distribution Procedures

       This Section of this Disclosure Statement summarizes certain relevant provisions of the
Trust Distribution Procedures, and is intentionally not a recitation of the entirety of the Trust
Distribution Procedures. For additional information regarding the Trust Distribution Procedures
not discussed in this Section, please refer to the following select provisions of the Trust
Distribution Procedures:

                                    Topic                                        Plan Provision
Resolution of Talc Personal Injury Claims                                      Section V
Claims Materials                                                               Section VI
General Guidelines for Liquidating and Paying Claims                           Section VII
Miscellaneous                                                                  Section VIII

     THE FOLLOWING SUMMARY HIGHLIGHTS CERTAIN OF THE SUBSTANTIVE
PROVISIONS OF THE TRUST DISTRIBUTION PROCEDURES, AND IS NOT, NOR IS IT
INTENDED TO BE, A COMPLETE DESCRIPTION OR A SUBSTITUTE FOR A FULL AND
COMPLETE REVIEW OF THE TRUST DISTRIBUTION PROCEDURES. THE PLAN
PROPONENTS URGE ALL HOLDERS OF TALC PERSONAL INJURY CLAIMS TO READ
AND STUDY CAREFULLY THE TRUST DISTRIBUTION PROCEDURES, A COPY OF
WHICH IS ATTACHED AS EXHIBIT A TO THE PLAN. CAPITALIZED TERMS USED
BUT NOT DEFINED IN THIS SECTION 8.2 HAVE THE MEANINGS ASCRIBED TO
THEM IN THE TRUST DISTRIBUTION PROCEDURES.

        (a)      Overview

                 (1)      Trust Purpose

       The purpose of the Trust is to assume the liability for Talc Personal Injury Claims
pursuant to the terms of the Plan, and to use the Trust Distributable Assets to resolve and, if
appropriate, promptly pay Talc Personal Injury Claims in such a way that holders of similar Talc

97
       [NTD: This language was added to the Disclosure Statement filed 12/22/20. J&J agrees that this
language should be included in the Disclosure Statement.]

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Personal Injury Claims are valued and paid in substantially the same manner and otherwise
comply with the requirements of a trust set forth in section 524(g) of the Bankruptcy Code. To
this end, the Trust Distribution Procedures set forth procedures for processing, resolving, and
paying (as appropriate) Ovarian Cancer A-D Claims and Mesothelioma Claims through the
Expedited Review Process in Section 5.2(a) of the Trust Distribution Procedures or the
Individual Review Process in Section 5.2(b) of the Trust Distribution Procedures. The Trust has
established Medical/Exposure Criteria in recognition of the unique and widespread consumer
and commercial nature of the use of Imerys Talc and Imerys Talc containing products and in
recognition of the limited Talc Personal Injury Trust Assets.

                 (2)      Trust Sub-Funds

        The Trust Fund shall be divided into three funds within the Trust (each, a “Fund”). Each
Fund operates entirely separately and any changes to the administration of one Fund, such as
changes to Medical/Exposure Criteria, Scheduled, Average or Maximum Values, Payment
Percentage or Maximum Annual Payment, shall not affect or require changes to the other Funds.
Each Fund shall be subject to the terms set forth in the Trust Distribution Procedures for such
Fund, and each Fund shall be operated for the exclusive benefit of the respective beneficiaries of
each Fund. Administrative expenses attributable to the operation of one Fund (including the
processing of claims asserted against such Fund) shall be allocated to that Fund separately.
Common administrative expenses incurred by the Trust that cannot be attributed to the operation
of a single Fund shall be split among the three Funds with (i) Fund A responsible for 40% of the
shared costs; (ii) Fund B responsible for 40% of the shared costs; and (iii) Fund C responsible
for 20% of the shared costs.

                Fund A: Ovarian Cancer A Claimants may seek a distribution from Fund A.
                 Fund A shall consist of a separate sub-account within the Trust equal to 40% of
                 the total Trust Fund.
                Fund B: Mesothelioma Claimants and Secondary Mesothelioma Claimants may
                 seek a distribution from Fund B. Fund B shall consist of a separate sub-account
                 within the Trust equal to 40% of the total Trust Fund.
                Fund C: Ovarian Cancer B, C, and D Claimants may seek a distribution from
                 Fund C. Fund C shall consist of a separate sub-account within the Trust equal to
                 20% of the total Trust Fund.
        (b)      Treatment of Claims

                 (1)      Treatment of Indemnified Claims

        All holders of Indemnified Claims79 98 (irrespective of cancer, disease or other personal
injury) shall elect to either: (1) seek recovery for such claim solely from the Trust Fund under
the applicable Fund through the Expedited Review Process (if available) or the Individual

7998
        “Indemnified Claims” means Talc Personal Injury Claims that are Indemnified. In addition,
“Indemnified” is used to describe any Talc Personal Injury Claim or any category of Talc Personal Injury
Claims, in respect of which the Debtors, Talc Personal Injury Claimants, the Trust, and/or any other
person or entity who could have asserted or may assert, rights under and to the J&J Indemnities.

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Review Process as set forth in Sections 2.4 and 2.5 of the Trust Distribution Procedures as a
Trust Election Claim; or (2) (x) pursue such claim against one or more of the Debtors, in the tort
system in any court of competent jurisdiction selected by such Talc Personal Injury Claimant, in
their sole discretion, based on one or more of the J&J Indemnities and (y) seek recovery for such
claim as against one or more of the non-Debtor Protected Parties under the applicable Fund
through the Expedited Review Process (if available) or the Individual Review Process as set
forth in Sections 2.4 and 2.5 of the Trust Distribution Procedures as a Tort System Election
Claim.80 99

        The Trust shall make available to Talc Personal Injury Claimants copies of all
agreements governing the J&J Indemnities. It shall be the responsibility of each Talc Personal
Injury Claimant to determine such Talc Personal Injury Claimant’s rights under the J&J
Indemnities prior to making the election set forth in Section 2.3(a)(ii)(x) of the Trust Distribution
Procedures. Any settlement of or judgment on a Tort System Election Claim defended by J&J in
the tort system shall not be subject to any Payment Percentage or Maximum Annual Payment.
The Trust shall have no obligation to defend any such claims in the tort system.

        Upon settlement of the Debtors’ liability with respect to a Tort System Election Claim or
entry of a judgment by Final Order in respect of such liability, J&J shall pay such final
settlement reached with J&J or judgment entered in the tort system directly to such Tort System
Election Claimant, and for the avoidance of doubt, none of the Trust, the Debtors or the
Reorganized Debtors shall have any obligation to pay such settlement or judgment. Should the
Tort System Election Claimant fail to receive payment from J&J within thirty (30) days after a
final settlement has been reached or a judgment by Final Order has been entered, the Tort
System Election Claimant shall have all rights and remedies available under applicable law as
against J&J. The Trust may but shall have no obligation to pursue collection of any final
settlement reached or final judgment obtained by the Tort System Election Claimant.

        The Trust reserves the right to pursue the rights of any and all Trust Election Claimants
against J&J on account of one or more of the J&J Indemnities. In such event, the costs of such
pursuit shall be borne by the Trust and any recovery on account of such Talc Personal Injury
Claim shall be paid to the Trust.

       Holders of Mixed Claims81 100 shall receive the right to (i) in respect of their Indemnified
Claims, make the same election as Indemnified Claimants set forth in Section 2.3(a) of the Trust
Distribution Procedures; and (ii) in respect of their Non-Indemnified Claims seek recovery from
Funds A, B, or C, whichever is applicable, as set forth in Sections 2.4 and 2.5 of the Trust
Distribution Procedures.


8099
         As set forth in Sections 5.2(a)(iii) and 5.2(b)(vii) of the Trust Distribution Procedures, the
Scheduled, Average and Maximum Values provided for Tort System Election Claims are reduced to
reflect the election to pursue recovery in the tort system in lieu of sharing in the cash assets contributed by
the Debtors to the Trust.
81100
        “Mixed Claim” means a Talc Personal Injury Claim for Ovarian Cancer or Mesothelioma that is
both an Indemnified Claim and a Non-Indemnified Claim. In addition, “Non-Indemnified Claim” means
any Talc Personal Injury Claim that is not an Indemnified Claim.

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                 (2)      Treatment of Ovarian Cancer A-D Claims

        Ovarian Cancer A Claimants who elect to seek recovery from Fund A through the
Expedited Review Process or the Individual Review Process, shall be subject to the review and
valuation procedures set forth in the Trust Distribution Procedures and shall be subject to the
applicable Scheduled, Average and/or Maximum Values and Payment Percentage.

       Ovarian Cancer B through D Claimants who elect to seek recovery from Fund C through
the Expedited Review Process or the Individual Review Process, shall be subject to the review
and valuation procedures set forth in the Trust Distribution Procedures and shall be subject to the
applicable Scheduled, Average and/or Maximum Values and Payment Percentage.

       Holders of Mixed Claims for Ovarian Cancer who elect to seek recovery from the
applicable Fund in respect of their Non-Indemnified claims also retain the right to pursue
recovery on their Indemnified Claims as set forth in Section 2.3(a) of the Trust Distribution
Procedures.

                 (3)      Treatment of Mesothelioma Claims

        Mesothelioma Claimants with Regular and Routine Exposure who elect to seek recovery
from Fund B through the Expedited Review Process or the Individual Review Process, shall be
subject to the review and valuation procedures set forth in the Trust Distribution Procedures and
shall be subject to the applicable Scheduled, Average and/or Maximum Values and Payment
Percentage.

       Mesothelioma Claimants without Regular and Routine Exposure and Secondary
Mesothelioma Claimants who elect to seek recovery from Fund B through the Individual Review
Process, shall be subject to the review and valuation procedures set forth in the Trust
Distribution Procedures (including the terms set forth in Sections 5.2(b)(iv) and (v) of the Trust
Distribution Procedures) and shall be subject to the applicable Scheduled, Average and/or
Maximum Values and Payment Percentage.

       Holders of Mixed Claims for Mesothelioma who elect to seek recovery from Fund B in
respect of their Non-Indemnified claims also retain the right to pursue recovery on their
Indemnified Claims as set forth in Section 2.3(a) of the Trust Distribution Procedures.

                 (4)      Claim Treatment Summary

       The following chart summarizes the information contained in Sections 2.3 to 2.5 of the
Trust Distribution Procedures:

Disease                 Indemnified (J&J Product)            Non-Indemnified (No J&J Product)
Mesothelioma            May elect either: (a) to proceed     May file a claim with the Trust under
Claims with             against the Debtors in the tort      Expedited Review or Individual Review,
Regular and             system pursuant to indemnification   as set forth in the Trust Distribution
Routine Exposure        by J&J AND seek recovery from        Procedures, for distribution from the Trust
                        the Trust as      a Tort System      Fund as a Non-Indemnified Claim.
                        Election Claimant; OR (b) to seek


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Disease                 Indemnified (J&J Product)            Non-Indemnified (No J&J Product)
                        recovery solely from the Trust as a
                        Trust Election Claimant.
Mesothelioma            May elect either: (a) to proceed May file a claim with the Trust under
Claims without          against the Debtors in the tort Individual Review, as set forth in the Trust
Regular and             system pursuant to indemnification Distribution Procedures, for distribution
Routine Exposure        by J&J AND seek recovery from from the Trust Fund as a Non-Indemnified
and Secondary           the Trust as       a Tort System Claim.
Mesothelioma            Election Claimant; OR (b) to seek
Claims                  recovery solely from the Trust as a
                        Trust Election Claimant.
Ovarian Cancer A        May elect either: (a) to proceed May file a claim with the Trust under
through D               against the Debtors in the tort Expedited Review or Individual Review,
                        system pursuant to indemnification as set forth in the Trust Distribution
                        by J&J AND seek recovery from Procedures, for distribution from the Trust
                        the Trust as       a Tort System Fund as a Non-Indemnified Claim.
                        Election Claimant; OR (b) to seek
                        recovery solely from the Trust as a
                        Trust Election Claimant.
Mixed Claim             In respect of the Indemnified Claim, may elect either: (a) to proceed against the
                        Debtors in the tort system pursuant to indemnification by J&J AND seek
                        recovery from the Trust as a Tort System Election Claimant; OR (b) may file a
                        claim with the Trust under Expedited Review or Individual Review, as set forth
                        in the Trust Distribution Procedures, for distribution from the Trust Fund as a
                        Mixed Claimant. In respect of the Non-Indemnified Claim, may file a claim
                        with the Trust under Expedited Review or Individual Review, as set forth in the
                        Trust Distribution Procedures, for distribution from the Trust Fund as a Trust
                        Election Claimant.

                 (5)      Necessity of Filing a Trust Claim Form

        All holders of Talc Personal Injury Claims, including Indemnified Claims and Mixed
Claims, must file a Trust Claim Form with the Trust. Holders of Indemnified Claims shall make
the election set forth in Section 2.3(a) of the Trust Distribution Procedures. Consent from the
Trust shall be required before an Indemnified Claimant or Mixed Claimant may pursue their
Indemnified Claims against the Debtors in the tort system pursuant to one or more of the J&J
Indemnities (including claimants asserting a Talc Personal Injury Claim that is not for
Mesothelioma or Ovarian Cancer). Indemnified Claimants and Mixed Claimants may then
commence litigation with the attendant rights to indemnification set forth in in the Trust
Distribution Procedures provided he or she thereafter files a Basic Claims Submission.

                 (6)      Application of the Payment Percentages

        Any adjustments to Payment Percentages shall be made only pursuant to Section 4.2 of
the Trust Distribution Procedures, and any adjustments to paid claims are governed by Section
4.3 of the Trust Distribution Procedures. Because there is uncertainty in the prediction of both
the total amount of the Trust’s talc-related liabilities and the amount of the Talc Personal Injury




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Trust Assets, no guarantee can be made of the Payment Percentage that will be applicable to any
Talc Personal Injury Claim.

                 (7)      Determination of the Maximum Annual Payments

         The Trust shall model the cash flow, principal, and income year-by-year to be paid over
its entire life of each Fund to ensure that each Fund shall be available to treat all present and
future holders of Talc Personal Injury Claims as similarly as possible. In each year, based upon
the model of cash flow for each Fund, the Trust shall be empowered to make offers to Talc
Personal Injury Claimants up to the Maximum Annual Payment for each Fund considering the
Payment Percentage provisions set forth in Sections 4.2 and 4.3 of the Trust Distribution
Procedures. The Maximum Annual Payments for each Fund shall be determined annually by the
Trustees with the consent of the TAC and the FCR. The Trust’s offers to all Talc Personal
Injury Claimants from a given Fund shall not exceed the applicable Fund’s Maximum Annual
Payment so determined for that year. Should the Maximum Annual Payment for a particular
Fund not be reached in any year, the portion of the Maximum Annual Payment for each Fund
that is not exhausted in that year shall be added to the Maximum Annual Payment for the
applicable Fund for the following year and any subsequent year until exhausted or an adjustment
is made to the Payment Percentage applicable to such Fund. Should the Maximum Annual
Payment for the applicable Fund be reached in any Trust year before all claimants in the
applicable FIFO Payment Queue have been paid, such claimants shall be paid in the following
year in the order they appear in such Fund’s FIFO Payment Queue. The Payment Percentages
and the Maximum Annual Payment amounts are based on projections over the lifetime of the
Trust. If such long-term projections are revised, that may result in a new model of the Trust’s
anticipated cash flow and a new calculation of a Maximum Annual Payment for one or more of
the Funds.

                 (8)      Indirect Talc Personal Injury Claims

        As set forth in Section 5.4 of the Trust Distribution Procedures, Indirect Talc Personal
Injury Claims, if any, shall be subject to all the same limitations and provisions relating to
categorization, evaluation and payment of the Trust Distribution Procedures as all other Talc
Personal Injury Claims, including the applicable Payment Percentage. Neither J&J nor any of its
Affiliates shall have any right to recover against the Trust as an Indirect Claimant. J&J maintains
that this disparate treatment of J&J is patently unconfirmable, and if the Court agrees, J&J will
have the same rights as any other entity to recover against the Trust as an Indirect Claimant.

         Resolution of Indirect Talc Personal Injury Claims. Indirect Talc Personal Injury
Claims asserted against the Trust shall be treated as presumptively valid and paid by the Trust
subject to the applicable Payment Percentage (and all other limitations applicable to Direct Talc
Personal Injury Claims under the Trust Distribution Procedures) if (a) such claim satisfied the
requirements of the Claims Bar Date for such claims established by the Bankruptcy Court, if
applicable, and is not otherwise disallowed by section 502(e) of the Bankruptcy Code or
subordinated under section 509(c) of the Bankruptcy Code, and (b) an Indirect Claimant
establishes to the satisfaction of the Trustees that (i) the Indirect Claimant has paid in full the
liability and obligation of the Trust to the individual claimant to whom the Trust would
otherwise have had a liability or obligation under the Trust Distribution Procedures (and which

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has not been paid by the Trust), (ii) the Direct Claimant and the Indirect Claimant have forever
and fully released the Trust and the Protected Parties from all liability to the Direct Claimant
and the Indirect Claimant with respect to the particular claim, and (iii) the claim is not otherwise
barred by a statute of limitations or repose or by other applicable law.101 In no event shall any
Indirect Claimant have any rights against the Trust superior to the rights of the related Direct
Claimant against the Trust, including any rights with respect to the timing, amount or manner of
payment. In addition, no claim of an Indirect Claimant may be liquidated and paid in an amount
that exceeds what the Indirect Claimant has paid the related Direct Claimant in respect of such
claim for which the Trust would have liability. Further, in no event shall any Indirect Talc
Personal Injury Claim exceed the Maximum Value of the compensable injury. An Indirect Talc
Personal Injury Claim shall be subject to the applicable Payment Percentages and Average Value
set forth in the Trust Distribution Procedures.

        To establish a presumptively valid Indirect Talc Personal Injury Claim, the Indirect
Claimant’s aggregate liability for the Direct Claimant’s claim must also have been fixed,
liquidated and paid fully by the Indirect Claimant by settlement (with an appropriate full release
in favor of the Trust and the Protected Parties) or a Final Order, provided that such claim is valid
under applicable state law. In any case where the Indirect Claimant has satisfied the claim of a
Direct Claimant against the Trust under applicable law by way of a settlement, the Indirect
Claimant shall obtain for the benefit of the Trust and the Protected Parties a release in form and
substance satisfactory to the Trustees.

        If an Indirect Claimant cannot meet the presumptive requirements set forth above,
including the requirement that the Indirect Claimant provide the Trust and the Protected Parties
with a full release of the Direct Claimant’s claim, the Indirect Claimant may request that the
Trust review the Indirect Talc Personal Injury Claim individually to determine whether the
Indirect Claimant can establish under applicable state law that the Indirect Claimant has paid all
or a portion of a liability or obligation that the Trust had to the Direct Claimant. If the Indirect
Claimant can show that it has paid all or a portion of such liability or obligation, the Trust shall
reimburse the Indirect Claimant the amount of the liability or obligation so paid, times the then
applicable Payment Percentage. However, in no event shall such reimbursement to the Indirect
Claimant be greater than the amount to which the Direct Claimant would have otherwise been
entitled under the Trust Distribution Procedures. Further, the liquidated value of any Indirect
Talc Personal Injury Claim paid by the Trust to an Indirect Claimant shall be treated as an offset
to or reduction of the full liquidated value of any Talc Personal Injury Claim that might be
subsequently asserted by the Direct Claimant against the Trust. J&J believes that Indirect Talc
Personal Injury Claims should be presumptively valid where under applicable state law, an
Indirect Claimant’s claim against the Debtors would have survived dismissal absent the Debtors’
bankruptcy and that the proposed offset or reduction for potential payments to Direct Claimants
is inappropriate.



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   J&J believes that this structure creates unreasonable hurdles and burdens for Indirect Claimants
especially when compared against Direct Claimants. Indirect Talc Personal Injury Claims should be heard
and determined on the merits, and should not be narrowed through the artificial limitations that have been
created as part of this mechanism.

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        Any dispute between the Trust and an Indirect Claimant over whether the Indirect
Claimant has a right to reimbursement for any amount paid to a Direct Claimant shall be subject
to the ADR Procedures. If such dispute is not resolved under the ADR Procedures, the Indirect
Claimant may litigate the dispute in the tort system pursuant to Section 5.8 of the Trust
Distribution Procedures.

       Indirect Claimants holding Indirect Talc Personal Injury Claims that have not been
disallowed, discharged, or otherwise resolved by Final Order shall have such claims processed in
accordance with procedures to be developed and implemented by the Trustees consistent with
the provisions of Section 5.4 of the Trust Distribution Procedures, which procedures (a) shall
determine the validity, allowability and enforceability of such claims, and (b) shall otherwise
provide the same liquidation and payment procedures and rights to the holders of such claims as
the Trust would have afforded the holders of the underlying valid Talc Personal Injury Claims.
The Trustees may develop and approve a separate claim form for Indirect Claimants with the
consent of the TAC and FCR.

        (c)      TDP Administration

                 (1)      TAC and FCR

       Pursuant to the Plan, the Trust Agreement, and the Trust Distribution Procedures, the
Trustees shall obtain the consent of the TAC and the FCR with respect to any amendment,
change or modification to the Trust Distribution Procedures pursuant to Sections 4.1, 4.2, 5.2
and 8.3, and on such other matters as are required in the Trust Distribution Procedures or in the
Trust Agreement. On all other matters, the Trust shall be administered by the Trustees in
consultation with the TAC and the FCR.

                 (2)      Consent and Consultation Procedures

       In those circumstances in which consultation or consent of the TAC and FCR is required,
the Trustees shall provide written notice to the TAC and the FCR of the specific amendment or
other action that is proposed. The Trustees shall not implement such amendment or take such
action unless and until the parties have engaged in the Consultation Process described in
Section 7.1(a) or the Consent Process described in Section 7.1(b), as applicable, of the Trust
Agreement.

        (d)      Payment Percentage; Periodic Estimates

                 (1)      Uncertainty of Debtors’ Talc Liabilities

         Litigation arising from the use and/or exposure to talc is a relatively new mass tort and
there is inherent uncertainty regarding the aggregate value of the Debtors’ total talc-related
liabilities. The Trustees must determine from time to time the percentage of value that holders
of present and future Talc Personal Injury Claims are likely to receive from the applicable Fund
as reflected by the applicable Payment Percentage to provide reasonable assurance that holders
of similar Talc Personal Injury Claims are valued and paid in substantially the same manner.
Each Fund shall have its own Payment Percentage. No Payment Percentage shall apply to the
value of any payments owed by J&J by operation of one or more of the J&J Indemnities to

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holders of Tort System Election Claims or Mixed Claims determined by (a) settlement or (b) a
judgment by Final Order.

                 (2)      Computation of Payment Percentages

        The Initial Payment Percentage for each Fund shall be as follows:

                                      Fund                 Payment
                                                          Percentage
                                        A
                                        B
                                        C

        The Initial Payment Percentages shall apply to all Talc Personal Injury Claims to be paid
by the Trust until the Trustees, with the consent of the TAC and the FCR, determine that one or
more of the Payment Percentages must be changed to assure that the Trust shall be in a financial
position to pay present and future holders of similar Talc Personal Injury Claims in substantially
the same manner.

       In making any such change to any Payment Percentage, the Trustees, the TAC and the
FCR shall take into account the fact that the holders of Talc Personal Injury Claims who voted
on the Plan relied on the findings of experts that the Initial Payment Percentages represented a
reasonably reliable estimate of the Trust’s total assets and liabilities over the Trust’s life based
on the best information available at the time, and shall therefore give due consideration to the
expectations of such claim holders that the applicable Initial Payment Percentage would be
applied to their Talc Personal Injury Claims.

       No less frequently than once every twelve (12) months, commencing on the Initial
Claims Filing Date, the Trustees shall compare the liability forecasts for each Fund on which the
then applicable Payment Percentage is based with the actual claims filing and payment
experience of each Fund to date. If the results of the comparison call into question the ability of
any Fund to continue to rely upon the current liability forecast, the Trustees shall undertake a
reconsideration of the applicable Payment Percentage. The Trustees may also reconsider the
then-applicable Payment Percentages at shorter intervals if the Trustees deem such
reconsideration appropriate or if requested by the TAC or the FCR.

       The Trustees must base their determination of each of the Payment Percentages on
current estimates of the number, types, and values of present and future Talc Personal Injury
Claims, the value remaining in the applicable Fund, all anticipated administrative and legal
expenses, and any other material matters that are reasonably likely to affect the sufficiency of
funds available to pay the Trust’s liability to present and future holders of Talc Personal Injury
Claims.102


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       [NTD: Even if the exact Initial Payment Percentages are still being calculated, if, as represented
by counsel for the TCC at the 12/8/2020 hearing before the Court, they are likely to be in the single digits

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                 (3)      Applicability of the Payment Percentages

        The Trust shall apply the applicable Payment Percentages to all payments made to Talc
Personal Injury Claimants. The payment to a claimant shall reflect the applicable Payment
Percentage in effect at the time a Representative’s properly completed Acceptance and Release
is received by the Trust.

        If the Trustees, with the consent of the TAC and the FCR, increase the Payment
Percentage applicable to any Fund, the Trustees shall make supplemental payments to all
claimants who previously liquidated their claims and received payments from such Fund based
on the lower Payment Percentage. The amount of any such supplemental payment shall be the
liquidated value of the claim in question times the applicable newly adjusted Payment
Percentage, less all amounts previously paid to the claimant with respect to the claim (but
excluding any such amounts attributable to any sequencing adjustment paid pursuant to Section
7.7 of the Trust Distribution Procedures).

        The Trustees’ obligation to make a supplemental payment to a claimant shall be
suspended in the event the payment in question would be less than $250 after application of the
Payment Percentage at that time, and the amount of the suspended payment to the holder of any
Talc Personal Injury Claim shall be added to the amount of any prior supplemental
payment/payments that was/were also suspended because it/they collectively would have been
less than $250. However, the Trustees’ obligation shall resume, and the Trustees shall pay any
such aggregate supplemental payments due the claimant at such time that the cumulative
aggregate exceeds $250.

        (e)      Resolution of Unliquidated Talc Personal Injury Claims – Expedited Review
                 Process

                 (1)      In General

        The Expedited Review Process is designed to provide qualifying claimants (a) an
expeditious, efficient, and inexpensive method for liquidating applicable, compensable Talc
Personal Injury Claims where the claim, after meeting the applicable Medical/Exposure Criteria,
can easily be verified by the Trust; and (b) a fixed and certain claim value. If, after completing
its review, the Trust does not offer the claimant Scheduled Value, the claimant may provide
additional evidence and request that the claim be reviewed pursuant to the Individual Review
Process in accordance with Section 5.2(b) of the Trust Distribution Procedures or proceed to
ADR in accordance with Section 5.7 of the Trust Distribution Procedures.

                 (2)      Claims Processing Under the Expedited Review Process

       All claimants seeking liquidation of a Talc Personal Injury Claim pursuant to the
Expedited Review Process shall file the Trust Claim Form. Following receipt of a Complete
Claim Submission, the Trust shall determine whether the claim described therein meets the

by counsel for the TCC at the 12/8/2020 hearing before the Court, they are likely to be in the single digits
(and in the 5% range for ovarian cancer claimants), this information should be disclosed to creditors now,
as it directly impacts the potential recoveries available to claimants through the Trust.]

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Medical/Exposure Criteria for any claim category eligible for the Expedited Review Process and
shall advise the claimant whether the submitted Trust Claim Form is compensable or deficient.
If the Trust determines that a claim meets the Medical/Exposure Criteria for a claim category
eligible for the Expedited Review Process, the Trust shall tender to the claimant an offer of
payment equal to the Scheduled Value for such disease set forth in Section 5.2(a)(iii) of the Trust
Distribution Procedures, subject to the applicable Payment Percentage in accordance with
Section 4.3. Offers tendered to Ovarian Cancer A-D Claimants shall be subject to both the
BRCA Reduction and the Clear Cell Reduction, as applicable, after application of the Payment
Percentage. The Trust’s offer shall be delivered together with the form of Acceptance and
Release. Upon the Trust’s receipt of a properly completed Acceptance and Release, the claim
shall be placed in the applicable FIFO payment queue, and the Trust shall make payment on the
claim subject to the limitations, if any, of the applicable Maximum Annual Payment.

                 (3)      Ovarian Cancer A-D Claims and Mesothelioma Claims: Scheduled Value
                          and Medical/Exposure Criteria

        The Scheduled Values and Medical/Exposure Criteria set forth below shall apply to all
applicable claims for Ovarian Cancer A through D and Mesothelioma filed with the Trust on or
before the Initial Claims Filing Date for which the claimant elects the Expedited Review Process
and shall continue to apply unless and until changed in accordance with the Trust Distribution
Procedures. On or after the Initial Claims Filing Date, the Trustee, with the consent of the TAC
and FCR, may add to, change or eliminate Scheduled Values and/or Medical/Exposure Criteria
for Ovarian Cancer A-D Claims and Mesothelioma Claims except that in no event shall the
Scheduled Value for Ovarian Cancer A or Mesothelioma be reduced to an amount less than the
Scheduled Value identified below. In addition, commencing on January 1, 2022, the Trust shall
modify these valuations annually for inflation based on the CPI-U published by the United States
Department of Labor, Bureau of Labor Statistics. Any such changes shall apply to such Talc
Personal Injury Claims filed after the date of such change.

                            Expedited Review Medical/Exposure Criteria

 Disease/Category                         Medical/Exposure Criteria for Trust Distribution
 Mesothelioma                             (i) Diagnosis of Mesothelioma; (ii) Debtor Exposure;
                                          and (iii) Regular and Routine Exposure.
 Ovarian Cancer A                         (i) Diagnosis of Ovarian Cancer A; (ii) Debtor
                                          Exposure; and (iii) Personal Use Exposure.
 Ovarian Cancer B                         (i) Diagnosis of Ovarian Cancer B; (ii) Debtor
                                          Exposure; and (iii) Personal Use Exposure.
 Ovarian Cancer C                         (i) Diagnosis of Ovarian Cancer C; (ii) Debtor
                                          Exposure; and (iii) Personal Use Exposure.
 Ovarian Cancer D                         (i) Diagnosis of Ovarian Cancer D; (ii) Debtor
                                          Exposure; and (iii) Personal Use Exposure.




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                    Scheduled Values of Claims Eligible for Expedited Review

                                                             Scheduled Values
       Disease Level                                    Trust Election Claims
                                      Tort System
                                                        and Non-Indemnified          Mixed Claims
                                    Election Claims
                                                               Claims
 Mesothelioma                           $140,000                     $400,000           $400,000
 Ovarian Cancer A                       $140,000                     $400,000           $400,000
 Ovarian Cancer B                        $ 91,000                    $260,000           $260,000
 Ovarian Cancer C                        $ 49,000                    $140,000           $140,000
 Ovarian Cancer D                        $ 21,000                    $ 60,000            $ 60,000

        (f)      Resolution of Unliquidated Talc Personal Injury Claims – Individual Review
                 Process

                 (1)      In General

        Subject to the provisions set forth in the Trust Distribution Procedures, a claimant may
elect to have his or her Talc Personal Injury Claim reviewed under the Individual Review
Process to determine (A) for Ovarian Cancer A-D Claims and Mesothelioma Claims that meet
the relevant Medical and Exposure Criteria, whether the value of the claim differs from the
Scheduled Value provided (see Section 5.2(b)(iii)) in the Trust Distribution Procedures; and (B)
for Mesothelioma Claims without Regular and Routine Exposure, and Secondary Mesothelioma
Claims, whether the claim is compensable under the Trust Distribution Procedures and the value
of such claim (see Sections 5.2(b)(iv) and (v) of the Trust Distribution Procedures, respectively).
A Talc Personal Injury Claim liquidated in the Individual Review Process may be determined to
be more or less than the Scheduled Value the claimant would have received under the Expedited
Review Process. Until such time as the Trust has made an offer on a claim pursuant to the
Individual Review Process, the claimant may change his or her election to proceed with the
Individual Review Process and have the claim liquidated pursuant to the Expedited Review
Process. In the event of such a change in the processing election, the claimant shall nevertheless
retain his or her place in the applicable FIFO Processing Queue. If, after completing its review,
the Trust does not extend an offer, the claimant may provide additional evidence and request that
the claim be re-reviewed or proceed to ADR in accordance with Section 5.7 of the Trust
Distribution Procedures.

                 (2)      Foreign Claims

       Notwithstanding anything to the contrary in the Trust Distribution Procedures, based on
the fact that there is no history of Foreign Claims asserted against the Debtors, no Foreign
Claims shall be paid from the Trust or under the Trust Distribution Procedures.




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                 (3)      Ovarian Cancer A-D Claims and Mesothelioma Claims that meet the
                          Medical and Exposure Criteria

        Ovarian Cancer A-D Claimants and Mesothelioma Claimants that meet the Medical and
Exposure Criteria set forth in Section 5.2(a)(iii) of the Trust Distribution Procedures and believe
they are entitled to greater than the applicable Scheduled Value, shall be eligible to seek the
Individual Review Process to determine the value of their claims. The Individual Review
Process is intended to result in payments equal to the full liquidated value for each claim (subject
to the applicable Payment Percentage) which may be determined to be more or less than the
Scheduled Value the claimant would have received under the Expedited Review Process.
Because the detailed examination and valuation process pursuant to the Individual Review
Process requires substantial time and effort, claimants electing to undergo the Individual Review
Process may be paid on the basis of the liquidated value of their Talc Personal Injury Claims
later than would have been the case had the claimant elected the Expedited Review Process. The
liquidated value of an Ovarian Cancer A-D Claims or a Mesothelioma Claim that undergoes the
Individual Review Process in accordance with the factors set forth in Section 5.2(b)(vi) of the
Trust Distribution Procedures may be determined to be less than the Scheduled Value for the
applicable disease, and, in any event, shall not exceed the Maximum Value for such disease as
set forth in the Trust Distribution Procedures.

                 (4)      Mesothelioma Claims without Regular and Routine Exposure

         The Individual Review Process provides Mesothelioma Claimants that do not satisfy the
Regular and Routine Exposure criteria with an opportunity for individual consideration and
evaluation. If the Mesothelioma Claimant fails to meet the three-year exposure period criteria in
prong “a” of the Regular and Routine Exposure criteria but has routine and regular exposure
equivalent to the three-year period and no other exposure to asbestos, the Trust shall consider
and evaluate the nature, intensity and duration of the exposure to Imerys Talc. If the Trust is
satisfied that the claimant has presented a claim that would be compensable in the tort system,
the Trust may offer the claimant a liquidated value up to the applicable Scheduled Value for
Mesothelioma, subject to the applicable Payment Percentage. If the Mesothelioma Claimant
fails to meet prong “b” of the Regular and Routine Exposure criteria, the Trust shall consider and
evaluate the nature, intensity and duration of all other exposures to asbestos as well as the nature,
intensity and duration of the exposure to Imerys Talc. If the Trust is satisfied that the claimant
has presented a claim that would be compensable in the tort system, the Trust may offer the
claimant a liquidated value up to the applicable Scheduled Value for Mesothelioma, subject to
the applicable Payment Percentage.

                 (5)      Mesothelioma Secondary Exposure Claims

        If a claimant alleges Mesothelioma from Debtor Exposure based on exposure to Imerys
Industrial Talc from close physical contact to a person who was occupationally exposed
(whether direct or bystander) to Imerys Industrial Talc not incorporated in a product (i.e., a
“Secondary Mesothelioma Claim”), the claimant must seek the Individual Review Process for
his or her claim pursuant to Section 5.2(b) of the Trust Distribution Procedures. In such a case,
the claimant must establish that the occupationally exposed person would have met the exposure
requirements under the Trust Distribution Procedures that would have been applicable had the

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occupationally exposed person filed a Mesothelioma Claim against the Trust, including the
requirement of Debtor Exposure. In addition, the claimant with a Secondary Mesothelioma
Claim must establish that he or she is suffering from Mesothelioma, that his or her own Debtor
Exposure to the occupationally exposed person occurred within the same time frame that the
occupationally exposed person was exposed to Imerys Talc, and that such secondary exposure
was a cause of the Mesothelioma. If the Trust is satisfied that the claimant has presented a claim
that would be compensable in the tort system, the Trust may offer the claimant a liquidated value
up to the applicable Scheduled Value for Mesothelioma, subject to the applicable Payment
Percentage.

                 (6)      Valuation Factors to Be Considered in Individual Review Process

        The Trust shall liquidate the value of each Talc Personal Injury Claim that undergoes the
Individual Review Process based on the historic liquidated values of other similarly situated
claims in the tort system as it exists on the Effective Date for similar claims or an analogous
disease, or upon such criteria as the Trust may develop in consultation with the TAC and the
FCR based upon its claims administrative experience and information available on values
through continued litigation in the tort system. Accordingly, the Trust shall take into
consideration all of the factors that affect the amount of damages and values in the tort system,
including, but not limited to, credible evidence of (i) the degree to which the characteristics of a
claim differ from the Medical/Exposure Criteria for the disease in question; (ii) factors such as
the claimant’s age, disability, employment status, disruption of household, family or recreational
activities, dependencies, special damages, and pain and suffering; (iii) whether the claimant’s
damages were (or were not) caused by Debtor Exposure (for example, possible alternative
causes and the strength of documentation of injuries); (iv) settlement and verdict histories in the
Claimant’s Jurisdiction for similarly situated or analogous claims; (v) the greater of (a)
settlement and verdict histories for the claimant’s law firm in the Claimant’s Jurisdiction for
similarly situated or analogous claims, and (b) settlement and verdict histories for the claimant’s
law firm, including all cases where the claimant’s law firm satisfies the Trust on the basis of
clear and convincing evidence provided to the Trust that the claimant’s law firm played a
substantial role in the prosecution and resolution of the cases, such as actively participating in
court appearances, discovery and/or trial of the cases, irrespective of whether a second law firm
was also involved and would also be entitled to include the cases in its “settlement and verdict
histories.” For the avoidance of doubt, mere referral of a case, without further direct
involvement, will not be viewed as having played a substantial role in the prosecution and
resolution of a case. In liquidating the value of a Talc Personal Injury Claim that undergoes the
Individual Review Process, the Trust shall treat a claimant as living if the claimant was alive at
the time the initial prepetition complaint was filed or the Trust Claim Form was filed with the
Trust even if the claimant has subsequently died.

         With respect to Claimant’s Jurisdiction, if the claim was not filed against the Debtors in
the tort system prior to the Petition Date, the claimant may elect as the Claimant’s Jurisdiction
(i) the jurisdiction in which the claimant resides or resided at the time of diagnosis or when the
claim is filed with the Trust; (ii) a jurisdiction in which the claimant experienced exposure to
Imerys Talc or a product containing Imerys Talc; (iii) a jurisdiction in which the claimant
experienced conduct which exposed a claimant to a product containing Imerys Talc for which


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the Debtors have legal responsibility; or (iv) any other jurisdiction in which the claimant could
have brought suit in the absence of the bankruptcy cases.

        With respect to the Claimant’s Jurisdiction, in the event a claim is made under the Trust
Distribution Procedures for compensatory damages that would otherwise satisfy the criteria for
payment under the Trust Distribution Procedures, but Claimant’s Jurisdiction is a Foreclosed
Jurisdiction, the claimant may elect the Commonwealth of Pennsylvania as the Claimant’s
Jurisdiction, and such claimant’s damages shall be determined pursuant to the statutory and
common laws of the Commonwealth of Pennsylvania without regard to its choice of law
principles. The choice of law provision in Section 8.6 of the Trust Distribution Procedures
applicable to any claim with respect to which, but for this choice of law provision, the applicable
law of the Claimant’s Jurisdiction pursuant to Section 5.2(b)(vi) of the Trust Distribution
Procedures is determined to be the law of a Foreclosed Jurisdiction, shall govern only the rights
between the Trust and the claimant, and, to the extent the Trust seeks recovery from any entity
that provided insurance coverage to the Debtors, the law of the Foreclosed Jurisdiction shall
govern.

                 (7)      Average and Maximum Values for Talc Personal Injury Claims

        Average and Maximum Values for Talc Personal Injury Claims shall be as follows:

                                                           Average Values
                                                            Trust Election
       Disease Level                 Tort System           Claims and Non-
                                                                                 Mixed Claims
                                    Election Claims          Indemnified
                                                               Claims
Mesothelioma Claims with                $175,000                $500,000            $500,000
Regular and Routine
Exposure
Mesothelioma Claims                      $52,500                $150,000            $150,000
without Regular and
Routine Exposure
Secondary Mesothelioma                   $52,500                $150,000            $150,000
Claims
Ovarian Cancer A Claims                 $175,000                $500,000            $500,000
Ovarian Cancer B Claims                 $113,750                $325,000            $325,000
Ovarian Cancer C Claims                  $61,250                $175,000            $175,000
Ovarian Cancer D Claims                  $26,250                 $75,000             $75,000


       Disease Level                                      Maximum Values



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                                                            Trust Election
                                     Tort System           Claims and Non-
                                                                                 Mixed Claims
                                    Election Claims          Indemnified
                                                               Claims
Mesothelioma Claims with                $472,500              $1,350,000           $1,350,000
Regular and Routine
Exposure
Mesothelioma Claims                     $140,000                $400,000            $ 400,000
without Regular and
Routine Exposure
Secondary Mesothelioma                  $140,000               $ 400,000            $400,000
Claims
Ovarian Cancer A Claims                 $472,500              $1,350,000           $1,350,000
Ovarian Cancer B Claims                 $307,125                $877,500            $877,500
Ovarian Cancer C Claims                 $165,375                $472,500            $472,500
Ovarian Cancer D Claims                  $70,875                $202,500            $202,500

        The foregoing Average Values and Maximum Values shall apply to all Talc Personal
Injury Claims filed with the Trust on or before the Initial Claims Filing Date and shall continue
to apply unless and until changed in accordance with the Trust Distribution Procedures. On or
after the Initial Claims Filing Date, the Trust, with the consent of the TAC and FCR may change
these values as set forth in Section 4.1 of the Trust Distribution Procedures. Any such changes
shall apply to such Talc Personal Injury Claims filed after the date of such change.

                 (8)      Claims Processing Under Individual Review

        All claimants seeking liquidation of a Talc Personal Injury Claim pursuant to the
Individual Review Process shall file the Trust Claim Form. Following receipt of a Complete
Claim Submission, the Trust shall determine the liquidated value, if any, of the claim (as set
forth in the Trust Distribution Procedures) and shall advise the claimant of that determination.
The Trust shall tender to the claimant an offer of payment equal to the determined liquidated
value subject to the applicable Payment Percentage in accordance with Section 4.3 of the Trust
Distribution Procedures. Offers tendered to Ovarian Cancer A-D Claimants shall be subject to
both the BRCA Reduction and the Clear Cell Reduction, as applicable, after application of the
Payment Percentage. The Trust’s offer shall be delivered together with the form of Acceptance
and Release. Upon the Trust’s receipt of a properly completed Acceptance and Release, the
claim shall be placed in the applicable FIFO Payment Queue and the Trust shall make payment
on the claim, subject to the limitations, if any, of the applicable Maximum Annual Payment.




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        (g)      Evidentiary Requirements

                 (1)      Mesothelioma Medical Evidence

       In General. All diagnoses of Mesothelioma shall be accompanied by either (i) a
statement by the physician providing the diagnosis that at least ten (10) years have elapsed
between the date of first exposure to asbestos to onset of disease, or (ii) a history of the
claimant’s Debtor Exposure, which may be by affidavit, sales receipts, photographs, product
possession, invoices, employment, construction records, hospital records, or similar records, or
by other credible evidence, sufficient to establish a 10-year latency period.

       Credibility of Medical Evidence. Before making any payment to a claimant, the Trust
must have reasonable confidence that the medical evidence provided in support of the claim is
credible and consistent with recognized medical standards. Diagnosis by a physician competent
to make a diagnosis of Mesothelioma shall be sufficient medical evidence.

        In addition, claimants who otherwise meet the requirements of the Trust Distribution
Procedures for payment of a Talc Personal Injury Claim shall be paid irrespective of the results
in any litigation at any time between the claimant and any other defendant in the tort system.
However, any relevant evidence submitted in a proceeding in the tort system, other than any
findings of fact, a verdict, or a judgment, involving another defendant may be introduced by
either the claimant or the Trust in any Individual Review Process proceeding conducted pursuant
to Section 5.2(b) of the Trust Distribution Procedures or any Exigent Claim proceeding
conducted pursuant to Section 5.3(a) of the Trust Distribution Procedures. The Trust may take
any action it deems appropriate to protect the interests of the Trust in response to the submission
of Medical Evidence it deems unreliable.

                 (2)      Ovarian Cancer Medical Evidence

        In General. All diagnoses of Ovarian Cancer shall be accompanied by either (i) a
statement by the physician providing the diagnosis that at least ten (10) years have elapsed
between the date of first exposure to Imerys Talc or an Imerys Talc-containing product and the
diagnosis, or (ii) a history of the claimant’s Debtor Exposure, which may be by affidavit, sales
receipts, photographs, product possession, invoices, hospital records or similar records, or by
other credible evidence, sufficient to establish a 10-year latency period.

        Credibility of Medical Evidence. Before making any payment to a claimant, the Trust
must have reasonable confidence that the medical evidence provided in support of the claim is
credible and consistent with recognized medical and scientific standards. The Trust may require
the submission of pathology reports, laboratory tests, surgical reports, hospitalization records,
results of medical examinations or reviews of other medical evidence. Medical evidence that is
proof of diagnosis, subtype, and stages of epithelial ovarian cancer, fallopian tube cancer, or
primary peritoneal cancer by a gynecologic oncologist, medical oncologist, or pathologist, is
presumptively reliable, although the Trust may seek to rebut the presumption.

       In addition, claimants who otherwise meet the requirements of the Trust Distribution
Procedures for payment of a Talc Personal Injury Claim shall be paid irrespective of the results
in any litigation at any time between the claimant and any other defendant in the tort system.

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However, any relevant evidence submitted in a proceeding in the tort system, other than any
findings of fact, a verdict, or a judgment, involving another defendant may be introduced by
either the claimant or the Trust in any Individual Review Process proceeding conducted pursuant
to Section 5.2(b) of the Trust Distribution Procedures or any Exigent Claim proceeding
conducted pursuant to Section 5.3(a) of the Trust Distribution Procedures. The Trust may take
any action it deems appropriate to protect the interests of the Trust in response to the submission
of Medical Evidence it deems unreliable.

                 (3)      Exposure Evidence

        To receive compensation from the Trust, a claim must demonstrate Debtor Exposure.
Claims based on conspiracy theories that involve no exposure to talc or talc-containing products
sold, distributed, marketed, handled, processed or manufactured by the Debtors are not
compensable under the Trust Distribution Procedures. To meet the presumptive exposure
requirements of the Expedited Review Process, the holder of a claim for Ovarian Cancer A-D
must also establish Personal Use Exposure in addition to Debtor Exposure. To meet the
presumptive exposure requirements of the Expedited Review Process, the holder of a
Mesothelioma Claim must establish Regular and Routine Exposure in addition to Debtor
Exposure. Credible exposure evidence may be established by an affidavit or sworn statement
based on personal knowledge or by other credible evidence. The Trust may, but is not required
to, ask for the submission of other or additional evidence of exposure when it deems such to be
necessary.

        Evidence submitted to establish proof of exposure is for the sole benefit of the Trust, not
third parties or defendants in the tort system. The Trust has no need for, and therefore claimants
are not required to furnish the Trust with, evidence of exposure to specific products other than
those for which the Debtors have legal responsibility, except to the extent such evidence is
required elsewhere in the Trust Distribution Procedures. Similarly, failure to identify Debtor
Exposure in the claimant’s underlying tort action, or to other bankruptcy trusts, does not
preclude the claimant from recovering from the Trust, provided that the claimant satisfies the
medical and exposure requirements of the Trust Distribution Procedures.

        (h)      Claims Audit Program

        The Trust, with the consent of the TAC and the FCR, shall develop a Claims Audit
Program. Such Claims Audit Program shall include methods for auditing the reliability of
medical evidence, as well as the reliability of evidence of exposure to talc or talc-containing
products for which the Trust has legal responsibility. The Trust shall utilize the services of a
third-party claims processing facility (the “Claims Processor”) to assist in the evaluation of
claims submitted to the Trust and shall participate in a Cross-Trust Audit Program. The filing of
any claim with the Trust, regardless of the treatment sought, shall constitute consent for each
other trust participating in the Cross-Trust Audit Program to release to the entity overseeing the
Cross-Trust Audit Program (the “Auditor”) all information submitted to such other trusts by or
on behalf of the claimant pursuant to the provisions of the Cross-Trust Audit Program and to
disclose the status of any such claim and the amount and date of any payment on the claim to the
Auditor.



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       To the extent that the Trustees believe that it is relevant, nothing in the Trust Distribution
Procedures shall preclude the Trust or its Auditor, in the Trustees’ sole discretion, from
reviewing or taking into consideration filed state court complaints or other claims filed against
other mass tort trusts. Any claimant subject to the Claims Audit Program shall cooperate and,
provide the Trust with non-privileged information reasonably requested by the Trust and, if
requested by the Trustees, authorization to obtain from other mass tort trusts any information
such claimant has submitted to such other trusts.

        In the event that an audit reveals that fraudulent information has been provided to the
Trust, the Trust may penalize any claimant or claimant’s attorney by rejecting the Talc Personal
Injury Claim or by other means including, but not limited to, requiring the source of such
fraudulent information to pay the costs associated with the audit and any future audit or audits,
reordering the priority of payment of all affected claimants’ Talc Personal Injury Claims and any
other appropriate action or sanction.

        (i)      Withdrawal or Deferral of Claims

        A claimant may withdraw a Talc Personal Injury Claim at any time upon written notice
to the Trust and file another Talc Personal Injury Claim subsequently without affecting the status
of the claim for purposes of statutes of limitations or repose. All such claims filed after
withdrawal shall be given a place in the FIFO Processing Queue based on the date of such
subsequent filing. A claimant may also request that the processing of his or her Talc Personal
Injury Claim by the Trust be deferred for a period not to exceed three (3) years without affecting
the status of the claim for statute of limitations or repose purposes, in which case the claimant
shall also retain his or her original place in the applicable FIFO Processing Queue. During the
period of such deferral, a sequencing adjustment on such claimant’s Talc Personal Injury Claim
as provided in Section 7.7 of the Trust Distribution Procedures shall not accrue and payment
thereof shall be deemed waived by the claimant. Except for Talc Personal Injury Claims held by
representatives of deceased or incompetent claimants for which court or probate approval of the
Trust’s offer is required, a claim shall be deemed to have been withdrawn if the claimant neither
accepts, rejects, nor initiates arbitration within six (6) months of the Trust’s written offer of
payment or of rejection of the claim. Upon written request, for good cause, the Trust may extend
the withdrawal or deferral period for an additional six (6) months. During any period of deferral,
a sequencing adjustment on such claimant’s Talc Personal Injury Claim as provided in Section
7.7 of the Trust Distribution Procedures shall not accrue and payment thereof shall be deemed
waived by the claimant.

        (j)      General Guidelines for Liquidating and Paying Claims

                 (1)      Claims Processing

      The Trust may utilize the services of a Claims Processor. All Talc Personal Injury
Claims shall be resolved and, if determined to be eligible for payment, paid on an impartial,
FIFO basis.

       A claimant may not assert more than one Talc Personal Injury Claim under the Trust
Distribution Procedures. However, the holder of a Direct Talc Personal Injury Claim for Ovarian


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Cancer B, Ovarian Cancer C, or Ovarian Cancer D who is paid from Fund C may assert a new
claim for a higher level of Ovarian Cancer or Mesothelioma that is subsequently diagnosed.
Any additional payments as to which such claimant may be entitled shall be paid from Fund A
and shall be reduced by the amount paid from Fund C for any earlier-diagnosed disease and the
remaining amount due shall be subject to the then applicable Payment Percentage.

        Talc Personal Injury Claims shall be processed based on their place or places in the
applicable FIFO Processing Queues based upon the election (Expedited Review Process or
Individual Review Process) the Talc Personal Injury Claimant selects (if such election is
available). The Trust shall take all reasonable steps to resolve Talc Personal Injury Claims as
efficiently and expeditiously as possible at each stage of claims processing, including mediation
and arbitration, which steps may include, in the Trust’s sole discretion, conducting settlement
discussions with Representatives with respect to more than one claim at a time, provided that the
claimants’ respective positions in the applicable FIFO Processing Queues are maintained, and
each claim is individually evaluated pursuant to the valuation factors set forth in Section
5.2(b)(vi) of the Trust Distribution Procedures. Except as set forth in the Trust Distribution
Procedures, the Trust shall also make every effort to issue offers each year to at least that
number of Talc Personal Injury Claims required to exhaust the applicable Maximum Annual
Payment for each Fund.

       The Trustees shall use their reasonable best efforts to ensure that the Trust processes
claims such that over time the combination of settlements at the Scheduled Values (if applicable)
and those resulting from the Individual Review Process should generally result in the applicable
Average Values set forth in Section 5.2(b)(vii) of the Trust Distribution Procedures.

       Nothing in the Trust Distribution Procedures shall prevent the Trust from settling
multiple claims at one time

                 (2)      Sequencing Adjustments

        General. Subject to the limitations set forth in the Trust Distribution Procedures, a
sequencing adjustment shall be paid on all Talc Personal Injury Claims with respect to which the
claimant has had to wait a year or more for payment, provided, however, that no claimant shall
receive a sequencing adjustment for a period in excess of seven (7) years, for the period when
the claim was deferred or withdrawn at the claimant’s request, or during any period where the
Trust’s provision of payment to a claimant is delayed as the result of the claimant’s failure to
provide the Trust with additional information as requested on an unliquidated Talc Personal
Injury Claim. The sequencing adjustment factor shall be equal to the federal funds rate per
annum for each of the first five (5) years after the Effective Date; thereafter, the Trust shall have
the discretion to change the annual sequencing adjustment factor with the consent of the TAC
and the FCR.

        Unliquidated Talc Personal Injury Claims. A sequencing adjustment shall be payable
on the Scheduled Value of any unliquidated Talc Personal Injury Claim whether the claim is
liquidated under Expedited Review Process, Individual Review Process, or by arbitration. No
sequencing adjustment shall be available to or paid on any claim liquidated in the tort system
pursuant to Section 5.8 of the Trust Distribution Procedures. Sequencing adjustments on all


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such unliquidated claims shall be measured from the date of payment back to the date that is one
(1) year after the date on which the claim was placed in the FIFO Payment Queue, subject to the
limitation that no claimant shall receive a sequencing adjustment for a period in excess of seven
(7) years. Notwithstanding the provisions hereof, a sequencing adjustment shall not accrue
during any period where the Trust’s provision of payment to a claimant is delayed as the result
of the claimant’s failure to provide the Trust with information necessary to process a Talc
Personal Injury Claim.

                 (3)      Payment of Judgments for Money Damages

         The following does not apply to Indemnified Claims pursued in the tort system pursuant
to Section 2.3(a)(ii) of the Trust Distribution Procedures. If and when a claimant who elected
non-binding arbitration and rejected the arbitral award subsequently obtains a judgment in the
tort system, the claim shall be placed in the applicable FIFO Payment Queue based on the date
on which the judgment became final. Thereafter, the claimant shall receive from the Trust an
initial payment (subject to the applicable Payment Percentage and the applicable Maximum
Annual Payment) of an amount equal to the greater of (i) the Trust’s last offer to the claimant, or
(ii) the award that the claimant declined in non-binding arbitration; provided, however, that in no
event shall such payment amount exceed the amount of the judgment obtained in the tort system.
The claimant shall receive the balance of the judgment, if any, in five (5) equal installments in
years six (6) through ten (10) following the year of the initial payment (also subject to the
applicable Payment Percentage, Maximum Value, and the applicable Maximum Annual
Payment, if applicable, in effect on the date of the payment of the subject installment).

        The total amounts paid with respect to such claims shall not exceed the relevant
Maximum Values for such Disease Levels as set forth in Section 5.2(a)(iii) of the Trust
Distribution Procedures, subject to the applicable Payment Percentage. Under no circumstances
shall (a) sequencing adjustments be paid pursuant to Section 7.7 of the Trust Distribution
Procedures, or (b) interest be paid under any statute on any judgments obtained in the tort
system.

                                           ARTICLE IX.

                            CERTAIN FACTORS TO BE CONSIDERED

       Holders of Claims against the Debtors should read and consider carefully the
factors set forth below, as well as the other information set forth in this Disclosure
Statement and the documents delivered together herewith or incorporated by reference,
prior to voting to accept or reject the Plan. These factors should not, however, be regarded
as constituting the only risks involved in connection with the Plan and its implementation.

9.1     Variance from Financial Projections

        The summarized financial projections contained in Exhibit B (the North American
Debtors) and Exhibit C (ITI) are dependent upon numerous assumptions, including confirmation
and consummation of the Plan in accordance with its terms, the anticipated future performance
of the Reorganized Debtors, general business and economic conditions, and other matters, many


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of which are beyond the control of the Plan Proponents. Accordingly, there can be no assurance
that such assumptions will prove to be valid. In addition, unanticipated and unforeseeable events
and/or circumstances occurring subsequent to the preparation of the financial projections may
affect the actual financial results of the Reorganized Debtors. Although the Debtors believe that
the financial projections contained in Exhibit B and Exhibit C are reasonable and attainable,
some or all of the estimates will vary, and variations between the actual financial results and
those projected may be material.

9.2     Failure to Confirm the Plan

        Section 1129 of the Bankruptcy Code requires, among other things, a showing that
confirmation of the plan will not be followed by liquidation or the need for further financial
reorganization of the Debtors, that the Plan was filed in good faith, and that the value of
distributions to dissenting holders of Claims and Equity Interests may not be less than the value
such holders would receive if the Debtors were liquidated under chapter 7 of the Bankruptcy
Code. Although the Plan Proponents believe that the Plan will meet these tests, there can be no
assurance that the Bankruptcy Court will reach the same conclusion.

        The Bankruptcy Code also requires that a Plan must provide the same treatment for each
claim or interest in a particular class, unless a holder agrees to a less favorable treatment of its
particular claim or interest. The Plan Proponents believe that they have complied with the
requirements of the Bankruptcy Code by their classification and treatment of various holders of
Claims and Equity Interests under the Plan. However, if a member of a Class objects to its
treatment or if the Bankruptcy Court finds that the Plan does not comply with the requirements
of the Bankruptcy Code, confirmation of the Plan could be delayed or prevented. In addition,
each Impaired Class that will (or may) be entitled to receive property under the Plan will have
the opportunity to vote to accept or reject the Plan.

        Further, section 1122 of the Bankruptcy Code provides that a plan may place a claim or
interest in a particular class only if the claim or interest is substantially similar to the other
claims or interests in that class. The Plan Proponents believe that the classification of Claims
and Equity Interests under the Plan complies with the requirements of the Bankruptcy Code
because the Classes established under the Plan each encompass Claims or Equity Interests that
are substantially similar to similarly classified Claims or Equity Interests. Nevertheless, there
can be no assurance that the Bankruptcy Court will reach the same conclusion.

9.3     Non-Occurrence of the Effective Date

        The Plan provides that there are several conditions precedent to the occurrence of the
Effective Date. The Plan Proponents cannot assure you as to the timing of the Effective Date. If
the conditions precedent to the Effective Date have not been satisfied or waived, the Bankruptcy
Court may vacate the Confirmation Order. In that event, the Plan would be deemed null and
void and the Plan Proponents may propose or solicit votes on an alternative reorganization plan
that may not be as favorable to parties in interest as the Plan.




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9.4   The Recovery to Holders of Allowed Claims and Equity Interests Cannot Be Stated with
Absolute Certainty

         Due to the inherent uncertainties associated with projecting financial results and
litigation outcomes, the projections contained in this Disclosure Statement should not be
considered assurances or guarantees of the amount of funds or the amount of Claims that may be
Allowed in the various Classes. While the Plan Proponents believe that the financial projections
contained in this Disclosure Statement are reasonable, there can be no assurance that they will be
realized. Also, because the Liquidation Analysis (as defined below), distribution projections,
and other information contained herein and attached hereto are estimates only, the timing and
amount of actual distributions to holders of Allowed Claims and Equity Interests, if applicable,
may be affected by many factors that cannot be predicted.

       The Claims estimates set forth herein are based on various assumptions. The actual
amounts of Allowed Claims may differ significantly from those estimates should one or more
underlying assumption prove to be incorrect. Such differences may adversely affect the
percentage of recovery to holders of Allowed Claims and Equity Interests, if applicable, under
the Plan. Moreover, the estimated recoveries set forth herein are necessarily based on numerous
assumptions, the realization of many of which are beyond the Debtors’ control.

9.5     The Allowed Amount of Claims May Differ From Current Estimates

        There can be no assurance that the estimated Claim amounts set forth herein are correct,
and the actual amount of Allowed Claims may differ from the estimates. The estimated amounts
are subject to certain risks, uncertainties, and assumptions. Should one or more of these risks or
uncertainties materialize, or should underlying assumptions prove incorrect, the actual amount of
Allowed Claims may vary from those estimated in this Disclosure Statement. Furthermore, a
number of additional Claims may be filed, including on account of rejection damages for
Executory Contracts and Unexpired Leases rejected pursuant to the Plan. Any such claims may
result in a greater amount of Allowed Claims than estimated in this Disclosure Statement.

9.6     The Debtors May Object to the Amount or Classification of a Claim

        Except as otherwise provided in the Plan, the Debtors reserve the right to object to the
amount or classification of any Claim under the Plan. The estimates set forth in this Disclosure
Statement cannot be relied on by any holder of a Claim where such Claim is subject to an
objection. Any holder of a Claim that is subject to an objection may therefore not receive its
expected share of the estimated distributions described in this Disclosure Statement.

9.7     Parties in Interest May Object to the Debtors’ Classification of Claims and Interests

        Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an
interest in a particular class only if the claim or interest is substantially similar to the other
claims or interests in that class. Parties in interest may object to the classification of certain
Claims and Equity Interests both on the grounds that certain Claims and Equity Interests have
been improperly placed in the same Class and/or that certain Claims and Equity Interests have
been improperly placed in different Classes. The Debtors believe that the classification of


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Claims and Equity Interests under the Plan complies with the requirements of the Bankruptcy
Code because the Classes established under the Plan each encompass Claims or Equity Interests
that are substantially similar to similarly classified Claims or Equity Interests. Nevertheless,
there can be no assurance that the Bankruptcy Court will reach the same conclusion. Parties in
interest may object to the classification of certain Claims and Equity Interests both on grounds
that certain Claims and Equity Interests have been improperly placed in the same Class and/or
that certain Claims and Equity Interests have been improperly placed in different Classes.

9.8   Appointment of Different Talc Trustees and/or Different Members of the Talc Trust
Advisory Committee for the Talc Personal Injury Trust

        Prior to the Confirmation Hearing, the Plan Supplement shall identify (i) the initial Talc
Trustees of the Talc Personal Injury Trust and (ii) the initial members of the Talc Trust
Advisory Committee. Parties-in-interest, however, may object to one or more of the proposed
Talc Trustees, or one or more of the proposed members of the Talc Trust Advisory Committee.
In that case, an alternate Talc Trustee or alternate Talc Trustees and/or alternative proposed
members of the Talc Trust Advisory Committee would have to be nominated, potentially
resulting in significant delays in the occurrence of the Confirmation Date and Effective Date.
The selection of a different Talc Trustee or different Talc Trustees, or different Talc Trust
Advisory Committee Members also could materially affect administration of the Talc Personal
Injury Trust. Each Fund created pursuant to the Trust Distribution Procedures will not have its
own Talc Trustees or Talc Trust Advisory Committee, as this is viewed as unnecessary and
would substantially increase the administrative costs of the Talc Personal Injury Trust to the
detriment of the holders of Talc Personal Injury Claims.

9.9     Distributions under the Trust Distribution Procedures

        Talc Personal Injury Claims will be resolved pursuant to the Talc Personal Injury Trust
Documents, and their treatment will be based upon, among other things, estimates of the number,
types, and amount of Talc Personal Injury Claims, the value of the assets of the Talc Personal
Injury Trust, the liquidity of the Talc Personal Injury Trust, the Talc Personal Injury Trust’s
expected future income and expenses, and other matters. There can be no certainty as to the
precise amounts that will be distributed by the Talc Personal Injury Trust in any particular time
period or when Talc Personal Injury Claims will be resolved by the Talc Personal Injury Trust.

       Holders of Talc Personal Injury Claims who (a) are Medicare beneficiaries and (b)
receive a distribution from the Talc Personal Injury Trust may be required to reimburse
Medicare for medical expenses paid on behalf of such holder.82 103 Additionally, excessive legal
fees may not qualify as a “procurement cost” within the meaning of 42 C.F.R. § 411.37(a)(1)(i),
which may affect a holder of a Talc Personal Injury Claim’s reimbursement obligations.

9.10    The Channeling Injunction

       The Channeling Injunction, which, among other things, bars the assertion of any Talc
Personal Injury Claims against the Protected Parties, subject to exceptions contained in the Trust


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        See 42 U.S.C. § 1395y(b)(2)(B)(ii); 42 C.F.R. § 411.22.

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Distribution Procedures that permit, in certain circumstances, the assertion of such claims
against the Debtors (but not any other party protected by the Channeling Injunction), is a
necessary element of the Plan. Although the Plan, the Talc Personal Injury Trust Agreement,
and the Trust Distribution Procedures all have been drafted with the intention of complying with
sections 524(g) and (h) of the Bankruptcy Code, and satisfaction of the conditions imposed by
sections 524(g) and (h) is a condition precedent to confirmation of the Plan, there is no guarantee
that the validity and enforceability of the Channeling Injunction or sections 524(g) and (h) or the
application of the Channeling Injunction to Talc Personal Injury Claims will not be challenged,
either before or after confirmation of the Plan.

        While the Debtors believe that the Plan satisfies the requirements of section 524(g) of the
Bankruptcy Code, certain objections might be lodged on grounds that the requirements of
section 524(g) of the Bankruptcy Code cannot be met given the unique facts of the Chapter 11
Cases. At this juncture, the Debtors believe that the Plan provides a sufficient basis for the
issuance of the Channeling Injunction.

9.11    Voting Requirements

        If sufficient votes are received to enable the Bankruptcy Court to confirm the Plan
pursuant to both sections 524(g) and 1129 of the Bankruptcy Code, ITI intends to file for chapter
11 relief and the Debtors intend to seek, as promptly as practicable thereafter, Confirmation. If
sufficient votes are not received, the Debtors may seek to confirm an alternative chapter 11 plan.
There can be no assurance that the terms of any such alternative chapter 11 plan would be
similar or as favorable to the holders of Allowed Claims as those proposed in the Plan.

9.12    The Debtors’ Operations May be Impacted by the Continuing COVID-19 Pandemic

        The continued spread of COVID-19 could have a significant impact on the Debtors’
businesses, both in the context of consumer demand and production capacity. This pandemic
could dampen global growth and ultimately lead to an economic recession. Such a scenario
would negatively impact the Debtors’ financial performance, and affect the underlying financial
projections contained in Exhibit B and Exhibit C.

9.13    The Canadian Court May Not Enter an Order Recognizing the Confirmation Order

        ITC’s exit from bankruptcy protection will depend on, among other things, the Canadian
Court’s entry of a Canadian confirmation order recognizing the treatment of Claims and Equity
Interests under the Plan. The Plan Proponents believe that if the Confirmation Order is granted,
the Canadian Court will likely grant the Canadian confirmation order recognizing the
Confirmation Order.

9.14    Risks Relating to ITI’s Chapter 11 Filing

        The Debtors do not believe that the commencement of a chapter 11 case by ITI will
affect the Chapter 11 Cases of the North American Debtors. Moreover, to the extent ITI is
unable to commence a chapter 11 case, the Plan Proponents may propose or solicit votes on an
alternative plan of reorganization. Despite the limited nature of ITI’s talc liabilities, the Debtors


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believe that the commencement of a chapter 11 case for ITI is necessary given the potential for
ITI to face increasing talc-related litigation if it remains in the tort system.

9.15    Allegations Regarding the Abandonment of Liability Defenses

       The Trust Distribution Procedures, which dictate the treatment of the Debtors’ liability
defenses, are the result of arms’-length negotiations between the Debtors and the other Plan
Proponents. The Plan Proponents believe that the Trust Distribution Procedures and the Imerys
Settlement maximize recoveries for holders of Talc Personal Injury Claims. Nonetheless, parties
may assert, and J&J and certain insurance companies have asserted, that the Debtors have
waived their liability defenses and that the waiver of such liability defenses may (i) dilute the
recovery of any claimant with a valid claim, as he or she may be forced to share recoveries from
the Talc Personal Injury Trust with claimants asserting weaker claims, and (ii) create coverage
defenses for the Debtors’ insurers and indemnitors, which could reduce recoveries for holders of
Talc Personal Injury Claims.

9.16    Unavailability of J&J’s Revised Protocol

        J&J’s uncapped indemnification obligation is primary to the obligations of the Debtors’
insurers. By rejecting J&J’s indemnity offers, including the J&J Revised Protocol, insurers may
argue the Debtors have breached the J&J indemnity agreements, in which event insurers may
assert a defense to coverage to the extent any alleged breach jeopardized the insurers’
subrogation rights against J&J.

9.17 Treatment of Holders of Talc Personal Injury Claims Pursuant to the Trust Distribution
Procedures

        Certain objectors have alleged that provisions within the Trust Distribution Procedures
result in holders of Talc Personal Injury Claims not being treated fairly. These parties argue,
among other things, that the 40/40/20 split, the lack of a sequencing adjustment for claimants
who elect to pursue a Tort System Election (as defined in the Trust Distribution Procedures), and
other features of the Trust Distribution Procedures do not treat all holders of Talc Personal
Injury Claims equally. The Plan Proponents disagree with these assertions.

                                              ARTICLE X.

                        VOTING PROCEDURES AND REQUIREMENTS

10.1    Voting Procedures Summary83104

        The following section describes in summary fashion the procedures and requirements
that have been established for voting on the Plan pursuant to the Voting Procedures Order, which
approves this Disclosure Statement as containing adequate information, establishes the voting
procedures (the “Voting Procedures”), schedules the Confirmation Hearing, and sets the voting
deadline and the deadline for objecting to confirmation of the Plan. Those procedures and

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       Capitalized terms used but not defined in this Article X have the meanings ascribed to them in the
Voting Procedures Order.

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requirements establish, among other things, the place to send completed ballots, in the forms
approved by the Bankruptcy Court in the Voting Procedures Order, used in voting on the Plan
(each, a “Ballot”), together with the deadline for returning completed Ballots for voting on the
Plan and the deadline for objecting to the Plan. The Debtors have distributed Solicitation
Packages in connection with the foregoing containing:

        (a)      a cover letter in paper form describing the contents of the Solicitation Package
                 and the enclosed USB flash drive (described below), and instructions for
                 obtaining (free of charge) printed copies of the materials provided in electronic
                 format;

        (b)      the Confirmation Hearing Notice in paper form;

        (c)      a copy of this Disclosure Statement with all exhibits, including the Plan with its
                 exhibits, which may be provided by way of a USB flash drive;

        (d)      the Voting Procedures Order (without exhibits);

        (e)      the Voting Procedures;

        (f)      solely to counsel for holders of Direct Talc Personal Injury Claims, the Direct
                 Talc Personal Injury Claim Solicitation Notice and the Certified Plan Solicitation
                 Directive;

        (g)      solely for holders of Talc Personal Injury Claims and their counsel, an appropriate
                 Ballot and voting instructions for the same in paper form;

        (h)      solely for holders of Talc Personal Injury Claims and their counsel, a pre-
                 addressed, return envelope for completed Ballots; and

        (i)      solely for holders of Talc Personal Injury Claims and their counsel, a letter from
                 the Tort Claimants’ Committee and the FCR in the form attached to the Voting
                 Procedures Order as Exhibit 5.

         The Voting Procedures Order, the Voting Procedures, the Confirmation Hearing Notice,
and the instructions attached to your Ballot should be read in connection with this Section of this
Disclosure Statement as they set forth the Voting Procedures and deadlines in detail. If you are a
holder of a Claim who is entitled to vote on the Plan and you or your attorney did not receive a
Ballot, received a damaged Ballot, or lost your Ballot, please contact the Solicitation Agent
(i) by telephone at (844) 339-4096 (Toll Free) or (929) 247-2932 (International); (ii) by e-mail at
imerysballots@primeclerk.com;          (iii)     by       visiting     their      website        at
https://cases.primeclerk.com/imerystalc; or (iv) by writing at Imerys Ballot Processing Center,
c/o Prime Clerk LLC, One Grand Central Place, 60 East 42nd Street, Suite 1440, New York, NY
10165.

        The Voting Procedures set forth a process by which attorneys representing holders of
Direct Talc Personal Injury Claims, as listed on the Schedules, or any filed Proof of Claim
(collectively, the “Firms”), will receive copies of the Direct Talc Personal Injury Claim

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Solicitation Notice and the Certified Plan Solicitation Directive. The Direct Talc Personal Injury
Claim Solicitation Notice will notify the Firms of the options proposed for soliciting votes on the
Plan in respect of Direct Talc Personal Injury Claims and request that each Firm complete and
return the Certified Plan Solicitation Directive to the Solicitation Agent no later than January 7,
2021.

        The Certified Plan Solicitation Directive permits each Firm to direct the Solicitation
Agent with regard to the solicitation of votes on the Plan from individuals, estates, or Entities
who or which hold Direct Talc Personal Injury Claims (collectively, the “Clients”) according to
one of the following procedures:

        (a)      Master Ballot Solicitation Method. If a Firm certifies that it has the authority
                 under applicable law to vote on behalf of its Clients, the Firm may direct the
                 Solicitation Agent to serve the Firm with one Solicitation Package and one
                 Master Ballot on which the Firm must record the votes on the Plan for each of its
                 Clients. If the Firm elects this procedure, the Firm may also request that, for
                 informational purposes, the Solicitation Agent serve Solicitation Packages
                 (without a Ballot) on its Clients, together with a cover letter to be provided by the
                 Firm.

        (b)      Direct Solicitation Method. If a Firm does not have the authority to vote on
                 behalf of its Clients, or if a Firm prefers to have each of its Clients cast their own
                 votes on the Plan, such Firm may direct the Solicitation Agent to solicit votes on
                 the Plan directly from its Clients, and may provide the Solicitation Agent with a
                 cover letter to be transmitted to such Clients in connection with such solicitation.

        (c)      Indirect Solicitation Method. If a Firm does not have the authority to vote on
                 behalf of its Clients or the attorney prefers to have the Clients cast their own votes
                 on the Plan, the attorney may direct the Solicitation Agent to deliver the
                 Solicitation Packages to the Firm, which will, in turn, deliver the Solicitation
                 Packages to its Clients. If the Firm selects this method: (i) the Solicitation Agent
                 will cause the requested number of Solicitation Packages, including appropriate
                 Ballots, to be served on the Firm; (ii) the Firm must deliver the Solicitation
                 Packages to the Clients within three (3) Business Days after receipt; and (iii) the
                 Firm must file an affidavit of service with the Bankruptcy Court, and send a copy
                 of such affidavit to the Solicitation Agent, within three (3) Business Days of such
                 service. The affidavit of service filed with the Bankruptcy Court only needs to
                 state that service was completed, the date(s) that service was completed and the
                 attorney has provided or will provide the Solicitation Agent with the required lists
                 of Clients, as described in the Solicitation Procedures. The affidavit of service
                 provided to the Solicitation Agent must also include the names and addresses of
                 the Clients served and the Solicitation Agent will keep a copy of such affidavit
                 for a period of five years after receipt. The affidavit of service provided to the
                 Solicitation Agent shall not be deemed to be filed with the Bankruptcy Court or
                 part of the Docket in the Chapter 11 Cases and will not be published or otherwise
                 disclosed.


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        (d)      Hybrid Solicitation Method. If a Firm certifies that it has the authority under
                 applicable law to vote, and intends to exercise that power, only for certain of the
                 Clients (collectively, the “Master Ballot Clients”), the Firm may direct the
                 Solicitation Agent to serve the Firm with one Solicitation Package and one
                 Master Ballot on which the Firm must record the votes with respect to the Plan
                 for the Master Ballot Clients. The Firm also may request that, for informational
                 purposes, the Solicitation Agent serve Solicitation Packages (without a Ballot) on
                 the Master Ballot Clients, together with a cover letter to be provided by the Firm.
                 With respect to such Firm’s other Clients that are not Master Ballot Clients, the
                 Firm must elect the procedure under either the Direct Solicitation Method
                 (subsection (b) above) or the Indirect Solicitation Method (subsection (c) above).

       If you are entitled to vote on the Plan, a form of Ballot for your Claim has been provided
to you, unless otherwise provided to a Firm, as contemplated by the Certified Plan Solicitation
Directive. Holders of Talc Personal Injury Claims or their attorneys, as applicable, should have
received a Class 4 Ballot (relating to Talc Personal Injury Claims). The Plan Proponents have
prepared, and the Bankruptcy Court has approved the Voting Procedures. You should refer to
the Voting Procedures sent with this Disclosure Statement to determine precisely those
procedures that apply with respect to the return of your Ballot.

         Completed and signed Ballots can be submitted (i) by mail using the envelope included
in the Solicitation Package, or by hand delivery or overnight courier to: Imerys Ballot Processing
Center, c/o Prime Clerk LLC, One Grand Central Place, 60 East 42nd Street, Suite 1440, New
York,      NY      10165       or     (ii)   through    the E-Ballot    platform,    by     visiting
https://cases.primeclerk.com/ImerysTalc/, clicking on the “Submit E-Ballot” section of the website,
and following the instructions. As set forth in the Voting Procedures, no other forms of electronic
delivery of Ballots, e.g., facsimile, will be accepted.

10.2    Voting Deadline

        To be considered for purposes of accepting or rejecting the Plan, all Ballots must be
received by the Solicitation Agent no later than the Voting Deadline of 4:00 p.m. (prevailing
Eastern Time) on February 15, 2021. Only those Ballots actually received by the
Solicitation Agent before the Voting Deadline will be counted as either accepting or
rejecting the Plan.

10.3    Holders of Claims Entitled to Vote

        Under section 1124 of the Bankruptcy Code, a class of claims or equity interests is
deemed to be “impaired” under a plan unless (a) the plan leaves unaltered the legal, equitable
and contractual rights to which such claim or equity interest entitles the holder thereof, or
(b) notwithstanding any legal right to an accelerated payment of such claim or equity interest,
the plan: (1) cures all existing defaults (other than defaults resulting from the occurrence of
events of bankruptcy); (2) reinstates the maturity of such claim or equity interest as it existed
before the default; (3) compensates the holder of such claim or equity interest for any damages
from such holder’s reasonable reliance on such legal right to an accelerated payment; and (4)



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does not otherwise alter the legal, equitable or contractual rights to which such claim or equity
interest entitles the holder of such claim or equity interest.

        Holders of claims and equity interests in impaired classes are generally entitled to vote to
accept or reject a plan. However, if the holder of an impaired claim or equity interest will not
receive any distribution under the plan in respect of such claim or equity interest, the Bankruptcy
Code deems such holder to have rejected the plan (unless such holder has agreed to such
treatment) and provides that the holder of such claim or equity interest is not entitled to vote. If
the claim or equity interest is not impaired, the Bankruptcy Code conclusively presumes that the
holder of such claim or equity interest has accepted the plan and provides that the holder is not
entitled to vote.

       Class 4 is Impaired by the Plan and is the only Class entitled to vote on the Plan. All
other Classes are either Unimpaired or Impaired but are Plan Proponents and voluntarily agreed
to waive any right to vote on or oppose the Plan.

10.4    Vote Required for Acceptance by a Class

       Pursuant to sections 1126(c) and 524(g)(2)(B)(ii)(IV)(bb) of the Bankruptcy Code, Class
4 (Talc Personal Injury Claims) shall have accepted the Plan only if at least two-thirds (2/3) in
amount and seventy-five percent (75%) in number of Talc Personal Injury Claims actually
voting on the Plan have voted to accept the Plan in accordance with the Voting Procedures
Order.




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10.5    Voting Procedures

        (a)      Ballots

        All votes to accept or reject the Plan with respect to Class 4 must be cast by properly
submitting the duly completed and executed form of Ballot designated for such Claims. Holders
of Claims in Class 4 or their attorneys (as applicable) voting on the Plan should complete and
sign the appropriate Ballot in accordance with the instructions thereon, being sure to check the
appropriate box entitled “Accept” the Plan or “Reject” the Plan. In addition, if any holder of a
Claim elects not to grant the releases set forth in Article XII of the Plan, then it should check the
appropriate box on its Ballot and follow the instructions contained in the Ballot.

        As set forth in the Voting Procedures, improperly completed Ballots will not be
counted. By way of example and not limitation, any Ballot received which is not signed or
which contains insufficient information to permit the identification of the claimant will be
an invalid Ballot and will not be counted for purposes of determining acceptance or
rejection of the Plan. In addition, a vote cast on a Ballot will not be counted if it is
returned to the Solicitation Agent: (i) indicating neither acceptance nor rejection of the
Plan; (ii) indicating both acceptance and rejection of the Plan; or (iii) indicating partial
rejection and partial acceptance of the Plan. Notwithstanding, any such Ballot will be
considered for purposes of determining whether the claimant has opted out of the releases
contained in the Plan, if that portion of the Ballot is completed and the Ballot is otherwise
complete and legible.

        Ballots must be delivered to the Solicitation Agent, at its address set forth above in
Section 10.1, or submitted via electronic, online transmission through a customized electronic
Ballot by utilizing the E-Ballot platform on the Solicitation Agent’s website
https://cases.primeclerk.com/imerystalc, and received by the Voting Deadline. The method of
such delivery is at the election and risk of the voter. Although the method of delivery is at the
risk of the voter, for the convenience of each holder of a Talc Personal Injury Claim entitled to
vote on the Plan or such holder’s attorney, as applicable and in accordance with the Certified
Plan Solicitation Directive, the Solicitation Package contains a pre-stamped and addressed
envelope for return of such holder’s Ballot by first class mail through the United States Postal
Service. If such delivery is by mail, it is recommended that voters use an air courier with a
guaranteed next day delivery or registered mail, properly insured, with return receipt requested.
In all cases, sufficient time should be allowed to ensure timely delivery. Instructions for casting
an electronic Ballot can be found on the “E-Ballot” section of the Solicitation Agent’s website
https://cases.primeclerk.com/imerystalc by clicking on the “Submit E-Ballot” section of the
website.

        If you are entitled to vote and you or your attorney (as applicable) did not receive a
Ballot, received a damaged Ballot or lost your Ballot, please contact the Solicitation Agent in the
manner set forth above. For additional information regarding the voting process, please refer to
the Voting Procedures Order, the Voting Procedures, the Confirmation Hearing Notice, and the
instructions attached to your Ballot (to the extent a Ballot was not otherwise received by your
attorney pursuant to the Certified Plan Solicitation Directive).



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       Please refer to the Voting Procedures and Voting Procedures Order for more information
regarding the voting of Talc Personal Injury Claims.

        (b)      Withdrawal of Votes and Multiple Votes on the Plan

        Any voter that delivers a valid Ballot may withdraw his, her, or its vote by delivering a
written notice of withdrawal to the Solicitation Agent before the Voting Deadline (or such later
date as agreed by the Debtors with the consent of the Plan Proponents, with such consent not to
be unreasonably withheld). To be valid, the notice of withdrawal must be signed by the party
who signed the Ballot to be revoked. The Debtors reserve the right to contest any withdrawals.

        In addition, the following procedures for voting will be used by the Debtors to address
multiple Ballots.

                If multiple Ballots are received from different holders purporting to hold the same
                 Claim, the vote will be counted only once and only if such votes are consistent
                 with respect to acceptance or rejection of the Plan. In the event that the votes are
                 not consistent, and the vote is not necessary (alone or in conjunction with other
                 inconsistent, multiple votes) to determine whether the class voted to accept the
                 Plan, then neither vote will be counted. If the votes are not consistent, and the
                 vote is necessary (alone or in conjunction with other inconsistent, multiple votes)
                 to determine whether the class voted to accept the Plan, the parties who submitted
                 such Ballots must provide evidence to support their assertion that they hold such
                 Claim directly or in a representative capacity, and the Bankruptcy Court will
                 determine which holder has the right to vote such Claims.

                If multiple Ballots are received from the holder of a Claim and someone
                 purporting to be his, her, or its attorney or agent, the Ballot received from the
                 holder of the Claim will be the Ballot that is counted, and the vote of the
                 purported attorney or agent will not be counted.

                If multiple Ballots are received from a holder of a Claim for the same Claim, the
                 latest-dated otherwise valid Ballot that is received before the Voting Deadline (or
                 such later date as agreed by the Debtors with the consent of the Plan Proponents,
                 with such consent not to be unreasonably withheld) will be the Ballot that is
                 counted as a vote to accept or reject the Plan; if multiple Ballots are received from
                 the same attorney or agent with respect to the same Claim (but not from the
                 holder thereof), the latest-dated otherwise valid Ballot that is received before the
                 Voting Deadline (or such later date as agreed by the Debtors with the consent of
                 the Plan Proponents, with such consent not to be unreasonably withheld) will be
                 the Ballot that is counted as a vote to accept or reject the Plan.

                If two or more Ballots are received from separate attorneys, each of whom
                 purports to represent the same holder of a Claim, the vote of the holder appearing
                 on both Master Ballots will be counted only once and only if such votes are
                 consistent with respect to acceptance or rejection of the Plan. In the event that the


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                 votes are not consistent, and the vote is not necessary (alone or in conjunction
                 with other inconsistent, multiple votes) to determine whether the class voted to
                 accept the Plan, then neither vote will be counted. If the votes are not consistent,
                 and the vote is necessary (alone or in conjunction with other inconsistent,
                 multiple votes) to determine whether the class voted to accept the Plan, the parties
                 who submitted such Ballots must provide evidence to support their assertion that
                 they hold such Claim directly or in a representative capacity, and the Bankruptcy
                 Court will determine which holder has the right to vote such Claims.

       The Debtors will not be obligated to recognize any withdrawal, revocation, or change of
any vote received after the Voting Deadline (or such later date as agreed by the Debtors with the
consent of the Plan Proponents, with such consent not to be unreasonably withheld).

        (c)      Requesting a Solicitation Package

        If a holder of a Talc Personal Injury Claim contacts the Solicitation Agent more than
seven (7) Business Days before the Voting Deadline and requests a Solicitation Package, the
Solicitation Agent will provide such claimant with a Solicitation Package within two (2)
Business Days of such request, and if such request is made on or after seven (7) Business Days
before the Voting Deadline, the Solicitation Agent will provide the Solicitation Package by
overnight mail or via e-mail as noted below. All requests must be submitted by no later than
three (3) Business Days before the Voting Deadline. All Solicitation Package requests must be
made to imerysballotrequests@primeclerk.com and the Solicitation Agent will not be required to
provide Solicitation Packages to parties that do not make a request in this manner. Additionally,
unless hard copy service is requested, the Solicitation Agent will provide parties with the
Solicitation Package documents or a link where they may be accessed via e-mail, which will
include a unique E-Ballot ID# for voting through the E-Ballot platform.

                                             ARTICLE XI.

                                    CONFIRMATION OF THE PLAN

        Under the Bankruptcy Code, the following steps must be taken to confirm the Plan:

11.1    Confirmation Hearing

        Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court, after notice, to
hold a hearing on confirmation of a plan of reorganization. By order of the Bankruptcy Court,
the Confirmation Hearing is scheduled for [______], 2021 at 10:00 a.m. (Prevailing Eastern
Time) before the Honorable Laurie Selber Silverstein, United States Bankruptcy Judge for the
District of Delaware, in the United States Bankruptcy Court for the District of Delaware, 824
Market Street, 6th Floor, Wilmington, Delaware 19801. The Confirmation Hearing may be
adjourned from time to time by the Bankruptcy Court without further notice except for an
announcement of the adjourned date made at the Confirmation Hearing or any subsequently
adjourned Confirmation Hearing.




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        Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to
confirmation of a plan of reorganization. Any objection to confirmation of the Plan must be
filed with the Bankruptcy Court no later than [______], 2021 at 4:00 p.m. (Prevailing Eastern
Time), and will be governed by Bankruptcy Rules 3020(b) and 9014 and the Local Rules.
Unless an objection is timely and properly served and filed, it may not be considered by the
Bankruptcy Court.

11.2    Requirements for Confirmation of the Plan

         At the Confirmation Hearing, the Bankruptcy Court will confirm the Plan only if all of
the requirements of section 1129 of the Bankruptcy Code are met. Among the requirements for
confirmation are that the Plan (a) is accepted by all Impaired Classes of Claims and Equity
Interests, or, if rejected by an Impaired Class, that the Plan “does not discriminate unfairly” and
is “fair and equitable” as to such Class; (b) is feasible; and (c) is in the “best interests” of holders
of Claims and Interests that are Impaired under the Plan.

        (a)      Acceptance

       Class 4 is Impaired under the Plan, and the holders of Claims in such Class are entitled to
vote on the Plan. Therefore, such Class must accept the Plan in order for it to be confirmed
without application of the “fair and equitable test,” described below, to such Class. Classes 5a
and 6 are Impaired under the Plan, but are presumed to have accepted the Plan pursuant to
section 1126(f) of the Bankruptcy Code because all holders of Claims or Equity Interests (as
applicable) in Classes 5a and 6 are Plan Proponents and have consented to their treatment under
the Plan.

        Classes 1, 2, 3a, 3b, 5b, and 7 are Unimpaired under the Plan and are conclusively
deemed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
Accordingly, confirmation of the Plan will not require application of the “fair and equitable
test,” described below, as to those Classes.

        (b)      Issuance of Injunction Pursuant to Sections 524(g) and 105(a) of the Bankruptcy
                 Code

       The Bankruptcy Court shall be asked to issue the Channeling Injunction if the Plan has
been accepted by at least two-thirds (2/3) in amount of those holders of Class 4 Claims actually
voting on the Plan, in accordance with section 1126(c) of the Bankruptcy Code, and seventy-five
percent (75%) in number of those holders of Class 4 Claims actually voting on the Plan, in
accordance with section 524(g)(2)(B)(ii)(IV)(bb) of the Bankruptcy Code. The amount of the
Claim for each Class 4 Claim holder for voting purposes shall be as set forth in the Voting
Procedures Order.

        If the Bankruptcy Court or the District Court does not enter the Channeling Injunction,
the Effective Date shall not occur.

        (c)      Feasibility



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        The Bankruptcy Code also requires as a condition to confirmation of a plan of
reorganization that the confirmation of the plan is not likely to be followed by the liquidation or
the need for further financial reorganization of the reorganized debtor. For purposes of
determining whether the Plan meets this requirement, the Debtors have analyzed their ability to
meet their obligations under the Plan. The Plan Proponents believe that the Reorganized Debtors
will be able to make all payments required pursuant to the Plan, and therefore, that confirmation
of the Plan is not likely to be followed by the need for further reorganization.

        To support their belief in the feasibility of the Plan, the Plan Proponents have relied upon
the financial projections, attached hereto as Exhibit B and Exhibit C. The financial projections
indicate that the Reorganized Debtors should have sufficient Cash prior to the Effective Date to
fund the Reserves and adequate cash flow post-Effective Date to fund operations, as applicable.
Accordingly, the Plan Proponents believe that the Plan complies with the financial feasibility
standard of section 1129(a)(11) of the Bankruptcy Code.

       The financial projections are based on various assumptions, including Confirmation of
the Plan in accordance with its terms, no material adverse changes in general business and
economic conditions, and other matters, some of which will be beyond the control of the
Reorganized Debtors. The financial projections should be read in conjunction with Article IX
above, entitled “Certain Factors to be Considered,” and with the assumptions, qualifications and
footnotes to the tables containing the Financial Projections set forth in Exhibit B and Exhibit C.

        (d)      “Best Interests” Test / Liquidation Analysis

        The “Best Interests Test” under section 1129 of the Bankruptcy Code requires as a
condition to confirmation of a plan of reorganization that each holder of Impaired claims or
Impaired equity interests either (a) accept the Plan or (b) receive property with a value not less
than the amount such holder would receive in a chapter 7 liquidation. As reflected in the
analysis attached hereto as Exhibit D (the “Liquidation Analysis”), the Plan Proponents believe
that under the Plan, holders of Impaired Claims and Impaired Equity Interests will receive
property with a value equal to or in excess of the value such holders would receive in a
liquidation of the Debtors under chapter 7 of the Bankruptcy Code.

        One Class of Claims or Equity Interests (other than Non-Debtor Intercompany Claims
and Equity Interests in the North American Debtors) is Impaired under the Plan: Talc Personal
Injury Claims (Class 4). The holders of Talc Personal Injury Claims, as the only Class voting
under the Plan, must accept the Plan in order for the Plan to be confirmed, thereby satisfying
clause (a) above. Holders of Non-Debtor Intercompany Claims (Class 5a) and Equity Interests
in the North American Debtors (Class 6) have consented to their treatment under the Plan as
Plan Proponents and are presumed to accept the Plan pursuant to section 1126(f).

        The Debtors have prepared the attached Liquidation Analysis to demonstrate the Plan’s
compliance with the provisions of section 1129(a)(7) of the Bankruptcy Code. The Liquidation
Analysis is based upon a number of reasonable assumptions that, ultimately, are subject to
significant uncertainties and contingencies. The Plan Proponents cannot assure you that these
assumptions would be accepted by a Bankruptcy Court. Actual liquidation proceeds could be
materially lower or higher than the amounts set forth below. No representation or


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warranty can or is being made with respect to the actual proceeds that could be received in
a chapter 7 liquidation of the Debtors. The liquidation valuations have been prepared
solely for purposes of estimating proceeds available in a chapter 7 liquidation of the Estates
and do not represent values that may be appropriate for any other purpose. Nothing
contained in these valuations is intended to or may be asserted to constitute a concession or
admission of the Plan Proponents for any other purpose.

        Here, the Plan is in the best interests of the Debtors’ creditors (including holders of Talc
Personal Injury Claims), and meets the requirements of section 1129(a)(7) of the Bankruptcy
Code. The Plan Proponents expect that there will be substantially more assets available to pay
holders of Claims under the Plan than would be the case if there were no Plan because of the
Imerys Contribution. Moreover, the Plan is the result of an extensively negotiated settlement,
which avoids costly litigation that would deplete the funds available for creditors. The Tort
Claimants’ Committee and the FCR negotiated the Imerys Settlement and support Confirmation
of the Plan, which incorporates the terms of the settlement. These factors, among others,
demonstrate that the Plan provides greater recoveries to creditors than would be realized in a
chapter 7 liquidation, the costs of which would deplete much of the recoveries from the
liquidation of the Debtors’ assets. Based on the Liquidation Analysis, the Debtors believe that
holders of Claims and Equity Interests will receive equal or greater value as of the Effective
Date than such holders would receive in a chapter 7 liquidation.

        Accordingly, the Plan Proponents believe that confirmation of the Plan will provide
creditors in the Impaired Classes with value that is not less than (and, in certain cases,
substantially greater than) the amount that such holder would so receive or retain if the Debtors
were liquidated under chapter 7. The Plan meets the “best interests” test.

        Notwithstanding the foregoing, as stated in Note T of the Liquidation Analysis, the
Debtors and their advisors did not have sufficient information to estimate the amounts owed to
holders of Talc Personal Injury Claims for purposes of their Liquidation Analysis, so the
Liquidation Analysis assigns no value to Talc Personal Injury Claims. In addition, the Debtors
are unable to determine the actual amounts, numbers, and timing of such Talc Personal Injury
Demands, which is a requirement of an injunction pursuant to section 524(g) of the Bankruptcy
Code. See 11 U.S.C. § 524(g)(2)(B)(ii)(II). The Liquidation Analysis does not consider or
evaluate options available to the Debtors and to holders of Talc Personal Injury Claims outside
of the Plan or the hypothetical appointment by the Bankruptcy Court of a chapter 7 trustee to
convert all of the Debtors’ assets into cash, as there is no requirement in the Bankruptcy Code
for the Debtors to do so.

                                           ARTICLE XII.
                                                   .

            POSITIONS OF CERTAIN OBJECTING PARTIES WITH RESPECT
                              TO DISCLOSURES

       The Debtors have received comments on and objections to certain disclosures included in
this Disclosure Statement. In an effort to resolve such objections, the Plan Proponents have
included the positions of such objecting parties in this Article XII. For the avoidance of doubt,
the Plan Proponents do not agree with the assertions or allegations contained in this Article

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XII and believe that this Disclosure Statement adequately discloses the key components of
the Plan and that the Plan is in the best interests of the Debtors’ Estates and should be
approved.

        These parties have no fiduciary obligations to the Debtors’ Estates, the Estates’ creditors,
or to the holders of Talc Personal Injury Claims. In short, their comments and concerns may be
fully for their own self-interest. The Plan Proponents heavily dispute the following statements
but are including them here solely so that those voting on the Plan are aware that there are
parties who do not agree to one or more aspects of the Plan.

       J&J: (i) at one time owned certain of the mines that later came to be owned by the
Debtors; (ii) was the largest customer of the Debtors’ cosmetic-grade talc; (iii) decided this year
to remove talc-based baby powder from store shelves in North America; (iv) is a co-defendant in
more than 90% of the personal injury cases that named the Debtors prior to the Petition Date;
and (v) continues to be named as a defendant in personal injury causes of action for injuries
caused by its talc-containing products.

         Arnold & Itkin is a law firm that does not represent any member of the Tort Claimants’
Committee, has not advised of the types of claims it represents, and has expressed frustration
that it, a non-Tort Claimants’ Committee member, did not have access to the same information
or a role in negotiating the Trust Distribution Procedures that was afforded the Plan Proponents.

12.1    J&J

       On October 19, 2020, J&J sent the Debtors comments and proposed revisions to the
Disclosure Statement for Second Amended Joint Chapter 11 Plan of Reorganization of Imerys
Talc America, Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket
No. 2290]. After receiving J&J’s proposed revisions, the Plan Proponents and J&J attempted to
consensually resolve the issues raised by J&J pertaining to the adequacy of the Disclosure
Statement. J&J has requested that the statements contained in this Section 12.1 and others
(which were not included) be included in this Disclosure Statement.

        (a)      Generally

       J&J has raised the following objections, statements, and/or reservations with respect to
the Disclosure Statement that do not otherwise fit into one of the categories set forth in this
Section:

                J&J reserves the right to object to any dates proposed in the Chapter 11 Cases
                 depending on entry of an agreeable discovery schedule;

                J&J disagrees that the Plan is in the best interests of holders of Talc Personal
                 Injury Claims or other creditors; and

                J&J asserts the Plan is not confirmable and/or that confirmation of the Plan could
                 be delayed on grounds that the Plan does not comply with the requirements of the
                 Bankruptcy Code.


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        (b)      J&J Indemnification Obligations

                 (1)      Transfer of the J&J Indemnification Obligations

       J&J asserts that the Debtors’ ability to transfer the J&J Indemnification Obligations to
the Talc Personal Injury Trust is uncertain. J&J believes that to the extent such obligations arise
under executory contracts, those contracts cannot be assumed by the Debtors (and therefore
assigned to the Talc Personal Injury Trust) as a result of purported defaults by the Debtors under
such contracts. If the Bankruptcy Court agrees with J&J and such contracts are executory, then
J&J believes the underlying contracts cannot be assumed by the Debtors and/or assigned to the
Talc Personal Injury Trust.

                 (2)      The Debtors’ Conduct with Respect to the J&J Indemnification
                          Obligations

        J&J asserts that the Debtors chose to ignore, delay, rebuff, and oppose J&J’s efforts to
participate in negotiations relating to, or assume the defense of, the J&J Talc Claims,84 105 which
resulted in a purported breach of the Debtors’ contractual indemnity agreements with J&J and
their common law duties, nullifying J&J’s indemnification obligations. Further, J&J asserts that
the Debtors’ actions—which J&J asserts include refusing to provide J&J with information
through informal or formal discovery, even basic information, including information that had
already been provided to other third parties including the Tort Claimants’ Committee and the
FCR and entering into an agreement that forbade the Debtors’ counsel from speaking with J&J’s
counsel about the indemnity proposals without the presence of the Tort Claimants’ Committee
and the FCR—are inconsistent with their duties as an indemnitee, which includes the duties to
minimize liability exposure and cooperate with an indemnitor, all of which also results in the
nullification of J&J’s indemnification obligations. Finally, J&J claims that under certain of the
contracts between J&J and the Debtors, J&J does not have a duty to indemnify the Debtors if the
claims against the Debtors are based on allegations of asbestos in the talc (and may have an
indemnity claim against the Debtors), notwithstanding the fact that both J&J and the Debtors
believe these allegations have no merit.

                 (3)      Potential Limitation of the J&J Indemnification Obligations

        In addition to the foregoing, J&J contends that the indemnification obligations arising out
of the J&J Agreements in favor of the Debtors are not uncapped for the reasons and defenses
outlined in the Disclosure Statement. J&J contends that such defenses also relate to future
claimants with respect to which J&J cannot now be held to owe an indemnification obligation
before any notice of a specific claim is provided and J&J is able to exercise its ability to defend
such claim. Further, J&J argues that the 2011 Material Purchase Agreement expired on
December 31, 2011, and did not contain language extending the indemnification provisions
beyond the termination or expiration of the agreement.


84105
        As used herein, “J&J Talc Claims” means all Direct Talc Personal Injury Claims against a
Debtor where plaintiffs allege use of talcum powder products distributed by J&J, provided the claim has
not reached a final resolution (e.g., no settlement has been reached and no non-appealable final judgment
has been entered against a Debtor in a court of competent jurisdiction).

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        Moreover, under the 1989 Supply Agreement, J&J contends that it has no obligation to
indemnify the Debtors for claims that are dependent upon allegations of asbestos-contaminated
talc supplied by Debtors. According to J&J, the 1989 Supply Agreement specifies that J&J does
not have to indemnify the Debtors if the Talc Personal Injury Claims arose because of non-
compliant talc supplied by the Debtors. J&J contends that it specified that the talc supplied to
J&J should not contain asbestos, and therefore, to the extent any Talc Personal Injury Claims
allege exposure to asbestos in the talc used by J&J, J&J believes it has no obligation to
indemnify the Debtors. In addition, J&J claims that the 2001 and 2010 agreements contain no
language supporting an obligation for J&J to indemnify the Debtors.

       Additionally, J&J alleges that certain periods of time are not covered by any supply or
indemnity agreement between J&J and the Debtors (e.g., the years between and including 2007
and 2010, and from 2012 through the commencement of the Chapter 11 Cases). For other
periods of time, J&J also asserts that the Debtors owe indemnification obligations to J&J.

                 (4)      The Debtors’ Indemnification Obligations and the Availability of
                          Insurance

       According to J&J, under the 2001 Supply Agreement, the Debtors are required to
indemnify J&J for claims arising from J&J’s use of talc supplied by Debtors in J&J’s products
between and including the years 2001 and 2006. Moreover, J&J asserts that a number of
insurance policies may be available to cover Talc Personal Injury Claims. As a result, in
addition to the foregoing defenses available to J&J regarding its indemnity obligations—for
example, that the Debtors violated their duties as an indemnitee by refusing to provide J&J with
information and leaving J&J out of negotiations—J&J asserts that each indemnity claim brought
by the Debtors will need to go through an allocation process to determine the precise amount
that J&J would allegedly owe.

        (c)      Imerys Settlement and Rio Tinto/Zurich Settlement

       J&J has also raised the following objections and statements with respect to the Imerys
Settlement and the Rio Tinto/Zurich Settlement:

                J&J questions whether the Imerys Non-Debtors are providing sufficient
                 consideration to justify a release of claims against them;

                J&J objects to the Rio Tinto/Zurich Settlement to the extent it purports to cut-off
                 J&J’s rights to J&J’s insurance policies;

                J&J believes the Plan improperly and without authority releases claims that J&J
                 has against the Rio Tinto Protected Parties and the Zurich Protected Parties with
                 respect to the Talc Insurance Policies;

                J&J asserts that the Imerys Settlement has not been entered into in good faith, on
                 grounds that it creates incentives for the Debtors to settle with the plaintiffs’
                 representatives at whatever inflated number the plaintiffs demand (numbers the
                 Debtors would never have agreed to prior to bankruptcy when they were footing


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                 the bill), and then attempt to offload the exposure on insurance companies and
                 indemnitors; and

                J&J asserts that the Debtors have prioritized mitigation of potential claims against
                 Imerys S.A. over management of liabilities and maximizing recoveries to other
                 creditors and stakeholders of the Estates, which demonstrates a lack of good faith.

        (d)      Treatment of Talc Personal Injury Claims and the Trust Distribution Procedures

       J&J has also objected to the Disclosure Statement on grounds related to the proposed
treatment of the Talc Personal Injury Claims. J&J believes that the current treatment of Talc
Personal Injury Claims pursuant to the Trust Distribution Procedures modifies certain
contractual arrangements and improperly forces J&J to defend Talc Personal Injury Claims.

12.2    Arnold & Itkin85106

       On November 18, 2020, Arnold & Itkin sent the Debtors comments and proposed
additions to the Disclosure Statement for Third Amended Joint Chapter 11 Plan of
Reorganization of Imerys Talc America, Inc. and Its Debtor Affiliates Under Chapter 11 of the
Bankruptcy Code [Docket No. 2235] (the “Third Amended Disclosure Statement”). Arnold &
Itkin has requested that the statements contained in this Section 12.2 be included in this
Disclosure Statement.

        Specifically, and as further described below, Arnold & Itkin, asserts that certain
provisions of the Trust Distribution Procedures create the potential that some categories of Talc
Personal Injury Claims will receive less favorable treatment than other categories of such
Claims. According to Arnold & Itkin, counsel for certain Talc Personal Injury Claimants
contend(s), among other things, that, as a result of these provisions, the Plan does not provide the
“same treatment” of all Talc Personal Injury Claims in Class 4 whose holders have not agreed to
less favorable treatment of their Claims, as required by section 1123(a)(4) of the Bankruptcy
Code, and that, as a result, the Plan cannot be confirmed.

        (a)      Alleged Risk of Unequal Treatment of Talc Personal Injury Claims Resulting
                 from the Sub-Division of the Trust Fund into Funds A, B, and C

        Arnold & Itkin contends that the Trust Distribution Procedures divide Claims in Class 4
into three categories – (i) Ovarian Cancer A Claims; (ii) Mesothelioma Claims; and (iii) Ovarian
Cancer B, C, and D Claims – and allocates a fixed percentage of Trust assets to each of these
three categories of claims, without reference to either the actual amount of the Allowed Claims
in each claim category, or the proportion of the total amount of the Claims in Class 4 that is
represented by the Allowed Claims in any claim category. Arnold & Itkin asserts that this
construct creates the risk that one or two of these categories of Claims may receive a percentage
of the Trust Fund that is disproportionately high when compared to the percentage of the total
Talc Personal Injury Claims represented by that Claim category, at the expense of another


85106
        Capitalized terms used but not defined in this Section 12.2 have the meanings ascribed to them in
the Trust Distribution Procedures.

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category of Claims that will receive a percentage of the Trust Fund that is disproportionately low
when compared to the percentage of the total Talc Personal Injury Claims represented by that
Claim category.

        In addition, Arnold & Itkin notes that, Section 2.2 of the Trust Distribution Procedures
provides that the “Trust Fund will be divided into three sub-funds within the Trust” and that
“each Fund operates entirely separately and any changes to the administration of one Fund, such
as changes to Medical/Exposure Criteria, Scheduled, Average or Maximum Values, Payment
Percentage or Maximum Annual Payment, shall not affect or require changes to the other
Funds.”86 107 Arnold & Itkin further notes that Mesothelioma Claimants and Secondary
Mesothelioma Claimants will receive 40% of the Trust Fund (as will Ovarian Cancer A
Claimants), regardless of the relative aggregate amount of the allowed claims against the Trust
that such claimants ultimately hold.

        As a result, Arnold & Itkin alleges that the claims that will be paid out of each of Fund A,
Fund B, and Fund C may receive disparate treatment – i.e., the claims payable out of the
different Funds may receive different “Payment Percentages” on their claims, depending on the
Fund making the distributions and the total claims allowed against that Fund.

        Arnold & Itkin also notes that Section 4.2 of the Trust Distribution Procedures provides
for future Fund-by-Fund adjustments in Payment Percentages. As such, and according to Arnold
& Itkin, disparities in treatment among claims to be paid from each of the three Funds could
develop or become more pronounced. Moreover, Arnold & Itkin notes that Section 2.9 provides
that the Maximum Annual Payment for each Fund will be determined annually (and,
presumably, separately, on a Fund-by-Fund basis), which, according to Arnold & Itkin, results in
a risk of disparate treatment.

        Arnold & Itkin contends that in considering the risk of non-pro-rata treatment resulting
from the creation of Funds A, B and C and the fixed allocation of Trust assets among them, it
should be noted that: (i) forty percent of the Trust assets will be allocated to Fund B, for
Mesothelioma Claims and Secondary Mesothelioma Claims; and (ii) historical information
suggests that there may be approximately fifteen times as many Ovarian Cancer Claims as there
are Mesothelioma Claims, which may suggest that an allocation of 40% of the Trust assets to
holders of Mesothelioma Claims will result in such holders receiving a greater percentage of
their claims than holders of Ovarian Cancer Claims. As to point (ii) Arnold & Itkin further
asserts that: (x) approximately 16,500 lawsuits asserting Ovarian Cancer Claims have been filed
since 2014, as compared to approximately 1,200 lawsuits asserting Mesothelioma Claims; and
(y) as of the Petition Date, there were approximately 13,800 pending lawsuits asserting Ovarian
Cancer Claims and approximately 850 pending lawsuits asserting Mesothelioma Claims against
one or more of the North American Debtors.

        (b)      Alleged Risk of Less Favorable Treatment of Class 4 Talc Personal Injury Claims
                 that are Liquidated by Money Judgments against the Trust, Rather than through
                 Other Trust Procedures


86107
        Trust Distribution Procedures, at § 2.2.

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         Arnold & Itkin also contends that any Class 4 claimant who exercises his or her right to
file suit against the Trust to liquidate the claimant’s claim judicially (and his or her right to a jury
trial) faces a risk of less favorable treatment under the Trust Distribution Procedures than holders
of Claims in Class 4 whose claims are not liquidated through judicial proceedings. According to
Arnold & Itkin, although Section 7.7 of the Trust Distribution Procedures provides for the
payment of a “sequencing adjustment” on Talc Personal Injury Claims with respect to which the
claimant has had to wait one year or more for payment (up to a maximum of seven years), “[n]o
sequencing adjustment shall be available to or paid on any claim liquidated in the tort system
pursuant to Section 5.8 above herein.”87 108

        Arnold & Itkin also asserts that following the liquidation of its claim in a judicial
proceeding, the distribution to a holder of a Claim in Class 4 who obtains a judgment against the
Trust will be subject to a delay of a type that is not applicable to a distribution on the claim of a
claimant following the liquidation of its claim under any other Trust procedure. According to
Arnold & Itkin, (A) a holder of a Claim in Class 4 that obtains a money judgment against the
Trust will receive from the Trust an initial payment of an amount equal to the greater of (i) the
Trust’s last offer to the claimant, or (ii) the award that the claimant declined in non-binding
arbitration, not to exceed the amount of the judgment obtained in the tort system, and (B) the
payment of any portion of the judgment that exceeds the greater of (i) or (ii) will be deferred,
with such portion to be paid in five equal installments in years six through ten following the year
of the initial payment. Thus, Arnold & Itkin contends that payment of some portion of a Claim
in Class 4 that is judicially liquidated by a money judgment against the Trust may be delayed for
years in a manner that is not applicable to any other Claim in Class 4 (and without any
“sequencing adjustment” or other compensation for the delay).88 109

        In addition, Arnold & Itkin asserts that regardless of the size of the judgment obtained by
a holder of a Claim in Class 4 in a judicial proceeding, the Trust Distribution Procedures provide
that the claimant cannot recover more from the Trust than the “Maximum Value” set forth in
Section 5.2 of the Trust Distribution Procedures. Arnold & Itkin alleges that this provision sets a
ceiling on the allowed amount of every Talc Personal Injury Claim whose holder seeks judicial
review, and disallows the amount of any claim in excess of the applicable “Maximum Value.”
Thus, Arnold & Itkin contends that the Trust Distribution Procedures impose a limit on the
maximum amount of a claim that will be allowed against the Trust, regardless of the amount of
any money judgment obtained following judicial proceedings. Arnold & Itkin further asserts
that counsel for certain holders of Talc Personal Injury Claims has indicated that the legality of
this limitation will be challenged, as will features of the Trust Distribution Procedures that
allegedly result in less favorable treatment of Claims that are liquidated through judicial
proceedings, rather than through other Trust procedures.

        (c)      Alleged Risk of Less Favorable Treatment of Holders of Indemnified Claims in
                 Class 4

       Arnold & Itkin also contends that the Trust Distribution Procedures require a holder of a
Claim in Class 4 who may have rights against J&J under the J&J Indemnities to forego such

87108
        See id. at § 7.7(b).
88109
        See id. at § 7.8.

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rights in order to receive the same “Scheduled Value,” “Average Value,” or “Maximum Value”
as a holder of a Claim in Class 4 who does not have such rights against J&J; otherwise, the
claimant that has and pursues rights against J&J under the J&J Indemnities will be accorded a
lower Scheduled Value, Average Value or Maximum Value, as applicable (and a
correspondingly lower distribution from the Trust), than a holder of a Non-Indemnified Claim in
the same category (i.e., Mesothelioma Claim or same category of Ovarian Cancer Claim) that is
resolved through the same resolution process (i.e., Expedited Review Process or Individual
Review Process). According to Arnold & Itkin, the holder of an Indemnified Claim will have to
forego any right he or she may have against J&J under the J&J Indemnities in order to be
accorded the same treatment of his or her claim against the Trust as the holder of a Claim in
Class 4 who has no such additional rights.

        Arnold & Itkin notes that the Trust Distribution Procedures distinguish between
“Indemnified Claims” and “Non-Indemnified Claims.” According to Arnold & Itkin, the Trust
Distribution Procedures then go on to require that the claimant that may have rights against J&J
under the J&J Indemnities that other claimants do not have must forego those additional rights in
order to receive the same Scheduled Value, Average Value, or Maximum Value, as applicable,
as its counterpart that holds a Non-Indemnified Claim. In particular, a holder of an Indemnified
Claim must choose between holding a “Trust Election Claim” (and being a “Trust Election
Claimant”) and holding a “Tort System Election Claim” (and being a “Tort System Election
Claimant”). A “Tort System Election Claimant” is defined as “the holder of an Indemnified
Claim who elects to pursue such claim against one or more of the Debtors in the tort system . . .
based on one or more of the J&J Indemnities.”89 110 To qualify as a “Trust Election Claimant,”
the holder of an Indemnified Claim must elect “to seek recovery from the Trust in lieu of
proceeding against the J&J Indemnities in the tort system.”90 111 Arnold & Itkin asserts that the
result of this mandatory election is that in order to receive the same Scheduled Value, Average
Value or Maximum Value, as applicable, as the claimant with a Non-Indemnified Claim in the
same category that is subject to the same resolution process, the holder of an Indemnified Claim
must elect to become a “Trust Election Claimant,” thereby foregoing the right to pursue
indemnification under the J&J Indemnities – a right that its Non-Indemnified Claim holding
counterpart does not have.91 112

       Arnold & Itkin contends that under the Scheduled Values for the Expedited Review
Process under Section 5.2(a) of the Trust Distribution Procedures, an Ovarian Cancer A Claim
whose holder participates in the Expedited Review Process and does not have an Indemnified
Claim (i.e., does not have a claim against J&J under the J&J Indemnities) will be allowed under
the heading “Trust Election Claims and Non-Indemnified Claims” for $400,000.00. However,
the Ovarian Cancer A Claimant who does have a claim against J&J under the J&J Indemnities
must forego the prosecution of that additional claim in order to receive the same $400,000 claim
(and the same distribution from the Trust Fund); otherwise, that Ovarian Cancer A Claimant will



89110
        See id. at § 1.2(97).
90111
        See id. at § 1.2(101).
91112
        See id. at § 2(a).

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receive the lower $140,000 Scheduled Value that would be allowed for a “Tort System Election
Claim,” and a correspondingly lower distribution from the Trust.

        (d)      Alleged Risk to Ovarian Cancer B, C, and D Claimants

       Furthermore, Arnold & Itkin points out that (i) Section 5.2(a)(iii) of the Trust
Distribution Procedures provides that the Trustee, with the consent of the TAC and FCR can
modify the Scheduled Values and/or Medical/Exposure Criteria for Ovarian Cancer A-D Claims
and Mesothelioma Claims, except that in no event shall the Scheduled Value for Ovarian Cancer
A or Mesothelioma Claims be reduced to an amount less than the Scheduled Value identified in
the Trust Distribution Procedures and (ii) this exception to the power to amend the Trust
Distribution Procedures to lower Scheduled Values does not apply to Ovarian Cancer B, C and
D Claims. According to Arnold & Itkin, as a result, only the Scheduled Values for such claims
are subject to being reduced by a subsequent amendment of the Trust Distribution Procedures.

        In addition, Arnold & Itkin contends that the provisions of Section 7.1 of the Trust
Distribution Procedures may result in the diversion of funds from Fund C – the sole source of
distributions to holders of Ovarian Cancer B, C, and D claims under the Trust Distribution
Procedures – to holders of Ovarian Cancer A Claimants against Fund A. Arnold & Itkin asserts
that this potential diversion results from the fact that, although the Trust Distribution Procedures
provide that a Claimant cannot have a Claim in two of the Funds, it also provides that if the
holder of a Claim asserted against Fund C later asserts a new claim for a higher level of Ovarian
Cancer that is paid from Fund A, only the additional amount distributable to that Claimant in
excess of the amount already received from Fund C is paid from Fund A, resulting in a portion
of a Fund A claim effectively being paid from Fund C.

        Arnold & Itkin also alleges that holders of Ovarian Cancer B, C and D claims also face
the risk of unequal treatment as compared to the holders of Ovarian Cancer A Claims that results
from the fixed allocation of 40% of the Trust assets to Fund A, for Ovarian Cancer A Claims,
and only 20% of the Trust assets to Fund C, for Ovarian Cancer B, C and D Claims.

12.3    The Insurer Group92113




92113
        Capitalized terms used but not defined in this Section 12.2 have the meanings ascribed to them in
the Trust Distribution Procedures.

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       On December 7, 2020, the Insurer Group93 114 sent the Debtors comments and proposed
additions to the Third Amended Disclosure Statement. The Insurer Group has requested that the
statements contained in this Section 12.3 be included in this Disclosure Statement.

        The Insurer Group argues that the Disclosure Statement does not make certain
disclosures that it contends are necessary before the Bankruptcy Court can approve the
Disclosure Statement. In partial settlement of those objections, the Plan Proponents have agreed
to include this Section 12.3 in the Disclosure Statement. As noted above, the Plan Proponents do
not necessarily agree with the statements set forth below. The position of the Debtors and the
other Plan Proponents with respect to many of the arguments and contentions made by the
Insurer Group in this Section 12.3 are addressed in other sections of this Disclosure Statement.

        (a)      The Trust Distribution Procedures Allegedly Abandon the Debtors’ Liability
                 Defenses

       The Insurer Group contends that the Trust Distribution Procedures are structured in such
a way that insurance coverage may not be available for any valid claim paid by the Talc Personal
Injury Trust pursuant to the Trust Distribution Procedures, thereby reducing the amounts paid to
holders of Claims in Class 4.

         The Insurer Group points out that the Debtors vigorously and successfully defended the
Talc Claims against them prior to filing the Bankruptcy Cases, and note that the Debtors’ former
chief financial officer has stated under oath in the Bankruptcy Cases that “Debtors believe this
litigation is without merit and their strategy has consistently been to mount a vigorous defense to
all such claims.”94 115 The Insurer Group further notes that the Debtors continue to assert that
position today, in that (i) the Debtors maintain that their talc is safe, that the Talc Personal Injury
Claims are without medical or scientific merit, and that exposure to their talc products has not
caused personal injuries, and (ii) the Debtors also contend that the safety of their talc has been




93114
        The Debtors believe the “Insurer Group” includes (i) Columbia Casualty Company, Continental
Casualty Company, the Continental Insurance Company, as successor to CNA Casualty of California and
as successor in interest to certain insurance policies issued by Harbor Insurance Company, Lamorak
Insurance Company (formerly known as OneBeacon America Insurance Company), as successor to
Employers’ Surplus Lines Insurance Company, Stonewall Insurance Company (now known as Berkshire
Hathaway Specialty Insurance Company), National Union Fire Insurance Company of Pittsburgh PA, and
Lexington Insurance Company to the extent that they issued policies to Cyprus Mines Corporation prior
to 1981; (ii) Century Indemnity Company, Federal Insurance Company, Central National Insurance
Company of Omaha, TIG Insurance Company, International Surplus Lines Insurance Company, Mt.
McKinley Insurance Company, Fairmont Premier Insurance Company, Everest Reinsurance Company,
The North River Insurance Company, Providence Washington Insurance Company, and The American
Insurance Company; (iii) Employers Mutual Casualty Company; (iv) Hartford Accident and Indemnity
Company and First State Insurance Company; and (v) Certain Underwriters at Lloyd’s London and
Certain London Market Insurers.”
94115
        See First Day Declaration, at ¶ 31.

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confirmed by dozens of peer-reviewed studies and multiple regulatory and scientific bodies,
including five of the largest real-world studies ever conducted.95116

        The Insurer Group observes that judges and juries frequently agreed with the Debtors’
position, and note that the Debtors had significant prepetition success defending against Talc
Personal Injury Claims in the tort system and no final, unappealable verdict has been issued
against any Debtor in any lawsuit asserting talc related claims. Specifically, as the Insurer
Group notes, ITA “won outright three defense verdicts in its favor in jury trials in Missouri state
court.”96 117 In addition, the Insurer Group notes that in both an early federal case and a more
recent state court case, the Debtors won summary judgment based on the “bulk supplier
doctrine,” which shields from liability a company that sells a raw material like talc that is later
included in another company’s finished product.97 118

        The Insurer Group also observes that the Debtors have leaned heavily and successfully
on causation defenses – both general causation (e.g., there is no scientific evidence that talc is
harmful) and specific causation (e.g., the claimant did not use talc, or their injury is due to their
exposure to asbestos for which some other company is responsible). Further, the Insurer Group
notes that the First Day Declaration discusses rulings by state courts in coordinated proceedings
in New Jersey and California that the scientific evidence of talc as an alleged cause of ovarian
cancer was insufficient to allow cases in those courts to proceed to trial against ITA.98119

        However, despite the Debtors’ record of success in the tort system pre-petition, the
Insurer Group contends that the Trust Distribution Procedures do not appear to take into account,
in any way, the Debtors’ liability defenses. According to the Insurer Group, there is, for
example, no provision in the Trust Distribution Procedures that allows the Debtors or their
insurers to assert liability defenses in response to Talc Personal Injury Claims. Rather, the

95116
        See Disclosure Statement, at § 4.1; see also First Day Declaration, at ¶ 37.
96117
         First Day Declaration, at ¶ 37. The Insurer Group notes that the three cases are Ristesund v.
Johnson & Johnson, 558 S.W.3d 77 (Mo. App. 2019) (the jury absolved Imerys of any liability, while
finding J&J liable for $5 million in compensatory damages and $50 million in punitive damages), Estate
of Fox v. Johnson & Johnson, 539 S.W.3d 48, 50 (Mo. App. 2017) (a jury held J&J liable for $10 million
in compensatory damages and $62 million in punitive damages, but the jury found Imerys not liable), and
Swann v. Johnson & Johnson, Case No. 1422-CC09326-01 (Mo. Cir. Ct. 2017) (a jury returned a defense
verdict for both J&J and Imerys, rejecting plaintiff’s claim that her 38 years’ worth of daily J&J talcum
powder use caused her ovarian cancer, and finding in favor of Imerys on negligence and
misrepresentation by concealment claims). See also Disclosure Statement, at § 5.8(f).
97118
        Berg v. Johnson & Johnson, et al., Dkt. No. 196, Civ. No. 09-4179-KES (D.S.D. Mar. 25, 2013)
(granting summary judgment to Debtors’ predecessor Luzenac based on the bulk supplier doctrine); Trial
Order, Johnson & Johnson Talcum Powder Cases, 2017 WL 4325960 (Cal. Super. Los Angeles Cty.
Aug. 9, 2017). See also Artiglio v. General Electric Co., 61 Cal. App.4th 830 (1998) (discussing the bulk
supplier doctrine under California law); In re TMJ Implants Products Liability Litigation, 97 F.3d 1050,
1057 (8th Cir. 1996) (also discussing the doctrine).
98119
         See First Day Declaration, at ¶ 37. Certain members of the Insurer Group previously served
Debtors with discovery designed to identify other liability defenses successfully asserted by Debtors
prepetition. The Debtors recently provided some documents in response to those requests, which the
Insurer Group is reviewing.

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Insurer Group contends that the Trust Distribution Procedures permit the Talc Personal Injury
Trust to make payment to holders of Claims in Class 4 if they satisfy certain product exposure
and medical criteria – without regard to whether the Debtors have viable defenses to liability for
the person’s claim. Moreover, the Insurer Group asserts that the Trust Distribution Procedures
contain no meaningful exposure criteria and do not require claimants to list any other exposures
they might have, effectively limiting any challenge to that aspect of a claim.

       The Insurer Group alleges that the Trust Distribution Procedures’ abandonment of the
Debtors’ viable liability defenses has important negative consequences for holders of Class 4
claims. Specifically the Insurer Group contends:

                First, by abandoning all of the liability defenses the Debtors successfully asserted
                 in the tort system, the Plan significantly increases the “quantum of liability” that
                 would be paid under the Trust Distribution Procedures. The Insurer Group asserts
                 that this severely dilutes the recoveries of any claimants with valid claims, who
                 might be forced to share limited assets with persons asserting invalid or more
                 questionable claims.

                Second, it means that the Plan and the Trust Distribution Procedures may have
                 created coverage defenses for their insurers and indemnitors, which could
                 substantially reduce overall recoveries for holders of Direct Talc Personal Injury
                 Claims. For example, insurance policies require insureds to cooperate in the
                 defense of claims – but because unilateral abandonment of liability defenses is the
                 antithesis of such cooperation, such abandonment creates new coverage defenses
                 for insurers. If such coverage defenses are found meritorious, the Insurer Group
                 contends that the Talc Personal Injury Trust’s ability to recover insurance
                 proceeds to assist in paying claims could be adversely affected, thereby reducing
                 the amounts available to pay holders of Claims in Class 4.

                Third, the abandonment of liability defenses and the resulting increase in the
                 quantum of liability at issue may give insurers viable confirmation objections,
                 thus putting plan confirmation at risk.

         (b)     Potential Breach of the J&J Indemnification Obligations

        The Insurer Group also contends that J&J previously offered “to take over liability for,
and thereby remove from the Debtors’ bankruptcy estates, most of Debtors’ liabilities –
approximately 90% of the current and future claims against the Debtors.”99 120 According to
J&J, if the J&J Stay Motion had been granted, holders of Claims in Class 4 would “keep their
day in court and be assured a full recovery of any judgment or settlement, backed by the credit of
one of the world’s largest companies, J&J,” and “J&J would waive its claims against the Debtors
and most of its defenses to indemnity.”100 121 The Insurer Group contends that the Debtors
rejected J&J’s proposal, and assert that the Trust Distribution Procedures purport to allow


99120
         J&J Reply, at ¶ 4.
100121
         Id. (emphasis in original).

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holders of Claims in Class 4 to elect to pursue claims against the “J&J Indemnities” in the tort
system, in which event a successful claimant would not be subject to the caps on trust payments
set forth in the Trust Distribution Procedures. Because the Debtors rejected J&J’s proposal, the
Insurer Group notes that (i) J&J now contends that the Debtors have breached the J&J
Indemnities, relieving J&J of any obligation to pay, and (ii) J&J contends that the Plan
artificially increases J&J’s liability and otherwise operates in a manner that relieves J&J of any
indemnification obligation. Thus, the Insurer Group asserts that even if a claimant were to
obtain a judgment against the Debtors in the tort system, J&J has said that it will contest its
purported indemnification obligation, leaving the judgment creditor without any recovery.

        The Insurer Group asserts that if J&J is not obligated to pay under the J&J Indemnities
because a court determines that the Debtors breached the J&J Indemnities, the Debtors and
holders of Claim in Class 4 will not be able to turn to the Debtors’ insurance for any recovery.
The Insurer Group contends that J&J’s uncapped indemnification obligation is primary to the
obligations of Debtors’ insurers, and that if the Debtors, by rejecting J&J’s offer (or otherwise),
breached the J&J Indemnities, the insurers may now have a defense to coverage to the extent the
Debtors’ alleged breach jeopardized the insurers’ subrogation rights against J&J.101 122
According to the Insurer Group, given that funding for the Talc Personal Injury Trust is largely
dependent on the availability of insurance, any reduction in insurance availability may reduce
the amounts available to pay holders with Claims in Class 4.

       The Insurer Group also contends that the Trust Distribution Procedures do not specify
who will defend Tort System Election Claims, and imply that J&J will defend all Tort System
Election Claims. According to the Insurer Group, J&J contends, however, that none of the
underlying contracts impose such an obligation on J&J and that there has been no finding that
J&J owes an indemnity. The Insurer Group alleges that there is a risk that J&J may choose not
to defend any or all of the Tort System Election Claims. Further, the Insurer Group asserts that
the Trust Distribution Procedures and the Plan do not require the Talc Personal Injury Trust, the
Debtors, or the Debtors’ insurers to defend such claims,102 123 and that to the extent that Tort
System Election Claimants opt to rely on the alleged J&J Indemnities, they risk having no
recovery at all because the election precludes them from accessing trust assets, including the
Debtors’ insurance that the Plan purports to assign to the Talc Personal Injury Trust.

         (c)     ITI as a Proper Debtor

        Because the Debtors are in the process of selling substantially all of their assets, meaning
that they are liquidating rather than reorganizing, the Insurer Group asserts that the Debtors will
not be entitled to a discharge under the Bankruptcy Code or a channeling injunction under
section 524(g) of the Bankruptcy Code. The Insurer Group further contends that without a

101122
        See generally Cyprus Historical Excess Insurers’ Statement in Support, Objection to Debtors’
Actions Impairing Rights of Subrogation, and Limited Objection to Johnson & Johnson Motion to Modify
Stay [DKT. 1567] [Docket No. 1802] (making the argument noted in the text).
102123
        Trust Distribution Procedures, at § 2.3(b); see also id. at § 2.3(c) (“J&J shall pay such final
settlement reached with J&J or judgment entered in the tort system directly to such Tort System Election
Claimant, and for the avoidance of doubt, none of the Trust, the Debtors or the Reorganized Debtors shall
have any obligation to pay such settlement or judgment”).

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section 524(g) channeling injunction, it is likely that Imerys S.A., Rio Tinto, Zurich and any
other persons or entities with whom the Debtors settle would not continue with their settlements.
According to the Insurer Group, in an attempt to address this problem, the Plan provides that if
holders of Claims in Class 4 approve the Plan, another one of the Debtors’ affiliates, ITI, will
commence a chapter 11 case and purport to “reorganize.”

         The Insurer Group alleges that it appears, however, that ITI is not actually reorganizing.
The Insurer Group notes that the Plan provides that (i) the legal, equitable, and contractual rights
of the holders of Unsecured Claims against ITI (Class 3b) would be unaltered by the Plan; (ii)
holders of Claims in Class 3b would not vote and they would be presumed to accept the Plan;103
124
    and (iii) all Equity Interests in ITI (Class 7) would be “reinstated and the legal, equitable, and
contractual rights to which holders of Equity Interests in ITI are entitled shall remain unaltered
to the extent necessary to implement the Plan.”104 125 The Insurer Group contends that the
Debtors acknowledge this in the Disclosure Statement, and state that “ITI’s reorganization will
have a minimal effect on ITI.”105 126 Thus, the Insurer Group asserts that there appears to be no
reason for ITI to file for bankruptcy.

        The Insurer Group points out that the Debtors argue, however, that ITI would commence
a Chapter 11 case so it can “address its talc-related liabilities.”106 127 Notwithstanding, the
Insurer Group asserts that ITI has not ever been held liable for any Talc Claims, nor has it ever
entered into any settlement of any Talc Claims. Rather, the Insurer Group notes that ITI’s “talc-
related liabilities” apparently consist of eight mesothelioma lawsuits filed by a single law firm,
which agreed to dismiss (and did, in fact, dismiss) all eight suits “in light of the potential chapter
11 filing of ITI contemplated under the proposed plan.”107 128 The Insurer Group also notes that
it appears that ITI has never been sued for causing a plaintiff’s ovarian cancer.

        As a result of the foregoing, the Insurer Group contends that the Bankruptcy Court may
not have statutory authority to issue a section 524(g) channeling injunction to the three existing
liquidating North American Debtors and a fourth affiliated debtor (ITI) whose entire Talc
Personal Injury Claim litigation history consists of just eight mesothelioma lawsuits, all of which
were dismissed without payment, and whose “reorganization” consists merely of allowing the
claimants who dismissed those eight lawsuits potentially to have access to a trust. Because of
these facts, the Insurer Group asserts that a section 524(g) channeling injunction may not be
available to any of the Debtors, and objections to the Plan on the basis that it fails to satisfy the
“good faith” requirement for confirmation under section 1129 of the Bankruptcy Code could be
found to have merit.




103124
         Plan, at § 3.3.4.
104125
         Plan, at § 3.3.9.
105126
         Disclosure Statement, at § 5.10.
106127
         See Third Amended Disclosure Statement, at § 5.11(a).
107128
         Id. at § 4.1(a).

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        According to the Insurer Group, if ITI is not eligible to be a debtor, then it appears that
the Bankruptcy Court would not be able to issue any channeling injunction under section 524(g)
of the Bankruptcy Code, which would preclude confirmation of the Plan.

         (d)     Alleged Inadequacy of the “Insurance Neutrality” Provisions

       Although the Plan Proponents contend that the Plan is “insurance neutral,” the Insurer
Group disagrees. Instead, the Insurer Group asserts that the Plan does not protect the insurers’
contractual rights and threatens to increase insurers’ obligation significantly (or vitiate
coverage).108 129

        The Insurer Group contends that the Trust Distribution Procedures will almost certainly
result in “the quantum of liability that the insurers would be called upon to absorb” being greatly
increased, because the Trust Distribution Procedures do not recognize liability defenses that the
Debtors successfully asserted in the tort system prepetition and do not contain any meaningful
exposure criteria. Moreover, the Insurer Group contends that the Trust Distribution Procedures
create an incentive for claimants to file “Mixed Claims” that are likely to lead to double
recoveries or inflated recoveries. The Insurer Group asserts that under the Trust Distribution
Procedures, the Talc Personal Injury Trust would pay claims that would not be paid in the tort
system or would pay greater amounts than would be paid in the tort system, increasing the
amount of liability the insurers would be called upon to absorb. Accordingly, under the analysis
of the Third Circuit in GIT, the Insurer Group asserts that the Plan is not insurance neutral.

        The Insurer Group also contends that the Plan directly threatens insurers’ subrogation
rights since J&J has taken the position that the Debtors’ actions have vitiated any contractual
indemnity obligation that J&J might have. In addition, the Insurer Group asserts that the Plan
purports to preempt insurers’ state law rights and assign their policies to the Talc Personal Injury
Trust even though the Insurer Group alleges there is significant doubt that the Debtors have
rights to some of the Insurer Group’s policies.

        Further, the Insurer Group contends that rather than affirming insurance neutrality, the
Plan provides that “[n]othing in . . . Section 11.4.1 of the Plan is intended or shall be construed
to preclude otherwise applicable principles of res judicata or collateral estoppel from being
applied against any Talc Insurance Company with respect to any issue that is actually litigated
by such Talc Insurance Company as part of its objections, if any, to Confirmation of the Plan or
as part of any contested matter or adversary proceeding filed by such Talc Insurance Company in
conjunction with or related to Confirmation of the Plan. Plan objections that are withdrawn prior
to the conclusion of the Confirmation Hearing shall be deemed not to have been actually


108129
         According to the Insurer Group, as the U.S. Court of Appeals for the Third Circuit explained in
its GIT decision, “insurance neutrality” “is a meaningful concept where . . . a plan does not materially
alter the quantum of liability that the insurers would be called upon to absorb.” In re Global Industrial
Technologies, Inc., 645 F.3d 201, 204, 212 (3d Cir. 2011). But where a plan would increase the liability
exposure the insurers are asked to pay, “it cannot fairly be said that the . . . plan is ‘insurance neutral,’”
even if “the Plan provided that nothing therein or in Plan-related documents or in the Bankruptcy Court’s
confirmation order would preclude those insurers from asserting any rights or defenses under the policies,
except those related to ‘anti-assignment provisions.’” Id. at 206, 212.

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litigated.”109 130 The Insurer Group asserts that this language directly threatens collateral
consequences to the insurers if they raise confirmation objections to the Plan, providing an
exception that swallows the rule of the Plan’s purported neutrality language.

       Because the Plan is not insurance neutral (according to the Insurer Group), the Insurer
Group contends there is a material risk that confirmation will be denied or, alternatively, that if
the Plan is confirmed, the lack of insurance neutrality will relieve the insurers of any obligations
they otherwise might have under their policies, thereby reducing the funds available to pay
holders of Claims in Class 4.

12.4     Travelers Casualty and Surety Company

       On December 9, 2020, Travelers Casualty and Surety Company (f/k/a The Aetna
Casualty and Surety Company) (“Travelers”) sent the Debtors comments and proposed
additions to the Third Amended Disclosure Statement. Travelers has requested that the
statements contained in this Section 12.4 be included in this Disclosure Statement.

        Travelers contends that the Disclosure Statement is vague regarding the treatment of
Indirect Talc Personal Injury Claims under the Plan and that it does not describe how the Trust
Distribution Procedures operate with respect to Indirect Talc Personal Injury Claims. Travelers
further contends that the Trust Distribution Procedures do not clarify the rights of holders of
Indirect Talc Personal Injury Claims and are silent regarding what a holder of an Indirect Talc
Personal Injury Claim, such as Travelers, must do to recover on its claim.

        Travelers also contends that the Disclosure Statement fails to specify whether insurance
policies issued or allegedly issued to J&J (the “J&J Policies”), including the J&J Policies,
constitute Talc Insurance Policies (as defined in the Plan) and that without knowing whether the
J&J Policies are Talc Insurance Policies, Travelers cannot determine whether it falls within the
definition of Talc Insurance Company with respect to the J&J Policies. Travelers further
contends that the Disclosure Statement fails to disclose that policies allegedly issued to J&J are
the subject of active coverage litigation in New Jersey state court and that creditors cannot
adequately assess the financial resources that may be available to the proposed Talc Personal
Injury Trust because the Disclosure Statement overstates the Debtors’ probability of accessing
J&J’s insurance policies, the availability of which may be substantially reduced by insurers’
meritorious coverage defenses.

        Travelers also contends that it cannot assess whether the J&J Policies are subject to the
purported insurance neutrality provisions of the Plan, including whether such neutrality applies
to the pending New Jersey coverage action and further that the Disclosure Statement does not
reconcile the Plan’s purported protection of the rights of Talc Insurance Companies with the
Plan’s restriction on any right to contest the Plan or any Plan Documents.

       Travelers further contends that: (i) the Plan as described cannot be confirmed because it
does not comply with sections 105(a) and 524(g) of the Bankruptcy Code; (ii) that the Disclosure
Statement does not explain why a section 524(g) trust is needed or how the requirements can be


109130
         Plan, at § 11.4.1.4.

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met when only a small fraction of the Talc Personal Injury Claims allege injury caused by
asbestos in talc; (iii) that the Disclosure Statement does not explain the risk that the Talc
Personal Injury Trust may not properly value claims or treat similar claims in substantially the
same manner; and (iv) that the Disclosure Statement fails to disclose that insurance may not be
available to pay claims channeled to the Talc Personal Injury Trust.

                                           ARTICLE XIII.

    ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF THE PLAN

        If the Plan is not confirmed and consummated, alternatives to the Plan include:
(a) continuation in chapter 11 and formulation of an alternative plan or plans of reorganization,
or (b) liquidation of the Debtors under chapter 7 of the Bankruptcy Code. Each of these
possibilities is discussed in turn below.

13.1    Alternative Plan of Reorganization

        The Plan is the product of extensive negotiations among the Plan Proponents, and reflects
a balance of the respective interests held by the parties. If the Plan is not confirmed, the Debtors
or any other party in interest (upon the expiration of the Debtors’ exclusivity period) could
attempt to formulate a different plan of reorganization. During the negotiations prior to the
filing of the Plan, however, the Plan Proponents explored various alternatives to the Plan and
believe that the Plan enables the Reorganized Debtors to emerge from the Chapter 11 Cases
more successfully and expeditiously than any alternative plan, while preserving and maximizing
the Debtors’ assets, and allowing claimants of the Debtors to realize the highest recoveries under
the circumstances.

13.2    Liquidation under Chapter 7

        If the Plan is not confirmed, the Debtors’ Chapter 11 Cases could be converted to
liquidation cases under chapter 7 of the Bankruptcy Code. In chapter 7, a trustee would be
appointed to promptly liquidate the assets of the Debtors.

        As described above in the Liquidation Analysis, the Plan Proponents believe that a
liquidation under chapter 7 would result in a substantial diminution in the value of the Debtors’
Estates. The Debtors further believe that it is likely that distributions in a chapter 7 liquidation
would not occur for a substantial time, primarily due to, among other things, the time required to
liquidate the Debtors’ insurance-related assets.

                                           ARTICLE XIV.

                        CERTAIN TAX CONSEQUENCES OF THE PLAN

       The following discussion summarizes certain U.S. federal income tax consequences
expected to result from the consummation of the Plan. This discussion is only for general
information purposes and only describes the expected tax consequences to holders of Talc
Personal Injury Claims. It is not a complete analysis of all potential federal income tax
consequences and does not address any tax consequences arising under any state, local or

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foreign tax laws or federal estate or gift tax laws. This discussion is based on the Internal
Revenue Code of 1986, as amended (the “IRC” or “Tax Code”), Treasury Regulations
promulgated thereunder, judicial decisions, and published rulings and administrative
pronouncements of the Internal Revenue Service (the “IRS”), all as in effect on the date of this
Disclosure Statement. These authorities may change, possibly retroactively, resulting in federal
income tax consequences different from those discussed below. No ruling has been or will be
sought from the IRS, and no legal opinion of counsel will be rendered, with respect to the
matters discussed below. There can be no assurance that the IRS will not take a contrary
position regarding the federal income tax consequences resulting from the consummation of the
Plan or that any contrary position would not be sustained by a court.

        This discussion does not address all federal income tax considerations that may be
relevant to a particular holder in light of that holder’s particular circumstances. In addition, it
does not address considerations relevant to holders subject to special rules under the federal
income tax laws, such as holders subject to the alternative minimum tax, holders who utilize
installment method reporting with respect to their Claims, non-U.S. holders and U.S. holders
who have a functional currency other than the U.S. dollar. This discussion also does not address
the U.S. federal income tax consequences to holders (a) whose Claims are Unimpaired or
otherwise entitled to payment in full under the Plan, or (b) that are deemed to accept or deemed
to reject the Plan. Additionally, this discussion does not address any consideration being
received other than in a person’s capacity as a holder of a Claim. Moreover, this discussion does
not address the tax treatment of the Reorganized Debtors given that (a) the Reorganized North
American Debtors will have limited operations after the Effective Date, (b) all items of federal
income, gain, loss, and deduction of ITA and ITV arising on the Effective Date should generally
be includible on the tax return of Imerys USA, and (c) the operations of ITI will be largely
unaffected by the Chapter 11 Cases. In addition, the tax treatment of the Reorganized Debtors
should have no impact on holders of Talc Personal Injury Claims.

        Holders should consult their own tax advisors regarding the U.S. federal income tax
consequences to them of the consummation of the Plan and the receipt of amounts from the
Talc Personal Injury Trust, as well as any tax consequences arising under any state, local
or foreign tax laws, or any other federal tax laws. The Debtors and the Reorganized
Debtors shall not be liable to any person with respect to the tax liability of a holder or its
Affiliates.

14.1    Treatment of the Talc Personal Injury Trust

        It is anticipated that the Talc Personal Injury Trust will be a “qualified settlement fund”
within the meaning of the Treasury Regulations promulgated under Section 468B of the Tax
Code. Such Treasury Regulations provide that a fund, account, or trust will be a qualified
settlement fund if three conditions are met. First, the fund, account, or trust must be established
pursuant to an order of or be approved by a government authority, including a court, and must be
subject to the continuing jurisdiction of that government authority. A court order giving
preliminary approval to a fund, account, or trust will satisfy this requirement even though the
order is subject to review or revision. Second, the fund, account, or trust must be established to
resolve or satisfy one or more contested or uncontested claims that have resulted or may result
from an event (or related series of events) that has occurred and that has given rise to at least one

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claim asserting liability arising, among other things, out of a tort. Third, the fund, account, or
trust must be a trust under applicable state law or have its assets physically segregated from the
other assets of the transferor and persons related to the transferor. The Talc Personal Injury
Trust has been established with the express purpose of satisfying the requirements of a qualified
settlement fund and will be treated as a separate taxable entity. Its modified gross income will
generally be subject to U.S. federal income tax at the highest rate applicable to estates and trusts
(currently 37%). For purposes of determining the Talc Personal Injury Trust’s modified gross
income, payments to the Talc Personal Injury Trust and payments from the Talc Personal Injury
Trust to holders of Talc Personal Injury Claims in settlement of their Claims will not be taken
into account.

14.2    Tax Consequences to Holders of Talc Personal Injury Claims

        The tax consequences of payments received by holders of Talc Personal Injury Claims
will depend on the individual nature of each such Claim and the particular circumstances and
facts applicable to such holder at the time each such payment is made. To the extent that
payments from the Talc Personal Injury Trust to holders of Talc Personal Injury Claims
constitute damages received by such holders on account of physical injuries or physical sickness,
such payments should not constitute gross income to such recipients under Section 104 of the
Tax Code, except to the extent that such payments are attributable to medical expense deductions
allowed under Section 213 of the Tax Code for a prior taxable year. To the extent that any
payments from the Talc Personal Injury Trust to holders of Talc Personal Injury Claims
constitute damages received by such holders on account of claims other than physical injuries
(such as lost wages) or received as interest (or any other amounts not excludable from income
under Section 104 of the Tax Code), such payments will be includible in gross income to such
holders.

       All distributions to holders of Talc Personal Injury Claims under the Plan are subject to
any applicable withholding. Under U.S. federal income tax law, interest, dividends, and other
reportable payments may, under certain circumstances, be subject to “backup withholding” at the
then applicable rate. Backup withholding generally applies if the holder (i) fails to furnish its
social security number or other taxpayer identification number (“TIN”), (ii) furnishes an
incorrect TIN, (iii) fails properly to report interest or dividends, or (iv) under certain
circumstances, fails to provide a certified statement, signed under penalty of perjury, that the
TIN provided is its correct number and that it is not subject to backup withholding. Backup
withholding is not an additional tax but merely an advance payment, which may be refunded to
the extent it results in an overpayment of tax. Certain persons are exempt from backup
withholding, including, in certain circumstances, corporations and financial institutions.

       The foregoing is intended to be a summary only and not a substitute for careful tax
planning with a tax advisor. The federal, state, local and foreign income tax consequences
of the Plan are complex and, in some cases, uncertain. Such consequences also may vary
based on the individual circumstances of each holder of a Talc Personal Injury Claim.
Accordingly, each holder of a Claim is strongly urged to consult with its, his, or her own
tax advisor regarding the federal, state, local, and foreign income tax consequences of the
Plan.


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       Furthermore, any U.S. federal tax discussion contained in this Disclosure
Statement, the Plan and any Plan Documents, and any exhibits or attachments to any such
documents, was not intended or written to be used, and cannot be used, by any taxpayer
for the purpose of avoiding any penalties that may be imposed on such taxpayer by the
Internal Revenue Service.

                                              ARTICLE XV.

                            CONCLUSION AND RECOMMENDATION

        The Plan Proponents believe that the Plan is in the best interests of all holders of Claims
and urge all holders of Impaired Claims in Class 4 entitled to vote on the Plan to vote to accept
the Plan and to evidence such acceptance by returning their Ballots so that they WILL BE
actually received on or before 4 p.m. (Prevailing Eastern Time), on February 15, 2021.



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Dated: [__], 2020                     IMERYS TALC AMERICA, INC.
       Wilmington, Delaware           (On behalf of itself and each of the Debtors)
                                      /s/
                                      []


                                      TORT CLAIMANTS’ COMMITTEE
                                      /s/
                                      []


                                      FUTURE CLAIMANTS’ REPRESENTATIVE
                                      /s/
                                      []


                                      IMERYS S.A.
                                      (On behalf of itself and each of the Imerys Plan
                                      Proponents)
                                      /s/
                                      []




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                                                   EXHIBIT A

                                                      The Plan




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                                                    EXHIBIT B

                            Financial Projections – North American Debtors




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 Financial Projections: Imerys Talc America, Inc., Imerys Talc Vermont, Inc. and Imerys
                                    Talc Canada Inc.

Introduction

        Imerys Talc America, Inc. (“ITA”), Imerys Talc Vermont, Inc. (“ITV”) and Imerys Talc
Canada Inc. (“ITC”), with the assistance of their restructuring, legal, and financial advisors,
have prepared these projections (the “North American Debtors Projections”). The North
American Debtors Projections should be read in connection with the assumptions and
qualifications as described herein and in the Disclosure Statement.110 131 For the purpose of
projecting liabilities and continuing costs, the Debtors have assumed that the Effective Date of
the Plan will be July 31, 2021.111132
       In order to fully administer the Plan, it is estimated that the Reorganized North American
Debtors will require a consolidated cash balance totaling approximately $24.7 million. The cash
balance is expected to be funded, as of the Effective Date, through a combination of the
following sources:
     .Cash held by the Debtors as of the date operations are discontinued and assets are
      transferred to a third party buyer;
     .liquidation of any remaining receivable owed from Imerys USA to ITA or ITV;
     .liquidation of any remaining receivable owed from Imerys S.A. to ITC;
     .contribution from the Imerys Non-Debtors totaling $5.0 million to pay general unsecured
      claims of the North American Debtors;
     .the Contingent Contribution; and

     .proceeds from the Sale (subject to certain reductions).112133
       Estimated liabilities included as part of the North American Debtors Projections have
been allocated to four separate Reserves, as required pursuant to the Plan. Funds held in the
Reserves attributable to these liabilities will be disbursed on or following the Effective Date.
The table below summarizes the projected disbursements and related timing, by year. The
sections that follow provide additional details for the underlying costs within each Reserve.




110131
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such
terms in the Fourth Amended Joint Chapter 11 Plan of Reorganization of Imerys Talc America, Inc. and
Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code (as may be amended from time to time,
the “Plan”).
111132
     If the Plan is accepted by the requisite number of claimants in Class 4, Imerys Talc Italy S.p.A.
(“ITI”) will commence a bankruptcy case that will be, pending entry of an order by the Bankruptcy
Court, jointly administered under Case No. 19-10289 (LSS). Financial projections related to ITI are
separately attached to the Disclosure Statement.
112133
     The North American Debtor Projections assume that the sale of the North American Debtors’ assets
to Magris Resources Canada Inc. pursuant to the Asset Purchase Agreement (as approved by the Sale
Order) will close prior to the Effective Date.

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Administrative Claim Reserve

        As of the Effective Date, the Debtors project that certain Administrative Claims will be
incurred, but remain unpaid. In addition to any accrued and unpaid Administrative Claims as of
the Effective Date, the Estates will continue to incur costs, which would be granted
administrative expense priority and/or be paid from the Administrative Claim Reserve, until the
final decree is entered. The full balance of projected claims allocated to the Administrative
Claim Reserve are discussed below.

United States Trustee Fees

       Includes quarterly United States Trustee fees accrued for the period through July 2021.
Individual balances for each of the North American Debtors are as follows:

    ($s in thousands)
    .Imerys Talc America $250.0
    .Imerys Talc Vermont $28.0
    .Imerys Talc Canada $88.0

Contract Cures

       The Debtors do not currently estimate any reserve requirements related to contract cures,
as no service agreements or similar third-party contracts are necessary post-Effective Date. To
the extent certain indemnification agreements are deemed executory, the Debtors would likely
assume such contracts, and currently do not estimate any cures with respect to such agreements.

Fees and Expenses of the Canadian Information Officer and Counsel to the Information Officer

       The Information Officer is expected to remain in place until a final decree is entered in
order to ensure adequate treatment of Canadian creditors and to close out the Canadian


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Proceeding. Estimated costs for the Information Officer and counsel to the Information Officer
total $270.0 thousand.

Excluded Liabilities

        Certain administrative expenses incurred as of the Sale Closing Date, namely property
taxes and royalties, have due dates that arise after the Effective Date. As such, these obligations,
totaling approx. $0.7 million, will remain unpaid as of the Effective Date and require to be
reserved.

Post-Effective Date Claim Activities

        The Debtors anticipate being required to undertake certain activities corresponding to the
transfer of Talc Personal Injury Trust Assets to the Talc Personal Injury Trust. These activities
include, but are not limited to, eDiscovery, document production, and maintaining records. In
addition to these costs, the Debtors also estimate additional costs will be incurred by the
Reorganized North American Debtors related to post-Effective Date claim objections (as related
to Administrative Claims), other sale costs, and contingencies.

503(b)(9) and Disputed Administrative Claims

       The Debtors’ estimates currently include $472.5 thousand for allowed 503(b)(9) claims,
Disputed Administrative Claims, and Administrative Claims not yet identified.

Fee Claim Reserve

       Concurrent with the Effective Date, any accrued and unpaid professional fees will be
held in the Fee Claim Reserve. These unpaid professional fees remain subject to Bankruptcy
Court approval and timing per the Compensation Procedures Order. Professional fees included
with the Fee Claim Reserve include:

    .retained professionals for the Debtors, FCR, and Tort Claimants’ Committee; and
    .monthly fee applications, interim fee applications, and final fee applications not
     otherwise paid prior to the Effective Date.

Note: Restructuring professionals fees related to ITI are excluded from the Fee Claim Reserve.
It is assumed that all restructuring fees related to ITI will be paid directly by ITI or reimbursed
by ITI to ITA prior to the Effective Date. It is also assumed that investment bankers’ transaction
and advisory fees will be paid after the Sale Closing Date, but prior to the Effective Date.

Disputed Claims Reserve

       The Debtors and their advisors continue to reconcile Claims recorded on the Claims
Register maintained by Prime Clerk LLC (“Prime Clerk”). Amounts included in the Disputed
Claims Reserve are maintained for distributable amounts required to be set aside on account of
Disputed Non-Talc Claims. If the Debtors prevail in their objections to Disputed Non-Talc


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Claims included within this Reserve, any undistributed amounts from this Reserve will be
transferred to the Talc Personal Injury Trust.

Reorganized North American Debtor Cash Reserve

         The following section details key assumptions and post-Effective Date costs that are
required to be reserved, and will be paid from Cash held by the Estates. The Reorganized North
American Debtor Cash Reserve will be funded in a sufficient amount to satisfy certain Non-Talc
Claims, and account for post-Effective Date obligations of the Reorganized North American
Debtors, including, but not limited to, amounts necessary to (i) resolve potential environmental
liabilities excluded from Asset Purchase Agreement, including estimated winddown costs,
(ii) compensate the Disbursing Agent, (iii) enforce all rights to commence and pursue certain
causes of action (as applicable), and (iv) administer the Canadian Proceeding.

Environmental Liabilities

        The Debtors’ environmental advisor, Ramboll US Corporation, prepared cost estimates
for the closure of certain of the Debtors’ former operational sites not otherwise sold as part of the
Sale (“Former Sites”), as well as certain pre-closure environmental matters. Estimates related
to potential environmental liabilities of Former Sites (that were not assumed by the Buyer),
including a potential insurance policy, total approximately $4.2 million.

Disbursing Agent

        The Plan requires appointment of a Disbursing Agent to make or facilitate Distributions
pursuant to the Plan. Projected costs for the Disbursing Agent, during the post-Effective Date
period, total approximately $1.4 million. The following key assumptions outline this position
and related costs:

    .Retention of a third party professional services firm with experience in these matters;
    .Financial books and records electronically archived prior to the Effective Date; and
    .Disbursing Agent will require ten (10) years from the Effective Date to close the North
     American Debtors’ Chapter 11 Cases.

        As the responsible party for the Reorganized North American Debtors, it is anticipated
that the Disbursing Agent’s role will include the following:

    .Compliance with fiduciary duties required by the Reorganized North American Debtors;
    .Assist legal counsel with filing objections to any Disputed Non-Talc Claims;
    .Remit Distributions to holders of remaining Allowed Non-Talc Claims;
    .Prosecute remaining Estate Causes of Action (if and as applicable);
    .Distribute agreed documents and assets to the Talc Personal Injury Trust;
    .File tax returns; and
    .Oversee winddown of Former Sites, including resolution of remaining environmental
     claims (estimated to take approximately ten (10) years in total).



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Legal Counsel

       Legal counsel to provide support for Disbursing Agent mandates. The current reserve
estimate of $1.1 million assumes legal counsel’s role will involve the following:

    .Resolve Claims objections;
    .Resolve Disputed Claims;
    .Respond to United States Trustee inquiries;
    .Final decree to close Chapter 11 Cases for the North American Debtors; and
    .Advise on any legal disputes arising from winddown of Former Sites.

Counsel for Canadian Recognition Proceeding

        Canadian counsel will need to be retained as the Canadian Proceeding will continue until
the ITA and ITV Chapter 11 Cases are closed. The estimated costs of $200.0 thousand are based
on a historical 3-month average incurred costs during the pendency of these Chapter 11 Cases.

Noticing Agent

       Estimated costs of $765.0 thousand incurred by Prime Clerk from the Effective Date
through entry of final decree for services including maintenance of official Claims Register,
noticing, serving objections, motions and distributions, if requested.

Independent Contractor Costs

       Additional costs to periodically engage legacy Debtor personnel as contractors for ad hoc
services projected to total approximately $40.0 thousand.

Final Post-Effective Activities

        Included within the Reorganized North American Debtor Cash Reserve are estimates for
a variety of other potential costs the Reorganized North American Debtors could incur post-
Effective Date. These estimates total $465.0 thousand and include, without limitation:

    .Cooperation costs (e.g., expenses incurred under the Cooperation Agreement as outlined
     therein);
    .Filing of tax returns;
    .Provide W-2s to former employees; and
    .Document retention and destruction.

Allowed Non-Talc Claims

        Through extensive claim reconciliation efforts, the Debtors and their advisors estimate
that Distributions on account of Allowed Non-Talc Claims will be as follows:

    .Priority & Secured Claims: $800.0 thousand


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    .Unsecured Claims: $2.1 million

Post-Effective Date United States Trustee Fee

       Reserved amount totals $210.0 thousand, and is based on projected disbursements made
by the Reorganized North American Debtors following the Effective Date. This estimate utilizes
the same methodology and assumptions applied for each United States Trustee quarterly fee
payment calculated during the pendency of the Chapter 11 Cases.




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                                           EXHIBIT C

                                    Financial Projections – ITI




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                           Financial Projections: Imerys Talc Italy S.p.A.
Introduction

        Imerys Talc Italy S.p.A. (“ITI”), with the assistance of its restructuring, legal, and
financial advisors, has prepared these projections (the “Financial Projections”). The Financial
Projections should be read in connection with the assumptions and qualifications as described
herein and in the Disclosure Statement.113 134 The Financial Projections represent management’s
estimate of the statements of income and simplified statements of cash flows forecasted over the
period from 2020 through 2023 (the “Projection Period”).
Accounting Policies
        The Financial Projections have been prepared by management using accounting policies
that are generally consistent with those applied in ITI’s internally reported financial statements.
The below projected financial information was not, however, prepared with a view toward
compliance with guidelines established by the American Institute of Certified Public
Accountants, the Financial Accounting Standards Board or the rules and regulations of the
Securities & Exchange Commission. The below Financial Projections have been disclosed to –
but not been examined or compiled by – independent auditors.




113134
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such
terms in the Fourth Amended Joint Chapter 11 Plan of Reorganization of Imerys Talc America, Inc. and
Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code (as may be amended from time to time,
the “Plan”).

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Summary of Significant Assumptions
        The Financial Projections are based on numerous assumptions regarding the anticipated
future operating performance of ITI, general business and economic conditions, and other
factors. Most of these assumptions are beyond the control of ITI and its management. Therefore,
although the Financial Projections are necessarily presented with numerical specificity, the
actual results achieved during the Projection Period will vary from the projected result.
Although management believes the assumptions underlying the Financial Projections, when
considered on an overall basis, are reasonable in light of current circumstances, actual results
may differ subject to market conditions and changes to the input costs.
Revenue and Operating Expenses
Revenues
        The Financial Projections assume sales decrease at a compound annual growth rate of
8.7% during the Projection Period. This decrease over the Projection Period is primarily driven
by lower volumes – in terms of Dry Metric Tonne (“DMT”) – on specialties (in particular
pharmaceutical – premium products with higher €/DMT value – and chewing gum industries),
personal care products, and intercompany sales (mostly due to sales on North American market

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and to the opening of a new talc mine in the Slovak Republic that will absorb Imerys Talc
Austria GmbH intercompany volumes). These Financial Projections take into consideration
various factors, including modest actions on pricing per DMT (+1% year on year, substantially
aligned with fundamental Italian inflation outlook), market dynamics, product mix (both
volumes and pricing), as well as different sales initiatives. However, the projections do not
include any corrective actions taken by management to offset expected volume declines. While
not included in the revenue projections, management has identified initiatives that would
favorably impact the current Financial Projections. Examples of these initiatives include new
products that will increase volumes within the food market, and capital investments (e.g.,
packing machine and dryer) that will increase throughput volumes for pharmaceutical and
cosmetic markets.
Variable Costs
       Variable costs mainly include raw materials, consumables, freight costs, utilities, and
overburden costs (capitalized cost incurred when removing waste rock in order to access the
mineral deposit/ore and amortized over the expected remaining life of the mine) and were
forecast primarily based on historical trends and margins.
Total Fixed Costs
        Fixed costs primarily represent personnel expenses, cleaning, maintenance and repair
costs, external services, and direct depreciation. Such costs were projected to increase based on
either historical levels growing at approximately 1% year over year or, as per labor cost, at a
higher 2.5% per year in order to reflect the National Collective Bargaining Employment
Contract renewal recently negotiated with certain unions. As anticipated, the Financial
Projections – even considering a reduction in sales volume over the Projection Period – do not
envisage any cost savings initiatives that might partially or totally offset the margin erosion.
Overheads
       Overheads mostly include Selling and Marketing Expenses and were forecast assuming a
1% increase per year.
Income Tax on Current Operating Income
       The Financial Projections assume income tax expenses at an average tax rate of 29%
applied to Current Operating Income.
Capital Expenditures
        Projected capital expenditures are forecast based on management's estimated investments
required to support the business. Such expenditures include maintenance, growth and
overburden capital expenditures. In addition, management is evaluating revisions to their 3-year
capital expenditure plan, and may include new investments not factored into these Financial
Projections. Those investments include geological exploration designed to lengthening the life
of the mine, an advanced packing machine and a dryer. The equipment under consideration
would improve the efficiency of operations, and offset potential negative sales trends in
pharmaceutical and personal care products.
Working Capital


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       The Financial Projections assume a flat working capital absorption over the Projection
Period. Please note that ITI has approximately $21.9M in receivables from Imerys Talc Europe
as of October 2020.




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                                                          EXHIBIT D

                                                 Liquidation Analysis




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                                              Liquidation Analysis

1) Introduction

        The Debtors, with the assistance of their restructuring, legal, and financial advisors, have
prepared this hypothetical Liquidation Analysis in connection with the Debtors’ Plan and
Disclosure Statement pursuant to chapter 11 of the Bankruptcy Code.114 135 The Liquidation
Analysis indicates the estimated recoveries that may be obtained by Classes of Claims and
Equity Interests in a hypothetical liquidation pursuant to chapter 7 of the Bankruptcy Code upon
disposition of assets as an alternative to the Plan. Accordingly, asset values discussed herein
may be different than amounts referred to in the Plan. In addition, ITI is included in the
Liquidation Analysis even though ITI does not intend to file a chapter 11 bankruptcy petition
unless holders of Claims in Class 4 vote to accept the Plan.

        Often called the “best interests” test, section 1129(a)(7) of the Bankruptcy Code requires
that the Bankruptcy Court find, as a condition to confirmation of the Plan, that each holder of a
Claim or Equity Interest in each Impaired Class: (i) has accepted the Plan; or (ii) will receive or
retain under the Plan property of a value, as of the Effective Date, that is not less than the
amount that such Person would receive if the Debtors were liquidated under chapter 7 of the
Bankruptcy Code. In order to make these findings, the Bankruptcy Court must: (1) estimate the
cash proceeds (the “Liquidation Proceeds”) that a chapter 7 trustee (the “Trustee”) would
generate if each Debtor’s chapter 11 case was converted to a chapter 7 case on the Effective Date
and the assets of such Debtor’s Estate were liquidated; (2) determine the distribution
(the “Liquidation Distribution”) that each holder of a Claim or Equity Interest would receive
from the Liquidation Proceeds under the priority scheme dictated in chapter 7; and (3) compare
each holder’s Liquidation Distribution to the distribution under the Plan that such holder would
receive if the Plan were confirmed and consummated. Accordingly, asset values discussed
herein may be different than amounts referred to in the Plan. The Liquidation Analysis is based
upon certain assumptions discussed herein and in the Disclosure Statement.

     THE DEBTORS MAKE NO REPRESENTATIONS OR WARRANTIES REGARDING
THE ACCURACY OF THE ESTIMATES AND ASSUMPTIONS CONTAINED HEREIN, OR
A TRUSTEE’S ABILITY TO ACHIEVE FORECASTED RESULTS. IN THE EVENT THAT
THE CHAPTER 11 CASES ARE CONVERTED TO A CHAPTER 7 LIQUIDATION,
ACTUAL RESULTS COULD VARY MATERIALLY FROM THE ESTIMATES AND
PROJECTIONS SET FORTH IN THE LIQUIDATION ANALYSIS.

2) Basis of Presentation

        The Liquidation Analysis has been prepared assuming that the Debtors’ chapter 7
liquidation would commence on or about July 31, 2021 (the “Liquidation Date”). The pro

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      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such
terms in the Fourth Amended Joint Chapter 11 Plan of Reorganization of Imerys Talc America, Inc. and
Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code (the “Plan”).



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forma values referenced herein are projected as of July 31, 2021. The Liquidation Analysis
assumes that if the Plan is not confirmed at the Confirmation Hearing likely to occur 30 to 120
days prior to the Liquidation Date, the Chapter 11 Cases would convert to a chapter 7
liquidation. The Liquidation Analysis was prepared on a legal entity basis for each Debtor and
summarized into a consolidated report.

       For the North American Debtors, the Liquidation Analysis assumes the sale of
substantially all of the North American Debtors’ assets (the “Sale”) will close on or around
January 31, 2021. For ITI, the Liquidation Analysis represents an estimate of recovery values
and percentages based upon a hypothetical liquidation if a trustee were appointed by the
Bankruptcy Court to convert assets into cash. The determination of the hypothetical proceeds
from the liquidation of assets is a highly uncertain process involving the extensive use of
estimates and assumptions that, although considered reasonable by management and their
advisors, are inherently subject to significant business, economic, and competitive uncertainties
and contingencies beyond the control of the Debtors and their management team. The
Liquidation Analysis should be read in conjunction with the assumptions, qualifications, and
explanations set forth in the Disclosure Statement and the Plan in their entirety as well as the
notes and assumptions set forth below.

         The Liquidation Analysis assumes a timeline in which:

              The Sale closes on or around January 31, 2021;

              On the Liquidation Date, the North American debtors commence orderly wind-down
               procedures over a 3-month period to wind-down the estate at which point all book-
               keeping and claims distributions are finalized by October 31, 2021;

              on the Liquidation Date, ITI converts existing raw materials to finished goods for
               sale to customers over a 1-month period, ceasing operations by August 31, 2021;
               and

              all ITI assets are assumed to be sold and book-keeping is finalized by November 30,
               2021, over a 3-month period following the cessation of operations.

       In preparing the Liquidation Analysis, the Debtors have estimated an amount of Allowed
Claims – except that no value has been estimated for Claims in Class 4 for the reasons set forth
in Note T below – or Equity Interests for each Class of claimants based upon a review of the
Debtors’ balance sheets as of October 31, 2020, adjusted for estimated balances as of the
Liquidation Date where needed. The estimate of Allowed Claims in the Liquidation Analysis is
based on the par value of each of these Claims. The estimate of the amount of Allowed Claims
and Equity Interests set forth in the Liquidation Analysis should not be relied upon for any other
purpose, including, without limitation, any determination of the value of any distribution to be
made on account of Allowed Claims and Equity Interests under the Plan. The actual amount of
Allowed Claims and Equity Interests could be materially different from the amount of Claims
estimated
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          in the Liquidation Analysis.115136
     For example, the cessation of business in a liquidation is likely to trigger certain claims that
otherwise would not exist under a chapter 11 plan absent a liquidation.



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         For the avoidance of doubt, the Liquidation Analysis does not:

                 include estimates for the tax consequences that may be triggered upon the
                  liquidation and sale of assets in the manner described above (although such tax
                  consequences may be material);

                 assign value to Claims in Class 4 for the reasons discussed in Note T;

                 estimate insurance or indemnity recoveries, including potential recoveries associated
                  with the J&J Indemnification Obligations, for purposes of determining the
                  Liquidation Proceeds, as the Debtors do not expect that insurance or indemnification
                  recoveries would be higher in a chapter 7 liquidation than they would be pursuant to
                  the Plan;

                 include recoveries resulting from any potential preference, fraudulent transfer, or
                  other litigation or avoidance actions; given the complexities in calculating such
                  estimates, and the costs associated with prosecuting such actions, any potential
                  recoveries were assumed to be negligible; or

                 include recoveries potentially attributable to claims that are being settled under the
                  Plan or pursuant to separate settlement agreements (e.g., claims against Imerys S.A.
                  or Rio Tinto and Zurich) as the Debtors assume that the value attributable to such
                  claims will be less in the context of a chapter 7 liquidation given that (i) any
                  recoveries on such claims will be offset by substantial legal costs associated with
                  prosecuting the claims and (ii) the settling parties would not be entitled to the same
                  injunctions and releases in the context of a chapter 7 liquidation.

3) Liquidation Process

       This Liquidation Analysis assumes that substantially all of the assets of the North
American Debtors have been disposed of pursuant to the Sale. As such, a Trustee would not be
required to liquidate any material assets of the North American Debtors, but would still be
required to oversee all other aspects associated with the winding down the North American
Debtors’ Estates over a 3-month period. The Trustee’s mandate would primarily include:
   
        Oversight of the liquidation process and the related costs, including wind-down costs,
           and Trustee, professional, and other administrative fees; and

                Distribution of net proceeds to creditors in accordance with the priority scheme under
                 chapter 7 of the Bankruptcy Code.




otherwise would not exist under a chapter 11 plan absent a liquidation.




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         ITI’s hypothetical liquidation would be conducted in a chapter 7 environment with the
Trustee managing ITI’s Estate to maximize recovery in an expedited process. The Trustee’s
initial step would be to develop a liquidation plan to generate proceeds from the sale of entity
specific assets for distribution to creditors. The three major components of ITI’s liquidation are
as follows:
     
          generation of cash proceeds from asset sales, largely sold on a piecemeal basis;

             costs related to the liquidation process, such as personnel retention costs, severance,
              Estate wind-down costs and Trustee, professional, and other administrative fees; and

             distribution of net proceeds generated from asset sales to the holders of Claims and
              Equity Interests in accordance with the priority scheme under chapter 7 of the
              Bankruptcy Code.116137

4) Distribution of Net Proceeds to Claimants

       Any available net proceeds would be allocated to the applicable holders of Claims and
Equity Interests in strict priority in accordance with section 726 of the Bankruptcy Code:

             Secured Claims: includes claims arising from post-petition contract claim at ITA and
              capital leases and auto leases at ITI.

             Chapter 11 Administrative Expense and Priority Claims: includes post-petition
              liabilities,117 138 priority taxes, and restructuring professional fees.

             Unsecured Claims: includes contract rejection claims, trade claims, environmental
              liabilities, and various other unsecured liabilities.

             Talc Personal Injury Claims: includes claims against one or more of the Debtors
              directly or indirectly arising out of or relating to the presence of or exposure to talc or
              talc-containing products based on alleged acts or omissions of the Debtors or any
              other entity for whose conduct the Debtors have or are alleged to have liability, prior
              to the Effective Date.

             Intercompany Claims: includes claims held by both non-debtor affiliates and other
              Debtors.



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     The liquidation process would include a reconciliation of claims asserted against the Estates to
determine the Allowed Claim amount per Class.
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      The Liquidation Analysis assumes that all employees of the North American Debtors will be
transferred to the Buyer pursuant to the Sale. Accordingly, post-petition vacation and severance costs
contained within the analysis correspond to ITI’s employees. For the avoidance of doubt, this
Liquidation Analysis is a hypothetical analysis, and the Sale of the North American Debtors’ assets to
Magris Resources Canada Inc. pursuant to the Sale Order has not yet closed.



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             Existing Equity Interests: includes any equity security in a Debtor as defined in
              section 101(16) of the Bankruptcy Code, including all common stock or units,
              preferred stock or units, or other instruments evidencing an ownership interest in any
              of the Debtors.

5) Conclusion

        The Debtors have determined, as summarized in the following analysis, upon the
Effective Date, the Plan will provide all holders of Claims and Equity Interests with a recovery
(if any) that is not less than what they would otherwise receive pursuant to a liquidation of the
Debtors under chapter 7 of the Bankruptcy Code, and as such believe that the Plan satisfies the
requirement of section 1129(a)(7) of the Bankruptcy Code.

        Under the proposed Plan, holders of Unsecured Claims would be paid in full, and the
Talc Personal Injury Trust would receive contributions of at least (i) $75 million plus any
remaining portion of the Sale Proceeds (up to $223 million) on the Effective Date pursuant to the
Imerys Settlement (subject to the Contingent Contribution and certain reductions described in
the Plan)118 139 and (ii) $340 million pursuant to the Rio Tinto/Zurich Settlement. In a liquidation
under chapter 7 of the Bankruptcy Code, there is no guarantee that any of the funds to be paid
pursuant to the Imerys Settlement or the Rio Tinto/Zurich Settlement would be available for
distribution to holders of Talc Personal Injury Claims.




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      In addition, pursuant to the Imerys Settlement, the Imerys Non-Debtors will contribute (i) $5 million
for the payment of Allowed Claims in Class 3 against the North American Debtors, and (b) $14.1 million,
which represents the balance of the Intercompany Loans, to fund administrative expenses during the
pendency of the Chapter 11 Cases.



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The following Liquidation Analysis should be reviewed with the accompanying notes. The following tables reflect the rollup of the
deconsolidated liquidation analysis for the Debtors.




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Specific Notes to the Liquidation Analysis

Net Liquidation Proceeds119140

             Note A - Cash & Cash Equivalents
              o Consists of rollforward of book cash as of the Liquidation Date for all legal
                 entities.
              o Includes all cash held at SunTrust, Royal Bank of Canada, Signature Bank,
                 Société Générale Italy, and Intesa Sanpaolo.
              o The projected cash balance for the North American Debtors as of July 31, 2021
                 reflects proceeds from the Sale and any additional pro forma cash activity
                 through the Liquidation Date.
              o The projected cash balance for ITI as of July 31, 2021 is based on the latest pro
                 forma business plan projections prepared by ITI and its advisors.
              o The Debtors estimate a 100% recovery of the pro forma balance of cash.

             Note B - Accounts Receivable
              o The analysis assumes the North American Debtors’ accounts receivable balances
                 will be conveyed to the Buyer as part of the Sale; therefore no recoverable value
                 is projected.
              o For ITI:
                     .Accounts receivable consists of accrued revenue, which is assumed to be
                         paid in the ordinary course on 30 to 60 day payment terms.
                     .The projected accounts receivable balances as of July 31, 2021 is based on
                         the latest pro forma business plan projections prepared by the Debtors and
                         its advisors.
                     .The analysis assumes that a chapter 7 Trustee would retain certain existing
                         staff to handle collection efforts for outstanding trade accounts receivable
                         for the entities undergoing liquidation.
                     .There are high risks with collecting accounts receivable once a liquidation
                         is announced.
                     .The adjustments to collections reflect the potential costs of litigation if
                         customers do not pay or delay payments, customers attempting to offset
                         payables due to business disruption, contract breach expenses as a result
                         of the cessation of operations, and other offset risks.
                     .The Debtors estimate the liquidation recovery value of accounts
                         receivable is 79% to 89% of the pro forma value.

             Note C - Intergroup Loan
              o Consists of prepetition amounts owed from non-debtor affiliates.




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      Estimated net Liquidation Proceeds do not include an estimate for rights to insurance or
indemnification proceeds as the Debtors do not expect that insurance or indemnification recoveries would
be higher in a chapter 7 liquidation than they would be pursuant to the Plan.



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             o The projected parent receivable balance as of July 31, 2021 is based on the latest
               pro forma business plan projections prepared by the Debtors and its advisors and
               reflects draws against the balance for liquidity purposes to fund operations.
             o The Debtors estimate a 100% recovery of the pro forma balance of the intergroup
               loan.

            Note D - Inventory
             o The analysis assumes the North American Debtors’ inventory will be conveyed to
                the Buyer as part of the Sale; therefore no recoverable value is projected as to the
                North American Debtors.
             o For ITI:
                    .Inventory includes raw materials, spare parts, and finished goods. ITI
                        holds no goods on consignment.
                    .Inventory is held across multiple locations and includes multiple SKUs
                        and types.
                    .Recovery percentages were estimated based on turnover metrics, days on
                        hand, recent market price, and discussions with management.
                    .Recovery percentages for finished goods assumed assets are sold in a fire-
                        sale scenario.
                    .Recovery percentages for raw materials reflect recovery against pro forma
                        balances after adjustment for conversion of raw materials to finished
                        goods during the post-conversion cash flow period.
                    .The Debtors estimate the liquidation recovery value of inventory is 32%
                        to 45% of the pro forma value.

            Note E - Other Current Assets
             o Other current assets primarily include amounts owed from other Debtors,
                amounts owed from non-debtor affiliates, prepaid expenses, and other
                receivables.
             o For both Debtor and non-debtor affiliate balances, debit balances located on the
                liability side of balance sheet were re-classed to receivables.
             o Debtor and non-debtor affiliate receivable balances were offset by post-petition
                payable balances at the legal entity level.
             o It is assumed that all prepaid expenses corresponding to the North American
                Debtors will be conveyed to the Buyer as part of the Sale. ITI does not have
                prepaid expenses.
             o It is assumed that all other receivables of the North American Debtors will be
                conveyed to the Buyer as part of the Sale. ITI’s other receivables are not
                recoverable per discussions with management.
             o The Debtors estimate the liquidation recovery value of other current assets is
                100% of the pro forma value.

            Note F - Property, Plant, and Equipment
             o The analysis assumes the North American Debtors’ Property, Plant, and
                Equipment will be conveyed to the Buyer as part of Sale; therefore no recoverable
                value is projected

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             o For ITI:
                  .Consists primarily of production plants, equipment utilized at the plant
                      and mines, and land.
                  .Estimated recoveries are based on estimates from management team and
                      guidance on current market environment.
                  .Recoveries on plants assume that ITI has ceased operations and no
                      volumes are moving through the plants and they are sold in a fire-sale
                      scenario. The buyer would purchase the plants as-is and would be
                      responsible for any dismantling and transportation costs to relocate the
                      assets to an operating location.
                  .Other tangible assets were evaluated for their marketability to a non-talc
                      related purchaser.
                  .Recovery on land was discounted given the assumption that the asset was
                      disposed in a fire-sale scenario.
                  .The Debtors estimate the liquidation recovery value of Property, Plant,
                      and Equipment is 36% to 45% of the pro forma value.

            Note G - Deferred Taxes
             o Deferred income taxes are assets arising from differences between statutory
                accounting and tax basis.
             o Per discussions with the parent company’s internal tax professionals, deferred
                taxes can only be utilized by the Debtors and have no market value to third
                parties.
             o The Debtors estimate the liquidation recovery value of deferred taxes is 0% of the
                pro forma value.

            Note H - Intangible Assets
             o Consists primarily of software, goodwill, intangibles, and other assets, including
                intellectual property, patents, and business methodologies.
             o The Debtors estimate the liquidation recovery value of intangible assets is 0% of
                the pro forma value.

            Note I - Other Long-Term Assets
             o The analysis assumes the North American Debtors’ other long-term assets will be
                conveyed to the Buyer as part of the Sale; therefore no recoverable value is
                projected
             o For ITI:
                    .Other long-term assets includes overburden and mineral reserves
                        associated with operating the mills and mines.
                    .Overburden is a capitalized cost incurred when removing the surface, rock
                        and soil in order to access the underlying mineral deposit. As there is no
                        tangible asset associated with this capitalized cost, no estimated recovery
                        is assumed.
                    .Mineral reserves are the economically mineable part of a measured or
                        indicated mineral resource and represents mineable ore within the mine.
                        Talc mines with remaining useful life and unmined resources are primarily

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                       marketable to companies that mine talc minerals. This assumption creates
                       the highest and best use, maximizes return for the Estates, and has been
                       included as part of the Liquidation Analysis.
                      .The Debtors estimate the liquidation recovery value of other long-term
                       assets is 2% to 4% of the pro forma value.

Liquidation Adjustments

            Note J - Post-Conversion Cash Flow
             o Adjustment is based on (i) estimated cash flow generated (used) by the North
                American Debtors for the 1-month subsequent to Liquidation Date for claims
                reconciliations, and other Estate activities, and (ii) estimated cash flow generated
                (used) by ITI for 1-month subsequent to Liquidation Date for converting existing
                raw materials into finished goods for sale to third parties.
             o For the North American Debtors, amounts are allocated to each legal entity based
                on the ratable total distributable value (“Distributable Value”), which is defined
                as economic recovery on assets prior to liquidations costs, generated by such legal
                entity. Estimated post-conversion cash flow for the North American Debtors is
                assumed to be ($0.2) million.
             o ITI post-conversion cash flow was calculated independently for 1-month of
                operations until mine production and maintenance activities are assumed to be
                completely eliminated. Estimated post-conversion cash flow for ITI is assumed
                to be $0.6 million.

            Note K - Chapter 7 Trustee Fees
             o Chapter 7 Trustee fees consist of fees paid to the chapter 7 Trustee to liquidate the
                Estates of the Debtors.
             o The estimate is pursuant to section 326 of the Bankruptcy Code and is calculated
                at approximately 3% of all gross Liquidation Proceeds in excess of $1.0 million.
             o Based on the Liquidation Proceeds forecast, the Debtors estimate the chapter 7
                Trustee fees to be $7.0 million.

            Note L - Chapter 7 Professional Fees
             o Chapter 7 professional fees includes costs to retain key professionals (attorneys,
                investment bankers, and financial advisors).
             o The North American Debtors’ Chapter 7 professional fee costs are assumed at
                0.5% of Distributable Value.
             o ITI’s Chapter 7 professional fee costs are assumed at 2.5% of Distributable
                Value.
             o Based on the Liquidation Proceeds forecast, the Debtors estimate the chapter 7
                professional fees to be $1.7 million.

            Note M - Orderly Wind-Down Costs
             o Includes payroll, facility and overhead costs to assist the Trustee and retained
                professionals with post-close activities, which include: (i) accounting and
                remittance for accrued and unpaid invoices, (ii) calculating and distributing final

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                  payouts, and (iii) other administrative, dissolution and tax-related activities
                  required to close the chapter 7 cases.
              o   Additional wind-down activities include monetizing assets (for ITI), reconciling
                  claims and winding-down the estate.
              o   For the North American Debtors, these expenses are incurred over a 2-month
                  period subsequent to cessation of operations.
              o   For ITI, a collective dismissal procedure would be required and managed
                  according to established union procedures and labor law. This communication
                  and consultation lasts a maximum of 75 days.
              o   Additional costs at ITI include $3.2 million to account for a 12 months lay-off
                  incentive to facilitate trade unions negotiations, $1.4 million in lieu of the
                  dismissal notice requirement, and $0.7 million for dismissal tickets and the
                  employee termination fund.
              o   Wind-down budget drafted in coordination with management, with an initial
                  headcount totaling 311 FTEs declining over 4 months.
              o   Orderly wind-down costs for all of Debtors is estimated to be $5.5 million.

             Note N - Estate Wind-Down Costs
              o Includes document retention, final W-2s, and final tax returns.
              o Costs are estimated to be $0.3 million.

             Note O - Decommissioning Costs
              o Includes amounts associated with decommissioning and reclamation of the
                 Rodoretto mine at ITI.
              o Examples of costs include earthwork/excavation, demolition, equipment
                 demobilization, and associated operating expenses during the decommissioning
                 period.
              o Total estimated costs are estimated to be $1.8 million.

Claims

             Note P - Secured Claims (Class 2)
              o Includes claims arising from post-petition contract claim at ITA and capital leases
                 and auto leases at ITI.
              o The Debtors estimate that there will be approximately $0.7 million of secured
                 claims as of the Liquidation Date and that the recoveries will be 100%.

             Note Q - Administrative Expenses
              o Includes actual and necessary post-petition cost or expense of preserving the
                 Estates or operating the businesses of the Debtors, post-petition costs,
                 indebtedness or contractual obligations duly and validly incurred or assumed by
                 the Debtors in the ordinary course of business, and compensation or
                 reimbursement of expenses of Professionals to the extent allowed by the
                 Bankruptcy Court under sections 327, 328, and 330(a) of the Bankruptcy Code.




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             o Claims pursuant to section 503(b)(9) of the Bankruptcy Code as a result of
               receiving goods in the 20-day period prior to the Petition Date, have been paid in
               the ordinary course during chapter 11.
             o Estimate of accrued professional fees based on the latest pro forma cash flow
               forecast projections prepared by the Debtors and their advisors.
             o Accrued professional fee balances were offset at the advisor level for any
               retainers in place as of the Petition Date.
             o The Debtors estimate that there will be approximately $47.0 million of chapter 11
               administrative expenses remaining as of the Liquidation Date and that the
               recoveries will be 100%.

            Note R - Priority Tax Claims
             o Allowed priority tax claims will be treated per section 1129(a)(9)(C) of the
                Bankruptcy Code and will receive interest on such allowed priority tax claims
                after the Effective Date in accordance with sections 511 and 1129(a)(9)(C) of the
                Bankruptcy Code.
             o The Debtors estimate that there will be approximately $0.1 million of priority tax
                claims and that recoveries will be 100%.

            Note S – Employment Related Claims (Administrative Claims) and Priority
             Non-Tax Claims (Class 1)
             o The Debtors estimate that there will be no employment related claims or priority
                non-tax claims as the Liquidation Analysis assumes that all employees of the North
                American Debtors will be transferred to the Buyer pursuant to the Sale and ITI
                employment claims are addressed within Note M.

            Note T – Non-Priority Unsecured Claims (Class 3)
             o Overview – Classes 3, 4, and 5
                   .Claims in Classes 3, 4, and 5 are treated pari passu, and the Debtors
                       estimate that in a chapter 7 liquidation there would be approximately
                       $168.8 million distributed to holders of Claims in these Classes. The
                       estimated amount of Claims in these Classes, other than Talc Personal
                       Injury Claims, is $33.9 million. The Debtors estimate in a chapter 7
                       liquidation, all remaining distributable proceeds from the North American
                       Debtors would go to Holders of Claims in Classes 3, 4, and 5 and no value
                       would flow to Holders of Equity Interests in the North American Debtors
                       or ITI. To the extent distributable proceeds remain such proceeds would
                       go to holders of Equity Interests. As discussed below, no value has been
                       assigned to the Talc Personal Injury Claims therefore estimated recoveries
                       are higher than stated claim value.
                   .Assuming Talc Personal Injury Claims are excluded from the Liquidation
                       Analysis, Holders of Unsecured Claims and Intercompany Claims against
                       ITI and the North American Debtors are expected to recover in full in a
                       hypothetical liquidation pursuant to chapter 7.
             o Unsecured Claims (Class 3)



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                   .Includes unpaid prepetition trade, legal costs arising from prepetition talc
                      litigation, environmental liabilities and surety bond claims.
                   .The Debtors estimate that there will be approximately $20.2 million of
                      Unsecured Claims as of the Liquidation Date.
                   .For purposes of the Liquidation Analysis, estimated recovery values do
                      not contemplate any potential distributions on account of the Talc
                      Personal Injury Claims, given the inability to estimate such Claims.
                      Accordingly, recovery values for Unsecured Claims may be materially
                      less, depending on the actual value of the Talc Personal Injury Claims.
             o Talc Personal Injury Claims (Class 4)
                   .Represents claims against one or more of the Debtors directly or indirectly
                      arising out of or relating to the presence of or exposure to talc or talc-
                      containing products based on alleged acts or omissions of the Debtors or
                      any other entity for whose conduct the Debtors have or are alleged to have
                      liability, prior to the Effective Date.
                   .At the time the Disclosure Statement was filed, Talc Personal Injury
                      Claims remain unliquidated, contingent or disputed, and the aggregate
                      amount of such Claims is unknown. The Debtors do not have sufficient
                      information to estimate the amount of these Claims for purposes of this
                      analysis, and therefore, no value has been assigned to Class 4 and no
                      recovery value is currently projected.
                   .Conversion to chapter 7 would substantially impact the cost and efficiency
                      of resolving the Talc Personal Injury Claims. Chapter 7 of the Bankruptcy
                      Code contains no provision for establishing a trust or other efficient means
                      to resolve such Claims.
                   .Under chapter 7, the Talc Personal Injury Claims, or any portion of such
                      Claims would need to be resolved through litigation and the Trustee
                      would need to engage litigation counsel to defend and liquidate those
                      Claims. This differs significantly from the Plan, which proposes to
                      establish the Talc Personal Injury Trust to resolve such Claims through the
                      Trust Distribution Procedures. As such, litigation in a chapter 7
                      liquidation is likely to be more costly and time-consuming than resolving
                      all Talc Personal Injury Claims through the Talc Personal Injury Trust to
                      be established under the Plan. Additionally, and as discussed above, the
                      Plan guarantees that certain amounts will be contributed to the Talc
                      Personal Injury Trust as part of the Imerys Settlement and the Rio
                      Tinto/Zurich Settlement. All or a portion of these amounts would likely
                      not be paid in a chapter 7 liquidation or not without incurring significant
                      litigation expenses.
             o Intercompany Claims (Class 5)
                   .Includes claims held by both non-debtor affiliates and other Debtors.
                      Claims held by non-debtor affiliates represent prepetition balances that
                      arose in the ordinary course of business in trading relationships with the
                      Debtors.
                   .Debtor intercompany claims represent prepetition amounts owed to ITA
                      from ITV, ITC, and ITI.


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                      .The Debtors estimate that there will be approximately $13.8 million of
                       intercompany claims as of the Liquidation Date.

            Note U - Equity Interests in the North American Debtors (Class 6)
             o Existing Interests consists of interests of any holders of any class of equity
                securities of any of the North American Debtors, represented by shares of
                common or preferred stock, limited partnership interests or other instruments
                evidencing an ownership interest in any of the North American Debtors, whether
                or not certificated, transferable, voting or denominated “stock” or a similar
                security, or any option, warrant or right, contractual or otherwise, to acquire any
                such interest.
             o ITA is the direct parent of ITV and receives any proceeds remaining subsequent
                to ITV distributions following strict priority in accordance with section 726 of the
                Bankruptcy Code.
             o The Debtors estimate that there will be no recoveries for equity interests in the
                North American Debtors.

            Note V - Equity Interests in ITI (Class 7)
             o Existing Interests consists of interests of any holders of any class of equity
                securities of ITI, represented by shares of common or preferred stock, limited
                partnership interests or other instruments evidencing an ownership interest in any
                of ITI, whether or not certificated, transferable, voting or denominated “stock” or
                a similar security, or any option, warrant or right, contractual or otherwise, to
                acquire any such interest.
             o Estimated recoveries for Equity Interests in ITI are expected to be zero.




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                          12/24/2020 1:16:55 PM
Style name: Default Style
Intelligent Table Comparison: Active
Original DMS: iw://WEILDMS/WEIL/97750610/1
Modified filename: Imerys - Markup to Disclosure Statement for Fourth
Amended Plan.DOCX
Changes:
Add                                                          370
Delete                                                       308
Move From                                                    2
Move To                                                      2
Table Insert                                                 0
Table Delete                                                 0
Table moves to                                               0
Table moves from                                             0
Embedded Graphics (Visio, ChemDraw, Images etc.)             0
Embedded Excel                                               0
Format changes                                               0
Total Changes:                                               682
